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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Optio Rx, LLC, et al.,                                          Case No. 24-11188 (TMH)

                     Debtors.1                                      (Jointly Administered)


                DISCLOSURE STATEMENT RELATING TO THE AMENDED
         JOINT CHAPTER 11 PLAN OF REORGANIZATION OF OPTIO RX, LLC, et al.

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Dated: July 29, 2024




1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237);
      (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
      (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical, LLC (3260); (10) H&H
      Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
      Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
      Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
      LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary, LLC (6074); (21)
      Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
      Firstcare Pharmacy, LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
      and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
      Avenue, Suite 14, Northbrook, Illinois 60062.
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 THIS SOLICITATION OF VOTES IS BEING CONDUCTED TO OBTAIN
 SUFFICIENT VOTES TO ACCEPT OR REJECT THE PLAN AND IN CONNECTION
 WITH THE FILING OF A VOLUNTARY PETITION UNDER CHAPTER 11 OF TITLE
 11 OF THE UNITED STATES CODE (THE “BANKRUPTCY CODE”). THE
 DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE BANKRUPTCY
 COURT AS CONTAINING “ADEQUATE INFORMATION” WITHIN THE MEANING
 OF SECTION 1125(a) OF THE BANKRUPTCY CODE. ON JUNE 24, 2024, THE
 DEBTORS FILED A MOTION WITH THE BANKRUPTCY COURT SEEKING AN
 ORDER APPROVING THE DISCLOSURE STATEMENT AS CONTAINING
 “ADEQUATE INFORMATION” AND APPROVING THE SOLICITATION OF VOTES
 AS BEING IN COMPLIANCE WITH SECTIONS 1125 AND 1126 OF THE
 BANKRUPTCY CODE, AND CONFIRMING THE PLAN.



 THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 4:00 P.M.
 (PREVAILING EASTERN TIME) ON SEPTEMBER 3, 2024 UNLESS EXTENDED BY
 THE DEBTORS IN WRITING.

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS OR
 INTERESTS MAY VOTE ON THE PLAN IS AUGUST 7, 2024 (THE “VOTING
 RECORD DATE”)


                          RECOMMENDATION BY THE DEBTORS
 The Debtors have approved the transactions contemplated by the Plan (as defined below) and
 recommend that all creditors whose votes are being solicited submit ballots to accept the Plan.


                                   IMPORTANT NOTICE

THE DEBTORS URGE YOU TO READ THIS DISCLOSURE STATEMENT CAREFULLY
FOR A DISCUSSION OF VOTING INSTRUCTIONS, RECOVERY INFORMATION,
CLASSIFICATION OF CLAIMS, THE HISTORY OF THE DEBTORS, THE DEBTORS’
BUSINESS, AND A SUMMARY AND ANALYSIS OF THE PLAN.

ALL CAPITALIZED TERMS IN THIS DISCLOSURE STATEMENT NOT OTHERWISE
DEFINED HEREIN HAVE THE MEANINGS GIVEN TO THEM IN THE PLAN, A COPY OF
WHICH IS ATTACHED TO THIS DISCLOSURE STATEMENT AS EXHIBIT A.

INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION OR AMENDMENT.
THE DEBTORS RESERVE THE RIGHT TO AMEND THE PLAN AND RELATED
DISCLOSURE STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF THE
PLAN.




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THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016(c) OF THE FEDERAL
RULES OF BANKRUPTCY PROCEDURE AND IS NOT NECESSARILY IN ACCORDANCE
WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER SIMILAR LAWS. THE NEW
PREFERRED AND COMMON EQUITY SHARES OR UNITS OF ONLINE PHARMACY
HOLDINGS LLC DESCRIBED HEREIN WILL BE ISSUED WITHOUT REGISTRATION
UNDER THE SECURITIES ACT OF 1933, AS AMENDED (TOGETHER WITH THE RULES
AND REGULATIONS PROMULGATED THEREUNDER, THE “SECURITIES ACT”), OR
ANY STATE SECURITIES LAWS (“BLUE SKY LAWS”).

UPON CONFIRMATION OF THE PLAN, CERTAIN OF THE SECURITIES DESCRIBED IN
THIS DISCLOSURE STATEMENT WILL BE ISSUED WITHOUT REGISTRATION UNDER
THE SECURITIES ACT OR SIMILAR FEDERAL, STATE, LOCAL, OR FOREIGN LAWS, IN
RELIANCE ON THE EXEMPTION SET FORTH IN SECTION 1145 OF THE BANKRUPTCY
CODE. OTHER SECURITIES MAY BE ISSUED PURSUANT TO OTHER APPLICABLE
EXEMPTIONS UNDER THE FEDERAL SECURITIES LAWS. TO THE EXTENT
EXEMPTIONS FROM REGISTRATION UNDER SECTION 1145 OF THE BANKRUPTCY
CODE OR APPLICABLE FEDERAL SECURITIES LAW DO NOT APPLY, THE SECURITIES
MAY NOT BE OFFERED OR SOLD EXCEPT PURSUANT TO A VALID EXEMPTION OR
UPON REGISTRATION UNDER THE SECURITIES ACT.

NO SECURITIES TO BE ISSUED PURSUANT TO THE PLAN HAVE BEEN APPROVED OR
DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR
BY ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC, GOVERNMENTAL
OR REGULATORY AUTHORITY. THIS DISCLOSURE STATEMENT HAS NOT BEEN
FILED WITH OR REVIEWED BY THE SEC OR WITH ANY OTHER SECURITIES
REGULATORY AUTHORITY OF ANY STATE UNDER ANY STATE SECURITIES OR BLUE
SKY LAWS. THE PLAN HAS NOT BEEN APPROVED OR DISAPPROVED BY THE SEC,
ANY OTHER SECURITIES REGULATORY AUTHORITY, OR ANY STATE SECURITIES
COMMISSION, AND NEITHER THE SEC NOR ANY STATE SECURITIES COMMISSION
HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE INFORMATION
CONTAINED HEREIN. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL
OFFENSE. THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE AN OFFER OR
SOLICITATION IN ANY STATE OR OTHER JURISDICTION IN WHICH SUCH OFFER OR
SOLICITATION IS NOT AUTHORIZED.

THE DEBTORS INTEND TO RELY ON SECTIONS 3(A)(9) AND 18(B)(4)(E) OF THE
SECURITIES ACT TO EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT
AND BLUE SKY LAWS THE OFFER OF CLASS B UNITS TO HOLDERS OF 2020 NOTES
CLAIMS PRIOR TO THE FILING OF THE CHAPTER 11 CASES, INCLUDING IN
CONNECTION WITH THE SOLICITATION OF VOTES TO ACCEPT OR REJECT THE
PLAN. THE DEBTORS INTEND TO RELY ON SECTION 1145 OF THE BANKRUPTCY
CODE, TO EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT, THE
ISSUANCE OF PREFERRED AND COMMON EQUITY SHARES OR UNITS OF ONLINE
PHARMACY HOLDINGS LLC TO HOLDERS OF PREPETITION LIEN CLAIMS. THE
DEBTORS RECOMMEND THAT POTENTIAL RECIPIENTS OF ANY PREFERRED AND
COMMON EQUITY SHARES OR UNITS OF ONLINE PHARMACY HOLDINGS LLC



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PURSUANT TO THE PLAN CONSULT THEIR OWN LEGAL COUNSEL CONCERNING
THE SECURITIES LAWS GOVERNING THE TRANSFERABILITY OF ANY SUCH EQUITY
INTERESTS.

THIS DISCLOSURE STATEMENT CONTAINS “FORWARD-LOOKING STATEMENTS”
WITHIN THE MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM ACT OF
1995.  SUCH STATEMENTS CONSIST OF ANY STATEMENT OTHER THAN A
RECITATION OF HISTORICAL FACT AND CAN BE IDENTIFIED BY THE USE OF
FORWARD-LOOKING TERMINOLOGY, SUCH AS “MAY,” “EXPECT,” “ANTICIPATE,”
“ESTIMATE,” “CONTINUE,” “INTEND”, “WILL” OR THE NEGATIVES THEREOF, AS
WELL AS ANY SIMILAR OR COMPARABLE LANGUAGE. THESE STATEMENTS OFTEN
DISCUSS PLANS, STRATEGIES, EVENTS OR DEVELOPMENTS THAT THE DEBTORS
EXPECT OR ANTICIPATE WILL OR MAY OCCUR IN THE FUTURE AND ARE BASED
UPON THE BELIEFS AND ASSUMPTIONS OF THE DEBTORS’ MANAGEMENT AND ON
THE INFORMATION CURRENTLY AVAILABLE TO THEM. YOU ARE CAUTIONED THAT
ALL FORWARD-LOOKING STATEMENTS ARE NECESSARILY SPECULATIVE AND ARE
NOT GUARANTEES OF THE REORGANIZED DEBTORS’ FUTURE PERFORMANCE.
THERE ARE CERTAIN RISKS AND UNCERTAINTIES THAT COULD CAUSE ACTUAL
EVENTS OR RESULTS TO DIFFER MATERIALLY FROM THOSE REFERRED TO IN SUCH
FORWARD-LOOKING STATEMENTS. EXCEPT AS REQUIRED BY LAW, THE DEBTORS
EXPRESSLY DISCLAIM ANY OBLIGATION TO UPDATE ANY FORWARD-LOOKING
STATEMENT, WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR
OTHERWISE. THE LIQUIDATION ANALYSIS, FEASIBILITY ANALYSIS, AND OTHER
PROJECTIONS AND FORWARD-LOOKING INFORMATION CONTAINED HEREIN AND
ATTACHED HERETO ARE ONLY ESTIMATES, AND THE TIMING AND AMOUNT OF
ACTUAL DISTRIBUTIONS TO HOLDERS OF ALLOWED CLAIMS, AMONG OTHER
THINGS, MAY BE AFFECTED BY MANY FACTORS THAT CANNOT BE PREDICTED.
ANY ANALYSES, ESTIMATES, OR RECOVERY PROJECTIONS MAY OR MAY NOT TURN
OUT TO BE ACCURATE.

THIS DISCLOSURE STATEMENT WAS PREPARED TO PROVIDE PARTIES IN INTEREST
IN THESE CASES WITH “ADEQUATE INFORMATION” (AS DEFINED IN SECTION 1125
OF THE BANKRUPTCY CODE) SO THAT EACH CREDITOR WHO IS ENTITLED TO VOTE
WITH RESPECT TO THE PLAN CAN MAKE AN INFORMED JUDGMENT REGARDING
SUCH VOTE ON THE PLAN.

THIS DISCLOSURE STATEMENT CONTAINS ONLY A SUMMARY OF THE PLAN. THIS
DISCLOSURE STATEMENT IS NOT INTENDED TO REPLACE A CAREFUL AND
DETAILED REVIEW AND ANALYSIS OF THE PLAN; RATHER THIS DISCLOSURE
STATEMENT IS INTENDED ONLY TO AID AND SUPPLEMENT SUCH REVIEW. THIS
DISCLOSURE STATEMENT IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE
PLAN, THE PLAN SUPPLEMENT (WHICH WILL BE FILED NO LATER THAN SEVEN
CALENDAR DAYS PRIOR TO THE PLAN OBJECTION DEADLINE (AS DEFINED
BELOW), AND THE EXHIBITS ATTACHED THERETO AND THE AGREEMENTS AND
DOCUMENTS DESCRIBED THEREIN. IF THERE IS A CONFLICT BETWEEN THE PLAN
AND THIS DISCLOSURE STATEMENT, THE PROVISIONS OF THE PLAN WILL GOVERN.
YOU ARE ENCOURAGED TO REVIEW THE FULL TEXT OF THE PLAN AND PLAN



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SUPPLEMENT AND TO READ CAREFULLY THE ENTIRE DISCLOSURE STATEMENT,
INCLUDING ALL EXHIBITS, BEFORE DECIDING HOW TO VOTE WITH RESPECT TO
THE PLAN.

THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 4:00 P.M. (PREVAILING
EASTERN TIME) ON SEPTEMBER 3, 2024, UNLESS EXTENDED BY THE DEBTORS
(THE “VOTING DEADLINE”).

THE EFFECTIVENESS OF THE PLAN IS SUBJECT TO MATERIAL CONDITIONS
PRECEDENT. THERE IS NO ASSURANCE THAT THESE CONDITIONS WILL BE
SATISFIED OR WAIVED.

IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND IF THE EFFECTIVE
DATE OCCURS, ALL HOLDERS OF CLAIMS AGAINST, AND HOLDERS OF INTERESTS
IN, THE DEBTORS (INCLUDING, WITHOUT LIMITATION, THOSE HOLDERS OF
CLAIMS OR INTERESTS WHO DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE
PLAN OR WHO ARE NOT ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE
TERMS OF THE PLAN AND THE TRANSACTIONS CONTEMPLATED THEREBY.

EXCEPT AS OTHERWISE SET FORTH HEREIN, THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT ARE MADE BY THE DEBTORS AS OF THE DATE HEREOF,
AND THE DELIVERY OF THIS DISCLOSURE STATEMENT WILL NOT, UNDER ANY
CIRCUMSTANCES, CREATE ANY IMPLICATION THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT AT ANY TIME SUBSEQUENT TO THE DATE HEREOF
OR CREATE ANY DUTY TO UPDATE SUCH INFORMATION.

NO PERSON HAS BEEN AUTHORIZED BY THE DEBTORS IN CONNECTION WITH THE
PLAN OR THE SOLICITATION TO GIVE ANY INFORMATION OR TO MAKE ANY
REPRESENTATION OTHER THAN AS CONTAINED IN THIS DISCLOSURE STATEMENT,
THE PLAN AND THE EXHIBITS, NOTICES AND SCHEDULES ATTACHED TO OR
INCORPORATED BY REFERENCE OR REFERRED TO IN THIS DISCLOSURE
STATEMENT AND/OR THE PLAN, AND, IF GIVEN OR MADE, SUCH INFORMATION OR
REPRESENTATION MAY NOT BE RELIED UPON AS HAVING BEEN AUTHORIZED BY
THE DEBTORS.

IT IS THE DEBTORS’ POSITION THAT THIS DISCLOSURE STATEMENT MAY NOT BE
RELIED ON FOR ANY PURPOSE OTHER THAN TO DETERMINE WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN, AND NOTHING STATED HEREIN SHALL
CONSTITUTE AN ADMISSION OF ANY FACT OR LIABILITY BY ANY PERSON, OR BE
ADMISSIBLE IN ANY PROCEEDING INVOLVING THE DEBTORS OR ANY OTHER
PERSON, OR BE DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL
EFFECTS OF THE PLAN ON THE DEBTORS OR HOLDERS OF CLAIMS OR INTERESTS.

HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL
OR TAX ADVICE. EACH HOLDER SHOULD CONSULT WITH ITS OWN LEGAL,
BUSINESS, FINANCIAL AND TAX ADVISOR(S) WITH RESPECT TO ANY SUCH



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MATTERS CONCERNING THIS DISCLOSURE STATEMENT, THE SOLICITATION OF
VOTES TO ACCEPT THE PLAN, THE PLAN, THE PLAN DOCUMENTS AND THE
TRANSACTIONS CONTEMPLATED HEREBY AND THEREBY.




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       Annexed as exhibits (the “Exhibits”) to this Disclosure Statement are copies of the
following documents:


 EXHIBIT A               Plan of Reorganization


 EXHIBIT B               Restructuring Support Agreement


 EXHIBIT C               Liquidation Analysis


 EXHIBIT D               Feasibility Analysis


 EXHIBIT E               Aves Settlement Agreement




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                                         ARTICLE I
                                       INTRODUCTION

1.1       General.

         Optio Rx, LLC (“Optio Rx”), and certain of its above captioned direct and indirect
subsidiaries, as debtors and debtors in possession (collectively, the “Debtors” or the
“Company”), hereby transmit this disclosure statement (as may be amended, supplemented or
otherwise modified from time to time, the “Disclosure Statement”), pursuant to section 1125 of
title 11 of the United States Code (the “Bankruptcy Code”), in connection with the solicitation
of votes on the Amended Joint Chapter 11 Plan of Reorganization of Optio Rx, LLC, et al.,
(the “Plan”), dated as of July 29, 2024. A copy of the Plan is attached hereto as Exhibit A
and incorporated herein by reference.

     THE DEBTORS BELIEVE THAT THE COMPROMISES CONTEMPLATED
UNDER THE PLAN ARE FAIR AND EQUITABLE, MAXIMIZE THE VALUE OF THE
DEBTORS’ ESTATES, AND PROVIDE THE BEST RECOVERY TO STAKEHOLDERS.
AT THIS TIME, THE DEBTORS BELIEVE THAT THE PLAN REPRESENTS THE BEST
AVAILABLE OPTION FOR COMPLETING THE CHAPTER 11 CASES. THE DEBTORS
STRONGLY RECOMMEND THAT YOU VOTE TO ACCEPT THE PLAN.

                                     ARTICLE II
                               PRELIMINARY STATEMENT

        Optio Rx is a Delaware limited liability company that has 26 direct and/or indirect
subsidiaries. Non-Debtor CBC Pharma HoldCo, LLC (“CBC Pharma”) is the direct or indirect
parent company of Optio Rx and each of the other Debtors.

        The Debtors operate in four primary specialty pharmacy business segments, including: (i)
clinically focused retail dermatology pharmacies; (ii) compounding pharmacies; (iii) hospice
pharmacies; and (iv) fertility treatments. Overall, the Company employs approximately 260
employees in 18 locations located in 7 states and services more than 100,000 patients. The Debtors
also provide prescription fulfilling services to long term care facilities, among other things.

        While the Debtors’ businesses as a whole remain operationally sound, the Company has
experienced a number of unexpected challenges in recent years, including the inability to service
the Debtors’ debt obligations and liquidity issues that have left the Debtors unable to repay or
recapitalize the outstanding principal and interest under their Prepetition Credit Agreement which
matured on June 28, 2024.

        In early 2024, the Debtors entered comprehensive restructuring discussions with certain
Consenting Lenders (as defined below) to consummate a potential transaction to increase financial
flexibility and create a stronger, sustainable capital structure moving forward. In this regard, on
May 9, 2024, the Debtors entered into a Restructuring Support Agreement, pursuant to which the
Debtors and the Consenting Lenders approved certain restructuring transactions with respect to
the Debtors’ capital structure as more fully set forth below.




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       With Plan and key creditor support in place pursuant to the Restructuring Support
Agreement, the Debtors expect to emerge positioned to capitalize on their asset base as the
Company looks to continue its go-forward growth and operating plans. Accordingly, the
Restructuring Support Agreement contains certain milestones, including securing an order
confirming the Plan no later than one hundred (100) days after the Petition Date. The Debtors
believe they can confirm the Plan and emerge from chapter 11 within these time periods without
prejudicing the ability of any parties to assert their rights in the Chapter 11 Cases.

        The Restructuring Support Agreement is a significant achievement for the Debtors and a
welcomed culmination of the lengthy negotiations with the Debtors’ key creditors. A right-sized
capital structure will allow the Company to capitalize on its business going forward and maximize
value for the benefit of all stakeholders. The Debtors strongly believe that the Plan is in the best
interests of the Debtors’ stakeholders and represents the best available transaction for the Debtors
to maximize value. For these reasons, the Debtors strongly recommend that Holders of
Claims and Interests entitled to vote to accept or reject the Plan vote to accept the Plan. The
Official Committee of Unsecured Creditors (the “Committee”) has reviewed the Plan and is
not making a formal recommendation on whether creditors should vote in favor or against
the Plan.

                                      ARTICLE III
                           QUESTIONS AND ANSWERS REGARDING
                        THIS DISCLOSURE STATEMENT AND THE PLAN

3.1       What is chapter 11?

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In
addition to permitting debtor rehabilitation, chapter 11 promotes equality of treatment for creditors
and similarly situated equity interest holders, subject to the priority of distributions prescribed by
the Bankruptcy Code. The commencement of a chapter 11 case creates an estate that comprises
all of the legal and equitable interests of the debtor as of the date the chapter 11 case is commenced.
The Bankruptcy Code provides that the debtor may continue to operate its business and remain in
possession of its property as a “debtor in possession.” Consummating a chapter 11 plan is the
principal objective of a chapter 11 case. A bankruptcy court’s confirmation of a plan binds the
debtor, any person acquiring property under the plan, any creditor or equity interest holder of the
debtor (whether or not such creditor or equity interest holder voted to accept the plan), and any
other entity as may be ordered by the bankruptcy court. Subject to certain limited exceptions, the
order issued by a bankruptcy court confirming a plan provides for the treatment of the debtor’s
liabilities in accordance with the terms of the confirmed plan.

3.2       Why are the Debtors sending me this Disclosure Statement?

        The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting
acceptances of the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a
disclosure statement containing adequate information of a kind, and in sufficient detail, to enable
a hypothetical reasonable investor to make an informed judgment regarding acceptance of the Plan
and to share such disclosure statement with all holders of claims and interests whose votes on the




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Plan are being solicited. This Disclosure Statement is being submitted in accordance with these
requirements.

3.3        Why are votes being solicited prior to Bankruptcy Court approval of the Disclosure
           Statement?

        By sending this Disclosure Statement and soliciting votes for the Plan prior to approval by
the Bankruptcy Court, the Debtors are preparing to seek Confirmation of the Plan shortly after
commencing the Chapter 11 Cases. The Debtors have asked the Bankruptcy Court to approve this
Disclosure Statement on August 1, 2024, with Confirmation of the Plan on September 13, 2024,
all subject to the Bankruptcy Court’s approval and availability.

3.4        Am I entitled to vote on the Plan?

        Your ability to vote on the Plan depends on what type of Claim or Interest you hold and
whether you held that Claim or Interest as of the Voting Record Date (i.e., as of August 7, 2024).
Each category of holders of Claims or Interests, as set forth in Article III of the Plan pursuant to
sections 1122(a) and 1123(a)(1) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s
respective voting status is set forth below:

                                                                                  ENTITLED TO
   CLASS                          CLAIM                      IMPAIRMENT
                                                                                     VOTE


       1           Prepetition Lien Claims                     Impaired                Yes

                                                                                       No
       2           Vendor Secured Claims                      Unimpaired        (deemed to accept)

                                                                                       No
       3           Other Secured Claims                       Unimpaired        (deemed to accept)

                                                                                       No
       4           Other Priority Claims                      Unimpaired        (deemed to accept)


       5           General Unsecured Trade Claims              Impaired                Yes
                                                                                       No
       6           Other General Unsecured Claims              Impaired         (deemed to reject)
                                                                                       Yes
       7           Noteholder Claims                           Impaired

                                                                                       No
       8           Seller Note Claims                          Impaired         (deemed to reject)



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                                                                                                 ENTITLED TO
    CLASS                           CLAIM                             IMPAIRMENT
                                                                                                    VOTE


        9          Convenience Class Claims                              Impaired                      Yes

                                                                                                        No
       10          Intercompany Claims                                   Impaired             (deemed to reject)

                                                                                                        No
       11          Intercompany Interests                              Unimpaired             (deemed to accept)

                                                                                                        No
       12          Equity Interests in Optio Rx                          Impaired             (deemed to reject)

Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
Reorganized Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

3.5         What will I receive from the Debtors if the Plan is consummated?

        The following table provides a summary of the anticipated recovery to Holders of Claims
or Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may
vary from the final amounts allowed by the Bankruptcy Court. Your ability to receive distributions
under the Plan depends upon the ability of the Debtors to obtain Confirmation and meet the
conditions necessary to consummate the Plan.

THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE. FOR A
COMPLETE DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND
TREATMENT OF CLAIMS AND INTERESTS, REFERENCE SHOULD BE MADE TO
THE ENTIRE PLAN.

                                                                                   Estimated
                                                                                  Amount of
                                                                                                       Estimated %
      Class         Description                   Treatment                        Claims or
                                                                                                        Recovery
                                                                                  Interests in
                                                                                    Class2
    Class 1         Prepetition      Except to the extent that a Holder          $127,600,000                N/A
                    Lien Claims      of an Allowed Prepetition Lien
                                     Claim agrees to less favorable
                                     treatment of its Allowed Claim, in
                                     full and final satisfaction,
                                     settlement, release, and discharge

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      The amounts set forth in this chart reflect the Debtors’ most current estimates of projected claim amounts.



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                                                                           Estimated
                                                                          Amount of
                                                                                         Estimated %
     Class          Description               Treatment                    Claims or
                                                                                          Recovery
                                                                          Interests in
                                                                            Class2
                                  of and in exchange for each
                                  Allowed Prepetition Lien Claim,
                                  each such Holder shall receive the
                                  following      treatment        in
                                  accordance        with         the
                                  Restructuring Support Agreement
                                  and the Plan Term Sheet:

                                  i.       in connection with the
                                  Prepetition Lien Conversion, (a) a
                                  portion of the Holder’s respective
                                  Prepetition Lien Claims shall
                                  constitute first-priority, perfected,
                                  enforceable and unavoidable Exit
                                  Facility Claims in full force and
                                  effect, which Exit Facility Claims
                                  and Exit Facility Liens shall be
                                  first-priority,         enforceable,
                                  unavoidable and automatically
                                  perfected by virtue of entry of the
                                  Confirmation Order; provided,
                                  however, on the Effective Date,
                                  each of the Holders of the
                                  Prepetition Lien Claims shall (i)
                                  provide their proportionate share
                                  of the GUC Trade Gift to the
                                  holders of allowed General
                                  Unsecured Claims and (ii)
                                  provide their proportionate share
                                  of the GUC Opt-In Gift, as
                                  applicable; and (b) on the
                                  Effective Date, the Holder shall
                                  receive its respective portion of
                                  the Prepetition Lien Conversion
                                  Equity, and which shall fully vest
                                  and be entitled to such rights as
                                  may be detailed in the New
                                  Governance Documents and
                                  which on the Effective Date,
                                  except for the equity shares or
                                  units to be issued to the
                                  Noteholders pursuant to the Aves
                                  Settlement Agreement, shall



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                                                                             Estimated
                                                                            Amount of
                                                                                           Estimated %
     Class          Description                 Treatment                    Claims or
                                                                                            Recovery
                                                                            Interests in
                                                                              Class2
                                    constitute all of the issued and
                                    outstanding equity shares or units,
                                    subject to the management
                                    incentive plan.

    Class 2             Vendor      On the Effective Date, each             $1,534,134      Claims will
                        Secured     Holder of an Allowed Vendor                            be reinstated
                        Claims      Secured Claims shall receive, in                       and, thus, no
                                    full satisfaction of such claim, at                      impact on
                                    the election of the Reorganized                          recovery.
                                    Debtors: (a) Cash payment in full
                                    on the Effective Date, or as soon
                                    as      reasonably       practicable
                                    thereafter, in satisfaction of their
                                    respective      allowed     Secured
                                    Claims; (b) the return of their
                                    collateral; or (c) such other
                                    treatment as the Reorganized
                                    Debtors and such vendor agree.

    Class 3       Other Secured     Each Holder of an Allowed Other            $0.00          100%
                     Claims         Secured Claim shall receive Cash
                                    on the Effective Date, or as soon
                                    as     reasonably     practicable
                                    thereafter, in an amount equal to
                                    such Allowed Other Secured
                                    Claim.

    Class 4        Other Priority   Each Holder of an Allowed Other            $0.00          100%
                      Claims        Priority Claim shall receive Cash
                                    on the Effective Date, or as soon
                                    as     reasonably      practicable
                                    thereafter, in an amount equal to
                                    such Allowed Other Priority
                                    Claim.

    Class 5          General        The holders of Allowed General          $2,033,751        100%
                    Unsecured       Unsecured Trade Claims are
                   Trade Claims     impaired by the Plan and shall, by
                                    virtue of the GUC Trade Gift, (x)
                                    on the Effective Date, receive
                                    [80%-95%] of their respective
                                    Allowed General Unsecured
                                    Trade Claim and (y) on the one-


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                                                                               Estimated
                                                                              Amount of
                                                                                             Estimated %
     Class          Description                   Treatment                    Claims or
                                                                                              Recovery
                                                                              Interests in
                                                                                Class2
                                      year anniversary of the Effective
                                      Date, receive the remaining [5%-
                                      20%] of their respective Allowed
                                      General Unsecured Trade Claim..



    Class 6        Other General      On the Effective Date, all Other         $379,970          0%
                    Unsecured         General Unsecured Claims shall
                      Claims          be cancelled, released, and
                                      extinguished    without     any
                                      distribution.

    Class 7             Noteholder     On the Effective Date, (A)             $73,809,454       N/A
                         Claims        provided Aves and each of the
                                       Noteholders votes to accept the
                                       Plan, the Noteholders shall
                                       receive, all as set forth in the
                                       Aves Settlement Agreement, (i)
                                       the Cash Consideration, (ii) 1.5%
                                       of the common equity in Online
                                       Pharmacy Holdings LLC (prior
                                       to dilution for any management
                                       incentive plan), allocated pro rata
                                       to the Noteholders, and (iii)
                                       $3,000,000 (subject to the DIP
                                       Lender Clawback) in aggregate
                                       liquidation preference of junior
                                       preferred equity in Online
                                       Pharmacy       Holdings      LLC,
                                       allocated pro rata to the
                                       Noteholders; or (B) if Class 7 is a
                                       rejecting Class, then Class 7 shall
                                       receive no distribution under the
                                       Plan and retain no property of
                                       any Debtor.
    Class 8             Seller Note   On the Effective Date, all Seller       $30,046,706        0%
                          Claims      Note Claims shall be cancelled,
                                      released,     and      extinguished
                                      without any distribution.
    Class 9        Convenience        The Holders of Allowed General             TBD            100%
                   Class Claims       Unsecured Claims in an amount
                                      of $500 or less, or who elect to
                                      reduce their respective claims


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                                                                               Estimated
                                                                              Amount of
                                                                                             Estimated %
      Class         Description                   Treatment                    Claims or
                                                                                              Recovery
                                                                              Interests in
                                                                                Class2
                                       below $500, shall, on the later of
                                       (i) the Effective Date and (ii) the
                                       date that is ten (10) business days
                                       after such Convenience Claim
                                       becomes an Allowed Claim, in
                                       full and final satisfaction of such
                                       Claim, receive payment in Cash
                                       equal to the lesser of (x) 100% of
                                       the Allowed amount of such
                                       Convenience Claim and (y) such
                                       Holder’s pro rata share of the pool
                                       of Convenience Claims.
      Class        Intercompany        On the Effective Date, all                TBD             0%
       10              Claims          Intercompany Claims shall be
                                       cancelled,        released,     and
                                       extinguished        without     any
                                       distribution.
      Class        Intercompany        Each Allowed Intercompany                 N/A            N/A
       11             Interests        Interest shall be, at the option of
                                       the applicable Debtor(s), and with
                                       the consent of the Consenting
                                       Lenders, which consent shall not
                                       be unreasonably withheld, either
                                       (a) Reinstated or (b) canceled and
                                       released.
      Class               Equity       On the Effective Date, all Equity         N/A             0%
       12               Interests in   Interests in Optio Rx shall be
                         Optio Rx      cancelled,        released,     and
                                       extinguished of such Interests on
                                       account of such Interests.

3.6       What will I receive from the Debtors if I hold an Allowed Administrative Claim, a
          Professional Fee Claim, or a Priority Tax Claim?

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded
from the Classes of Claims and Interests set forth in Article III of the Plan.

          1.            Administrative Claims

       Except to the extent that a Holder of an Allowed Administrative Expense Claim and the
Debtors or Reorganized Debtors, as applicable, agree to a less favorable treatment, or as otherwise
provided in the Plan, each Holder of an Allowed Administrative Claim against any of the Debtors


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shall receive in full and final satisfaction of its Allowed Administrative Claim an amount of Cash
equal to the amount of such Allowed Administrative Claim in accordance with the following: (i)
if an Administrative Claim is Allowed on or prior to the Effective Date, within five (5) Business
Days after the Effective Date, or as soon as reasonably practicable thereafter, (ii) if such
Administrative Claim is not Allowed as of the Effective Date, no later than five (5) Business Days
after such Administrative Claim is Allowed, or as soon as reasonably practicable thereafter; or (iii)
at such time and upon such terms as set forth in an order of the Bankruptcy Code; provided that
Administrative Claims incurred by any Debtor in the ordinary course of such Debtor’s business
may be paid in the ordinary course of business by the Debtors, consistent with past practice and in
accordance with such applicable terms and conditions relating thereto without further notice to or
order of the Bankruptcy Court.

          2.            Professional Fee Claims

                        a.     Final Fee Applications and Payment of Professional Fee Claims

        All requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Confirmation Date must be filed no later than
forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the Allowed
amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Court in the Chapter 11 Cases. The Reorganized
Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows,
including from (but not limited by the estimates provided for in Section 2.02(c) of the Plan) the
Professional Fee Escrow Account. Any objections to Professional Fee Claims must be filed and
served on the Debtors and the Reorganized Debtors and the requesting party no later than thirty
days after service of the final request for payment of Professional Fee Claims.

                        b.     Professional Fee Escrow Account

        Prior to the Effective Date, the Reorganized Debtors shall establish and fund the
Professional Fee Escrow Account with Cash equal to the Professional Fee Amount. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such
funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors
other than the Reorganized Debtors’ reversionary interest therein. The amount of Professional Fee
Claims owing to the Professionals on and after the Confirmation Date shall be paid in Cash to such
Professionals from funds held in the Professional Fee Escrow Account, without interest or other
earnings therefrom, as soon as reasonably practicable after such Claims are Allowed by a
Bankruptcy Court order. When all Allowed amounts owing to Professionals have been paid in
full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                        c.     Professional Fee Account Estimates

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other
unpaid fees and expenses incurred in rendering services to the Debtors before and as of the
Effective Date and shall deliver such estimate to the Debtors no later than one (1) Business Day
before the Effective Date; provided, however, that such estimates shall not be considered an



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admission, cap or limitation with respect to the fees and expenses of such Professional and such
Professionals are not bound to any extent by the Estimates. If a Professional does not provide an
estimate, the Debtors or Reorganized Debtors may estimate the unpaid and unbilled fees and
expenses of such Professional; provided, however, that such estimate shall not be binding or
considered an admission with respect to the fees and expenses of such Professional.

                        d.     Post-Confirmation Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors shall, in the ordinary course of business and without any further notice to or
action, order or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
legal, professional or other fees and expenses related to implementation of the Plan and
Consummation, incurred by the Debtors or any Professional following the Confirmation Date.
Upon the Confirmation Date, any requirement that Professionals comply with sections 327 through
331, 363 and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and the Debtors may employ and pay any Professional for
services rendered or expenses incurred after the Confirmation Date in the ordinary course of
business without any further notice to or action, order or approval of the Bankruptcy Court.

          3.            Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim has been paid by the
Debtors before the Effective Date, or the applicable Reorganized Debtor and such Holder agree to
less favorable treatment, in full and final satisfaction, settlement, release and discharge of and in
exchange for each Allowed Priority Tax Claim, each Holder of an Allowed Priority Tax Claim
shall receive, at the option of the Debtors, one of the following treatments: (i) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim within five (5) Business Days after the
Effective Date; (ii) Cash in an aggregate amount of such Allowed Priority Tax Claim payable in
regular installments over a period not to exceed five (5) years after the Petition Date, pursuant to
section 1129(a)(9)(C) of the Bankruptcy Code; or (iii) such other treatment as may be agreed upon
by such Holder and the Debtors or otherwise determined upon an order of the Bankruptcy Court.

        The Reorganized Debtors shall have the right, in their sole discretion, to pay any Allowed
Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim (together with
accrued but unpaid interest) in full at any time on or after the Effective Date without premium or
penalty.


          4.            DIP Facility

       On the Effective Date, all Allowed DIP Lien Claims and DIP Superpriority Claims due and
owing under the DIP Facility shall be the subject of the DIP Lien Conversion into Exit Facility
Claims.

          5.            Statutory Fees

        The Debtors shall pay in full, in Cash, any fees due and owing to the U.S. Trustee, including
quarterly fees payable under 28 U.S.C. §1930(a)(6), plus interest due and payable under 31 U.S.C.


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§ 3717 (if any), on all disbursements, including Plan payments and disbursements in and outside
the ordinary course of the Debtors’ business at the time of Confirmation. On and after the Effective
Date, to the extent the Chapter 11 Cases remain open, and for so long as any Reorganized Debtor
remains obligated to pay quarterly fees, such Reorganized Debtor shall pay the applicable U.S.
Trustee fees for that Reorganized Debtor when due in the ordinary course until such time as the
Bankruptcy Court enters a final decree in the Reorganized Debtors’ Chapter 11 Cases.

          6.            Transaction Expenses

        The Transaction Expenses incurred, or estimated to be incurred, up to and including the
Effective Date shall be paid in full in Cash on the Effective Date (to the extent not previously paid
during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth
herein and in the Restructuring Support Agreement, as applicable, without any requirement to file
a fee application with the Bankruptcy Court, without the need for itemized time detail and without
any requirement for Bankruptcy Court’s review or approval. All Transaction Expenses to be paid
on the Effective Date (to the extent not previously invoiced) shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least three (3) Business
Day before the anticipated Effective Date; provided, however, that such estimates shall not be
considered an admission or limitation with respect to such Transaction Expenses. In addition, the
Debtors and the Reorganized Debtors (as applicable) shall continue to pay when due the reasonable
pre- and post-Effective Date Transaction Expenses related to the implementation, consummation
and defense of the Plan, whether incurred before, on or after the Effective Date, upon receipt of
invoices therefor.

3.7       Are any regulatory approvals required to consummate the Plan?

        At this time, other than approvals to transfer certain pharmacy licenses, there are no known
regulatory approvals that are required to consummate the Plan. To the extent any such regulatory
approvals or other authorizations, consents, rulings, or documents are necessary to implement and
effectuate the Plan, however, it is a condition precedent to the Effective Date that they be obtained.

3.8       What happens to my recovery if the Plan is not confirmed or does not go effective?

        In the event that the Plan is not confirmed or does not go effective, there is no assurance
that the Debtors will be able to reorganize their businesses. It is possible that any alternative may
provide holders of Claims and Interests with less than they would have received pursuant to the
Plan. For a more detailed description of the consequences of extended Chapter 11 Cases, or of a
liquidation scenario, see Article 11.6 of this Disclosure Statement, and the Liquidation Analysis
attached hereto as Exhibit C.

3.9       If the Plan provides that I get a distribution, do I get it upon Confirmation or when the
          Plan goes effective, and what is meant by “Confirmation,” “Effective Date,” and
          “Consummation?”

       “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court.
Confirmation of the Plan does not guarantee that you will receive the distribution indicated under
the Plan. After Confirmation of the Plan by the Bankruptcy Court, there are conditions that need
to be satisfied or waived so that the Plan can go effective. Initial distributions to holders of


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Allowed Claims will only be made on the date the Plan becomes effective—the “Effective Date”—
or as soon as reasonably practicable thereafter, as specified in the Plan. “Consummation” of the
Plan refers to the occurrence of the Effective Date. See 8.4 of this Disclosure Statement, titled
“Conditions Precedent to Confirmation and Consummation of the Plan,” for a discussion of
conditions precedent to Confirmation and Consummation of the Plan.

3.10      What are the sources of Cash and other consideration required to fund the Plan?

       The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the
Plan with Cash on hand, the GUC Trade Gift, and the GUC Opt-In Gift.

3.11      Is there potential litigation related to the Plan?

       Parties in interest may object to the approval of this Disclosure Statement and may object
to Confirmation of the Plan, which objections potentially could give rise to litigation. See Article
9.2(d)4 of this Disclosure Statement, entitled “The Reorganized Debtors May Be Adversely
Affected by Potential Litigation, Including Litigation Arising Out of the Chapter 11 Cases.”

        In the event that it becomes necessary to confirm the Plan over the rejection of certain
Classes, the Debtors may seek Confirmation of the Plan notwithstanding the dissent of such
rejecting Classes. The Bankruptcy Court may confirm the Plan pursuant to the “cramdown”
provisions of the Bankruptcy Code, which allow the Bankruptcy Court to confirm a plan that has
been rejected by an impaired class if it determines that the Plan satisfies section 1129(b) of the
Bankruptcy Code. See 9.1(h) of this Disclosure Statement, entitled “The Debtors May Not Be
Able to Secure Confirmation of the Plan.”

3.12      How will the preservation of the Causes of Action impact my recovery under the Plan?

       The Plan provides for the retention of all Causes of Action other than those that are
expressly waived, relinquished, exculpated, released, compromised, or settled.

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such Causes
of Action have been expressly released (including, for the avoidance of doubt, pursuant to the
Debtor Releases provided in Section 7.02 of the Plan), each of the Reorganized Debtors shall retain
and may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action,
whether arising before or after the Petition Date, and each of the Reorganized Debtors’ rights to
commence, prosecute or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date, other than the Causes of Action released by the Debtors pursuant
to the releases and exculpations contained in the Plan, including in Article VII of the Plan, which
shall be deemed released and waived by the Debtors and Reorganized Debtors as of the Effective
Date. Each of the Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of such Reorganized Debtor. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement or the Disclosure Statement
to any Cause of Action against them as any indication that any of the Debtors or Reorganized
Debtors, as applicable, will not pursue any and all available Causes of Action against them.
Except with respect to Causes of Action as to which any of the Debtors or Reorganized
Debtors have released any Person or Entity on or before the Effective Date (including
pursuant to the Debtor Releases), each of the Debtors or Reorganized Debtors, as applicable,


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expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan. Unless any Causes of Action against an
Entity are expressly waived, relinquished, exculpated, released, compromised or settled in the Plan
or a Bankruptcy Court order, each of the Reorganized Debtors expressly reserves all Causes of
Action for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action as a consequence of the Confirmation
or Consummation. Each of the Reorganized Debtors shall have the exclusive right, authority and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of
the foregoing without the consent or approval of any third party or further notice to or action, order
or approval of the Bankruptcy Court. The Debtors have not conducted a comprehensive
investigation into the targets of any Causes of Action that the Estates may possess. Likewise, the
Debtors have not assigned a value to those Causes of Action that may be related to, referenced to,
and/or released under the Plan. Therefore, the Debtors make no representation regarding the value
or loss of value to any Releasing Party in releasing said Causes of Action.

3.13      Will there be releases and exculpation granted to parties in interest as part of the Plan?

        Yes, the Plan proposes to release the Released Parties and to exculpate the Exculpated
Parties. The Debtors’ releases, third-party releases, and exculpation provisions included in the
Plan are an integral part of the Debtors’ overall restructuring efforts and were an essential element
of the negotiations among the Debtors and the Consenting Lenders in obtaining their support for
the Plan pursuant to the terms of the Restructuring Support Agreement. The Released Parties and
the Exculpated Parties have made substantial and valuable contributions to the Debtors’
restructuring through efforts to negotiate and implement the Plan, which will maximize and
preserve the going-concern value of the Debtors for the benefit of all parties in interest. Indeed,
the Released Parties are integral to the facilitation of the transactions contemplated in the Plan and
the releases, as proposed, are necessary to provide finality and permit the Debtors to move forward
with the operations of their business without the threat of litigation against them. Accordingly,
each of the Released Parties and the Exculpated Parties warrants the benefit of the release and
exculpation provisions.

     IMPORTANTLY, THE FOLLOWING PARTIES ARE INCLUDED IN THE
DEFINITION OF “RELEASING PARTIES” AND WILL BE DEEMED TO HAVE
CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY AND FOREVER,
RELEASED AND DISCHARGED ANY AND ALL CAUSES OF ACTION AGAINST THE
DEBTORS AND THE RELEASED PARTIES: (I) EACH OF THE RELEASED PARTIES; (II)
ALL HOLDERS OF CLAIMS OR INTERESTS THAT VOTE TO ACCEPT OR REJECT THE
PLAN AND OPT-INTO THE RELEASES PROVIDED BY THE PLAN BY CHECKING THE
BOX ON THE APPLICABLE FORM INDICATING THAT THEY OPT TO GRANT THE
RELEASES PROVIDED IN THE PLAN; (III) ALL HOLDERS OF CLAIMS OR INTERESTS
THAT ABSTAIN FROM VOTING ON THE PLAN AND WHO AFFIRMATIVELY OPT-INTO
THE RELEASES PROVIDED BY THE PLAN BY CHECKING THE BOX ON THE
APPLICABLE FORM INDICATING THAT THEY OPT TO GRANT THE RELEASES
PROVIDED IN THE PLAN; (IV) EACH CURRENT AND FORMER AFFILIATE OF EACH
ENTITY IN CLAUSE (I) THROUGH THE FOLLOWING CLAUSE (V); AND (V) EACH


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RELATED PARTY WITH RESPECT TO EACH OF THE FOREGOING IN CLAUSES (I)
THROUGH (V).

        Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan
are necessary and appropriate and meet the requisite legal standard promulgated by the United
States Court of Appeals for the Third Circuit. Moreover, the Debtors will present evidence at the
Confirmation Hearing to demonstrate the basis for and propriety of the release and exculpation
provisions. The release, exculpation, and injunction provisions that are contained in the Plan are
copied in pertinent part below.

          (a)           Releases by the Debtor

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration provided by each of the Released Parties 3, the adequacy
of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever
released and discharged by each of the Debtors, the Reorganized Debtors and their Estates,
including any successors to the Debtors or any estates representatives appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves
and their respective successors, assigns and representatives, and any and all other Entities
who may purport to assert any Cause of Action, directly or derivatively, by, through, for or
because of the foregoing Entities, from any and all Causes of Action, including any derivative
claims, asserted on behalf of the Debtors, whether known or unknown, foreseen or
unforeseen, matured or unmatured, in law, equity, contract, tort or otherwise, that any of
the Debtors, the Reorganized Debtors or their Estates would have been legally entitled to
assert in its own right (whether individually or collectively) or on behalf of a Holder of any
Claim against, or Interest in, the Debtors or other Entity, based on or relating to or in any
manner arising from, in whole or in part, the Debtors (including the Debtors’ capital
structure, management, ownership or operation thereof), purchase, sale, or rescission of any
security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions (but excluding Avoidance Actions brought as
counterclaims or defenses to Claims asserted against any of the Debtors), intercompany
transactions between or among a Debtor or an Affiliate of a Debtor and another Debtor or

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     “Released Parties” means, collectively, (a) each of the Debtors, (b) the Reorganized Debtors, (c) the Consenting
     Lenders, (d) the DIP Lenders, (e) the Admin Agent; (f) Aves, (g) the Noteholders; and (h) the Related Parties of
     each of the foregoing Entities in clauses (a) through (g) of this definition; provided, however, that if any of Aves
     and the Noteholders do not vote to accept the Plan, such non-accepting parties shall not be Released Parties. For
     the avoidance of doubt, the manager of Pharmacy Management LLC and its Related Parties shall be deemed
     Released Parties. For the further avoidance of doubt, the following individuals are not, and shall not be deemed
     to be, Released Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku Patel, (iv) Crestview City Pharmacy, Inc.,
     (v) Jennifer Reshay Densman, (vi) Chistopher Neil Densman, (vii) Bryan Henderson, (viii) Amanda Davey, (ix)
     Claudia Barnett, (x) Kari Waites, (xi) Victoria Ballard, (xii) Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen
     Stafford, (xv) Sergio Zepeda, (xvi) Cold Bore Capital Management, LLC, and (xvii) Marc Wank.


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Affiliate of a Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, entry into, or filing of the Restructuring Support Agreement and related
prepetition transactions, any Definitive Document, the Disclosure Statement, the New
Governance Documents, the Plan (including, for the avoidance of doubt, the Plan
Supplement), or any Restructuring Transactions, contract, instrument, release or other
agreement or document created or entered into in connection with the Restructuring
Support Agreement, the New Governance Documents, the Disclosure Statement, the Exit
Facility, the Plan Supplement, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the issuance or distribution of the new preferred and common equity shares
or units of Online Pharmacy Holdings LLC pursuant to the Plan, to the extent applicable,
or the distribution of property under the Plan or any other related agreement, or upon any
other act or omission, transaction, agreement, event or other occurrence related or relating
to any of the foregoing, in each case taking place on or before the Effective Date. For the
avoidance of doubt, the following individuals are not, and shall not be deemed to be, Released
Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku Patel, (iv) Crestview City Pharmacy,
Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil Densman, (vii) Bryan Henderson,
(viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi) Victoria Ballard, (xii)
Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford, (xv) Sergio Zepeda, (xvi) Cold
Bore Capital Management, LLC, and (xvii) Marc Wank.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date or (ii) the rights of any of the
Debtors with respect to any confidentiality provisions or covenants restricting competition
in favor of any of the Debtors under any employment agreement with a current or former
employee of any the Debtors.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Releases, which include by reference each
of the related provisions and definitions contained in the Plan, and further shall constitute
the Bankruptcy Court’s finding that the Debtor Releases are: (i) in exchange for the good
and valuable consideration provided by the Released Parties, including, without limitation,
the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (ii) a good faith settlement and compromise of the Claims released
by the Debtor Releases; (iii) in the best interests of the Debtors and all Holders of Claims and
Interests; (iv) fair, equitable and reasonable; (v) given and made after due notice and
opportunity for hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors or
the Debtors’ Estates asserting any Cause of Action released pursuant to the Debtor Releases.

          (b)           Releases by Holders of Claims and Interests

       To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, except as otherwise expressly set forth in the Plan
or the Confirmation Order, on and after the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is,
and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action,


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whether known or unknown, foreseen or unforeseen, matured or unmatured, in law, equity,
contract, tort or otherwise, including any derivative claims asserted on behalf of any of the
Debtors, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, any
of the Debtors (including the capital structure, management, ownership or operation
thereof), the subject matter of or the transactions or events giving rise to any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors any other Released Party, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted against any of the Debtors), intercompany transactions between
or among any of the Debtors or an affiliate of a Debtor and another Debtor or affiliate of a
Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
entry into, or filing of the Restructuring Support Agreement and related prepetition
transactions, any Definitive Document, the Disclosure Statement, the New Governance
Documents, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document
created or entered into in connection with the Restructuring Support Agreement, the New
Governance Documents, the Disclosure Statement, the Plan, the Plan Supplement, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of the
new preferred and common equity shares or units of Online Pharmacy Holdings LLC
pursuant to the Plan, to the extent applicable, or the distribution of property under the Plan
or any other related agreement, or upon any other act or omission, transaction, agreement,
event or other occurrence related or relating to any of the foregoing, in each case taking place
on or before the Effective Date.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release the (i) any liabilities arising after the Effective Date, (ii) the rights of any
current employee of any of the Debtors under any employment agreement or plan or (iii)
rights of Holders of Allowed Claims or Allowed Interests to receive distributions under the
Plan.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained herein, and, further, shall constitute
the Bankruptcy Court’s finding that the Third-Party Release is: (i) consensual; (ii) essential
to the confirmation of the Plan; (iii) given in exchange for the good and valuable
consideration provided by the Released Parties; (iv) a good faith settlement and compromise
of the Claims released by the Third-Party Release; (v) in the best interests of the Debtors
and their Estates; (vi) fair, equitable and reasonable; (vii) given and made after due notice
and opportunity for hearing; and (viii) a bar to any of the Releasing Parties asserting any
claim or Cause of Action released pursuant to the Third-Party Release.

          (c)           Discharge of Claims

       Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, or in any contract, instrument, or other agreement or document created or


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entered into pursuant to the Plan, the distributions, rights, and treatment that are provided in the
Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by
the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims and Interests, including
demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed
by employees of the Debtors prior to the Effective Date and that arise from a termination of
employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in section 502(g), 502(h),
or 502(i) of the Bankruptcy Code, in each case whether or not: (i) a proof of claim or Interest based
upon such debt, right or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is Allowed pursuant
to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or Interest has accepted
the Plan or voted to reject the Plan. The Confirmation Order shall be a judicial determination of
the discharge of all Claims and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan.

          (d)           Exculpation

        As of the Effective Date, except as otherwise specifically provided in the Plan or
Confirmation Order, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is hereby released and exculpated from, any Exculpated Claim other than
those arising out of or relating to any act by or omission of an Exculpated Party that have
been determined in a Final Order of a court of competent jurisdiction to have constituted
actual fraud, willful misconduct or gross negligence, but in all respects such Entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Exculpated Parties have, and upon Consummation
of the Plan shall be deemed to have, participated in good faith and in compliance with the
applicable laws with regard to the solicitation of votes on the Plan, distribution of
consideration pursuant to the Plan and, to the extent applicable, the offer, issuance and sale
or purchase of securities pursuant to the Plan and, therefore, are not, and on account of such
solicitation, distribution and issuance shall not be, liable at any time for the violation of any
applicable law, rule or regulation governing the solicitation of acceptances or rejections of
the Plan, such distributions made pursuant to the Plan and issuance of securities pursuant
to the Plan. Notwithstanding anything to the contrary in the foregoing, the exculpations set
forth above do not release (i) any liabilities arising after the Effective Date, (ii) the rights of
any current employee of any of the Debtors under any employment agreement or plan or




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(iii) the rights of Holders of Allowed Claims or Allowed Interests to receive treatment in
accordance with the Plan.

3.14      When is the deadline to vote on the Plan?

          The Voting Deadline is September 3, 2024, at 5:00 p.m. (prevailing Eastern Time).

3.15      How do I vote on the Plan?

        Detailed instructions regarding how to vote on the Plan are contained on the ballot
distributed to holders of Claims that are entitled to vote on the Plan (the “Ballot”). For your vote
to be counted, the Ballot containing your vote must be properly completed, executed, and delivered
as directed so that it is actually received by the Debtors’ claims, noticing, and solicitation agent,
Stretto, Inc. (the “Solicitation Agent”) on or before the Voting Deadline, i.e. September 3, 2024,
at 5:00 p.m. (prevailing Eastern Time). If a Ballot is received after the Voting Deadline, it will not
be counted unless the Debtors determine otherwise. See Article X of this Disclosure Statement,
entitled “Solicitation and Voting Procedures,” for additional information.

3.16      Why is the Bankruptcy Court holding a Confirmation Hearing?

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing
on confirmation of the Plan and recognizes that any party in interest may object to Confirmation
of the Plan. The Debtors have requested that the Bankruptcy Court schedule the Confirmation
Hearing on September 13, 2024. All parties in interest will be served notice of the time, date, and
location of the Confirmation Hearing once scheduled.

3.17      When is the Confirmation Hearing set to occur?

        The Debtors have requested that the Bankruptcy Court schedule the Confirmation Hearing
on September 13, 2024. The Confirmation Hearing may be adjourned from time to time without
further notice. The Debtors have requested that objections to Confirmation must be filed and
served on the Debtors, and certain other parties, on or before September 3, 2024.

3.18      What is the purpose of the Confirmation Hearing?

        The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any
issuer of securities under a plan of reorganization, any person acquiring property under a plan of
reorganization, any creditor or equity interest holder of a debtor, and any other person or entity as
may be ordered by the Bankruptcy Court in accordance with the applicable provisions of the
Bankruptcy Code. Subject to certain limited exceptions, the order issued by the bankruptcy court
confirming a plan of reorganization discharges a debtor from any debt that arose before the
confirmation of such plan of reorganization and provides for the treatment of such debt in
accordance with the terms of the confirmed plan of reorganization.

3.19      What is the effect of the Plan on the Debtors’ ongoing businesses?

       The Debtors are reorganizing under chapter 11 of the Bankruptcy Code. As a result, the
occurrence of the Effective Date means that the Debtors will not be liquidated or forced to go out


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of business. Following Confirmation, the Plan will be consummated on the Effective Date, which
is a date that is the first Business Day after the Confirmation Date on which (1) no stay of the
Confirmation Order is in effect and (2) all conditions to Consummation have been satisfied or
waived (see Articles 8.02 and 8.03 of the Plan). On or after the Effective Date, and unless
otherwise provided in the Plan, the Reorganized Debtors may operate their businesses and, except
as otherwise provided by the Plan, may use, acquire, or dispose of property and compromise or
settle any Claims, Interests, or Causes of Action without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.
Additionally, upon the Effective Date, all actions contemplated by the Plan will be deemed
authorized and approved.

3.20      Will any party have significant influence over the corporate governance and operations
          of the Reorganized Debtors?

        As of the Effective Date, and subject to the Restructuring Support Agreement, the existing
members of the Reorganized Debtors’ Governing Bodies shall remain in their current capacities
as members of such Governing Body of the applicable Reorganized Debtor, unless or until
replaced or removed in accordance with the New Governance Documents of the Reorganized
Debtors. The New Governance Documents of the Reorganized Debtors shall be as set forth in the
Plan Supplement and shall be acceptable in form and substance to the Consenting Lenders. To the
extent any such officer of the Reorganized Debtors is an “insider” as defined in section 101(31) of
the Bankruptcy Code, the nature of any compensation to be paid to such trustee and officer shall
also be disclosed in the Plan Supplement.

3.21      Who do I contact if I have additional questions with respect to this Disclosure
          Statement or the Plan?

       If you have any questions regarding this Disclosure Statement or the Plan, please contact
the Debtors’ Solicitation Agent, Stretto, Inc., via one of the following methods:

                        By regular mail, hand delivery or overnight mail at:

                                                       Optio Rx
                                                    c/o Stretto, Inc
                                                    410 Exchange
                                                        Ste 100
                                                   Irvine, CA 9260

                        By electronic mail at:

                                           OptioRXInquiries@stretto.com


                        By telephone (toll free) at:

                                              Toll-free: 949.590.3286

                                                 Local: 866.515.5505


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Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in the
Chapter 11 Cases are available upon written request to the Solicitation Agent at the address above
or by downloading the documents from the Debtors’ restructuring website at
https://cases.stretto.com/OptioRX (free of charge) or via PACER at https://www.pacer.gov (for
a fee).

3.22      Do the Debtors recommend voting in favor of the Plan?

        Yes. The Debtors believe that the Plan provides for a larger recovery to the Debtors’
stakeholders than would otherwise result from any other available alternative. The Debtors believe
that the Plan contemplates a significant deleveraging of the Company’s balance sheet and enables
the Debtors to emerge from chapter 11 expeditiously, is in the best interest of all holders of Claims
or Interests, and that any other alternatives (to the extent they exist) fail to realize or recognize the
value inherent in the Plan.

3.23      Who Supports the Plan?

       The Plan is supported by the Debtors and the Consenting Lenders that have executed the
Restructuring Support Agreement.

                            ARTICLE IV
    DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS OVERVIEW

4.1       The Debtors’ Prepetition Businesses

          (a)           Overview4

        The Debtors operate in four primary specialty pharmacy business segments, including: (i)
clinically focused retail dermatology pharmacies; (ii) compounding pharmacies; (iii) hospice
pharmacies; and (iv) fertility treatments. Overall, the Company employs approximately 260
employees in 18 locations located in seven states and services more than 100,000 patients. The
Debtors also provide prescription fulfilling services to long term care facilities, among other
things.

          (b)           Retail Pharmacies

        The Company owns and operates seven clinically focused retail dermatology pharmacies,
five are located in California and two are located in New York (the “Retail Pharmacies”). The
Retail Pharmacies accounted for approximately 59% of the Debtors 2023 revenue (approximately
$98 million of a total of $166 million in revenue) and are one of the largest clinically focused
dermatology pharmacy chains in the United States. The Retail Pharmacies have storefronts,
allowing patients to pick up their prescriptions, other retail items and a limited selection of over-
the-counter medications. If a patient is not located near one of the Retail Pharmacies, the Company
can ship prescriptions directly. As of the Petition Date, the Retail Pharmacies have 55 employees,


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      While stated in the present tense, the information contained in this Overview section is accurate as of the date of
      this Disclosure Statement.



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including two salespeople that market the specialized services provided by the Retail Pharmacies
directly to dermatologists.

          (c)           Compounding Pharmacies and Other Pharmacy Lines

        The Company also operates compounding pharmacies (the “Compounding
Pharmacies”). Pharmacy compounding is the preparation of customized medications for human
patients and animals. The Company currently operates seven Compounding Pharmacies that ship
prescriptions to patients nationwide, including one that is primarily a fertility pharmacy (as
discussed below). The Debtors’ Compounding Pharmacies accounted for approximately $44
million of the Debtors’ combined revenue in 2023, including $23 million in fertility treatments and
$21 million in compounding, infusion, OTC, and DME revenues. Despite accounting for a smaller
percentage of the Company’s overall revenue, the Compounding Pharmacies are the Company’s
most profitable business segment relative to the revenue they generate. As of the Petition Date,
the Compounding Pharmacies have 104 employees, including one salesperson to market the
services offered.

        Among other products, the Compounding Pharmacies provide Bio-Identical Hormone
Replacement Therapy (“BHRT”) for both men and women. BHRT is a personalized natural
approach to hormone balancing, using hormones that are chemically identical to those produced
by a patient’s body. This personalized treatment aims to restore hormonal balance, replenishing a
patients’ essential hormones that may have declined due to aging or other factors.

        These conditions affect millions of men and women. As the number of patients seeking
hormone-related treatment has grown, so has the mass production of pills, patches and creams by
the drug industry. Each person’s body is different and has its own unique needs, but commercially
manufactured products tend to be “one size fits all,” and they do not always account for the
differences between individuals. A growing population and longer life expectancies has expanded
the number of patients experiencing the symptoms of hormonal imbalances.

        For example, by the year 2025, the number of post-menopausal women (older than age 51)
is expected to be more than 1.1 billion and nearly 30 percent of the total U.S. population is aged
55 and older. A hormonal imbalance for women may cause several related health concerns,
including, without limitation, a decreased libido, fibrocystic breasts, hot flashes, infertility,
irregular menstrual cycle, night sweats, painful intercourse, PMS, post-partum depression, and
weight gain.

        The Company also provides personalized hormone replacement solutions for men. Every
man’s body is different, and factors such as age, genetics, lifestyle, and existing health conditions
significantly determine hormone levels. There may be times when standard medications don’t
address the diverse needs of men. Some of the conditions the Company’s hormone replacement
solutions for men address are adrenal fatigue, andropause, low testosterone and thyroid imbalance.

          (d)           Veterinary Compounding

      Compounding is an increasingly popular solution to veterinary patient problems. When it
comes to things like skin rashes, eye and ear infections, heart conditions, cancer, and diabetes,


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animals and humans have a lot in common. However, giving animals medication presents a unique
set of challenges. Compounding techniques enable the Company’s pharmacists to formulate
medications as liquids, chewables, capsules, pills, or transdermal creams and gels for animals.

       The Company specializes in customizing medications in unique dosages and forms to meet
a animal’s individual needs. In many cases, the Company can create medications that are not
available in standard forms, allowing for a treatment program specifically tailored to individual
animals.

          (e)           Hospice Pharmacies

       The Company also operates four hospice pharmacies (the “Hospice Pharmacies”). The
Debtors’ Hospice Pharmacies provide medications for the compassionate care of people in the last
phases of incurable diseases. The Debtors’ Hospice Pharmacies accounted for approximately
$23.5 million of the Debtors’ combined revenue in 2023 and currently have 80 employees.

          (f)           Fertility Treatments

         The Company also provides specialized fertility treatments (the “Fertility Treatments”)
for its patients. The Company operates one pharmacy that specializes in Fertility Treatments (the
“Fertility Pharmacy”) and compounding treatments as set forth above. The Company provides
complete packages for a patient’s Fertility Treatments, including syringes, needles, swabs and
sharps containers and offers a full line of sterile and non-sterile fertility compounds. The Debtors’
Fertility Treatments accounted for approximately $23 million of the Debtors’ combined revenue
in 2023. As of the Petition Date, the Fertility Pharmacy currently has 18 employees.

4.2       Organizational Structure and Equity Ownership.

        Non-Debtor CBC Pharma is the direct or indirect parent company of Optio Rx and each of
the other Debtors. The organizational chart below shows the Company’s current organizational
structure:




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          (a)           Employees

        Overall, the Company employs approximately 260 employees in 18 locations located in 7
states. To date, the Company has not experienced any significant work stoppages or other labor
problems.

          (b)           Regulation of Company’s Business

        The Company’s operations are subject to various federal, state and local environmental,
health, and safety laws, licenses and regulations governing the ongoing operation of its primary
specialty pharmacy businesses. More specifically, individual state boards of pharmacy govern the
pharmacy licenses for each of the Debtors’ locations. The Debtors cannot operate without these
state pharmacy licenses. Any ownership changes for the Debtors will require state board of
pharmacy approval. To the extent the Debtors licenses cannot be transferred to the new owners of
the Reorganized Debtors under the Plan, the Plan may not be able to go effective.

4.3       The Capital Structure

        As of the Petition Date, certain of the Debtors are obligated as borrowers, issuers, or
guarantors on: (i) a secured credit facility, referred to as the Prepetition Credit Agreement; (ii) an
unsecured Note Purchase Agreement; and (iii) various Seller Notes (each as defined below). The
Prepetition Credit Agreement is secured by a first-priority lien on and security interest in
substantially all the Debtors’ assets.

          (a)           Prepetition Credit Agreement

      Pursuant to that certain Credit Agreement, dated as of June 28, 2019 (as amended, the
“Prepetition Credit Agreement”), by and among CBC Pharma, Optio Rx, Loan Admin Co LLC,



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as administrative agent, and Loan Admin Co LLC, as lead arranger (the “Prepetition Admin
Agent”) and the lenders party thereto from time to time (the “Prepetition Secured Lenders”), as
of the Petition Date, the Debtors are indebted to the Prepetition Secured Lenders in an aggregate
principal amount of approximately $127.6 million, including accrued and unpaid interest, fees and
other claims (the “Prepetition Secured Obligations”). The Prepetition Secured Obligations are
secured by first-priority liens and security interests in substantially all the Debtors’ assets (the
“Prepetition Liens”). At the time the Prepetition Credit Agreement was entered into, certain
Prepetition Secured Lenders also acquired equity interests in CBC Pharma, representing
approximately 11.6% of the fully diluted equity interests in CBC Pharma at that time. Certain
Prepetition Secured Lenders subsequently made additional investments in equity interests of CBC
Pharma in connection with further acquisitions by CBC Pharma; as of the Petition Date, these
Prepetition Secured Lenders own approximately 19.9% of the common equity interests in CBC
Pharma. The Last Out Lender additionally indirectly owns a minority interest in CBC Pharma.

         On September 16, 2022, the Prepetition Admin Agent served a notice of default and
exercise of certain remedies (the “Notice of Default”) under the Prepetition Loan Documents on
CBC Pharma and Optio Rx. The Notice of Default asserted CBC Pharma and Optio Rx’s failure
to comply with and/or cure certain material obligations under the Prepetition Loan Documents. In
accordance with the terms thereunder, among other things, the Prepetition Admin Agent appointed
Pharmacy Management LLC as the Prepetition Admin Agent’s sub-agent for purposes of
exercising remedies under the Prepetition Loan Documents. Pursuant to the Prepetition Loan
Documents, as directed by the Prepetition Secured Lenders, Pharmacy Management, as sub-agent,
exercised the voting rights of the membership interests in Optio Rx pledged by CBC Pharma as
collateral for the Prepetition Secured Obligations to amend the operating agreement of Optio Rx
to (i) remove CBC Pharma as Manager of Optio Rx and (ii) appoint Pharmacy Management as
Manager of Optio Rx. As a result of this action, since September 16, 2022, Pharmacy
Management, under the direction of its Board of Managers, has exercised operational control of
Optio Rx and the other Debtors. Initially, the Board of Managers of Pharmacy Management
consisted of one independent manager, three designees of the Prepetition Secured Lenders, and the
CEO of Optio Rx at the time. Prior to the Petition Date, all members of the Board of Managers of
Pharmacy Management other than the independent manager have resigned.

        In connection with the Prepetition Credit Agreement, on or about November 3, 2022,
certain of the Prepetition Secured Lenders entered into an Agreement Among Lenders, (as
amended, the “AAL”). The AAL is between and among: (i) holders (each, a “First Out Holder”
and collectively, the “First Out Holders”) of first out term loans (the “First Out Term Loans”)
and revolving loans under the Prepetition Credit Agreement and the AAL; (ii) the holder (the “Last
Out Holder”) of last out term loans (the “Last Out Term Loans”) under the Prepetition Credit
Agreement and the AAL; (iii) the Prepetition Admin Agent, and (iv) any other lender party to the
AAL. One part of the transactions at the time the AAL was entered into provided additional
liquidity to Optio Rx, in the form of new money last out term loans from the Last Out Holder.
Prior to acquiring the Last Out Term Loans, the Last Out Holder had provided financing to certain
equity holders of CBC Pharma to fund their equity investments in CBC Pharma.

        The AAL is a subordination agreement under section 510(a) of the Bankruptcy Code that
sets forth specific remedies, priorities, voting rights and other rights between the Last Out Holder



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and the First Out Holders under the Prepetition Credit Agreement and AAL until the First Out
Term Loans are repaid in full. In general terms, the rights of the Last Out Holder have been
subordinated to the rights of the First Out Holders.

        As of the Petition Date, interest on the Prepetition Secured Obligations is accruing at
approximately 15% to 19 % per annum, depending upon the tranche. With respect only to the Last
Out Term Loans, in addition to cash interest, the Debtors accrued additional interest at a rate equal
to 2.00% per annum on the then outstanding principal amount of the Last Out Term Loans in kind
(“Last Out PIK Interest”), which Last Out PIK Interest was capitalized by adding such amount
to the then outstanding principal amount of the Last Out Term Loans. The Debtors have been in
default of the Prepetition Credit Agreement since September of 2022. The Prepetition Secured
Obligations matured on June 28, 2024. As of the Petition Date, and at all times since September
16, 2022, Pharmacy Management LLC, as the manager of Optio Rx, has one independent director.

        As of the Petition Date, the Prepetition Credit Agreement consists of (a) Term Loans in
the approximate principal amount of $32,986,997.19, (b) Healthy Choice Incremental Term Loans
in the approximate principal amount of $9,859,596,28, (c) Revolving Loans in the approximate
principal amount of $5,000,000.00, (d) Last Out Term Loans in the approximate principal amount
of $57,143,815.64, (e) First Out Term Loans in the approximate principal amount of
$5,000,000.00, and (f) accrued fees and interest of $17,592,726.

       The Committee is investigating, among other things, the validity of purported liens against
the Debtors’ assets. Depending on the outcome of this investigation, such assets may prove to be
a source of recovery for unsecured creditors.

          (b)           Note Purchase Agreement

        Pursuant to that certain Note Purchase Agreement, dated as of September 25, 2020 (the
“Note Purchase Agreement”), Optio Rx issued $50,000,000 in unsecured notes (the “Notes”) to
note purchasers from time to time (the “Noteholders”). Aves Management LLC (“Aves”) serves
as the Administrative Agent for the Noteholders. All of the Debtor subsidiaries of Optio Rx have
guaranteed the Notes. Interest on the Notes was set to accrue at 16.5% per annum, paid by adding
and capitalizing the full amount of such interest to the principal amount of the Notes in kind (the
“PIK Interest”). Under the terms of the Note Purchase Agreement, the Notes mature on March
25, 2025.

        The Notes are subject to a Subordination Agreement, dated as of September 25, 2020,
subordinating the Noteholders’ claims under the Note Purchase Agreement to the Prepetition
Secured Obligations. As of the Petition Date, the Debtors are indebted to the Noteholders in an
aggregate principal amount of approximately $73.8 million, including accrued and unpaid PIK
Interest, fees and other claims (the “Prepetition Noteholder Obligations”).

          (c)           Seller Notes

       Several of the Debtors are obligated under unsecured notes issued to prior owners of certain
businesses that were purchased by the Debtors (the “Seller Notes”). As of the Petition Date, the
Debtors are indebted on the Seller Notes in an aggregate principal amount of approximately $29.9


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million, including accrued and unpaid interest, fees and other claims (the “Seller Note
Obligations”).

          (d)           Other Creditors

        As of the Petition Date, the Debtors had approximately $2.4 million in unsecured trade
debt and $1.5 million in secured trade debt owing to certain to vendors under supply and security
agreements (the “Vendor Secured Claims”). To the extent any supplier has a valid, fully
perfected, and unavoidable lien, that is senior to the Prepetition Liens held by the Prepetition
Secured Lenders, they are considered permitted liens (“Permitted Liens”) under the Final DIP
Order and Plan.

                                          ARTICLE V
                              EVENTS LEADING TO CHAPTER 11 FILING

        While the Company’s business remains operationally sound, it has experienced several
unexpected challenges in recent years as described below, including the inability of the Debtors to
service the Company’s debt obligations. In addition, the Debtors face liquidity issues that leave
them unable to repay or recapitalize the outstanding principal and interest due to the Prepetition
Secured Lenders under the Prepetition Credit Agreement coming due in June. Consequently, the
Debtors negotiated with the Consenting Lenders the terms of the Plan Term Sheet, the
Restructuring Support Agreement, the Plan and the Restructuring Transactions (as defined below).
These transactions, when effectuated, are expected to leave the Company’s business intact, de-
lever the balance sheet of the Debtors, enhance long-term growth prospects, and improve
operational performance.

5.1       Declining Financial Performance

        The Company was formed in 2018. Through 2020, the Company had acquired nineteen
pharmacies, some of which were purchased as part of multi-pharmacy groups. The Company
funded these acquisitions with a mix of equity, third-party senior secured debt and subordinated
debt, and seller financing through the takeback of certain notes by the pharmacy owners selling
their businesses. Operationally, the Company largely left the pharmacies to run autonomously.

        Apart from the growth stemming from acquisitions, the Company began experiencing
difficulty generating organic growth and boosting profitability at the individual pharmacies. The
Company likewise experienced difficulty achieving expectations around the full year cash flow
potential of the pharmacies. In 2021, the Company earned $16.1 million in reported EBITDA
from all business operations but has been eroding ever since.

       By the end of 2021, the Company’s investors elected to install new leadership—a new chief
executive officer was elected in early 2022. In early 2022, the Company and an important payor,
with which the Company was dispensing and billing pharmaceuticals, got into a significant dispute
regarding the scope of their contract. This ultimately led the Company to discontinue certain
products, which contributed to a material decline in the Company’s revenue and profitability.

     Starting in early 2022, the Company’s new management team sought to refocus the
Company on compounding rather than retail products—2022 concluded with $14.5 million in


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EBITDA. At the same time earnings were declining, interest rates began to increase, causing the
Company’s debt service to increase dramatically.

        In 2023, several factors caused a dramatic reduction in earnings, resulting in only $6.2
million in EBITDA for 2023. The Company no longer had the benefit of dispensing specific highly
profitable pharmaceuticals that Caremark asserted were not covered under their payor contract that
were discontinued in 2022 (the “Caremark Dispute”). The new strategy to focus on
compounding failed, and an expensive sales force and corporate infrastructure hired to support the
transition further increased costs. In addition, in 2023, former employees opened two competing
pharmacies, significantly reducing revenues at two of the Debtors’ profitable pharmacies—several
productive sales representatives also left the Company.

         Legal expenses also increased significantly in 2023 related to, among other things: (i) a
lawsuit filed by Optio RX and Crestview Pharmacy versus Crestview City Pharmacy, et al., Case
Number 3:23-cv-08993-MCR-HTC, pending in the United States District Court for the Northern
District of Florida, Pensacola Division; (ii) a lawsuit filed by Mark H. Wank versus Optio RX,
Case Number 23C2046, pending in the Circuit Court for Davidson County, Tennessee at Nashville;
(iii) a negotiated settlement with the sellers of the Baybridge Pharmacy regarding their Seller Note
and equity interests; and (iv) the Caremark Dispute referenced above, further reducing earnings.
The Company’s failure to turn around profitability in 2022 and 2023 led the Company to bring in
a new chief executive officer, who began in early 2024.

        At the end of the first quarter of 2024, the Company’s year to date EBITDA was $500,000,
translating into an annualized EBITDA of only $2 million. Currently, the Company’s cash interest
payment obligations under the Prepetition Loan Documents are $4 million per quarter (or, $16
million annually). As of the Petition Date, the Company has only approximately $1.8 million in
cash on hand and no remaining availability on its Revolving Loans. Given the Company’s current
cash position, the Company does not have the ability to pay its upcoming interest payments due to
Prepetition Secured Lenders and risks failing to pay operating costs in the ordinary course of
business. The inability to pay interest on the Prepetition Secured Obligations, coupled with the
pending June 28, 2024 maturity date, has created the need for the Company to restructure all its
obligations through the RSA and Plan.

5.2       The Prepetition Marketing Process

       On July 10, 2023, the Debtors retained Triangle Heath Advisors, LLC (“Triangle”) to
market the Debtors’ Retail Pharmacies (the “Retail Pharmacy Marketing Process”), its largest
operating segment in terms of both revenue and EBITDA. The Retail Pharmacy Marketing
Process was related to pharmacy operations of the Debtors five Retail Pharmacies in California
and two in New York.

       The Retail Pharmacy Marketing Process ran through April 30, 2024. During the Retail
Pharmacy Marketing Process, Triangle reached out to 279 potential strategic and financial buyers,
of which 41 executed a non-disclosure agreement (“NDA”). Triangle sent a confidential
information memorandum (“CIM”) to all interested buyers that executed an NDA. Despite having
numerous calls and meetings with several of the potential buyers, an acceptable offer for the Retail
Pharmacies that cleared the Company’s senior secured debt obligations was not received.


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         On July 20, 2023, the Debtors also retained Triangle to market the Hospice Pharmacies
(the “Hospice Marketing Process”). The Hospice Marketing Process also ran through April 30,
2024 without success. During the Hospice Marketing Process, Triangle reached out to 192
potential strategic and financial buyers, of which eight executed an NDA. Triangle sent a CIM to
all interested buyers that executed an NDA. Despite having numerous calls with several of the
potential buyers, an offer for the Hospice Pharmacies that cleared the Company’s senior secured
debt obligations was not received. Accordingly, no offers for the Retail Pharmacies and the
Hospice Pharmacies cleared the Company’s senior secured debt obligations.

       Given the unsuccessful marketing processes, the Debtors approached the Prepetition
Secured Lenders to discuss restructuring alternatives.

5.3       The Restructuring Support Agreement

        On May 9, 2024, the Debtors, the First Out Holders, the Last Out Holder (and together
with the First Out Holders, the “Consenting Lenders”), and the Prepetition Admin Agent, entered
into that certain Restructuring Support Agreement, pursuant to which the Debtors and the
Consenting Lenders approved certain restructuring transactions with respect to the Debtors’ capital
structure on the terms and conditions set forth in therein and as specified in the term sheet attached
thereto as Exhibit B (including all exhibits, annexes, and schedules thereto, the “Plan Term Sheet”
and, such transactions as described in the Restructuring Support Agreement and the Plan Term
Sheet, the “Restructuring Transactions”). The Restructuring Transactions have been
incorporated into the Plan filed contemporaneously herewith.

     The Plan contemplates a partial debt for equity swap, as follows (the “Debt for Equity
Swap”):

        a.     on the Effective Date of the Plan, the First Out Holders and the Last Out Holder
will convert (i) a portion of their Prepetition Secured Obligations into exit facility claims (the
“Prepetition Lien Conversion”) on such terms as to effect the Exit Capital Structure attached as
an exhibit to the RSA (the “Exit Facility Claims”) and (ii) the remaining portion of their
Prepetition Secured Obligations into preferred and common equity shares or units of Online
Pharmacy Holdings LLC (the “Prepetition Lien Conversion Equity”), the new holding company
formed on May 22, 2024 to issue preferred and common equity shares or units in connection with
the Prepetition Lien Conversion, which Prepetition Lien Conversion Equity shall constitute
consideration for the First Out Holders and Last Out Holder committing to such Prepetition Lien
Conversion, all to effect the Exit Capital Structured attached as an exhibit to the RSA; and

       b.     on the Effective Date, the DIP Lenders will convert 100% of their DIP Superpriority
Claims into Exit Facility Claims, all to effect the Exit Capital Structure attached as an exhibit to
the RSA.

        On the Effective Date, after consummation of the transactions contemplated in the Debt
for Equity Swap described above, the Prepetition Secured Obligations and related claims shall
constitute first-priority, perfected, enforceable and unavoidable Exit Facility Claims in full force
and effect, which Exit Facility Claims and liens shall be first-priority, enforceable, unavoidable
and automatically perfected by virtue of the Confirmation Order (defined below) entered by the



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Bankruptcy Court; provided, however, each of the holders of the Prepetition Secured Claims will
gift (the “GUC Trade Gift”) to the holders of allowed general unsecured trade claims (the “GUC
Trade Claims”) and transfer into an escrow account their proportionate share to satisfy (x) 80-
95% of all allowed GUC Trade Claims on the Effective Date and (y) the remaining 5%-20% of
such allowed GUC Trade Claims on the one year anniversary of the Effective Date. Additionally,
any impaired creditors eligible to vote who vote to accept the Plan of Reorganization and elect to
opt-in to the Plan releases shall receive their respective pro rata share of the GUC Opt-In Gift
under the Plan. Finally, there is a provision for convenience class claims under the Plan.

        Creditors that hold allowed Vendor Secured Claims will, at the election of the Reorganized
Debtors: (a) be paid in cash in full on the Effective Date of the Plan in satisfaction of their
respective allowed secured claims; (b) receive the return of their collateral; or (c) receive such
other treatment as the Reorganized Debtors and such vendor agree. The Plan also provides for the
payment in full of administrative, priority and other secured claims.

       The Notes, Seller Notes and all equity in Optio Rx, held by CBC Pharma, shall be
cancelled, released, and extinguished under the Plan.

5.4       Milestones

        Pursuant to the Restructuring Support Agreement, the Debtors are required to comply with
certain milestones (each, a “Milestone” and collectively, the “Milestones”), including: (i) the
filing of the Chapter 11 Cases no later than 60 days after the Agreement Effective Date (as defined
in the Restructuring Support Agreement); (ii) the filing of the Plan and the Disclosure Statement
no later than five (5) business days after the Petition Date; (iii) entry of an interim DIP order (the
“Interim DIP Order”) no later than five (5) business days after the Petition Date; (iv) the entry
of a final DIP Order (the “Final DIP Order”) no later than forty-five (45) days after the Petition
Date; (v) the entry of a disclosure statement order (the “Disclosure Statement Order”) no later
than 60 days after the Petition Date; (vi) the entry of a confirmation order (the “Confirmation
Order”) no later than 100 days after the Petition Date; and (vii) the satisfaction or waiver of the
conditions to the Effective Date under the Plan no later than five (5) business days after the Debtors
obtain the last pharmaceutical license or other regulatory approval necessary for the Reorganized
Debtors to conduct their business post-Effective Date.

       The Plan and the transactions contemplated thereby are vital to preserve the Debtors’
operations, employment, and ability to continue to provide uninterrupted services to their patients.
The Plan provides the most efficient and cost-effective path forward for the Debtors, will maximize
recovery for creditors, and will preserve jobs for the Debtors’ employees.

                                      ARTICLE VI
                        MATERIAL DEVELOPMENTS AND ANTICIPATED
                            EVENTS OF THE CHAPTER 11 CASES

6.1       First Day Relief

       On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the
Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”)
designed to facilitate the administration of the Chapter 11 Cases and minimize disruption to the


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Debtors’ operations. The First Day Motions, and all interim and/or final orders for relief entered
in the Chapter 11 Cases, are available and can be viewed free of charge, at
https://cases.stretto.com/OptioRX.

       Among other final orders granting the First Day Motions, on July 1, 2024, the Bankruptcy
Court entered the Final DIP Order [D.I. 133], which, among other things, authorized the Debtors
to obtain postpetition financing from the DIP Lenders pursuant to that certain DIP Credit
Agreement, granted adequate protection, and granted related relief.

6.2       Proposed Confirmation Schedule

        The Restructuring Support Agreement requires that the Debtors comply with the
Restructuring Support Agreement Milestones, including securing confirmation of the Plan no later
than one hundred (100) days after the Petition Date. In light of the Debtors’ extensive prepetition
restructuring efforts, the timeline from the anticipated Petition Date to the confirmation hearing
provides more than sufficient time to administer these Chapter 11 Cases in a manner that gives all
parties in interest a full and fair opportunity to participate in the process consistent with the
applicable provisions of the Bankruptcy Code and Bankruptcy Rules. Following commencement
of the Chapter 11 Cases, the Debtors filed a scheduling motion seeking approval of the
confirmation schedule based on the Petition Date, which proposed timeline is as follows:

                                          EVENT                          PROPOSED DATE/DEADLINE

                        Voting Record Date                         August 7, 2024

                                                                   Within three (3) business days following
                                                                   the entry of the Disclosure Statement
                        Solicitation Commencement Date             Order

                        Rule 3018(a) Motion Deadline               August 14, 2024

                        Plan Supplement Deadline
                                                                   August 27, 2024
                        Voting Deadline
                                                                   September 3, 2024
                        Plan Objection Deadline
                                                                   September 3, 2024
                        Deadline to File Confirmation Brief
                                                                   September 10, 2024
                        Deadline to File Voting Report
                                                                   September 10, 2024
                        Confirmation Hearing
                                                                   September 13, 2024




        The Debtors have requested that the Court require any responses or objections to the
adequacy of the information contained in the Disclosure Statement or confirmation of the Plan
must: (a) be in writing; (b) comply with the Bankruptcy Rules and the Local Rules; (c) state the
name and address of the objecting party and the amount and nature of the claim or interest
beneficially owned by such entity; (d) state with particularity the legal and factual basis for such
objections, and, if practicable, a proposed modification to the Plan that would resolve such


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objections; and (e) be filed with the Court with proof of service thereof and served on the following
parties (the “Notice Parties”) so as to be actually received by the Objection Deadline: (a) proposed
counsel for the Debtors, Chipman, Brown, Cicero & Cole LLP, Hercules Plaza, 1313 North Market
Street, Suite 5400, Wilmington, Delaware 19801 (Attn: William Chipman, Esquire
(Chipman@chipmanbrown.com) and Mark D. Olivere, Esquire (Olivere@chipmanbrown.com));
(b) the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 King Street,
Lockbox 35, Wilmington, Delaware 19801 (Attn: Jonathan W. Lipshie, Esquire); (c) counsel to the
Consenting Lenders, DLA Piper LLP (US), 1201 North Market Street, Suite 2100, Wilmington,
Delaware 19801 (Attn: Stuart Brown, Esquire (stuart.brown@dlapiper.com) and Matthew Sarna,
Esquire (matthew.sarna@dlapiper.com)); and (d) any other party entitled to notice under
Bankruptcy Rule 2002.

6.3       Aves Global Settlement

         On June 29, 2024, Aves, the Noteholders, the First Out Holders, and the Last Out Holder
entered into that certain Settlement Term Sheet (the “Aves Settlement Agreement”), a true and
correct copy of which is attached hereto as Exhibit E.5 In addition to Aves’ and the Noteholders’
support of the Plan, including the releases therein, a summary of the Aves Settlement Agreement
is set forth below:

          Consideration to Noteholders. Upon the Effective Date, $350,000 (the “Cash
          Consideration”), subject to the DIP Lender Clawback (as defined below), and the common
          equity allocation and preferred equity allocation, as described below, provided Aves and
          each Noteholder vote to accept the Plan.

          New Equity Allocations (Common Equity). 1.5% of the common equity in Online
          Pharmacy Holdings LLC (prior to dilution for any management incentive program) to be
          allocated pro rata to the Noteholders, provided Aves and each Noteholder vote to accept
          the Plan.

          New Equity Allocations (Preferred Equity). $3,000,000 (subject to the DIP Lender
          Clawback (as defined below) in aggregate liquidation preference of junior preferred equity
          in Online Pharmacy Holdings LLC will be allocated to the Noteholders pro rata, , provided
          Aves and each Noteholder vote to accept the Plan, which preferred equity will have the
          following terms, and otherwise be reasonably acceptable to the Prepetition Secured
          Lenders and Aves:

                       Junior in right of payment to the junior preferred equity to be received by the Last
                        Out Holder upon the Effective Date;

                       The preferred equity will accrue dividends (which will be payable in kind) at a rate
                        equal to the interest rate applicable to the last out term loans under the Exit Term




5
         For the avoidance of doubt, in the event of any discrepancy between the summary provided this Section 6.3
and the terms of the Aves Settlement Agreement, the terms of the Aves Settlement Agreement shall control.


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                        Loan (as defined below), which accrued dividends and additional preferred equity
                        will be on par with the priority of the preferred equity;

                       So long as the preferred equity is outstanding, the Debtors will be subject to the
                        following (with customary exceptions and other exceptions to be agreed):

                           o Limitations on non-arm’s length affiliate transactions;

                           o Limitations on adverse or disproportionate amendments to its operating
                             agreement; and

                           o Limitations on common equity dividends and repurchases.

                       The preferred equity will enjoy customary preemptive and tag along rights.

          DIP Lender Clawback. The Cash Consideration will be reduced, dollar for dollar, by the
          actual fees of the Committee professionals allowed on account of final fee applications of
          such professionals up to $100,000. If the actual fees of Committee professionals allowed
          on account of final fee applications of such professionals exceed $100,000, no Cash
          Consideration will be payable.

          Additionally, if the sum of (x) the actual fees of Committee professionals allowed on
          account of final fee applications of such professionals plus (y) the expenses and
          professional costs incurred by the Debtors, the Prepetition Secured Lenders and the DIP
          Lenders, and their respective agents, in defending or opposing any actions, motions or
          objections brought by the Committee exceed $350,000, the amount and liquidation
          preference of the preferred equity will each be reduced dollar for dollar for such excess.

          Exit Term Loan Terms. The DIP Lenders will agree that the exit term loan (the
          “Exit Term Loan”) to be entered into by the Company upon the Effective Date, provided
          Aves and each Noteholder votes to accept the Plan, will contain the following terms:

                       The Exit Term Loan will not have scheduled amortization prior to maturity;

                       The Debtors will have the ability to pay interest on the Exit Term Loan in kind as
                        additional loans under the Exit Term Loan, rather than in cash, based on conditions
                        to be determined, which additional loans will be on par with the priority of the Exit
                        Term Loan.

          Information Rights. So long as the Noteholders hold any preferred equity, such
          Noteholders will have reasonable reporting and information rights to be agreed.

          Committee. As of the execution of the Aves Settlement Agreement or as soon as
          reasonably practicable thereafter (but in no event later than three (3) days after the date of
          the Aves Settlement Agreement), Aves, each Noteholder, and their respective affiliates were
          required to remove themselves from the Committee and agree not to be appointed as a
          member of the Committee at any time thereafter, which removal has occurred as of the
          date hereof.


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          Any breach of the foregoing agreement shall permit the Prepetition Secured Lenders
          to terminate the Aves Settlement Agreement without further obligation to Aves or
          any Noteholder.

          Voting. As of the execution of the Aves Settlement Agreement, the Court has not approved
          any disclosure statement in the Chapter 11 Cases. The Aves Settlement Agreement is not
          a solicitation of a vote to accept or reject the Company’s Plan. The Aves Settlement
          Agreement is in settlement of disputed issues and claims.

          Aves and each Noteholder must vote in favor of the Company’s Plan, as may be amended,
          and provide additional support (but not be required to advance any funds or waive any
          claims or rights under the Aves Settlement Agreement) that is requested by the Company
          in connection with the approval of the Plan and the consummation thereof in order to
          receive the consideration under the Aves Settlement Agreement. If (x) the class of creditors
          consisting of Aves, any Noteholder, or any of their respective affiliates fails to vote in favor
          of the Company’s Plan or (y) Aves or any Noteholder fails to provide the additional support
          contemplated by the additional support contemplated by the preceding sentence, none of
          the consideration flowing to Aves and the Noteholders under the Aves Settlement
          Agreement, including releases, the expense reimbursement, common equity or preferred
          equity will be released, or payable or issuable to Aves or any Noteholder.

          Release. Upon the Effective Date, (x) Aves and each Noteholder will opt into (and shall
          not opt out of) the third-party releases under the Plan and (y) be deemed Released Parties,
          provided Aves and each Noteholder vote to accept the Plan.

6.4       Skin Medicinals Litigation

        On June 17, 2024 Skin Medicinals LLC (“Skin Medicinals”) filed an adversary complaint
in the Bankruptcy Court [Adversary No. 24-50079-TMH] asserting the following claims against
OptioRx: (1) trade secret misappropriation under the Defend Trade Secrets Act; (2) trade secret
misappropriation under the Illinois Trade Secrets Act and Florida Uniform Trade Secrets Act; (3)
violation of the Computer Fraud and Abuse Act (“CFAA”); (4) violation of the Florida Computer
Abuse and Data Recovery Act (“CADRA”); (5) unfair competition; and (6) unjust enrichment.
Skin Medicinals also filed a motion for temporary restraining order and preliminary injunction (the
“PI Motion”). Skin Medicinals relied solely on the trade secret misappropriation and
CFAA/CADRA claims to support its motion for injunctive relief.

        After full briefing and depositions of declarants, the Bankruptcy Court heard argument on
the PI Motion on July 1, 2024. On July 12, 2024, the Bankruptcy Court issued its oral ruling
denying the PI Motion. Specifically, the Bankruptcy Court concluded that Skin Medicinals had
failed to “identify the alleged trade secrets with sufficient specificity, as required under the DTSA
and the relevant case law.” On July 15, 2024, the Bankruptcy Court entered an order denying the
PI Motion (the “PI Order”)[Docket No. 58].

        On July 17, 2024, Skin Medicinals appealed the PI Order (the “PI Appeal”) [Docket No.
59] to the United States District Court for the District of Delaware [C.A. No. 1:24-cv-00828-MN]
(the “District Court”). Skin Medicinals also filed a related Motion for Leave to File Interlocutory



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Appeal [Docket No. 61], a Motion to Expedite and for Stay or Injunction Pending Appeal (the
“Motion to Expedite”) [District Court Docket No. 3], and related pleadings. On July 23, 2024,
the Debtors filed their Answering Briefing in Opposition to Plaintiff’s Emergency Motion to
Expedite and for a Stay or Injunction Pending Appeal [District Court Docket No. 14]. On July 26,
2024, Skin Medicinals filed their Reply in Support of Motion to Expedite and for Stay or Injunction
Pending Appeal [District Court Docket No. 20]. The Motion to Expedite and the PI Appeal are
currently pending before United States District Court Judge Maryellen Noreika.

6.5       Financial Performance to Date

        The Debtors’ post-petition revenue is approximately 15% below budgeted amounts as of
June 30, 2024, primarily due to the bankruptcy filing, however the Debtors are working to increase
sales and are in compliance with the DIP Facility budget.

                                      ARTICLE VII
                                  SUMMARY OF THE PLAN

The Plan contemplates the following key terms, among others described herein and therein:

7.1       General Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 1123 of the Bankruptcy Code and, to the extent applicable, Bankruptcy
Rule 9019 and in consideration for the classification, distributions, releases and other benefits
provided pursuant to the Plan, upon the Effective Date, the provisions of the Plan shall constitute
a good faith compromise and settlement of all Claims, Interests and controversies relating to the
contractual, legal and subordination rights that a Holder of a Claim or Interest may have with
respect to any Allowed Claim or Interest, or any distribution to be made or treatment provided on
account of such Allowed Claim or Interest.

        The Plan shall be deemed a motion to approve the good faith compromise and settlement
of all such Claims, Interests and controversies pursuant to Bankruptcy Rule 9019, expressly
incorporating the Aves Settlement Agreement. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
Interests and controversies, as well as a finding by the Bankruptcy Court that such compromise or
settlement is in the best interests of the Debtors, their Estates and Holders of Claims and Interests
and is fair, equitable and reasonable. Subject to Article VI of the Plan, all treatment of Holders of
Allowed Claims and Allowed Interests (as applicable) in any Class are intended to be and shall
be final.

        In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019(a),
without any further notice to or action, order or approval of the Bankruptcy Court, after the
Effective Date, the Reorganized Debtors may compromise and settle Claims against and Interests
in or against any of the Debtors and their Estates and Causes of Action against other Entities.

7.2       Restructuring Transactions

       On the Effective Date, and pursuant to the Plan, the Debtors or the Reorganized Debtors,
as applicable, shall (as agreed to by the Consenting Lenders consistent with the terms of the


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Restructuring Support Agreement) consummate the Restructuring Transactions set forth in the
Plan Term Sheet in order to effectuate the Debtors’ financial reorganization consistent with the
terms of the Plan. Without limiting the foregoing, before, on or as soon as reasonably practicable
after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, and their respective
officers and members of the Governing Body, may take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan,
including: (i) the execution, delivery, filing, registration or recordation of any appropriate
agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
transfer, formation, organization, dissolution, or liquidation containing terms that are consistent
with the terms of the Plan, the Plan Supplement and the Restructuring Support Agreement; (ii) the
execution, delivery, filing, registration or recordation of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on
terms consistent with the terms of the Plan, the Plan Supplement and the Restructuring Support
Agreement and having other terms to which the applicable Entities may agree; (iii) the execution,
delivery and filing, if applicable, of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable state law,
including any applicable New Governance Documents; (iv) such other transactions that are
required to effectuate the Restructuring Transactions; and (v) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may
be required by applicable law; provided that all such actions are consented to by the Consenting
Lenders, which consent shall not be unreasonably withheld. Pursuant to sections 363 and 1123 of
the Bankruptcy Code, the Confirmation Order shall be deemed to authorize, among other things,
all actions as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by or necessary to effectuate the Plan. The authorizations and approvals
contemplated by 4.01 of the Plan shall be effective notwithstanding any requirements under non-
bankruptcy law.

7.3       Sources of Consideration for Plan Distributions

        Any Cash payments or distributions required to be made hereunder shall be obtained from
existing Cash of the Debtors and the Exit Facility.

7.4       Continued Corporate Existence

        Except as otherwise provided in the Plan, the Debtors, as Reorganized Debtors, shall
continue to exist after the Effective Date as separate corporate entities, limited liability companies,
partnerships or other form, with all the powers of a corporation, limited liability company,
partnership or other form, pursuant to the applicable law in the jurisdiction in which the Debtors
are incorporated or formed pursuant to the New Governance Documents.

7.5       Existing Governance Documents

        The Existing Governance Documents of the Debtors in effect prior to the Effective Date
shall be amended or restated and replaced by the New Governance Documents on or prior to the
Effective Date, subject in each case to the consent rights of the Consenting Lenders as set forth in
the Restructuring Support Agreement. Solely to the extent required under the Plan, the Bankruptcy


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Code, or applicable non-bankruptcy law or necessary to effectuate the transactions contemplated
by the Plan, on or immediately prior to the Effective Date, the Reorganized Debtors shall file the
New Governance Documents (in a manner acceptable to the Debtors and the Consenting Lenders
and consistent with the Restructuring Support Agreement) with the applicable Secretary of State
and/or other applicable authorities in the state of incorporation or formation or otherwise (as the
case may be) in accordance with the applicable federal laws or state laws of the respective state.
The New Governance Documents shall be deemed to be amended pursuant to the Plan and shall
require no further action or approval (other than any requisite filings required under applicable
non-bankruptcy law). The New Governance Documents shall be in the form filed with the Plan
Supplement and shall be acceptable in form and substance to the Consenting Lenders. After the
Effective Date, the Reorganized Debtors may amend and restate their New Governance
Documents, as applicable, and may file such documents as permitted by the laws of the respective
states without further authorization from the Bankruptcy Court.

7.6       Members of the Governing Bodies

        As of the Effective Date, and subject to the Restructuring Support Agreement, the existing
members of the Reorganized Debtors’ Governing Bodies shall remain in their current capacities
as members of such Governing Body of the applicable Reorganized Debtor, unless or until
replaced or removed in accordance with the New Governance Documents of the Reorganized
Debtors in the sole discretion of such Reorganized Debtor. To the extent any such officer of the
Reorganized Debtors is an “insider” as defined in section 101(31) of the Bankruptcy Code, the
nature of any compensation to be paid to such trustee and officer shall also be disclosed in the Plan
Supplement.

7.7       Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, the Restructuring Support Agreement or any
agreement, instrument or other document incorporated therein, on the Effective Date, all property
of the Estates and all Causes of Action of the Debtors (except those released pursuant to the Debtor
Releases) shall vest in the applicable Reorganized Debtor, free and clear of all Liens, Claims,
charges or other encumbrances (except for Liens, if any, granted to secure the Reorganized
Debtors’ obligations under the Plan). On and after the Effective Date, except as otherwise
provided in the Plan, the Reorganized Debtors may operate its business and may use, acquire or
dispose of property and compromise or settle any Claims, Interest or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules other than restrictions expressly imposed by the Plan or the
Confirmation order.

7.8       Section 1145 Exemption

        Except with respect to any Person that is an underwriter as defined in section 1145(b) of
the Bankruptcy Code, the offer, issuance, sale or distribution under the Plan of the new preferred
and common equity shares or units of Online Pharmacy Holdings LLC shall be exempt from
registration under Section 5 of the Securities Act (or any State or local law requiring registration
for offer or sale of a security) under section 1145 of the Bankruptcy Code. The offer, issuance,
sale or distribution under the Plan of the new preferred and common equity shares or units of


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Online Pharmacy Holdings LLC will be subject to the restrictions on resale of securities held by
Affiliates of an issuer.

7.9       Cancellation and Surrender of Instruments and Agreements

        On the Effective Date, except for the purpose of evidencing a right to and allowing Holders
of Claims and Interests to receive a distribution under the Plan or to the extent otherwise
specifically provided for in the Plan, (i) all rights of any Holder of Interests in the Debtors,
including options or warrants to purchase Interests, or obligating the Debtors to issue, transfer or
sell Interests in the Debtors, shall be cancelled; and (ii) all Seller Notes, Notes and indentures of
the Debtors shall cease to be effective, and Aves Management LLC, as Administrative Agent under
the Note Purchase Agreement shall not have any continuing duties or obligations thereunder and
shall be discharged.

7.10      Corporate Action

        Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized
and approved in all respects, including (i) to the extent undertaken, selection and appointment of
the members of the Governing Body and officers of the Reorganized Debtors; (ii) adoption of or
modification to the Existing Governance Documents, if required; (iii) the assumption or
assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; (iv)
implementation of the Restructuring Transactions; and (v) all other actions contemplated by the
Plan (whether to occur before, on or after the Effective Date). All matters provided for in the Plan
involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate
action required by the Debtors or the Reorganized Debtors in connection with the Plan (including
the grant of security interests set forth in the Plan) shall be deemed to have occurred and shall be
in effect, without any requirement of further action by the security holders, the members of the
Governing Body or officers of the Debtors or the Reorganized Debtors. On or (as applicable) prior
to the Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors, as
applicable, shall be authorized and (as applicable) directed to issue, execute and deliver the
agreements, documents, securities, and instruments contemplated under the Plan (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of
the Reorganized Debtors. The authorizations and approvals contemplated by Section 4.09 of the
Plan shall be effective notwithstanding any requirements under nonbankruptcy law.

7.11      Section 1146 Exemption from Certain Taxes and Fees

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers
(whether from the Debtors to the Reorganized Debtors or to any other Person) of property under
the Plan or pursuant to: (i) the issuance, reinstatement, distribution, transfer or exchange of any
debt, Equity Security, or other interest in the Debtors or the Reorganized Debtors; (ii) the
Restructuring Transactions; (iii) the creation, modification, consolidation, assumption,
termination, refinancing and/or recording of any mortgage, deed of trust, or other security interest
or the securing of additional indebtedness by such or other means; (iv) the making, assignment or
recording of any lease or sublease; or (v) the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
bills of sale, assignments or other instrument of transfer executed in connection with any


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transaction arising out of, contemplated by or in any way related to the Plan, shall not be subject
to any stamp tax or similar tax, and upon entry of the Confirmation Order, the appropriate state or
local governmental officials or agents shall forego the collection of any such tax, recordation fee
or governmental assessment and accept for filing and recordation any of the foregoing instruments
or other documents without the payment of any such tax, recordation fee or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146 of the Bankruptcy Code, shall forego the collection of any such tax or governmental
assessment and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

7.12      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such Causes
of Action have been expressly released (including, for the avoidance of doubt, pursuant to the
Debtor Releases provided in Article III(a) hereof), each of the Reorganized Debtors shall retain
and may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action,
whether arising before or after the Petition Date, and each of the Reorganized Debtors’ rights to
commence, prosecute or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date, other than the Causes of Action released by the Debtors pursuant
to the releases and exculpations contained in the Plan, including in Article VII of the Plan, which
shall be deemed released and waived by the Debtors and Reorganized Debtors as of the Effective
Date. Each of the Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of such Reorganized Debtor. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement or the Disclosure Statement
to any Cause of Action against them as any indication that any of the Debtors or Reorganized
Debtors, as applicable, will not pursue any and all available Causes of Action against them.
Except with respect to Causes of Action as to which any of the Debtors or Reorganized
Debtors have released any Person or Entity on or before the Effective Date (including
pursuant to the Debtor Releases), each of the Debtors or Reorganized Debtors, as applicable,
expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan. Unless any Causes of Action against an
Entity are expressly waived, relinquished, exculpated, released, compromised or settled in the Plan
or a Bankruptcy Court order, each of the Reorganized Debtors expressly reserves all Causes of
Action for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action as a consequence of the Confirmation
or Consummation. Each of the Reorganized Debtors shall have the exclusive right, authority and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of
the foregoing without the consent or approval of any third party or further notice to or action, order
or approval of the Bankruptcy Court.

7.13      Single Satisfaction of Claims

        Holders of Allowed Claims may assert such Claims against the Debtors and such Claims
shall be entitled to share in the recovery provided for the applicable Class of Claims against the


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Debtors based upon the full Allowed amount of the Claim. Notwithstanding the foregoing, in no
case shall the aggregate value of all property received or retained under the Plan on account of
Allowed Claims exceed 100% of the underlying Allowed Claim plus applicable interest.

7.14      Releases

        The Plan contains certain releases (as described more fully in Section 3.13 of this
Disclosure Statement, entitled “Will there be releases and exculpation granted to parties in interest
as part of the Plan?”), including mutual releases among the Debtors, Reorganized Debtors, and
certain of their key stakeholders. Additionally, (i) each Released Party; (ii) all Holders of Claims
or Interests that vote to accept or reject the Plan and opt-in to the releases provided by the Plan by
checking the box on the applicable form indicating that they opt to grant the releases provided in
the Plan; (iii) all Holders of Claims or Interests that abstain from voting on the Plan and who
affirmatively opt-in to the releases provided by the Plan by checking the box on the applicable
form indicating that they opt to grant the releases provided in the Plan; (iv) each current and former
Affiliate of each Entity in clause (i) through the following clause (v); and (v) each Related Party
with respect to each of the foregoing in clauses (i) through (v), conclusively, absolutely,
unconditionally, irrevocably and forever consents to the release and discharge of any and all
Causes of Action against the Debtors and the Released Parties to the extent set forth in the Plan,
provided that, as to Aves and the Noteholders the foregoing is subject to the terms of the Aves
Settlement Agreement.

7.15      Deemed Substantive Consolidation

        The Plan shall serve as a motion by the Debtors seeking entry of a Bankruptcy Court order
deeming the substantive consolidation of the Debtors’ Estates into a single Estate for certain
limited purposes related to the Plan, including voting, Confirmation and distribution. As a result
of the deemed substantive consolidation of the Estates, each Class of Claims and Interests will be
treated as against a single consolidated Estate without regard to the separate legal existence of the
Debtors. The Plan will not result in the merger or otherwise affect the separate legal existence of
each Debtor, other than with respect to voting and distribution rights under the Plan.

                                          ARTICLE VIII
                                  OTHER KEY ASPECTS OF THE PLAN

8.1       Treatment of Executory Contracts and Unexpired Leases

          (a)           Assumption and Rejection of Executory Contracts and Unexpired Leases.

        Except as otherwise provided in the Plan, or in any contract, instrument, release, indenture
or other agreement or document entered into in connection with the Plan, each of the Debtors’
Executory Contracts and Unexpired Leases shall be deemed assumed (or assumed and assigned to
the respective Reorganized Debtor, as applicable) pursuant to sections 365(a) and 1123 of the
Bankruptcy Code as of the Effective Date, unless such Executory Contract or Unexpired Lease:
(i) was previously assumed or rejected by a Debtor, pursuant to a Final Order of the Bankruptcy
Court; (ii) previously expired or terminated pursuant to its own terms; (iii) is the subject of a
motion to reject filed on or before the Effective Date; or (iv) is identified on the Rejected Executory



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Contract and Unexpired Lease List; provided, however, for the avoidance of doubt no Seller Note
shall be assumed. Entry of the Confirmation Order shall constitute a Bankruptcy Court order
approving the assumptions, assumptions and assignments, or rejections of such Executory
Contracts or Unexpired Leases as set forth in the Plan and the Rejected Executory Contract and
Unexpired Lease List, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
Unless otherwise indicated, all assumptions or assumptions and assignments of Executory
Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date. Each
Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court
order but not assigned to a third party on or before the Effective Date shall re-vest in and be fully
enforceable by the Reorganized Debtors in accordance with its terms, except as such terms may
have been modified by such order or the provisions of the Plan. All assumed Executory Contracts
or Unexpired Leases shall be enforceable by the Reorganized Debtors or such party such Executory
Contract or Unexpired Lease was assigned to in accordance with their terms notwithstanding any
provision in such contract or lease that prohibits, restricts or conditions assumption, assignment or
transfer. Any provision in any such contract or lease that permits a Person to terminate or modify
such agreement or to otherwise modify the rights of any of the Debtors or the Reorganized Debtors
or assignee, as applicable, based on the filing of the Chapter 11 Cases or the financial condition of
any of the Debtors or the Reorganized Debtors, as applicable, shall be unenforceable. To the extent
any provision in any Executory Contract or Unexpired Lease assumed, or assumed and assigned,
pursuant to the Plan (including any “change of control” provision) restricts or prevents, or purports
to restrict or prevent, or is breached or deemed breached by, any of the Debtors’ assumption, or
assumption and assignment, of such Executory Contract or Unexpired Lease, then such provision
will be deemed modified such that the transactions contemplated by the Plan will not entitle the
non-Debtor party or parties thereto to terminate such Executory Contract or Unexpired Lease or
to exercise any other default-related rights with respect thereto. After the Effective Date, each of
the Reorganized Debtors shall have the right to terminate, amend or modify any contracts,
including intercompany contracts, leases or other agreements without approval of the Bankruptcy
Court. Notwithstanding anything to the contrary in the Plan, as set forth in Section 5.01 of the
Plan, the Debtors, or the Reorganized Debtors, as applicable, reserve the right to alter, amend,
modify, or supplement the Rejected Executory Contract and Unexpired Lease List at any time
through and including thirty days after the Effective Date.

          (b)           Claims Based on the Rejection of Executory Contracts or Unexpired Leases.

        Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases as provided for in the Plan or
the Rejected Executory Contract and Unexpired Lease List, as applicable. Unless otherwise
provided by a Final Order of the Bankruptcy Court, all proofs of claim with respect to Claims
arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be filed with the Solicitation Agent and served on the
Reorganized Debtors no later than thirty days after the effective date of such rejection.

        Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not
filed with the Solicitation Agent within such time shall not be enforceable against the Debtors, the
Reorganized Debtors, the Estates, or their property, without the need for any objection by the
Debtors or Reorganized Debtors, or further notice to, action, order, or approval of the Bankruptcy
Court or any other Entity, and any Claim arising out of the rejection of the Executory Contract or


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Unexpired Lease shall be deemed fully satisfied, released, and discharged, and be subject to the
permanent injunction set forth in Section 7.06 of the Plan, notwithstanding anything in a proof of
claim to the contrary.

       All Claims arising from the rejection by any Debtor of any Executory Contract or
Unexpired Lease pursuant to section 365 of the Bankruptcy Code shall be treated as a General
Unsecured Claim pursuant to Section 3.04 of the Plan and may be objected to in accordance with
the provisions of the Plan and the applicable provisions of the Bankruptcy Code and Bankruptcy
Rules.

          (c)           Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
(or assumed and assigned to the respective Reorganized Debtor, as applicable) pursuant to the Plan
shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash upon the Effective Date or in the ordinary course of business, subject to the
limitation described below, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. The Debtors shall provide notices of proposed cure
amounts (if any) to counterparties to Executory Contracts and Unexpired Leases to be assumed
reflecting the Debtors’ intention to assume or assume and assign the Executory Contract or
Unexpired Lease in connection with the Plan and setting forth the proposed cure amount (if any)
or the Reorganized Debtors’ ability to provide “adequate assurance of future performance
thereunder” (within the meaning of section 365 of the Bankruptcy Code). If a counterparty to any
Executory Contract or Unexpired Lease that the Debtors or Reorganized Debtors intend to assume
does not receive such a notice, the proposed cure amount for such executory contract or unexpired
lease shall be deemed to be zero dollars ($0). In the event of a dispute regarding (i) the amount of
any payments to cure such a default, (ii) the ability of the Reorganized Debtors or any assignee to
provide “adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed or (iii) any
other matter pertaining to assumption, the cure payments required by section 365(b)(1) of the
Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the dispute
and approving the assumption. The cure notices shall include procedures for objecting to proposed
assumptions of Executory Contracts and Unexpired Leases and any amounts of Cure Claims to be
paid in connection therewith and resolution of disputes by the Bankruptcy Court. Any objection
by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related
cure amount must be filed, served and actually received by counsel to the Debtors on the
confirmation objection deadline or other deadline that may be set by the Bankruptcy Court. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption or cure amount will be deemed to have assented to such assumption or cure
amount. Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the effective date of the assumption.
Any proof of claim filed with respect to an Executory Contract or Unexpired Lease that is assumed
shall be deemed disallowed and expunged, without further notice to or action, order or approval
of the Bankruptcy Court.


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         The payment of the cure amount shall be made following the entry of a Final Order or
orders resolving the dispute and approving the assumption in the event of a dispute regarding:
(i) the amount of any payments to cure such a default; (ii) the ability of the Reorganized Debtors
or any assignee to provide adequate assurance of future performance under the Executory Contract
or Unexpired Lease to be assumed; or (iii) any other matter pertaining to assumption.

        The Debtor or the Reorganized Debtor, as applicable, shall be authorized to reject any
Executory Contract or Unexpired Lease to the extent the Debtor or the Reorganized Debtor, as
applicable, in the exercise of its sound business judgment, concludes that the amount of the Cure
obligation as determined by Final Order or as otherwise finally resolved, renders assumption of
such contract or lease unfavorable to the applicable Debtor’s Estate or the Reorganized Debtor.
Such rejected contracts, if any, shall be deemed as listed on the Rejected Executory Contract and
Unexpired Lease List.

          (d)           Modifications, Amendments, Supplements, Restatements or Other
                        Agreements

        Unless otherwise provided in the Plan or specifically provided in the Plan Supplement,
each Executory Contract or Unexpired Lease that is assumed shall include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options,
rights of first refusal and any other interests, unless any of the foregoing agreements has been
previously rejected or repudiated or is rejected or repudiated under the Plan. Modifications,
amendments, supplements and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by any of the Debtors during the Chapter 11 Cases shall not be
deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority or amount of any Claims that may arise in connection therewith.

          (e)           Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Rejected Executory Contract and Unexpired Lease List, nor anything contained in the Plan or Plan
Supplement shall constitute an admission by the Debtors that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the relevant Debtor or Reorganized Debtor, as
applicable, shall have thirty (30) calendar days following entry of a Final Order resolving such
dispute to alter their treatment of such contract or lease, including by rejecting such contract or
lease nunc pro tunc to the Confirmation Date. The deemed assumption provided for herein shall
not apply to any such contract or lease, and any such contract or lease shall be assumed or rejected
only upon motion of the Debtors following the Bankruptcy Court’s determination that the contract
is executory or the lease is unexpired.




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          (f)           Contracts and Leases Entered Into After the Petition Date

        Contracts and leases entered into after the Petition Date by any of the Debtors, including
any Executory Contracts and Unexpired Leases assumed by any Debtor (or assumed and assigned,
as applicable), will be performed by such Debtor or Reorganized Debtor, or the Entity to which
such Executory Contract or Unexpired Lease was assigned, as applicable, in the ordinary course
of its business. Accordingly, such contracts and leases (including any assumed Executory
Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation
Order except as otherwise provided in the Plan.

          (g)           Assumption of Insurance Policies

        Notwithstanding anything in the Plan or the Confirmation Order, including any provision
that purports to be preemptory or supervening, the Insurance Policies (including all of the D&O
Liability Insurance Policies) are hereby treated as Executory Contracts under the Plan and, on the
Effective Date, shall be deemed assumed (and assigned to the Reorganized Debtors) under section
365 of the Bankruptcy Code and will re-vest in the Reorganized Debtors. Regardless of whether
any Insurance Policy is an Executory Contract, on and after the Effective Date, the Insurance
Policies will remain valid and enforceable in accordance with their terms and shall not be impaired
by the Plan or Confirmation Order, and the Debtors, the Reorganized Debtors or any such assignee,
as applicable, and the Insurers will perform their respective obligations to one another, if any,
under the Insurance Policies. After the Effective Date, to the extent consistent with applicable law
and New Governance Documents, the Reorganized Debtors (or any such assignee) may increase,
reduce, restrict, or otherwise modify, in their sole discretion, the coverage under any D&O
Liability Insurance Policy (including such tail coverage liability insurance) in effect as of the
Effective Date, and all members, managers, directors, and officers of each of the Debtors who
served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits
of any such policy for the full term of such policy (and all tail coverage related thereto) regardless
of whether such members, managers, directors, and/or officers remain in such positions after the
Effective Date.

         Nothing in the Plan, the Plan Supplement, the Disclosure Statement, the Confirmation
Order, or any other order of the Bankruptcy Court (including any other provision that purports to
be preemptory or supervening), (1) alters, modifies, or otherwise amends the terms and conditions
of (or the coverage provided by) any of such insurance policies or (2) alters or modifies the duty,
if any, that the insurers or third party administrators pay claims covered by such insurance policies
and their right to seek payment or reimbursement from the Debtors (or after the Effective Date,
the Reorganized Debtors) or draw on any collateral or security therefor. For the avoidance of
doubt, insurers and third-party administrators shall not need to nor be required to file or serve a
cure objection or a request, application, claim, proof of claim, or motion for payment and shall not
be subject to any claims bar date or similar deadline governing cure amounts or Claims.

          (h)           Assumption of the Employee Compensation and Benefits Program

       Unless otherwise provided in the Plan (or the Plan Supplement), the Confirmation Order
or any other order of the Bankruptcy Court in the Chapter 11 Cases, all employment agreements,
severance policies, indemnification agreements, compensation and benefit plans, policies, and


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programs of the Company including, without limitation, all workers’ compensation programs,
savings plans, retirement plans, deferred compensation plans, SERP plans, rabbi trusts, healthcare
plans, disability plans, severance benefit plans, incentive plans, life and accidental death and
dismemberment insurance plans or other agreements with or applicable to any of its current or
former employees, retirees, members of any Governing Body, officers or managers of the Debtors
shall be treated as Executory Contracts under the Plan, shall be set forth in the Plan Supplement,
and shall be deemed assumed (or assumed and assigned to the respective Reorganized Debtors, as
applicable) pursuant to section 365(a) of the Bankruptcy Code as of the Effective Date. For the
avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law.

          (i)           Indemnification Obligations

        Consistent with applicable law, all indemnification provisions in place as of the Effective
Date for the Released Parties only (whether in the by-laws, trust agreements, certificates of
incorporation or formation, limited liability company agreements, limited partnership agreements,
other governance documents, board resolutions, indemnification agreements, employment
contracts or otherwise) for the current and former members of any Governing Body, directors,
officers, managers, employees, attorneys, accountants, investment bankers and other professionals
of, or acting on behalf of, any of the Debtors, as applicable, shall be reinstated and remain intact,
irrevocable, and shall survive the Effective Date on terms no less favorable to such current and
former members of any Governing Body, directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of, or acting on behalf of, any of the
Debtors than the indemnification provisions in place prior to the Effective Date.

          (j)           Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases, if any, pursuant to section 365(d)(4) of the Bankruptcy Code.

8.2       Provisions Governing Distributions

          (a)           Record Date for Distributions

        With respect to Impaired Claims, on the Distribution Record Date, the Claims Register and
the various transfer registers for each of the Classes of Claims, as maintained by the Debtors or
their agents, shall be deemed closed, and there shall be no further changes made to reflect any new
record holders of any Claims. The Debtors shall have no obligation to recognize any transfer of
Claims occurring on or after the Distribution Record Date.

          (b)           Timing of Distributions

       Except as otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is
not an Allowed Claim or Interest on the Effective Date, on the date that such a Claim or Interest
becomes an Allowed Claim or Interest, or as soon as reasonably practicable thereafter), each
Holder of an Allowed Claim against or an Allowed Interest in the Debtors shall receive the full


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amount of the distributions that the Plan provides for such an Allowed Claim or such an Allowed
Interest in the applicable Class and in the manner provided herein. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on the next
succeeding Business Day but shall be deemed to have been completed as of the required date.
Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends
or accruals on the distributions provided for herein, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

          (c)           Disbursing Agent

        The Debtors or Reorganized Debtors may retain a Disbursing Agent to assist with the
distributions to be made under the Plan as directed by the Debtors or Reorganized Debtors. The
Disbursing Agent shall make all distributions required under the Plan.

                        (i)    Powers of the Disbursing Agent

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof.

                        (ii)   Expenses Incurred on or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees
and out of pocket expenses incurred by the Disbursing Agent on or after the Effective Date
(including taxes) and any reasonable compensation and out of pocket expense reimbursement
claims (including reasonable, actual, and documented attorney and/or other professional fees and
expenses) made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors. The
Disbursing Agents shall submit detailed invoices to the Debtors or the Reorganized Debtors, as
applicable, for all fees and expenses for which the Disbursing Agent seeks reimbursement, and the
Debtors or the Reorganized Debtors, as applicable, shall pay those amounts that they deem
reasonable, and shall object in writing to those fees and expenses, if any, that the Debtors or the
Reorganized Debtors, as applicable, deem to be unreasonable. In the event that the Debtors or the
Reorganized Debtors, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Disbursing Agent’s invoice, the Debtors or the Reorganized Debtors, as
applicable, and such Disbursing Agent shall endeavor, in good faith, to reach mutual agreement
on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that
the Debtors or the Reorganized Debtors, as applicable, and a Disbursing Agent are unable to
resolve any differences regarding disputed fees or expenses, either party shall be authorized to
move to have such dispute heard by the Bankruptcy Court.

          (d)           Delivery of Distributions and Undeliverable or Unclaimed Distributions

      Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims or
Allowed Interests shall be made to Holders of record as of the Distribution Record Date by the


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Disbursing Agent: (i) to the signatory set forth on any proof of claim or proof of interest filed by
such Holder or other representative identified therein (or at the last known addresses of such
Holder if no proof of claim or proof of interest is filed or if the Debtors have not been notified in
writing of a change of address); (ii) at the addresses set forth in any written notices of address
changes delivered to the Reorganized Debtors or the applicable Disbursing Agent, as appropriate,
after the date of any related proof of claim or proof of interest; or (iii) on any counsel that has
appeared in the Chapter 11 Cases on the Holder’s behalf. Distributions under the Plan on account
of Allowed Claims and Allowed Interests shall not be subject to levy, garnishment, attachment or
like legal process, so that each Holder of an Allowed Claim or Interest shall have and receive the
benefit of the distributions in the manner set forth in the Plan. None of the Debtors, the
Reorganized Debtors and the applicable Disbursing Agent shall incur any liability whatsoever on
account of any distributions under the Plan except for fraud, gross negligence, or willful
misconduct.

          (e)           Fractional Distributions

        Whenever any payment of a fraction pursuant to the Plan would otherwise be required, the
actual payment shall reflect a rounding of such fraction to the nearest whole share (up or down),
with half or less being rounded down. Whenever any payment of Cash of a fraction of a dollar
pursuant to the Plan would otherwise be required, the actual payment shall reflect a rounding of
such fraction to the nearest whole dollar (up or down), with half dollars or less being rounded
down.

          (f)           Undeliverable Distributions and Unclaimed Property

          In the event that any distribution to any Holder of Claim or Interest is returned as
undeliverable, no distribution to such Holder shall be made unless and until the Disbursing Agent
has determined the then current address of such Holder, at which time such distribution shall be
made as soon as practicable after such distribution has become deliverable or has been claimed to
such Holder without interest; provided, however, that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the expiration of
six months from the applicable Distribution Date. After such date, all “unclaimed property” or
interests in property shall revert to the Reorganized Debtors (notwithstanding any applicable
federal or state escheat, abandoned or unclaimed property laws to the contrary), and the Claim of
any Holder to such property or Interest in property shall be discharged and forever barred.
Notwithstanding the foregoing under of the Plan, any Unimpaired Claims shall not be deemed
settled, satisfied, resolved, released, discharged, barred or enjoined by any provision of the Plan,
unless and until such Unimpaired Claim has been either (a) paid in full (i) on terms agreed to
between the holder of such Unimpaired Claim and the Debtors or the Reorganized Debtors, as
applicable, (ii) in the Allowed amount of such Unimpaired Claim as determined by applicable law
or (iii) in accordance with the terms and conditions of the applicable documentation or laws giving
rise to such Unimpaired Claim or (b) otherwise satisfied or disposed of as determined by a court
of competent jurisdiction. If the Debtors or the Reorganized Debtors dispute any Unimpaired
Claim, such dispute shall be determined, resolved or adjudicated pursuant to applicable non-
bankruptcy law.




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          (g)           Manner of Payment

      At the option of the Disbursing Agent, any Cash payment to be made under the Plan may
be made by check or wire transfer or as otherwise required or provided in applicable agreements

          (h)           Compliance with Tax Requirements and Allocations

        In connection with the Plan and all instruments issued in connection therewith, to the extent
applicable, the Reorganized Debtors and the Disbursing Agent shall comply with all tax
withholding and reporting requirements imposed on them by any federal, state or local taxing
authority, and all distributions pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, the
Reorganized Debtors and the Disbursing Agent shall be authorized to take all actions necessary or
appropriate to comply with such withholding and reporting requirements, including liquidating a
portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate
such distributions, or establishing any other mechanisms they determine in good faith are
reasonable and appropriate. The Reorganized Debtors reserve the right, in their sole discretion, to
allocate all distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support, other spousal awards, Liens, and encumbrances. For the avoidance of
doubt, any amounts withheld pursuant to Section 6.08 of the Plan shall be treated as if distributed
to the Holder of the Allowed Claim.

        Any Holder of an Impaired Claim entitled to receive any property as an issuance or
distribution under the Plan shall, upon request by the Disbursing Agent, provide an appropriate
Form W-9 or (if the payee is a foreign Person) Form W-8. If such request is made and such Holder
of an Impaired Claim fails to comply before the date that is 180 days after the request is made, the
amount of such distribution shall irrevocably revert to the Debtors or the Reorganized Debtors, as
applicable, and any Claim in respect of such distribution shall be discharged and forever barred
from assertion against the Debtors, the Reorganized Debtors and their respective property.

          (i)           Allocation Between Principal and Interest

        Except as otherwise provided in the Plan, for U.S. federal income tax purposes,
distributions shall be allocated first to the principal amount of such Allowed Claims (as determined
for U.S. federal income tax purposes), with any excess allocated to unpaid interest that accrued on
such Claims.

          (j)           Setoffs and Recoupment

        Except as otherwise provided in the Plan and Confirmation Order, the Debtors and the
Reorganized Debtors may, pursuant to the Bankruptcy Code (including section 553 of the
Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the Holder of a
Claim, withhold (but not set off except as set forth in the Plan) from the distributions called for
under the Plan on account of any Allowed Claim an amount equal to any claims, equity interests,
rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors may hold
against the Holder of any such Allowed Claim or Interest. In the event that any such claims, equity



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interests, rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors
may hold against the holder of any such Allowed Claim or Interest are adjudicated by Final Order
or otherwise resolved, the Debtors may, pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, set off against any Allowed Claim or Interest and the distributions
to be made pursuant hereto on account of such Allowed Claim (before any distribution is made on
account of such Allowed Claim or Interest) the amount of any adjudicated or resolved claims,
equity interests, rights and Causes of Action of any nature that any of the Debtors or the
Reorganized Debtors may hold against the Holder of any such Allowed Claim or Interest, but only
to the extent of such adjudicated or resolved amount. Neither the failure to effect such a setoff nor
the allowance of any Claim under the Plan shall constitute a waiver or release by the Debtors or
the Reorganized Debtors of any such claims, equity interests, rights and Causes of Action that the
Debtors or the Reorganized Debtors may possess against any such holder, except as specifically
provided herein.

          (k)           No Postpetition Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, or
required by applicable bankruptcy or non-bankruptcy law, postpetition and/or default interest shall
not accrue or be paid on any prepetition Claims against any of the Debtors, and no Holder of a
prepetition Claim against any of the Debtors shall be entitled to interest accruing on or after the
Petition Date or interest at the contract default rate on any such prepetition Claim.

8.3       Releases and Exculpations

          (a)           General Compromise and Settlement of Claims, Interests and Controversies

        As discussed in detail herein and as otherwise provided in the Plan, pursuant to section
1123 of the Bankruptcy Code and, to the extent applicable, Bankruptcy Rule 9019 and in
consideration for the classification, distributions, releases and other benefits provided pursuant to
the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good faith
compromise and settlement of all Claims, Interests and controversies relating to the contractual,
legal and subordination rights that a Holder of a Claim or Interest may have with respect to any
Allowed Claim or Interest, or any distribution to be made or treatment provided on account of such
Allowed Claim or Interest.

        The Plan shall be deemed a motion to approve the good faith compromise and settlement
of all such Claims, Interests and controversies pursuant to Bankruptcy Rule 9019. The entry of
the Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
Court that such compromise or settlement is in the best interests of the Debtors, their Estates and
Holders of Claims and Interests and is fair, equitable and reasonable. Subject to Article VI of the
Plan, all treatment of Holders of Allowed Claims and Allowed Interests (as applicable) in any
Class are intended to be and shall be final.

       In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019(a),
without any further notice to or action, order or approval of the Bankruptcy Court, after the




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Effective Date, the Reorganized Debtors may compromise and settle Claims against and Interests
in or against any of the Debtors and their Estates and Causes of Action against other Entities.

          (b)           Releases by the Debtors

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration provided by each of the Released Parties, the adequacy
of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever
released and discharged by each of the Debtors, the Reorganized Debtors and their Estates,
including any successors to the Debtors or any estates representatives appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves
and their respective successors, assigns and representatives, and any and all other Entities
who may purport to assert any Cause of Action, directly or derivatively, by, through, for or
because of the foregoing Entities, from any and all Causes of Action, including any derivative
claims, asserted on behalf of the Debtors, whether known or unknown, foreseen or
unforeseen, matured or unmatured, in law, equity, contract, tort or otherwise, that any of
the Debtors, the Reorganized Debtors or their Estates would have been legally entitled to
assert in its own right (whether individually or collectively) or on behalf of a Holder of any
Claim against, or Interest in, the Debtors or other Entity, based on or relating to or in any
manner arising from, in whole or in part, the Debtors (including the Debtors’ capital
structure, management, ownership or operation thereof), purchase, sale, or rescission of any
security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions (but excluding Avoidance Actions brought as
counterclaims or defenses to Claims asserted against any of the Debtors), intercompany
transactions between or among a Debtor or an Affiliate of a Debtor and another Debtor or
Affiliate of a Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, entry into, or filing of the Restructuring Support Agreement and related
prepetition transactions, any Definitive Document, the Disclosure Statement, the New
Governance Documents, the Plan (including, for the avoidance of doubt, the Plan
Supplement), or any Restructuring Transactions, contract, instrument, release or other
agreement or document created or entered into in connection with the Restructuring
Support Agreement, the New Governance Documents, the Disclosure Statement, the Exit
Facility, the Plan Supplement, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the issuance or distribution of the new preferred and common equity shares
or units of Online Pharmacy Holdings LLC pursuant to the Plan, to the extent applicable,
or the distribution of property under the Plan or any other related agreement, or upon any
other act or omission, transaction, agreement, event or other occurrence related or relating
to any of the foregoing, in each case taking place on or before the Effective Date. For the
avoidance of doubt, the following individuals are not, and shall not be deemed to be, Released
Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku Patel, (iv) Crestview City Pharmacy,
Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil Densman, (vii) Bryan Henderson,


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(viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi) Victoria Ballard, (xii)
Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford, (xv) Sergio Zepeda, (xvi) Cold
Bore Capital Management, LLC, and (xvii) Marc Wank.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date or (ii) the rights of any of the
Debtors with respect to any confidentiality provisions or covenants restricting competition
in favor of any of the Debtors under any employment agreement with a current or former
employee of any the Debtors.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Releases, which include by reference each
of the related provisions and definitions contained in the Plan, and further shall constitute
the Bankruptcy Court’s finding that the Debtor Releases are: (i) in exchange for the good
and valuable consideration provided by the Released Parties, including, without limitation,
the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (ii) a good faith settlement and compromise of the Claims released
by the Debtor Releases; (iii) in the best interests of the Debtors and all Holders of Claims and
Interests; (iv) fair, equitable and reasonable; (v) given and made after due notice and
opportunity for hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors or
the Debtors’ Estates asserting any Cause of Action released pursuant to the Debtor Releases.

          (c)           Releases by Holders of Claims and Interests

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, except as otherwise expressly set forth in the Plan
or the Confirmation Order, on and after the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is,
and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, in law, equity,
contract, tort or otherwise, including any derivative claims asserted on behalf of any of the
Debtors, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, any
of the Debtors (including the capital structure, management, ownership or operation
thereof), the subject matter of or the transactions or events giving rise to any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors any other Released Party, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted against any of the Debtors), intercompany transactions between
or among any of the Debtors or an affiliate of a Debtor and another Debtor or affiliate of a
Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
entry into, or filing of the Restructuring Support Agreement and related prepetition
transactions, any Definitive Document, the Disclosure Statement, the New Governance
Documents, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document
created or entered into in connection with the Restructuring Support Agreement, the New


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Governance Documents, the Disclosure Statement, the Plan, the Plan Supplement, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of the
new preferred and common equity shares or units of Online Pharmacy Holdings LLC
pursuant to the Plan, to the extent applicable, or the distribution of property under the Plan
or any other related agreement, or upon any other act or omission, transaction, agreement,
event or other occurrence related or relating to any of the foregoing, in each case taking place
on or before the Effective Date.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date, (ii) the rights of any current
employee of any of the Debtors under any employment agreement or plan or (iii) rights of
Holders of Allowed Claims or Allowed Interests to receive distributions under the Plan.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained herein, and, further, shall constitute
the Bankruptcy Court’s finding that the Third-Party Release is: (i) consensual; (ii) essential
to the confirmation of the Plan; (iii) given in exchange for the good and valuable
consideration provided by the Released Parties; (iv) a good faith settlement and compromise
of the Claims released by the Third-Party Release; (v) in the best interests of the Debtors
and their Estates; (vi) fair, equitable and reasonable; (vii) given and made after due notice
and opportunity for hearing; and (viii) a bar to any of the Releasing Parties asserting any
claim or Cause of Action released pursuant to the Third-Party Release.

          (d)           Discharge of Claims

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, or in any contract, instrument, or other agreement or document created or
entered into pursuant to the Plan, the distributions, rights, and treatment that are provided in the
Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by
the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims and Interests, including
demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed
by employees of the Debtors prior to the Effective Date and that arise from a termination of
employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in section 502(g), 502(h),
or 502(i) of the Bankruptcy Code, in each case whether or not: (i) a proof of claim or Interest based
upon such debt, right or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is Allowed pursuant
to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or Interest has accepted
the Plan or voted to reject the Plan. The Confirmation Order shall be a judicial determination of


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the discharge of all Claims and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan.

          (e)           Exculpation

         As of the Effective Date, except as otherwise specifically provided in the Plan or
Confirmation Order, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is hereby released and exculpated from, any Exculpated Claim other than
those arising out of or relating to any act by or omission of an Exculpated Party that have
been determined in a Final Order of a court of competent jurisdiction to have constituted
actual fraud, willful misconduct or gross negligence, but in all respects such Entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Exculpated Parties have, and upon Consummation
of the Plan shall be deemed to have, participated in good faith and in compliance with the
applicable laws with regard to the solicitation of votes on the Plan, distribution of
consideration pursuant to the Plan and, to the extent applicable, the offer, issuance and sale
or purchase of securities pursuant to the Plan and, therefore, are not, and on account of such
solicitation, distribution and issuance shall not be, liable at any time for the violation of any
applicable law, rule or regulation governing the solicitation of acceptances or rejections of
the Plan, such distributions made pursuant to the Plan and issuance of securities pursuant
to the Plan. Notwithstanding anything to the contrary in the foregoing, the exculpations set
forth above do not release (i) any liabilities arising after the Effective Date, (ii) the rights of
any current employee of any of the Debtors under any employment agreement or plan or
(iii) the rights of Holders of Allowed Claims or Allowed Interests to receive treatment in
accordance with the Plan.

          (f)           Injunction

        Effective as of the Effective Date, except as otherwise expressly provided in the Plan or
the Confirmation Order or for obligations issued or required to be paid pursuant to the Plan or the
Confirmation Order, all Enjoined Parties are permanently enjoined, from and after the Effective
Date, from taking any of the following actions against, as applicable, any of the Debtors, any of
the Reorganized Debtors, the Exculpated Parties or the Released Parties and their respective assets
and properties: (i) commencing or continuing in any manner any action, suit or other proceeding
of any kind on account of or in connection with or with respect to any such Claims or Interests;
(ii) enforcing, attaching, collecting or recovering by any manner or means any judgment, award,
decree or order against such Entities on account of or in connection with or with respect to any
such Claims or Interests; (iii) creating, perfecting or enforcing any encumbrance of any kind
against such Entities or the property or the Estate of such Entities on account of or in connection
with or with respect to any such Claims or Interests; (iv) asserting any right of setoff, subrogation
or recoupment of any kind against any obligation due from such Entities or against the property of
such Entities on account of or in connection with or with respect to any such Claims or Interests
unless such Holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such
Holder asserts, has or intends to preserve any right of setoff pursuant to applicable law or
otherwise; and (v) commencing or continuing in any manner any action or other proceeding of any


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kind on account of or in connection with or with respect to any such Claims or Interests released
or settled pursuant to the Plan.

          (g)           Term of Injunctions and Stays

        Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.

          (h)           Protection Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, no Entities, including Governmental Units, shall discriminate against any of the
Reorganized Debtors or deny, revoke, suspend or refuse to renew a license, permit, charter,
franchise or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, any of the Reorganized Debtors or another Entity with whom such Reorganized
Debtor has been associated, solely because the Debtors have been a debtor under chapter 11 of the
Bankruptcy Code, have been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge) or have not
paid a debt that is dischargeable in the Chapter 11 Cases.

          (i)           Release of Liens, Claims and Interests

        Except as otherwise provided herein or in any contract, instrument, release or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, all
Claims, Interests or Liens, including but not limited to mortgages, deeds of trust, Liens, pledges
or other security interests, against or in any property of the Estates shall be fully released,
discharged, terminated and extinguished, in each case without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order or rule or the vote, consent,
authorization or approval of any Entity, and all of the right, title and interest of any holder of such
mortgages, deeds of trust, Liens, pledges or other security interests shall revert to the Reorganized
Debtors and their successors and assigns. Any Entity holding such Liens, Claims or Interests will,
if necessary, pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to
the Reorganized Debtors such instruments of termination, release, satisfaction and/or assignment
(in recordable form) as may be reasonably requested by the Reorganized Debtors and shall incur
no liability to any Entity in connection with its execution and delivery of any such instruments.
Any Holder of a Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed to release any collateral or other property of the Debtors held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Lien, including the execution, delivery and
filing or recording of such releases. The presentation or filing of the Confirmation Order to or
with any federal, state, provincial or local agency or department shall constitute good and sufficient


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evidence of, but shall not be required to effect, the termination of such Liens. For the avoidance
of doubt, the Exit Facility Claims effected through the Prepetition Lien Conversion and the DIP
Lien Conversion pursuant to the Plan shall not be released, discharged, terminated or extinguished
to effect the Exit Capital Structure attached to the Restructuring Support Agreement.

8.4       Conditions Precedent to Confirmation and Consummation of the Plan

          (a)           Conditions Precedent to Confirmation

        It shall be a condition to Confirmation that the following provisions, terms and conditions
shall have been satisfied or waived pursuant to the provisions of Section 8.03 of the Plan.

       1.     The Bankruptcy Court shall have entered a Final Order, in form and substance
reasonably acceptable to the Debtors and the Consenting Lenders, approving the Disclosure
Statement as containing adequate information within the meaning of section 1125 of the
Bankruptcy Code (which, for the avoidance of doubt, may be the same order as the order
confirming the Plan).

      2.      The Plan and the Plan Supplement, including any schedules, documents,
agreements, supplements and exhibits thereto (in each case in form and substance acceptable to
the Debtors and the Consenting Lenders as provided for under the Restructuring Support
Agreement) shall have been filed.

        3.     The Restructuring Support Agreement shall not have been rejected by the Debtors,
shall not have been terminated as of immediately prior to the Confirmation Date, nor shall there
have been any breach thereof by any party.

          (b)           Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Section 8.03 of the
Plan:
       1.      Each document or agreement constituting the Definitive Documents shall have
been executed and/or effectuated and shall be in form and substance consistent with the
Restructuring Support Agreement, including any consent rights included therein.

        2.     The Plan shall have been filed and the Bankruptcy Court shall have entered the
Confirmation Order in form and substance consistent with the Restructuring Support Agreement,
including any consent rights included therein, and such Confirmation Order shall not have been
stayed, modified, vacated, appealed or subjected to an injunction and shall have become a Final
Order.

        3.     The Bankruptcy Court shall have entered one or more Final Orders (which may
include the Confirmation Order) authorizing the assumption, assumption and assignment, and
rejection, as applicable, of Executory Contracts and Unexpired Leases by the Debtors as
contemplated herein.



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        4.      All (i) governmental and regulatory approvals, clearances and consents necessary
and legally required, if any, under applicable non-bankruptcy law and (ii) material third-party
consents and approvals, if any, in each case in connection with the transactions provided for in the
Plan shall have been obtained, are not subject to unfulfilled conditions, and are in full force and
effect, and all applicable waiting periods have expired without any action having been taken by
any competent authority that restrains, prevents or enjoins the Restructuring Transactions.

       5.      All statutory fees and obligations then due and payable to the Office of the U.S.
Trustee shall have been paid and satisfied.

      6.      To the extent invoiced at least one (1) Business Day before the Effective Date, all
amounts on account of invoiced and unpaid Restructuring Fees have been paid in full.

       7.      The Professional Fee Escrow Account shall have been established and funded with
the Professional Fee Amount in accordance with Section 2.02 of the Plan.

       8.     The transactions contemplated in the Restructuring Transactions shall have been
executed and completed by all of the Entities that are parties thereto.

       9.     The Restructuring Support Agreement shall have been assumed pursuant to the
Confirmation Order.

      10.     The New Governance Documents shall have been filed with the appropriate
governmental authority.

        11.     The Existing Governance Documents shall have been amended, restated, or
replaced by the New Governance Documents, respectively, in all cases consistent with the consent
rights of the Consenting Lenders as set forth in the Restructuring Support Agreement.

      12.     The Restructuring Support Agreement shall not have been terminated as of
immediately prior to the Effective Date and there has been no breach thereof by any party.

          (c)           Waiver of Conditions

        The conditions to Confirmation of the Plan and to Consummation of the Plan set forth in
Article VIII of the Plan may be waived, in whole or in part, at any time by the Debtors, with the
prior written consent of the Consenting Lenders (email shall suffice), without notice, leave or order
of the Bankruptcy Court or any formal action; provided, however, that the Debtors may not waive
entry of the Confirmation Order.

          (d)           Effect of Failure of Conditions

        If the Consummation of the Plan does not occur by the Outside Date (as defined in the
Restructuring Support Agreement) as to any Debtor, the Plan shall be null and void in all respects
as to such Debtor and nothing contained in the Plan, the Disclosure Statement, or the Restructuring
Support Agreement shall: (i) constitute a waiver or release of any claims by or Claims against or
Interests in any of the Debtors; (ii) prejudice in any manner the rights of the Debtors, any Holder


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of Claims or Interests or any other Entity; or (iii) constitute an admission, acknowledgment, offer
or undertaking by any of the Debtors, any Holder or any other Entity in any respect.

          (e)           Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy
Code, shall be deemed to occur on the Effective Date.

8.5       Modification, Revocation, or Withdrawal of the Plan

          (a)           Modification and Amendments

        Except as otherwise provided in the Plan, the Debtors (with the consent of the Consenting
Lenders) reserve the right to modify the Plan as to material and/or immaterial terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not re-solicit votes on such
modified Plan. Subject to section 1127(b) of the Bankruptcy Code and Bankruptcy Rule 3019 and
applicable restrictions on modifications set forth in the Plan, the Debtors (with the consent of the
Consenting Lenders) expressly reserve their respective rights to revoke, withdraw, alter, amend or
modify the Plan with respect to the Debtors, one or more times, after Confirmation, and, to the
extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify
the Plan or remedy any defect or omission or reconcile any inconsistencies in the Plan, the
Disclosure Statement or the Confirmation Order, in each case in such matters as may be necessary
to carry out the purposes and intent of the Plan. Any such modification or supplement shall be
considered a modification of the Plan and shall be made in accordance with Article IX of the Plan.
Subject to section 1127 of the Bankruptcy Code and, to the extent applicable, sections 1122, 1123
and 1125 of the Bankruptcy Code, any alterations, amendments or modifications of the Plan
proposed in writing by the Debtors at any time prior to or after the Confirmation Date, but prior to
the Effective Date, and in all cases subject to the consent of the Consenting Lenders, Holders of
Claims that have accepted the Plan shall be deemed to have accepted the Plan, as altered, amended
or modified, without the re-solicitation if the proposed alteration, amendment or modification do
not materially and adversely change the treatment of the Claim of such Holder; provided, however,
that any Holders of Claims or Interests that were deemed to accept the Plan because such Claims
or Interests were Unimpaired shall continue to be deemed to accept the Plan only if, after giving
effect to such amendment or modification, such Claims continue to be Unimpaired.

          (b)           Effect of Confirmation on Modifications

       Entry of a Confirmation Order, including under section 1127 of the Bankruptcy Code, shall
mean that all modifications or amendments to the Plan occurring after the solicitation are approved
pursuant to section 1127(a) of the Bankruptcy Code or section 1127(b) of the Bankruptcy Code,
as applicable, and do not require additional disclosure or re-solicitation under Bankruptcy Rule
3019.

          (c)           Revocation or Withdrawal of the Plan

        The Debtors reserve the right, upon prior notice to and with the consent of the Consenting
Lenders, to revoke or withdraw the Plan before the Confirmation Date and to file subsequent plans
of reorganization, either entirely or as to any one or more of the Debtors. If the Plan is revoked or


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withdrawn as to fewer than all of the Debtors, such revocation or withdrawal shall not affect the
enforceability of the Plan as it relates to the Debtors for which the Plan is not revoked or
withdrawn. If (i) the Debtors revoke or withdraw the Plan in its entirety in accordance with this
Section 9.03, (ii) the Restructuring Support Agreement is terminated by the Outside Date (as
defined in the Restructuring Support Agreement), or (iii) Confirmation or Consummation does not
occur by the Outside Date (as defined in the Restructuring Support Agreement), then, absent
further order of the Bankruptcy Court: (i) the Plan shall be null and void in all respects unless
extended by the Debtors, with the prior written consent of the Consenting Lenders; (ii) any
settlement or compromise not previously approved by Final Order of the Bankruptcy Court
embodied in the Plan (including the fixing or limiting to an amount certain of any Claim or Interest
or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired
Leases effected by the Plan, and any document or agreement executed pursuant to the Plan, shall
be deemed null and void; and (iii) nothing contained in the Plan shall: (a) constitute a waiver or
release of any Claims or Interests; (b) prejudice in any manner the rights of such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Lenders; or (c)
constitute an admission, acknowledgement, offer or undertaking of any sort by such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Lenders.

                                              ARTICLE IX
                                             RISK FACTORS

BEFORE TAKING ANY ACTION WITH RESPECT TO THE PLAN, HOLDERS OF
CLAIMS AGAINST THE DEBTORS WHO ARE ENTITLED TO VOTE TO ACCEPT OR
REJECT THE PLAN SHOULD READ AND CONSIDER CAREFULLY THE RISK
FACTORS SET FORTH BELOW, AS WELL AS THE OTHER INFORMATION SET
FORTH IN THIS DISCLOSURE STATEMENT, THE PLAN, AND THE DOCUMENTS
DELIVERED TOGETHER HEREWITH, REFERRED TO, OR INCORPORATED BY
REFERENCE INTO THIS DISCLOSURE STATEMENT, INCLUDING OTHER
DOCUMENTS FILED WITH THE BANKRUPTCY COURT IN THE CHAPTER 11
CASES. THE RISK FACTORS SHOULD NOT BE REGARDED AS CONSTITUTING
THE ONLY RISKS PRESENT IN CONNECTION WITH THE DEBTORS’ BUSINESSES
OR THE RESTRUCTURING AND CONSUMMATION OF THE PLAN. EACH OF THE
RISK FACTORS DISCUSSED IN THIS DISCLOSURE STATEMENT MAY APPLY
EQUALLY TO THE DEBTORS AND THE REORGANIZED DEBTORS, AS
APPLICABLE AND AS CONTEXT REQUIRES

9.1       Bankruptcy Law Considerations

        The occurrence or non-occurrence of any or all of the following contingencies, and any
others, could affect distributions available to Holders of Allowed Claims and Allowed Interests
under the Plan but will not necessarily affect the validity of the vote of the Impaired Classes to
accept or reject the Plan or necessarily require a re-solicitation of the votes of Holders of Claims
or Interests in such Impaired Classes.

          (a)           The Debtors Will Consider All Available Restructuring Alternatives if the
                        Restructuring Transactions are Not Implemented, and Such Alternatives May



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                        Result in Lower Recoveries for Holders of Claims Against and Interests in the
                        Debtors

        Subject to the terms of the Restructuring Support Agreement, if the Restructuring
Transactions are not consummated, the Debtors will thereafter consider all available restructuring
alternatives, including filing an alternative chapter 11 plan, selling assets, converting to a chapter
7 plan, and any other transaction that would maximize the value of the Debtors’ estates. The terms
of any alternative restructuring proposal may be less favorable to Holders of Claims against and
Interests in the Debtors than the terms of the Plan as described in this Disclosure Statement.

        Any material delay in the confirmation of the Plan, the Chapter 11 Cases, or the threat of
rejection of the Plan by the Bankruptcy Court, would add substantial expense and uncertainty to
the process.

   The uncertainty surrounding a prolonged restructuring would have other adverse effects on the
Debtors. For example, it would adversely affect:

                       the Debtors’ ability to fund the reorganization transactions;
                       the Debtors’ liquidity; and
                       how the Debtors’ businesses are viewed by investors and lenders.

          (b)           Parties in Interest May Object to the Plan’s Classification of Claims and
                        Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the other
claims or equity interests in such class. While the Debtors have proposed that some unsecured
creditors will receive a larger distribution than other unsecured creditors, the Debtors believe that
the classification of the Claims and Interests under the Plan complies with the requirements set
forth in the Bankruptcy Code because the Debtors created Classes of Claims and Interests each
encompassing Claims or Interests, as applicable, that are substantially similar to the other Claims
or Interests, as applicable, in each such Class. Furthermore, Debtors believe that such
classification risk is mitigated because any discrimination between classes of creditors is being
funded by a gift from the Prepetition Secured Lenders. Nevertheless, there can be no assurance
that the Bankruptcy Court will reach the same conclusion.

          (c)           The Consideration Under the Plan Does Not Reflect any Independent
                        Valuation of Claims against or Interests in the Debtors.

    The Debtors have not obtained or requested an opinion from any bank or other firm as to the
fairness of the consideration under the Plan.

          (d)           Even if the Restructuring Transactions are Successful, the Debtors Will
                        Continue to Face Risks.

        The Restructuring Transactions are generally designed to reduce the Debtors’ cash interest
expense, improve the Debtors’ liquidity and provide the Debtors greater flexibility to generate
long-term growth. Even if the Restructuring Transactions are implemented, the Debtors will


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continue to face a number of risks, including certain risks that are beyond the Debtors’ control,
such as changes in economic conditions, changes in the Debtors’ industry and changes in
commodity prices. As a result of these risks, there is no guarantee that the Restructuring
Transactions will achieve the Debtors’ stated goals.

          (e)           The Restructuring Support Agreement May Be Terminated

        As more fully set forth in the Restructuring Support Agreement, it may be terminated upon
the occurrence of certain events, including, among others, the Debtors’ failure to meet specified
Milestones relating to the filing, confirmation, and consummation of the Plan, and breaches by the
Debtors and/or the Consenting Lenders of their respective obligations under the Restructuring
Support Agreement. In the event that the Restructuring Support Agreement is terminated, the
Debtors may seek a non-consensual restructuring alternative, including a potential liquidation of
their assets. Termination of the Restructuring Support Agreement could result in the loss of support
for the Plan by important creditor constituencies and could result in the withdrawal of the Plan and
protracted Chapter 11 Cases.

          (f)           The Conditions Precedent to the Effective Date of the Plan May Not Occur

        As more fully set forth in Article VIII of the Plan, the Confirmation and Effective Date of
the Plan are subject to a number of conditions precedent. If such conditions precedent are not
waived or not met, the Confirmation and the Effective Date of the Plan will not take place. In the
event that the Effective Date does not occur, the Debtors may seek Confirmation of a new plan. If
the Debtors do not secure sufficient working capital to continue their operations of if the new plan
is not confirmed, however, the Debtors may be forced to liquidate their assets.

          (g)           The Debtors May Fail to Satisfy Vote Requirements

        If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation
of the Plan. In the event that sufficient votes are not received, the Debtors may need to seek to
confirm an alternative chapter 11 plan or transaction, subject to the terms of the Restructuring
Support Agreement. There can be no assurance that the terms of any such alternative chapter 11
plan or other transaction would be similar or as favorable to the Holders of Interests and Allowed
Claims as those proposed in the Plan and the Debtors do not believe that any such transaction
exists or is likely to exist that would be more beneficial to the Estates than the Plan.

          (h)           The Debtors May Not Be Able to Secure Confirmation of the Plan

        Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
chapter 11 plan, and requires, among other things, a finding by the Bankruptcy Court that: (a)
such plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-
accepting classes; (b) confirmation of such plan is not likely to be followed by a liquidation or a
need for further financial reorganization unless such liquidation or reorganization is contemplated
by the plan; and (c) the value of distributions to non-accepting holders of claims or interests within
a particular class under such plan will not be less than the value of distributions such holders would
receive if the debtor were liquidated under chapter 7 of the Bankruptcy Code.



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        There can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance that the
Bankruptcy Court will confirm the Plan. A non-accepting Holder of an Allowed Claim might
challenge either the adequacy of this Disclosure Statement or whether the balloting procedures and
voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the
Bankruptcy Court determines that this Disclosure Statement, the balloting procedures, and voting
results are appropriate, the Bankruptcy Court could still decline to confirm the Plan if it finds that
any of the statutory requirements for Confirmation are not met. If a chapter 11 plan of
reorganization is not confirmed by the Bankruptcy Court, it is unclear whether the Debtors will be
able to reorganize their businesses and what, if anything, Holders of Interests and Allowed Claims
against them would ultimately receive.

       If the Plan is not confirmed, it is unclear what distributions, if any, holders of Allowed
Claims and Interests will receive with respect to their Allowed Claims and Interests, as applicable.

        The Debtors, subject to the terms and conditions of the Plan and the consent rights of the
Consenting Lenders on terms set forth in the Restructuring Support Agreement, reserve the right
to modify the terms and conditions of the Plan as necessary for Confirmation and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such
modified Plan. Any such modifications could result in less favorable treatment of any non-
accepting class of Claims or Interests, as well as any class junior to such non-accepting class, than
the treatment currently provided in the Plan. Such a less favorable treatment could include a
distribution of property with a lesser value than currently provided in the Plan or no distribution
whatsoever under the Plan.

          (i)           The Debtors May Not Be Able to Secure Nonconsensual Confirmation Over
                        Certain Impaired Non-Accepting Classes

        In the event that any impaired class of claims or interests does not accept a chapter 11 plan,
a bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one
impaired class (as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with
such acceptance being determined without including the vote of any “insider” in such class), and,
as to each impaired class that has not accepted the plan, the bankruptcy court determines that the
plan “does not discriminate unfairly” and is “fair and equitable” with respect to the dissenting
impaired class(es). The Debtors believe that the Plan satisfies these requirements, and the Debtors
may request such nonconsensual Confirmation in accordance with subsection 1129(b) of the
Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will reach
this conclusion. In addition, the pursuit of nonconsensual Confirmation or Consummation of the
Plan may result in, among other things, increased expenses relating to professional compensation.

          (j)           Even if the Restructuring Transactions are Successful, the Debtors Will Face
                        Continued Risk Upon Confirmation

       Even if the Plan is consummated, the Debtors will continue to face a number of risks,
including certain risks that are beyond their control, such as further deterioration or other changes
in economic conditions, changes in the industry, potential revaluing of their assets due to chapter
11 proceedings, and increasing expenses. See Article 9.2(d) of this Disclosure Statement, entitled


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“Risks Related to the Debtors’ and the Reorganized Debtors’ Business.” Some of these concerns
and effects typically become more acute when a case under the Bankruptcy Code continues for a
protracted period without indication of how or when the case may be completed. As a result of
these risks and others, there is no guarantee that a chapter 11 plan of reorganization reflecting the
Plan will achieve the Debtors’ stated goals.

        In addition, at the outset of the Chapter 11 Cases, the Bankruptcy Code provides the
Debtors with the exclusive right to propose the Plan and prohibits creditors and others from
proposing a plan. The Debtors will have retained the exclusive right to propose the Plan upon
filing their Petitions. If the Bankruptcy Court terminates that right, however, or the exclusivity
period expires, there could be a material adverse effect on the Debtors’ ability to achieve
confirmation of the Plan in order to achieve the Debtors’ stated goals.

        Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan,
the Debtors may need to raise additional funds through public or private debt or equity financing
or other various means to fund the Debtors’ business after the completion of the proceedings
related to the Chapter 11 Cases. Adequate funds may not be available when needed or may not be
available on favorable terms.

          (k)           The Chapter 11 Cases May Be Converted to a Case under Chapter 7 of the
                        Bankruptcy Code

        If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the
debtor in a chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a
case under chapter 7 of the Bankruptcy Code. In such event, a chapter 7 trustee would be appointed
or elected to liquidate the debtor’s assets for distribution in accordance with the priorities
established by the Bankruptcy Code. The Debtors believe that liquidation under chapter 7 would
result in significantly smaller distributions being made to creditors than those provided for in a
chapter 11 plan because of (a) additional administrative expenses involved in the appointment of
a chapter 7 trustee, and (b) additional expenses and Claims, some of which would be entitled to
priority, would be generated during the liquidation, including Claims resulting from the rejection
of Unexpired Leases and other Executory Contracts in connection with cessation of operations.

          (l)           The Debtors May Object to the Amount or Classification of a Claim

       Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan, subject to the terms of the Restructuring
Support Agreement. The estimates set forth in this Disclosure Statement cannot be relied upon by
any Holder of a Claim where such Claim is subject to an objection. Any Holder of a Claim that is
subject to an objection thus may not receive its expected share of the estimated distributions
described in this Disclosure Statement.

          (m)           Risk of Non-Occurrence of the Effective Date

         Although the Debtors believe that the Effective Date may occur quickly after the
Confirmation Date, there can be no assurance as to such timing or as to whether the Effective Date
will, in fact, occur.



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          (n)           Contingencies Could Affect Votes of Impaired Classes to Accept or Reject the
                        Plan

         The distributions available to Holders of Allowed Claims under the Plan can be affected
by a variety of contingencies, including, without limitation, whether the Bankruptcy Court orders
certain Allowed Claims to be subordinated to other Allowed Claims. The occurrence of any and
all such contingencies, which could affect distributions available to Holders of Allowed Claims
under the Plan, will not affect the validity of the vote taken by the Impaired Classes to accept or
reject the Plan or require any sort of revote by the Impaired Classes.

        The estimated Claims and creditor recoveries set forth in this Disclosure Statement are
based on various assumptions, and the actual Allowed amounts of Claims may significantly differ
from the estimates. Should one or more of the underlying assumptions ultimately prove to be
incorrect, the actual Allowed amounts of Claims may vary from the estimated Claims contained
in this Disclosure Statement. Moreover, the Debtors cannot determine with any certainty at this
time, the number or amount of Claims that will ultimately be Allowed. Such differences may
materially and adversely affect, among other things, the percentage recoveries to holders of
Allowed Claims under the Plan.

          (o)           Releases, Injunctions, and Exculpations Provisions May Not Be Approved

        Confirmation is also subject to the Bankruptcy Court’s approval of the settlement, release,
injunction, and related provisions described in Article VII of the Plan. Certain parties in interest
may assert that the Debtors cannot demonstrate that they meet the standards for approval of
releases, exculpations, and injunctions established by the United States Court of Appeals for the
Third Circuit. If the releases are not approved, certain Released Parties may withdraw their support
for the Plan.

        The releases provided to the Released Parties and the exculpation provided to the
Exculpated Parties are necessary to the success of the Debtors’ reorganization because the
Released Parties and Exculpated Parties have made significant contributions to the Debtors’
reorganizational efforts and have agreed to make further contributions, but only if they receive the
full benefit of the Plan’s release and exculpation provisions.

9.2       Risks Related to Recoveries Under the Plan

          (a)           Estimated Valuations of the Debtors, and Estimated Recoveries to Holders of
                        Allowed Claims and Interests, Are Not Intended to Represent Potential
                        Market Values

        There can be no assurance that the estimated Allowed amount of Claims in certain Classes
will not be significantly more than projected, which in turn, could cause the value of distributions
to be reduced substantially. The estimated recoveries are based on numerous assumptions (the
realization of many of which will be beyond the control of the Debtors), including: (a) the
successful reorganization of the Debtors; (b) an assumed date for the occurrence of the Effective
Date; (c) the Debtors’ ability to achieve the financial results included in the Feasibility Analysis;
and (d) the assumption that capital and equity markets remain consistent with current conditions.



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        Accordingly, the estimated recoveries do not necessarily reflect, and should not be
construed as reflecting, values that may be attained for the Debtors’ securities in the public or
private markets.

          (b)           The Reorganized Debtors May Be Forced to Take Other Actions to Satisfy
                        their Obligations

        The Reorganized Debtors’ ability to make scheduled payments on their debt obligations
depends on the financial condition and operating performance of their businesses, which is subject
to prevailing economic and competitive conditions and to certain financial, business, and other
factors beyond the Reorganized Debtors’ control. The Reorganized Debtors may not be able to
maintain a level of cash flow sufficient to permit them to pay the principal, premium, if any, and
interest on their debt.

        If cash flows and capital resources are insufficient to fund the Reorganized Debtors’ debt
obligations, they could face liquidity issues and there may be a need to reduce or delay investments
and capital expenditures, or to dispose of assets or operations, seek additional capital or restructure
or refinance debt. These alternative measures may not be successful, may not be completed on
economically attractive terms, or may not be adequate to satisfy their debt obligations when due.

          (c)           Certain Tax Implications of the Plan May Increase the Tax Liability of the
                        Reorganized Debtor

       Holders of Allowed Claims should carefully review Article XIII of this Disclosure
Statement, entitled “Certain United States Federal Income Tax Consequences of the Plan,” to
determine how the tax implications of the Plan and the Chapter 11 Case may adversely affect the
Reorganized Debtors and holders of certain Claims.

          (d)           Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses

                        1.    The Reorganized Debtors May Not Be Able to Generate Sufficient Cash to
                              Service All of their Indebtedness

        The Reorganized Debtors’ ability to make scheduled payments on their debt obligations
depends primarily its financial condition and operating performance, which are subject to
prevailing economic, industry, and competitive conditions and to certain financial, business,
legislative, regulatory, and other factors beyond the Reorganized Debtors’ control. Some of the
factors that may affect the Company’s business or financial condition include: the demand for the
Reorganized Debtors’ products or services; the prices of raw materials; disruptions to the
Reorganized Debtors’ supply chain; competition from other industry participants; technology
advances; significant delays in the collection of accounts or notes receivable; customer,
counterparty, supplier or vendor defaults; costs of complying with, or liabilities imposed under,
environmental, health and safety laws; the impact of pending and future legal proceedings; the
interruption, disruption, failure or malfunction of our information technology systems including
due to cyberattack; the impact of changes in tax law that could adversely affect the tax treatment
for federal income tax purposes; economic and political instability; disruptions in the capital and
credit markets; and access to available capital to meet operating requirements.



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                        2.   The Debtors Will Be Subject to the Risks and Uncertainties Associated with
                             the Chapter 11 Cases

        For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and
execute a business plan, and continue as a going concern, will be subject to the risks and
uncertainties associated with bankruptcy. These risks include, among other things, the following:
(a) ability to develop, confirm, and consummate the Restructuring Transactions specified in the
Plan; (b) ability to obtain Bankruptcy Court approval with respect to motions filed in the Chapter
11 Cases from time to time; (c) ability of the Debtors to maintain relationships with suppliers,
vendors, service providers, customers, employees, and other third parties; (d) ability of the Debtors
to maintain contracts that are critical to the Debtors’ operations; (e) ability of third parties to seek
and obtain Bankruptcy Court approval to terminate contracts and other agreements with the
Debtors; (f) ability of third parties to seek and obtain Bankruptcy Court approval to terminate or
shorten the exclusivity period for the Debtors to propose and confirm a chapter 11 plan, to appoint
a chapter 11 trustee, or to convert the Chapter 11 Cases to chapter 7 proceedings; and (g) the actions
and decisions of the Debtors’ creditors and other third parties who have interests in the Chapter 11
Cases that may be inconsistent with the Debtors’ plans. These risks and uncertainties could affect
the Debtors’ businesses and operations in various ways. For example, negative events associated
with the Chapter 11 Cases could adversely affect the Debtors’ relationships with suppliers, service
providers, customers, employees, and other third parties, which in turn could adversely affect the
Debtors’ operations and financial condition. Also, the Debtors will need the prior approval of the
Bankruptcy Court for transactions outside the ordinary course of business, which may limit the
Debtors’ ability to respond timely to certain events or take advantage of certain opportunities.
Because of the risks and uncertainties associated with the Chapter 11 Cases, the Debtors cannot
accurately predict or quantify the ultimate impact of events that occur during the Chapter 11 Cases
that may be inconsistent with the Debtors’ plans.

                        3.   The Debtors May Not Be Able to Achieve Their Financial Results or Meet
                             Their Post-Restructuring Debt Obligations.

        Certain of the information contained herein is, by nature, forward-looking, and contains
estimates and assumptions, which might ultimately prove to be incorrect, and projections, which
may be materially different from actual future experiences. Many of the assumptions underlying
the projections are subject to significant uncertainties that are beyond the control of the Debtors or
Reorganized Debtors, including the timing, confirmation, and consummation of the Plan, the
Reorganized Debtors’ future revenues, inflation, and other unanticipated market and economic
conditions. There are uncertainties associated with any projections and estimates, and they should
not be considered assurances or guarantees of the amount of funds or the amount of Claims in the
various Classes that might be Allowed. Some assumptions may not materialize, and unanticipated
events and circumstances may affect the actual results. To the extent the Reorganized Debtors do
not meet their projected financial results or achieve projected cash flows, the Reorganized Debtors
may lack sufficient liquidity to continue operating as planned after the Effective Date, may be
unable to service their debt obligations as they come due, or may not be able to meet their
operational needs.

        The Feasibility analysis, attached hereto as Exhibit D, relies on certain financial
projections related to the Reorganized Debtors’ operations, which represent the best estimate of


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the Debtors’ management and financial advisor of the future financial performance of Reorganized
Debtors based on currently known facts and assumptions about future operations of Reorganized
Debtors, as well as the U.S. and world economy in general and the relevant industries in which the
Company operates. The financial projections are inherently subject to substantial and numerous
uncertainties and to a wide variety of significant business, economic, and competitive risks,
including those risks that affect the Company’s businesses as discussed herein, and the assumptions
underlying the projections may be inaccurate in material respects. In addition, unanticipated
events and circumstances occurring after the approval of this Disclosure Statement by the
Bankruptcy Court including any natural disasters, terrorist attacks, or health epidemics and/or
pandemics may affect the actual financial results achieved. There is no guarantee that the financial
projections will be realized, and actual financial results may differ significantly from the financial
projections.

                        4.   The Reorganized Debtors May Be Adversely Affected by Potential
                             Litigation, Including Litigation Arising Out of the Chapter 11 Cases

         In the future, the Reorganized Debtors may become parties to litigation. In general,
litigation can be expensive and time consuming to bring or defend against. Such litigation could
result in settlements or damages that could significantly affect the Reorganized Debtors’ financial
results. It is also possible that certain parties will commence litigation with respect to the treatment
of their Claims or Interests under the Plan. It is not possible to predict the potential litigation that
the Reorganized Debtors may become party to, nor the final resolution of such litigation. The
impact of any such litigation on the Reorganized Debtors’ businesses and financial stability,
however, could be material.

                        5.   The Company’s Operations May be Impacted By the Continuing COVID-
                             19 Pandemic

        The business and financial results of the Company have been and may continue to be
negatively impacted by the outbreak of COVID-19 and could be similarly negatively impacted by
other pandemics or epidemics in the future. In 2020, COVID-19 has significantly impacted
economic activity and markets around the world, and it could negatively impact the Company’s
business in numerous ways. These impacts of the COVID-19 pandemic or other global or regional
health pandemics or epidemics could have the effect of heightening many of the other risks
described in this “Risk Factors” section, such as those relating to the Company’s results of
operations or financial condition. The Company might not be able to predict or respond to all
impacts on a timely basis to prevent near- or long-term adverse impacts to their results. The
ultimate impact of these disruptions also depends on events beyond the knowledge or control of
the Company, including the duration and severity of any outbreak and actions taken by parties
other than the Company to respond to them. Any of these disruptions could have a negative impact
on the Company’s business operations, financial performance and results of operations, which
impact could be material.

                        6.   Natural Disasters Could Have a Material Adverse Effect on the Company

       Natural disasters can potentially destroy numerous business structures and homes and
could disrupt the Company’s supply chain. Disruptions in supply could have a material adverse


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effect on the Company. Damage and higher prices caused by natural disasters could also have an
adverse effect on the Company due to the impact on the financial condition of its customers. To
the extent the frequency or magnitude of significant weather events and natural disasters increases,
the resulting increase in disruptions also could have adverse impacts on the Company on both the
supply and demand side.

                        7.   The Pharmaceutical Business is Highly Competitive, and Competition May
                             Negatively Affect the Company’s Operations

        The Company is affected by the competition for customers among all of the participants in
the pharmaceutical business. The Company competes with a number of large national and regional
firms and several thousand small independent firms. Because of the relatively low barriers to entry
into the pharmaceutical market, there is the potential for small independent companies, as well as
other companies not previously engaged in the Debtors business segments, to compete with the
Company. As a result, the Company is subject to the risk of additional competition in the future.
Some of the Company’s competitors may have greater financial resources or lower costs than the
Company does. Should a competitor attempt to increase market share by reducing prices, the
Company’s operating margins and customer base may be negatively impacted.

                                          ARTICLE X
                             SOLICITATION AND VOTING PROCEDURES

        This Disclosure Statement, which is accompanied by a ballot (the “Ballot”) to be used for
voting on the Plan, is being distributed to the Holders of Claims and Interests in those Classes that
are entitled to vote to accept or reject the Plan.

10.1      Holders of Claims Entitled to Vote on the Plan

         The Debtors are soliciting votes to accept or reject the Plan only from holders of Claims or
Interests in Classes 1, 5 and 9 (the “Voting Class”). The Holders of Claims in the Voting Classes
are Impaired under the Plan and may, in certain circumstances, receive a distribution under the
Plan. Accordingly, Holders of Claims in the Voting Classes have the right to vote to accept or
reject the Plan. The Debtors are not soliciting votes from Holders of Claims or Interests in Classes
2, 3, 4, 5, 6, 7, 8, 10, 11 and 12.

10.2      Votes Required for Acceptance by a Class

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims or
interests is determined by calculating the amount and, if a class of claims, the number, of claims
and interests voting to accept, as a percentage of the allowed claims or interests, as applicable, that
have voted. Acceptance by a class of claims requires an affirmative vote of more than one-half in
number of total allowed claims that have voted and an affirmative vote of at least two-thirds in
dollar amount of the total allowed claims that have voted. Acceptance by a class of interests
requires an affirmative vote of at least two-thirds in amount of the total allowed interests that have
voted.




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10.3      Certain Factors to Be Considered Prior to Voting

    There are a variety of factors that all Holders of Claims entitled to vote on the Plan should
consider prior to voting to accept or reject the Plan. These factors may impact recoveries under
the Plan and include, among other things:

                       unless otherwise specifically indicated, the financial information contained in this
                        Disclosure Statement has not been audited and is based on an analysis of data
                        available at the time of the preparation of the Plan and this Disclosure Statement;

                       although the Debtors believe that the Plan complies with all applicable provisions
                        of the Bankruptcy Code, the Debtors can neither assure such compliance nor that
                        the Bankruptcy Court will confirm the Plan;

                       the Debtors may request Confirmation without the acceptance of the Plan by all
                        Impaired Classes in accordance with section 1129(b) of the Bankruptcy Code; and

                       any delays of either Confirmation or Consummation could result in, among other
                        things, increased Administrative Expense Claims and Professional Fee Claims.

        While these factors could affect distributions available to Holders of Allowed Claims and
Allowed Interests under the Plan, the occurrence or impact of such factors may not necessarily
affect the validity of the vote of the Voting Classes or necessarily require a re-solicitation of the
votes of Holders of Claims in the Voting Class pursuant to section 1127 of the Bankruptcy Code.

        For a further discussion of risk factors, please refer to “Risk Factors” described in Article
IX of this Disclosure Statement.

10.4      Solicitation Procedures

          (a)           Solicitation Agent

       The Debtors have retained Stretto, Inc. to act as, among other things, the Solicitation Agent
in connection with the solicitation of votes to accept or reject the Plan.

          (b)           Solicitation Package

        The following materials constitute the solicitation package distributed to Holders of Claims
in the Voting Classes (collectively, the “Solicitation Package”):




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                        (i)     cover letter in support of the Plan;

                        (ii)    the appropriate Ballot and applicable voting instructions, together with a
                                preaddressed, postage pre-paid return envelope; and

                        (iii)   this Disclosure Statement and all exhibits hereto, including the Plan and all
                                exhibits thereto (which may be distributed in paper or USB-flash drive
                                format).

          (c)           Distribution of the Solicitation Package and Plan Supplement

       August 7, 2024 (the “Voting Record Date”) is the date that was used for determining
which Holders of Claims are entitled to vote to accept or reject the Plan and receive the Solicitation
Package in accordance with the solicitation procedures. Except as otherwise set forth herein, the
Voting Record Date and all of the Debtors’ solicitation and voting procedures shall apply to all of
the Debtors’ creditors and other parties in interest.

        The Debtors will cause the Solicitation Agent to distribute the Solicitation Package or grant
access to the Solicitation Package via the Solicitation Agent’s website to Holders of Claims in
Voting Classes 5 and 9, which is twenty (20) Business Days before the Voting Deadline (i.e., 5:00
p.m. (Eastern Daylight Time) on September 3, 2024). The Solicitation Package (except the Ballot)
may also be obtained from the Solicitation Agent by: (a) calling the Debtor’s restructuring hotline
at 866.515.5505 (domestic toll-free) or 949.590.3286 (local/international toll), (b) emailing
OptioRXInquiries@stretto.com, and/or (c) writing to the Solicitation Agent at OptioRx Ballot
Processing, c/o Stretto, Inc, 410 Exchange, Suite 100, Irvine, CA 92602. You may also obtain
copies of any pleadings filed with the Bankruptcy Court for free by visiting the Debtors’
restructuring website, https://cases.stretto.com/OptioRX, or for a fee via PACER at
https://www.pacer.gov/.

       The Debtors shall file the Plan Supplement, to the extent reasonably practicable, with the
Bankruptcy Court no later than seven (7) days before the Objection Deadline. If the Plan
Supplement is updated or otherwise modified, such modified or updated documents will be made
available on the Debtors’ restructuring website.

                                             ARTICLE XI
                                      CONFIRMATION OF THE PLAN

11.1      The Confirmation Hearing

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, may
hold a hearing to confirm a plan of reorganization. The Debtors have requested that the Bankruptcy
Court approve the Disclosure Statement at a hearing schedule for August 1, 2024 and schedule the
Confirmation Hearing for September 13, 2024. The Disclosure Statement and/or Confirmation
Hearing may, however, be continued or adjourned from time to time without further notice to
parties in interest other than an adjournment announced in open court or a notice of adjournment
filed with the Bankruptcy Court and served in accordance with the Bankruptcy Rules. Subject to
section 1127 of the Bankruptcy Code and the Restructuring Support Agreement, the Plan may be



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modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without further
notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that a party in interest may
object to Confirmation. The Debtors, in the same motion requesting a date for the Confirmation
Hearing, have requested that the Bankruptcy Court set a date and time for parties in interest to file
objections to Confirmation of the Plan. An objection to Confirmation of the Plan must be filed
with the Bankruptcy Court and served on the Debtors and certain other parties in interest in
accordance with the applicable order of the Bankruptcy Court so that it is actually received on or
before the deadline to file such objections as set forth therein.

11.2      Requirement for Confirmation of the Plan

        Among the requirements for Confirmation of the Plan pursuant to section 1129 of the
Bankruptcy Code are: (1) the Plan is accepted by all Impaired Classes of Claims or Interests, or if
rejected by an Impaired Class, the Plan “does not discriminate unfairly” and is “fair and equitable”
as to the rejecting Impaired Class; (2) the Plan is feasible; and (3) the Plan is in the “best interests”
of holders of Claims or Interests. At the Confirmation Hearing, the Bankruptcy Court will
determine whether the Plan satisfies all of the requirements of section 1129 of the Bankruptcy
Code. The Debtors believe that: (1) the Plan satisfies, or will satisfy, all of the necessary statutory
requirements of chapter 11 for plan confirmation; (2) the Debtors have complied, or will have
complied, with all of the necessary requirements of chapter 11 for plan confirmation; and (3) the
Plan has been proposed in good faith.

11.3      Feasibility

         Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of
reorganization is not likely to be followed by the liquidation, or the need for further financial
reorganization of the debtor, or any successor to the debtor (unless such liquidation or
reorganization is proposed in such plan of reorganization). To determine whether the Plan meets
this feasibility requirement, the Debtors, with the assistance of their advisors, have analyzed their
ability to meet their respective obligations under the Plan. Creditors and other interested parties
should review Article IX of this Disclosure Statement, entitled “Risk Factors,” for a discussion of
certain factors that may affect the future financial performance of the Reorganized Debtors. The
Feasibility Analysis attached hereto as Exhibit D and is incorporated herein by reference. Based
upon the Feasibility Analysis, the Debtors believe that the Plan will meet the feasibility
requirements of the Bankruptcy Code. Any representations or inducements made to secure voting
Holders’ acceptance or rejection of the Plan that are other than as contained in, or included with,
this Disclosure Statement, should not be relied upon by voting Holders in arriving at their decision.
Voting Holders should promptly report unauthorized representations or inducements to counsel to
the Debtors and the Office of the United States Trustee for the District of Delaware.

11.4      Acceptance by Impaired Classes

       The Bankruptcy Code requires, as a condition to confirmation, except as described in the
following section, that each class of claims or equity interests impaired under a plan, accept the




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plan. A class that is not “impaired” under a plan is deemed to have accepted the plan and, therefore,
solicitation of acceptances with respect to such a class is not required.

        Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
claims as acceptance by holders of at least two-thirds in dollar amount and more than one-half in
a number of allowed claims in that class, counting only those claims that have actually voted to
accept or to reject the plan. Thus, a class of Claims will have voted to accept the Plan only if two-
thirds in amount and a majority in number of the Allowed Claims in such class that vote on the
Plan actually cast their ballots in favor of acceptance.

        Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
equity interests as acceptance by holders of at least two-thirds in amount of allowed interests in
that class, counting only those interests that have actually voted to accept or to reject the plan.
Thus, a Class of Interests will have voted to accept the Plan only if two-thirds in amount of the
Allowed Interests in such class that vote on the Plan actually cast their ballots in favor of
acceptance.

        Pursuant to Section 3.06 of the Plan, if a Class contains Claims or Interests eligible to vote
and no Holders of Claims or Interests eligible to vote in such Class vote to accept or reject the
Plan, the Holders of such Claims or Interests in such Class shall be deemed to have accepted the
Plan.

11.5      Confirmation Without Acceptance by all Impaired Classes

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even
if all impaired classes have not accepted it; provided, that the plan has been accepted by at least
one impaired class. Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an
impaired class’s rejection or deemed rejection of the plan, the plan will be confirmed, at the plan
proponent’s request, in a procedure commonly known as a “cramdown” so long as the plan does
not “discriminate unfairly” and is “fair and equitable” with respect to each class of claims or equity
interests that is impaired under, and has not accepted, the plan. If any Impaired Class rejects the
Plan, the Debtors reserve the right to seek to confirm the Plan utilizing the “cramdown” provision
of section 1129(b) of the Bankruptcy Code. To the extent that any Impaired Class rejects the Plan
or is deemed to have rejected the Plan, the Debtors may request Confirmation of the Plan, as it
may be modified from time to time, under section 1129(b) of the Bankruptcy Code. The Debtors
reserve the right to alter, amend, modify, revoke, or withdraw the Plan or any Plan Supplement
document, including the right to amend or modify the Plan or any Plan Supplement document to
satisfy the requirements of section 1129(b) of the Bankruptcy Code.

          (a)           No Unfair Discrimination

        The “unfair discrimination” test applies to classes of claims or interests that are of equal
priority and are receiving different treatment under a plan. The test does not require that the
treatment be the same or equivalent, but that treatment be “fair.” In general, bankruptcy courts
consider whether a plan discriminates unfairly in its treatment of classes of claims or interests of
equal rank (e.g., classes of the same legal character). Bankruptcy courts will take into account a
number of factors in determining whether a plan discriminates unfairly. Under certain



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circumstances, a plan could treat two classes of unsecured creditors differently without unfairly
discriminating against either class.

          (b)           Fair and Equitable Test

        The “fair and equitable” test applies to classes of different priority and status (e.g., secured
versus unsecured) and includes the general requirement that no class of claims receive more than
100 percent of the amount of the allowed claims in the class. As to the dissenting class, the test
sets different standards depending upon the type of claims or equity interests in the class. The
Debtors submit that if the Debtors “cramdown” the Plan pursuant to section 1129(b) of the
Bankruptcy Code, the Plan is structured so that it does not “discriminate unfairly” and satisfies the
“fair and equitable” requirement. With respect to the unfair discrimination requirement, all Classes
under the Plan are provided treatment that is substantially equivalent to the treatment that is
provided to other Classes that have equal rank. With respect to the fair and equitable requirement,
no Class under the Plan will receive more than 100 percent of the amount of Allowed Claims or
Interests in that Class. The Debtors believe that the Plan and the treatment of all Classes of Claims
or Interests under the Plan satisfy the foregoing requirements for nonconsensual Confirmation of
the Plan. There is no Class receiving more than a 100% recovery and no junior Class is receiving
a distribution under the Plan until all senior Classes have received a 100% recovery or agreed to
receive a different treatment under the Plan.

11.6      Liquidation Analysis

        Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
that a bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with
respect to each impaired class, that each Holder of a Claim or Interest in such impaired class either
(a) has accepted the plan or (b) will receive or retain under the plan property of a value that is not
less than the amount that the non-accepting Holder would receive or retain if the debtors liquidated
under chapter 7. Attached hereto as Exhibit C and incorporated herein by reference is a liquidation
analysis (the “Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’
advisors and reliance upon the valuation methodologies utilized by the Debtors’ advisors. As
reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors’
businesses under chapter 7 of the Bankruptcy Code would result in substantial diminution in the
value to be realized by Holders of Claims or Interests as compared to distributions contemplated
under the Plan. Consequently, the Debtors and their management believe that Confirmation of the
Plan will provide a substantially greater return to Holders of Claims or Interests than would a
liquidation under chapter 7 of the Bankruptcy Code

                                           ARTICLE XII
                                 CERTAIN SECURITIES LAW MATTERS

12.1      Exemption from Registration Requirements of the Securities Act and Blue Sky Laws

          (a)           Section 1145 of the Bankruptcy Code (After Filing Chapter 11 Cases)

       The Debtors are relying on the exemption provided by section 1145(a)(1) of the
Bankruptcy Code from the registration requirements of the Securities Act to exempt the offering,
issuance and distribution of the new preferred and common equity shares or units of Online


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Pharmacy Holdings LLC (the “Section 1145 Securities”) pursuant to the Plan after the filing of
Chapter 11 Cases. Section 1145(a)(1) of the Bankruptcy Code provides that registration
requirements of Section 5 of the Securities Act and any applicable Blue Sky Laws will not apply
to the offer or sale of securities by a debtor under a plan of reorganization if (i) the offer or sale
occurs under a plan of reorganization, (ii) the recipients of securities hold a claim against, an
interest in or claim for administrative expense against the debtor and (iii) the securities are issued
in exchange for a claim against or interest in a debtor or are reissued principally in such exchange
and partly for cash and property. Recipients of the Section 1145 Securities are advised to consult
with their own legal advisors as to the availability of any exemption from registration under the
Securities Act, any applicable state Blue Sky Law, other local law.

                                ARTICLE XIII
          CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES

13.1      Introduction

        The following discussion is a summary of certain U.S. federal income tax consequences of
the consummation of the Plan to the Debtors, the Reorganized Debtors, and to certain Holders
(which, solely for purposes of this discussion, means the beneficial owners for U.S. federal income
tax purposes) of Claims. This summary is based on the U.S. Internal Revenue Code of 1986, as
amended (the “Tax Code”), the U.S. Treasury Regulations promulgated thereunder (the
“Treasury Regulations”), judicial decisions and authorities, published administrative rules,
positions and pronouncements of the U.S. Internal Revenue Service (the “IRS”), and other
applicable authorities (collectively, “Applicable Tax Law”), all as in effect on the date of this
Disclosure Statement and all of which are subject to change or differing interpretations, possibly
with retroactive effect. Due to the lack of definitive judicial and administrative authority in a
number of areas, substantial uncertainty may exist with respect to some of the tax consequences
described below. Except as discussed in Section 13.3 hereof, no opinion of counsel has been
obtained, and the Debtors do not intend to seek a ruling or determination from the IRS as to any
of the tax consequences of the Plan discussed below. The discussion below is not binding upon
the IRS or the courts. No assurance can be given that the IRS would not assert, or that a court
would not sustain, a different position than any position discussed herein.

         This discussion does not purport to address all aspects of U.S. federal income taxation that
may be relevant to the Debtors or to certain Holders of Claims in light of their individual
circumstances. This discussion does not address tax issues with respect to Holders of Claims
subject to special treatment under the U.S. federal income tax laws (including, for example, banks,
broker-dealers, mutual funds, governmental authorities or agencies, persons who are not U.S.
Holders (defined below), pass-through entities, beneficial owners of pass-through entities,
subchapter S corporations, dealers and traders in securities, insurance companies, financial
institutions, tax-exempt organizations, controlled foreign corporations, passive foreign investment
companies, small business investment companies, foreign taxpayers, Persons who are related to
the Debtors or the Reorganized Debtors within the meaning of the Tax Code, Persons liable for
alternative minimum tax, U.S. Holders whose functional currency is not the U.S. dollar, Persons
who prepare “applicable financial statements” (as defined in section 451 of the Tax Code), Persons
using a mark-to- market method of accounting, Persons who are themselves in bankruptcy or
regulated investment companies). No aspect of state, local, estate, gift, or non-U.S. taxation is


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addressed. Furthermore, this summary assumes that a Holder of a Claim holds only Claims in a
single Class and holds Claims as “capital assets” (within the meaning of section 1221 of the Tax
Code). This summary also assumes that the various third-party debt and other arrangements to
which the Debtors and the Reorganized Debtors, as applicable, are or will be a party will be
respected for U.S. federal income tax purposes in accordance with their form. This summary does
not address the U.S. federal income tax consequences to Holders of Claims (a) whose Claims are
Unimpaired or otherwise entitled to payment in full in Cash under the Plan or (b) that are not
entitled to vote to accept or reject the Plan.

        For purposes of this discussion, a “U.S. Holder” is a Holder of a Claim that for U.S. federal
income tax purposes is: (1) an individual citizen or resident of the United States; (2) a corporation
created or organized under the laws of the United States, any state thereof or the District of
Columbia; (3) an estate the income of which is subject to U.S. federal income taxation regardless
of the source of such income; or (4) a trust, if (a) a court within the United States is able to exercise
primary jurisdiction over the trust’s administration and one or more “United States persons”
(within the meaning of section 7701(a)(30) of the Tax Code) have authority to control all
substantial decisions of the trust or (b) the trust has a valid election in effect under applicable
Treasury Regulations to be treated as a “United States person” (within the meaning of section
7701(a)(30) of the Tax Code). For purposes of this discussion, a “Non-U.S. Holder” is any Holder
of a Claim that is not a U.S. Holder other than any partnership (or other entity treated as a
partnership or other pass-through entity for U.S. federal income tax purposes).

        If a partnership (or other entity treated as a partnership or other pass-through entity for U.S.
federal income tax purposes) is a Holder of a Claim, the tax treatment of a partner (or other
beneficial owner) generally will depend upon the status of the partner (or other beneficial owner)
and the activities of the partner (or other beneficial owner) and the partnership (or other pass-
through entity). Partners (or other beneficial owners) of partnerships (or other pass-through
entities) that are Holders of Claims are urged to consult their respective tax advisors regarding the
U.S. federal income tax consequences of the Plan.

        Furthermore, this discussion assumes that all separate plans of reorganization under the
Bankruptcy Code constituting the Plan will be consummated. If less than all of such plans of
reorganization will be consummated, their federal income tax consequences may be materially
different than the consequences described below. The following summary of certain federal
income tax consequences is for informational purposes only and is not a substitute for careful tax
planning and advice based upon the individual circumstances pertaining to a Holder of a Claim.
All Holders of Claims should seek tax advice based on their particular circumstances from an
independent tax advisor regarding the federal, state, local, and other tax consequences of the
transactions contemplated by the Plan.

13.2      Certain U.S. Federal Income Tax Consequences of the Plan to the Debtor and the
          Reorganized Debtors

        In general, absent an exception, a debtor will realize and recognize cancellation of debt
(“COD”) income for U.S. federal income tax purposes if outstanding indebtedness is satisfied for
total consideration less than the amount of such indebtedness. In general, the amount of COD
income is the excess of (a) the adjusted issue price of the satisfied indebtedness over (b) the sum


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of (i) the amount of Cash paid, (ii) the issue price of any new indebtedness of the debtor issued,
and (iii) the fair market value of any other new consideration (including stock or a partnership
interest of the debtor or a party related to the debtor), in each case, given in satisfaction of such
indebtedness at the time of the exchange.

        The Debtors may incur COD income as a result of the implementation of the Plan.
Specifically, Optio Rx may incur COD income as a result of satisfying Allowed Class 1 Claims by
issuing new preferred and common equity shares or units of Online Pharmacy Holdings LLC to
the Holders of those Claims.

        Under section 108 of the Tax Code, a taxpayer is not required to include COD income in
gross income if (a) the taxpayer is under the jurisdiction of a court in a case under chapter 11 of
the Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding (the
“Bankruptcy Exception”), or (b) to the extent that the taxpayer is insolvent immediately before
the discharge (the “Insolvency Exception”).

13.3      U.S. Federal Income Tax Consequences to U.S. Holders of Certain Claims and
          Interests.

        The following discussion is a summary of certain U.S. federal income tax consequences of
the Plan to the Debtors and to Holders of Claims and Interests. This discussion is based on the Tax
Code, Treasury Regulations promulgated and proposed thereunder, judicial decisions and
published administrative rules, and pronouncements of the IRS, all as in effect on the date hereof.

        Due to the complexity of certain aspects of the Plan, the lack of applicable legal precedent,
the possibility of changes in the law, the differences in the nature of the Claims, and each Holder’s
status and method of accounting and the potential for disputes as to legal and factual matters with
the IRS, the tax consequences described herein are uncertain. No legal opinions have been
requested from counsel with respect to any of the tax aspects of the Plan and no rulings have been
or will be requested from the IRS with respect to the any of the issues discussed below. Further,
legislative, judicial, or administrative changes may occur, perhaps with retroactive effect, which
could affect the accuracy of the statements and conclusions set forth below as well as the tax
consequences to the Debtors and the Holders of Claims and Interests.

        This discussion does not purport to address all aspects of U.S. federal income taxation that
may be relevant to the Debtors or the Holders of Claims or Interests in light of their personal
circumstances, nor does the discussion deal with tax issues with respect to taxpayers subject to
special treatment under the U.S. federal income tax laws (including, for example, insurance
companies, financial institutions, real estate investment trusts, tax-exempt organizations, small
business investment companies, regulated investment companies, foreign taxpayers, persons
whose functional currency is not the U.S. dollar, persons subject to the alternative minimum tax,
and persons holding Claims or Interests as part of a “straddle,” “hedge,” “constructive sale,” or
“conversion transaction” with other investments). This discussion does not address the tax
consequences to Holders of Claims who did not acquire such Claims at the issue price on original
issue. No aspect of foreign, state, local, or estate and gift taxation is addressed.




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     EACH HOLDER OF A CLAIM OR INTEREST IS URGED TO CONSULT WITH
SUCH HOLDER’S TAX ADVISORS CONCERNING THE U.S. FEDERAL, STATE,
LOCAL, FOREIGN, AND OTHER TAX CONSEQUENCES OF THE COMBINED PLAN
AND DISCLOSURE STATEMENT.

          (a)           Tax Consequences to the Debtors

        Pursuant to the Tax Code and subject to certain exceptions, a taxpayer generally must
recognize income from COD Income to the extent that such taxpayer’s indebtedness is discharged
for an amount less than the indebtedness’ adjusted issue price determined in the manner described
below. Generally, the amount of COD Income, subject to certain statutory and judicial exceptions,
is the excess of (a) the adjusted issue price of the discharged indebtedness less (b) the sum of the
fair market value (determined at the date of the exchange) of the consideration, if any, given in
exchange for such discharged indebtedness.

        The recognition of COD Income may be treated differently in the context of a confirmed
chapter 11 plan. For example, under the Bankruptcy Exception, instead of recognizing COD
Income, the taxpayer is required, pursuant to section 108(b) to reduce certain of that taxpayer’s tax
attributes to the extent of the amount of COD Income. The Tax Attributes of the taxpayer generally
are reduced in the following order: net operating losses, general business and minimum tax credit
carry forwards, capital loss carry forwards, the basis of the taxpayer’s assets and, finally, foreign
tax credit carry forwards. If the amount of COD Income exceeds the amount of Tax Attributes
available to be reduced, the excess still is excluded from income. Pursuant to section 108(b)(4)(A),
the reduction of Tax Attributes does not occur until the end of the taxable year after such Tax
Attributes have been applied to determine the tax in the year of discharge or, in the case of asset
basis reduction, the first day of the taxable year following the taxable year in which the COD
Income is realized. Section l08(e)(2) provides a further exception to the recognition of COD
Income upon the discharge of debt, providing that a taxpayer will not recognize COD Income to
the extent that the taxpayer’s satisfaction of the debt would have given rise to a deduction for
United States federal income tax purposes.

          (b)           Tax Consequences for Holders of Claims

        Generally, a Holder of a Claim should in most, but not all circumstances, recognize gain
or loss equal to the difference between the “amount realized” by such Holder in exchange for its
Claim and such Holder’s adjusted tax basis in the Claim. The “amount realized” is equal to the
sum of the cash and the fair market value of any other consideration received under a plan of
reorganization in respect of a Holder’s Claim. The tax basis of a Holder in a Claim will generally
be equal to the Holder’s cost. To the extent applicable, the character of any recognized gain or
loss (e.g., ordinary income, or short-term or long-term capital gain, or loss) will depend upon the
status of the Holder, the nature of the Claim in the Holder’s hands, the purpose and circumstances
of its acquisition, the Holder’s holding period of the Claim, and the extent to which the Holder
previously claimed a deduction for the worthlessness of all or a portion of the Claim. Generally,
if the Claim is a capital asset in the Holder’s hands, any gain or loss realized generally will be
characterized as capital gain or loss and will constitute long-term capital gain or loss if the Holder
has held such Claim for more than one (1) year.



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        A Holder who received Cash (or potentially other consideration) in satisfaction of its
Claims may recognize ordinary income or loss to the extent that any portion of such consideration
is characterized as accrued interest. A Holder who did not previously include in income accrued
but unpaid interest attributable to its Claim, and who receives a distribution on account of its Claim
pursuant to the Combined Plan and Disclosure Statement, will be treated as having received
interest income to the extent that any consideration received is characterized for United States
federal income tax purposes as interest, regardless of whether such Holder realizes an overall gain
or loss as a result of surrendering its Claim. A Holder who previously included in its income
accrued but unpaid interest attributable to its Claim should recognize an ordinary loss to the extent
that such accrued but unpaid interest is not satisfied, regardless of whether such Holder realizes an
overall gain or loss as a result of the distribution it may receive under the Combined Plan and
Disclosure Statement on account of its Claim.

                                        ARTICLE XIV
                                     RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and
provides for a larger distribution to the Debtors’ creditors than would otherwise result in any other
scenario. Accordingly, the Debtors recommend that holders of Claims entitled to vote on the Plan
vote to accept the Plan and support Confirmation of the Plan.


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Dated: July 29, 2024

                                          Respectfully submitted,


                                          Optio Rx, LLC
                                          Braun Pharma, LLC
                                          Dr. Ike’s PharmaCare, LLC
                                          Rose Pharmacy SA LLC
                                          Rose Pharmacy SF LLC
                                          Rose Pharmacy RM LLC
                                          Pet Apothecary, LLC
                                          Crestview Holdings, LLC
                                          SBH Medical, LLC
                                          H&H Pharmacy, LLC
                                          Enovex Pharmacy, LLC
                                          SMC Pharmacy, LLC
                                          SMC Lyons Holdings, LLC
                                          Baybridge Pharmacy, LLC
                                          Central Pharmacy, LLC
                                          Pro Pharmacy, LLC
                                          Healthy Choice Compounding LLC
                                          Oakdell Compounding Pharmacy, LLC
                                          The Pet Apothecary LLC
                                          Crestview Pharmacy, LLC
                                          SBH Medical, Ltd.
                                          Concierge Pharmacy, LLC
                                          Firstcare Pharmacy, LLC
                                          Easycare Pharmacy, LLC
                                          Primecare Pharmacy, LLC.


                                          By:    /s/ Ben David
                                          Name: Ben David
                                          Title: Chief Executive Officer




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                                       EXHIBIT A

                                          Plan

                                       (Attached)




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    Optio Rx, LLC, et al.,                                           Case No. 24-11188 (TMH)

                          Debtors.1                                  (Jointly Administered)



                                AMENDED JOINT CHAPTER 11 PLAN OF
                               REORGANIZATION OF OPTIO RX, LLC, et al.


                                                           CHIPMAN, BROWN, CICERO & COLE, LLP

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                                                          Counsel to the Debtors and Debtors-in-Possession




1
       The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
       are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237);
       (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
       (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical LLC (3260); (10) H&H
       Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
       Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
       Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
       LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary LLC (6074); (21)
       Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
       Firstcare Pharmacy LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
       and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
       Avenue, Suite 14, Northbrook, Illinois 60061.




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                                           INTRODUCTION

        The Debtors propose the Plan for the resolution of the outstanding Claims against and
Interests in the Debtors pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used in
the Plan and not otherwise defined shall have the respective meanings set forth in Section 1.01 of
the Plan or the Bankruptcy Code. Although proposed jointly for administrative purposes, the Plan
also seeks entry of a Bankruptcy Court order deeming the substantive consolidation of the Debtors’
Estates into a single Estate for certain limited purposes related to the Plan, including voting,
Confirmation, and distribution. As a result of the deemed substantive consolidation of the Estates,
each Class of Claims and Interests will be treated as against a single consolidated Estate without
regard to the separate legal existence of the Debtors. The Plan will not result in the merger or
otherwise affect the separate legal existence of each Debtor, other than with respect to voting and
distribution rights under the Plan. Each Debtor is a proponent of the Plan within the meaning of
section 1129 of the Bankruptcy Code. The classifications of Claims and Interests set forth in
Article III of the Plan shall be deemed to apply separately with respect to each Plan proposed by
each Debtor, as applicable. Reference is made to the Disclosure Statement for a discussion of the
Debtors’ history, business, properties and operations, projections, risk factors, a summary and
analysis of the Plan and certain related matters.

      ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE
PLAN.

                                           ARTICLE I
                            DEFINED TERMS, RULES OF INTERPRETATION,
                            COMPUTATION OF TIME AND GOVERNING LAW

Section 1.01 Defined Terms

      Unless the context otherwise requires, the following terms shall have the following
meanings when used in capitalized form:

       (a)        “AAL” means the Agreement Among Lenders, dated as of November 3, 2022
(as amended), between and among the First Out Holders, the Last Out Holder and the Prepetition
Admin Agent.

        (b)        “Administrative Claim” means any Claim for the costs and expenses of
administration of the Chapter 11 Cases pursuant to section 503(b), 507(a)(2), 507(b) or 1114(e)(2)
of the Bankruptcy Code, including the actual and necessary costs and expenses incurred after the
Petition Date and through the Effective Date of preserving the Estates and operating the businesses
of the Debtors, other than the Professional Fee Claims.

       (c)          “Administrative Expense Claim Bar Date” means the date that is forty-five (45)
days after notice of entry of the Effective Date, which notice shall set forth such deadline and be
served on all parties known by the Debtors to hold or potentially hold Administrative Claims.

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        (d)       “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
With respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such Person as
if such Person was a Debtor.

        (e)         “Allowed” means, with respect to any Claim, except as otherwise provided
herein: (a) a Claim that has been scheduled by the Debtors in their Schedules as other than
“disputed, contingent or unliquidated” (as such terms are defined in the Schedules); (b) a proof of
Claim that has been Filed and as to which the Debtors, the Reorganized Debtors, or other parties-
in-interest have not Filed an objection by the applicable Claims Objection Bar Date; (c) a Proof of
Claim that is neither Disputed nor has been disallowed by a Final Order; (d) a Claim that is allowed
pursuant to the terms of this Plan; or (e) a Claim that is estimated pursuant to section 502(c) of the
Bankruptcy Code, unless otherwise and explicitly provided by order of the Bankruptcy Court.

        (f)        “Aves Settlement Agreement” means that certain Settlement Term Sheet, dated
as of June 29, 2024, attached as Exhibit E to the Disclosure Statement and incorporated herein as
though set forth at length below. Certain terms of the Aves Settlement Agreement are expressly
set forth herein. The failure to include any provision of the Aves Settlement Agreement in the
Plan shall not diminish or impair the remaining terms or conditions of the Aves Settlement
Agreement and notwithstanding anything to the contrary in the Plan, any inconsistencies between
the Aves Settlement Agreement and the Plan shall be construed giving effect to the Aves
Settlement Agreement.

        (g)         “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination or other Claims, Causes of Action or remedies that may be brought by or on behalf
of the Company Parties, their Estates, or other parties in interest under sections 502, 510, 542, 544,
545, 547 through 553, and 724(a) or other applicable sections of the Bankruptcy Code or under
similar or related local, state, federal or foreign statutes and common law, including fraudulent
transfer laws.

       (h)       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time.

       (i)         “Bankruptcy Court” means the United States Bankruptcy Court for the District
of Delaware and, to the extent of any withdrawal of reference under 28 U.S.C. § 157, the United
States District Court for the District of Delaware.

       (j)         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure,
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the United
States Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Cases and the general, local and
chambers rules of the Bankruptcy Court, as now in effect or hereafter amended.

       (k)         “Business Day” means any day other than a Saturday, a Sunday, a “legal
holiday” (as defined in Bankruptcy Rule 9006(a)) or other day on which commercial banks are
authorized to close under the Laws of, or are in fact closed in, the State of New York.

        (l)        “Cash” means the legal tender of the United States of America or the equivalent
thereof, including bank deposits, checks or other similar items.

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              (m)           “Cash Consideration” means $350,000 (subject to the DIP Lender Clawback).

        (n)          “Cause of Action” means any action, claim, cross-claim, third-party claim,
cause of action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, offset, power, privilege, proceeding, license or franchise of any kind or character
whatsoever, known or unknown, foreseen or unforeseen, contingent or non-contingent, matured
or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively (including any alter ego theories), whether
arising before, on or after the Petition Date, in contract or in tort, in law or in equity or pursuant to
any other theory of law (including under any state or federal securities laws). For the avoidance
of doubt, the term “Cause of Action” includes (i) any right of setoff, counterclaim, or recoupment
and any claim for breach of contract or for breach of duties imposed by law or in equity, (ii) the
right to object to or otherwise contest Claims or Interests, (iii) any claim pursuant to section 362
of the Bankruptcy Code, Avoidance Actions, or chapter 5 of the Bankruptcy Code, (iv) any claim
or defense, including fraud, mistake, duress and usury and any other defenses set forth in section
558 of the Bankruptcy Code, and (v) any claim under any state or foreign law, including any
fraudulent transfer or similar claim.

        (o)        “CBC Pharma” means Non-Debtor CBC Pharma Holdco, LLC, the direct or
indirect parent company of Optio Rx and each of the other Debtors.

        (p)       “Chapter 11 Cases” means the cases pending for the Debtors under chapter 11
of the Bankruptcy Code in the Bankruptcy Court.

              (q)           “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code.

        (r)       “Claims Register” means the official register of Claims against or Interests in
any of the Debtors maintained by the Solicitation Agent.

        (s)        “Class” means any group of Claims or Interests classified by the Plan pursuant
to section 1122(a) of the Bankruptcy Code.

       (t)          “Company” means Optio Rx, LLC and certain of its direct and indirect
subsidiaries that are Debtors in these Chapter 11 Cases.

       (u)       “Company Parties” means, consistent with the Restructuring Support
Agreement: (1) Optio Rx, LLC; (2) Braun Pharma, LLC; (3) Dr. Ike’s PharmaCare, LLC; (4)
Rose Pharmacy SA LLC; (5) Rose Pharmacy SF LLC; (6) Rose Pharmacy RM LLC; (7) Pet
Apothecary, LLC; (8) Crestview Holdings, LLC; (9) SBH Medical, LLC; (10) H&H Pharmacy,
LLC; (11) Enovex Pharmacy, LLC; (12) SMC Pharmacy, LLC; (13) SMC Lyons Holdings, LLC;
(14) Baybridge Pharmacy, LLC; (15) Central Pharmacy, LLC; (16) Pro Pharmacy, LLC; (17)
Healthy Choice Compounding LLC; (18) Oakdell Compounding Pharmacy, LLC; (19) The Pet
Apothecary LLC; (20) Crestview Pharmacy, LLC; (21) SBH Medical, Ltd.; (22) Concierge
Pharmacy, LLC; (23) Firstcare Pharmacy, LLC; (24) Easycare Pharmacy, LLC; and (25)
Primecare Pharmacy, LLC.


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       (v)        “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       (w)        “Confirmation Date” means the date upon which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
Rules 5003 and 9021.

       (x)        “Confirmation Hearing” means the hearing held by the Bankruptcy Court on
Confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of
the Bankruptcy Code, as such hearing may be, or may have been, continued from time to time.

       (y)        “Confirmation Order” means the order of the Bankruptcy Court approving the
Disclosure Statement and confirming the Plan in the Chapter 11 Cases pursuant to section 1129 of
the Bankruptcy Code in a form consistent with the consent rights of the parties to the Restructuring
Support Agreement.

       (z)       “Consenting Lender Advisors” means DLA Piper LLP (US) and counsel to the
Last Out Holder.

       (aa)       “Consenting Lenders” means the First Out Holders and the Last Out Holder that
have executed and delivered counterpart signature pages to the Restructuring Support Agreement.

              (bb)          “Consummation” means the occurrence of the Effective Date.

         (cc)      “Convenience Claim” means a General Unsecured Claim in an amount of $500
or less, or a General Unsecured Claim that has been reduced by its Holder below $500.

       (dd)       “Cure Claim” means a Claim based upon a monetary default, if any, by a Debtor
on an Executory Contract or Unexpired Lease at the time such contract or lease is assumed by such
Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

       (ee)        “D&O Liability Insurance Policies” means all insurance policies of the Debtors
or the Reorganized Debtors or any non-Debtor Affiliate for directors’, officers’, managers’ and
any other Insured (as defined in such policy) entities’ liability.

       (ff)       “Debtors” means the above captioned debtors, in their capacity as debtors and
debtors-in-possession in these Chapter 11 Cases.

      (gg)                  “Definitive Documents” has the meaning set forth in the Restructuring Support
Agreement.

        (hh)        “DIP Agent” means Loan Admin Co LLC, the administrative agent and the
collateral agent for the DIP Lenders with respect to the DIP Facility.

              (ii)          “DIP Agent Advisor” means DLA Piper LLP (US).




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        (jj)       “DIP Credit Agreement” means the debtor-in-possession financing agreement
by and among certain Company Parties, the DIP Agent, and the DIP Lenders setting forth the terms
of the DIP Facility, in accordance with the DIP Facility Term Sheet.

        (kk)       “DIP Documents” means, collectively, the DIP Credit Agreement and any other
agreements, documents, and instruments delivered or entered into in connection therewith,
including, without limitation, any guarantee agreements, pledge and collateral agreements,
intercreditor agreements, and other security documents, and the Interim DIP Order and Final DIP
Order.

         (ll)       “DIP Facility” means the loans under the debtor-in-possession financing
facility on the terms and conditions set forth in the DIP Facility Term Sheet.

        (mm)       “DIP Facility Term Sheet” means the debtor-in-possession to exit financing, to
be provided by the DIP Lenders and the Consenting Lenders, as applicable, as specified in the term
sheet attached as Exhibit A to the Restructuring Support Agreement.

        (nn)        “DIP Lender Clawback” means, as applicable, (i) a dollar-for-dollar reduction
in the Cash Consideration by the actual fees of professionals of the official committee of unsecured
creditors (the “Committee”) allowed on account of final fee applications of such professionals up
to $100,000, (ii) a $350,000 reduction in the Cash Consideration if the actual fees of professionals
of the Committee allowed on account of final fee applications of such professionals exceeds
$100,000, and (iii) a dollar-for-dollar reduction in the amount and liquidation preference of the
junior preferred equity received by the Noteholders by the amount (x) the actual fees of
professionals of the Committee allowed on account of final fee applications of such professionals
plus the expenses and professional costs incurred by the Debtors, the Consenting Lenders, and the
DIP Lenders, and their respective agents, in defending or opposing any actions, motions, or
objections brought by the Committee exceeds (y) $350,000.

        (oo)       “DIP Lenders” means the First Out Holders and Last Out Holder under the
Prepetition Credit Agreement (or its or their affiliates or related funds).

       (pp)       “DIP Lien Secured Claims” means the allowed first-priority, perfected,
enforceable and unavoidable secured claims granted to the DIP Lenders in the DIP Orders.

        (qq)        “DIP Lien Conversion” means the conversion of 100% of the DIP Lenders’ DIP
Superpriority Claims into Exit Facility Claims to effect the Exit Capital Structure attached as an
exhibit to the Restructuring Support Agreement on the Effective Date.

              (rr)          “DIP Orders” means collectively the Interim DIP Order and the Final DIP
Order.

       (ss)         “DIP Superpriority Claims” means the allowed superpriority administrative
expense claims, granted to the DIP Lenders in the DIP Orders, in excess of the value of the
Debtors’ interests in the Collateral, if any.




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       (tt)       “Disbursing Agent” means the Reorganized Debtors, or the Entity or Entities
chosen by the Reorganized Debtors, to make or facilitate distributions pursuant to the Plan, which
Entity may include the Solicitation Agent.

       (uu)        “Disclosure Statement” means the disclosure statement with respect to the Plan,
including all exhibits, appendices, schedules, ballots and related documents thereto, as amended,
supplemented or modified from time to time, to be approved by the Confirmation Order.

        (vv)        “Distribution Date” means the date occurring as soon as reasonably practicable
after the Effective Date when distributions under the Plan shall commence.

        (ww)       “Distribution Record Date” means the record date for purposes of making
distributions under the Plan on account of Allowed Claims and Allowed Interests, which date shall
be the first Business Day after the day on which the Confirmation Order is entered by the
Bankruptcy Court.

       (xx)       “Effective Date” means the first Business Day after the Confirmation Date on
which all provisions, terms and conditions specified in Section 8.02 have been either satisfied or
waived pursuant to Section 8.03.

        (yy)        “Enjoined Party” means all Entities who have held, hold or may hold Claims or
Interests that have been released or discharged or are subject to exculpation pursuant to the Plan.

              (zz)          “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       (aaa)     “Equity Security” means any equity security, as defined in section 101(16) of
the Bankruptcy Code, in any of the Debtors.

       (bbb)     “Estates” means the estates of each of the Debtors created under section 541 of
the Bankruptcy Code.

        (ccc)       “Exculpated Claim” means any claim and Cause of Action related to any act or
omission in connection with, relating to or arising out of the Chapter 11 Cases, the formulation,
preparation, dissemination or negotiation, entry into, or filing of the Restructuring Support
Agreement and related prepetition and postpetition transactions, any Definitive Document, the
Disclosure Statement, the New Governance Documents, the DIP Facility, the Exit Facility, the
Plan Term Sheet, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document created
or entered into in connection with the Restructuring Support Agreement, the New Governance
Documents, the Disclosure Statement, the DIP Facility, the Exit Facility, the Plan Supplement, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, and any other contract, instrument, release or other
agreement or document created or entered into before or during these Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including, to the extent applicable, the issuance of securities pursuant to the Plan, or the distribution
of property under the Plan, or upon any other related act or omission, transaction, agreement, event
or other occurrence taking place prior to, on or after the Petition Date.

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        (ddd)       “Exculpated Party” means, collectively, and in each case in its capacity as such:
(i) each of the Debtors; (ii) each of the Reorganized Debtors; (iii) any statutory committees
appointed in the Chapter 11 Cases; (iv) each current and former Affiliate of each Entity in clause
(i) through the following clause (iii); and (v) each Related Party of each Entity in clause (i) through
this clause (iii).

              (eee)         “Exculpation” means the exculpation provision set forth in Section 7.05 hereof.

         (fff)       “Executory Contract” means a contract to which any of the Debtors is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

         (ggg)     “Existing Governance Documents” means the Debtors’ respective certificates
of incorporation, certificates of formation, bylaws, charters, trust agreements, indentures, limited
liability company agreements, partnership agreements, shareholder agreements and such other
formation and constituent documents in effect prior to the Effective Date.

       (hhh)      “Exit Capital Structure” means the capital structure chart attached to the
Restructuring Support Agreement as Exhibit C.

        (iii)       “Exit Facility” means that certain exit facility comprising the sum of the DIP
Lien Conversion and a portion of the Prepetition Lien Claims that are the subject of clause (a) of
the Prepetition Lien Conversion and consistent with the terms, conditions, and provisions of an
exit facility giving effect to the Exit Capital Structure.

       (jjj)       “Exit Facility Claims” means the portion of the First Out Holders and Last Out
Holder’s respective Prepetition Lien Claims and 100% of the DIP Lenders’ DIP Superpriority
Claims to be rolled in into the Exit Facility under the Plan Term Sheet.

      (kkk)      “Final DIP Order” means the order approving the DIP Facility entered by the
Bankruptcy Court on July 1, 2024 [D.I. 133].

        (lll)        “Final Order” means an order, ruling or judgment of the Bankruptcy Court or
other court of competent jurisdiction with respect to the relevant subject matter which has: (a) not
been reversed, stayed, modified, amended, or vacated as to which the time to appeal, petition for
certiorari or move for a new trial, stay, reargument, reconsideration or rehearing has expired and
no appeal, petition for certiorari or motion for reargument, reconsideration or rehearing has been
timely filed; or (b) as to which any appeal, petition for certiorari or motion for a new trial, stay,
reargument, reconsideration or rehearing that has been or may be filed has been resolved by the
highest court to which the order or judgment was appealed or from which certiorari, reargument,
reconsideration or rehearing was sought; provided that the possibility that a motion under Rule 60
of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may
be filed relating to such order shall not prevent such order from being a Final Order.

      (mmm)       “Finance Documents” means (a) the Prepetition Credit Agreement, (b) the
AAL, and (c) all other documents entered into, pursuant to, or in connection with, the foregoing
documents in clauses (a) and (b) of this definition (including, but not limited to, any cash
management arrangements and ancillary facilities).

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       (nnn)      “Financing Orders” means any orders entered in the Chapter 11 Cases
authorizing debtor-in-possession financing or the use of cash collateral (whether interim or final).

      (ooo)      “First Out Holders” means the holders of First Out Term Loans and/or First Out
Revolving Loans under the Prepetition Credit Agreement and the AAL.

              (ppp) “First Out Term Lien Claims” means First Out Term Loan secured claims.

       (qqq) “First Out Term Loans” means the first out term loans provided by the First Out
Holders under the Prepetition Credit Agreement and the AAL.

              (rrr)         “First Out Revolving Lien Claims” means First Out Revolving Loan secured
claims.

        (sss)     “First Out Revolving Loans” means the first out revolving loans provided by
the First Out Holders under the Prepetition Credit Agreement and the AAL.

       (ttt)       “General Unsecured Claim” means any unsecured Claim against any of the
Debtors that is not a Noteholder Claim, a Seller Noteholder Claim, an Intercompany Claim or a
Claim that is Secured, subordinated or entitled to priority under the Bankruptcy Code.

        (uuu)      “GUC Opt-In Gift” the gift, in the amount of $[1], from the Prepetition Secured
Lenders to the Holders of Allowed Claims or Interests (i) that are entitled to vote on the Plan and
(ii) who vote to accept the Plan and opt-in to the releases in favor of the Released Parties.

        (vvv)      “General Unsecured Trade Claim” means any General Unsecured Claim held
by a trade vendor that agrees to continue to provide goods or services to the Reorganized Debtors
following the Effective Date on the same or better terms as immediately prior to the Petition Date
by entering into a Trade Agreement with the Debtors.

       (www)     “GUC Trade Gift” means the gift from the Prepetition Secured Lenders to the
Holders of allowed General Unsecured Trade Claims to satisfy (x) [80-95%] of all Allowed
General Unsecured Trade Claims on the Effective Date and (y) the remaining [5%-20%] of such
Allowed General Unsecured Trade Claims on the one-year anniversary of the Effective Date.

        (xxx)      “Governing Body” means the board of directors, board of managers, manager,
general partner, investment committee, special committee, or such similar governing body of an
Entity.

        (yyy)     “Governmental Unit” means any domestic, foreign, provincial, federal, state,
local or municipal (a) government, (b) governmental agency, commission, department, bureau,
ministry or other governmental entity or (c) any other governmental unit as defined in section
101(27) of the Bankruptcy Code.

              (zzz)         “Holder” means any Entity holding a Claim or an Interest, as applicable.

              (aaaa)        “Impaired” means any Claim or Interest in an Impaired Class.


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       (bbbb)        “Impaired Class” means a Class that is impaired within the meaning of section
1124 of the Bankruptcy Code. For the avoidance of doubt, Impaired Classes under the Plan are
Classes 1, 5, 6, 7, 8, 9, 10 and 12.

       (cccc)       “Insurance Policies” means any insurance policies, insurance settlement
agreements, coverage-in-place agreements or other agreements related to the provision of
insurance entered into by or issued to or for the benefit of any of the Debtors or their predecessors.

       (dddd)     “Insurer” means a counterparty to any Insurance Policy that is not a Debtor, its
predecessors, or Affiliates.

      (eeee)     “Intercompany Claim” means any Claim against a Debtor held by a Debtor or
a Company Party.

      (ffff)     “Intercompany Interest” means an any Interest in a Debtor held by a Debtor or
a Company Party.

        (gggg)      “Interest” means collectively, (i) any Equity Security, or any other equity,
ownership interest (including any such interest in a partnership, limited liability company or other
Entity), in any of the Debtors, (ii) any other rights, options, warrants rights, stock appreciation
rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any of the Debtors, and (iii) any and all Claims against any of the Debtors
that are otherwise determined by the Bankruptcy Court to be an equity interest, including any
Claim or debt that is recharacterized as an equity interest or subject to subordination as an equity
interest pursuant to section 510(b) of the Bankruptcy Code.

      (hhhh)       “Interim DIP Order” means the order from the Bankruptcy Court approving the
DIP Facility on an interim basis.

        (iiii)     “Last Out Holder” means the holder of Last Out Term Loans under the
Prepetition Credit Agreement and the AAL.

              (jjjj)        “Last Out Term Lien Claims” means the Last Out Term Loan secured claims.

       (kkkk)     “Last Out Term Loans” means the last out term loans provided by the Last Out
Holder under the Prepetition Credit Agreement and the AAL.

              (llll)        “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       (mmmm) “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure for
the United States Bankruptcy Court for the District of Delaware.

      (nnnn)    “Milestones” have the meaning set forth in Section 6.03 of the Restructuring
Support Agreement.



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        (oooo) “New Governance Documents” means the partnership agreement, certificate of
incorporation, certificate of formation, bylaws, charter, trust agreement, indenture, limited liability
company agreement, shareholder agreement and such other formation and constituent documents
of the Reorganized Debtors, each of which shall be included in the Plan Supplement.

              (pppp)       “Notes” means the notes issued by Optio Rx under the Note Purchase Agreement.

       (qqqq) “Noteholders” means the purchasers from time to time of the Notes under the
Note Purchase Agreement.

       (rrrr)    “Noteholder Claims” means the subordinated claims of the Noteholders due
under the Notes.

       (ssss)   “Note Purchase Agreement” means that certain Note Purchase Agreement, dated
as of September 25, 2020, as amended, between and among CBC Pharma, Optio Rx, the
Noteholders, and Aves Management LLC, as Administrative Agent, subject to the Subordination
Agreement.

        (tttt)   “Online Pharmacy Holdings LLC” means the new holding company formed on
May 22, 2024 to issue preferred and common equity shares or units in connection with the
Prepetition Lien Conversion.

              (uuuu)       “Optio Rx” means Debtor Optio Rx, LLC.

       (vvvv) “Other General Unsecured Claim” means any unsecured Claim against any of the
Debtors that is not a Noteholder Claim, a Seller Noteholder Claim, a General Unsecured Trade
Claim, an Intercompany Claim or a Claim that is Secured, subordinated or entitled to priority under
the Bankruptcy Code.

         (wwww) “Other Priority Claim” means any Claim against any Debtor entitled to priority
in right of payment under section 507(a) of the Bankruptcy Code, other than: (i) an Administrative
Claim, (ii) a Professional Fee Claim or (iii) a Priority Tax Claim.

       (xxxx)     “Outside Date” shall be December 31, 2024, which date may be extended solely
upon the express written consent from each of the Consenting Lenders.

       (yyyy)      “Person” means any natural person, corporation, limited liability company,
professional association, limited partnership, general partnership, joint stock company, joint
venture, association, company, trust, bank, trust company, land trust, business trust or other
organization, whether or not a legal entity, and any governmental authority.

       (zzzz)     “Petition Date” means the first date on which each of the Debtors commenced
a Chapter 11 Case.

       (aaaaa)              “Pharmacy Management LLC” means the entity serving as the manager of
Optio Rx



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       (bbbbb) “Plan” means this Amended Joint Chapter 11 Plan of Reorganization of Optio
Rx, LLC, et al., either in its present form or as it may be altered, amended, modified or
supplemented from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules,
the Restructuring Support Agreement or the terms hereof, as the case may be, and the Plan
Supplement, subject to the consent rights of the Consenting Lenders set forth in the Restructuring
Support Agreement, which is incorporated herein by reference, including all exhibits and
schedules hereto and thereto.

        (ccccc)    “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules and exhibits to the Plan including, among other things, as
applicable: (i) the New Governance Documents providing the identity and affiliations of the
persons proposed to serve as the initial directors and officers of the Reorganized Debtors after
Confirmation of the Plan; (ii) the Schedule of Retained Causes of Action; (iii) the Rejected
Executory Contract and Unexpired Lease List; (iv) the Feasibility Analysis; and (v) any other
necessary documentation related to the Restructuring Transactions (in each case, as may be altered,
amended, modified or supplemented from time to time in accordance with the terms hereof and in
accordance with the Bankruptcy Code and Bankruptcy Rules) to be filed by the Debtors, to the
extent reasonably practicable, no later than seven (7) days before the earlier of (a) the Voting
Deadline, (b) the confirmation objection deadline, or (c) such later date as may be approved by the
Bankruptcy Court on notice to parties in interest; provided that, through the Effective Date, the
Debtors, subject to the consent rights in the Restructuring Support Agreement, shall have the right
to amend documents contained in, and exhibits to, the Plan Supplement in accordance with the
terms of the Plan and the Restructuring Support Agreement.

       (ddddd) “Plan Term Sheet” means the term sheet summarizing the Restructuring
Transactions attached to the Restructuring Support Agreement as Exhibit B.

        (eeeee)  “Prepetition Admin Agent” means Loan Admin Co LLC, as administrative
agent, and Loan Admin Co LLC, as lead arranger, under the Prepetition Credit Agreement.

       (fffff)    “Prepetition Credit Agreement” means that certain Credit Agreement, dated as
of June 28, 2019 (as amended), by and among CBC Pharma, the Debtors, the Prepetition Admin
Agent and the Prepetition Secured Lenders.

        (ggggg) “Prepetition Lien Claims” means the First Out Term Lien Claims, the First Out
Revolving Lien Claims and the Last Out Term Lien Claims secured by first-priority liens and
security interests in substantially all the Debtors’ assets.

         (hhhhh) “Prepetition Lien Conversion” means the First Out Holders’ and Last Out
Holder’s conversion of (i) a portion of their Prepetition Lien Claims into Exit Facility Claims and
(ii) the remaining portion of their Prepetition Lien Claims into Prepetition Lien Conversion Equity,
all to effect the Exit Capital Structure attached to the Restructuring Support Agreement.

        (iiiii)     “Prepetition Lien Conversion Equity” means the preferred and common equity
shares or units of Online Pharmacy Holdings LLC received by the First Out Holders and Last Out
Holder as consideration for committing to the conversion of the remaining portion of their


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Prepetition Lien Claims after converting a portion of their Prepetition Lien Claims into Exit
Facility Claims, and in which Interests in Optio Rx shall vest on the Effective Date.

        (jjjjj)   “Prepetition Secured Lenders” means the First Out Lien Holders, the Last Out
Lien Holder, and any other lender party to the Prepetition Credit Agreement and AAL from time
to time.

      (kkkkk) “Prepetition Secured Obligations” means the First Out Term Loans, the First
Out Revolving Loans, and the Last Out Term Loans.

        (lllll)     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

         (mmmmm) “Pro Rata” means, with respect to an Allowed Claim, the percentage
represented by a fraction (i) the numerator of which shall be an amount equal to such Claim and
(ii) the denominator of which shall be an amount equal to the aggregate amount of Allowed and
estimated Claims in the same Class as such Claim, except in cases where Pro Rata is used in
reference to multiple Classes, in which case Pro Rata means the portion that such Holder’s Claim
in a particular class bears to the aggregate amount of all Allowed and estimated Claims in such
multiple Classes.

       (nnnnn) “Professional” means an Entity: (a) retained pursuant to a Final Order in
accordance with sections 327, 363 or 1103 of the Bankruptcy Code and to be compensated for
services rendered prior to or on the Confirmation Date, pursuant to sections 327, 328, 329, 330,
331 and 363 of the Bankruptcy Code or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

       (ooooo) “Professional Fee Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses of Professionals that such Professionals estimate they
have incurred or will incur in rendering services to the Debtors as set forth in Article II of the Plan.

       (ppppp) “Professional Fee Claim” means a Claim by a Professional seeking an award
by the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3),
503(b)(4) or 503(b)(5) of the Bankruptcy Code.

       (qqqqq) “Professional Fee Escrow Account” means an interest-bearing account to be
funded by the Debtors with Cash on or prior to the Effective Date in an amount equal to the
Professional Fee Amount.

        (rrrrr)     “Reinstated” means, with respect to any Claim or Interest, that the Claim or
Interest shall not be discharged hereunder and the Holder’s legal, equitable and contractual rights
on account of such Claim or Interest shall remain unaltered by Consummation, rendering such
Claim or Interest unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstate”
or “Reinstatement” shall have correlative meanings.

       (sssss)    “Rejected Executory Contract and Unexpired Lease List” means the list, as
determined by the Debtors or the Reorganized Debtors, as applicable, of Executory Contracts and
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Unexpired Leases (if any) that will be rejected by the Reorganized Debtors pursuant to the Plan,
which list, as may be amended from time to time, shall be included in the Plan Supplement.

         (ttttt)    “Related Parties” means, collectively, with respect to any Entity, in each case
in its capacity as such with respect to such Entity, such Entity’s current and former affiliates, and
such party’s and such affiliates’ current and former affiliates, directors, trustees, managers,
officers, investment committee, members, special or other committee members, equity holders
(regardless of whether such interests are held directly or indirectly), predecessors, participants,
successors, assigns, subsidiaries, Affiliates, partners, limited partners, general partners, principals,
members, employees, agents, management companies, fund advisors or managers, managed funds
(including any beneficial holders for the account of whom such funds are managed), advisory
board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals and advisors (including, for the avoidance of doubt, any
attorneys, investment bankers or other professionals and advisors retained by any current and
former director and manager in his or her capacity as director or manager of such person) and any
such Person’s or Entity’s respective heirs, executory, estates and nominees.

        (uuuuu) “Released Parties” means, collectively, (a) each of the Debtors, (b) the
Reorganized Debtors, (c) the Consenting Lenders, (d) the DIP Lenders, (e) the Admin Agent; (f)
Aves, (g) the Noteholders; and (h) the Related Parties of each of the foregoing Entities in clauses
(a) through (g) of this definition; provided, however, that if any of Aves and the Noteholders do
not vote to accept the Plan, such non-accepting parties shall not be Released Parties. For the
avoidance of doubt, the manager of Pharmacy Management LLC and its Related Parties shall be
deemed Released Parties. For the further avoidance of doubt, the following individuals are not,
and shall not be deemed to be, Released Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku
Patel, (iv) Crestview City Pharmacy, Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil
Densman, (vii) Bryan Henderson, (viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi)
Victoria Ballard, (xii) Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford, (xv) Sergio
Zepeda, (xvi) Cold Bore Capital Management, LLC, and (xvii) Marc Wank.

         (vvvvv) “Releasing Party” means, collectively, and in each case in their capacity as
such: (i) each of the Released Parties; (ii) all Holders of Claims or Interests that vote to accept or
reject the Plan and opt-into the releases provided by the Plan by checking the box on the applicable
form indicating that they opt to grant the releases provided in the Plan; (iii) all Holders of Claims
or Interests that abstain from voting on the Plan and who affirmatively opt-into the releases
provided by the Plan by checking the box on the applicable form indicating that they opt to grant
the releases provided in the Plan; (iv) each current and former Affiliate of each Entity in clause (i)
through the following clause (v); and (v) each Related Party with respect to each of the foregoing
in clauses (i) through (v).

        (wwwww) “Reorganized Debtors” means, collectively, the Debtors, and any successors
thereto, by merger, consolidation or otherwise, as reorganized pursuant to and under the Plan, on
or after the Effective Date.

       (xxxxx) “Restructuring Transactions” means the transactions set forth in the
Restructuring Support Agreement, the Plan Term Sheet attached thereto and all other exhibits to


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the Restructuring Support Agreement or the Plan Term Sheet that shall be implemented on or prior
to the Effective Date.

        (yyyyy) “Retained Causes of Action” means all claims, Causes of Action, rights of
action, suits and proceedings, whether in law or in equity, whether known or unknown, which any
of the Debtors or their Estates may hold against any Entity, including (a) Avoidance Actions; (b)
claims and Causes of Action brought prior to the Effective Date, (c) claims and Causes of Action
against any Entities for failure to pay for products or services provided or rendered by any of the
Debtors, (d) claims and Causes of Action relating to strict enforcement of any of the Debtors’
intellectual property rights, including patents, copyrights and trademarks, including claims against
third parties for infringement of any such intellectual property rights or other misuse of such
intellectual property, and (e) claims and Causes of Action seeking the recovery of any of the
Debtors’ accounts receivable or other receivables or rights to payment created or arising in
connection with any of the Debtors’ businesses, including claim overpayments and tax refunds;
provided that the Retained Causes of Action shall not include all Causes of Action settled, released,
or exculpated under the Plan, including the releases in Article VII.

         (zzzzz)     “Schedules” means, collectively and if any are required, the schedules of assets
and liabilities, schedules of Executory Contracts and Unexpired Leases and statements of financial
affairs, if any, filed by each of the Debtors pursuant to section 521 of the Bankruptcy Code and
the applicable Bankruptcy Rules, as such Schedules may be amended, modified or supplemented
from time to time, solely to the extent such filing is not waived pursuant to an order of the
Bankruptcy Court.

        (aaaaaa) “Secured” means, when referring to a Claim: (a) secured by a Lien on property
in which an Estate of any of the Debtors against which the Claim is asserted has an interest, which
Lien is valid, perfected and enforceable pursuant to applicable law or by reason of a Bankruptcy
Court order, to the extent of the value of the creditor’s interest in the Estates’ interest in such
property as determined pursuant to section 506(a) of the Bankruptcy Code; (b) subject to setoff
pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the property subject
to setoff; or (c) otherwise Allowed pursuant to the Plan as a Secured Claim.

              (bbbbbb) “Secured Claim” means any Claim that is Secured.

       (cccccc) “Seller Notes” means those certain unsecured notes, that certain of the Debtors
are obligated on, issued to prior owners of businesses that were purchased by the Debtors,
including, without limitation, unsecured notes issued to BHM Capital, Inc., Universal
Pharmaceutical Services, Inc., H&H Pharmacy, Inc. (d/b/a Dr. Ike’s Pharmacy #1), Dr. Ike, Inc.
(d/b/a Dr. Ike’s PharmaCare), Robert Hirsh, Elizabeth Buller, Salo, Inc., PIA Holdings, Inc.,
Baybridge Pharmacy Corp., 121 Central Pharmacy Corp., Delco Pharmacy Corp., OCPLP, Inc.,
and John J. Carson.

              (dddddd) “Seller Noteholders” means holders of Seller Notes.

      (eeeeee)              “Seller Noteholder Claims” means the unsecured Claims of the Seller
Noteholders.

              (ffffff)      “Solicitation Agent” means Stretto, Inc.
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       (gggggg) “Subordinated Claim” means a Claim that is subordinated pursuant to section
510(b) of the Bankruptcy Code or any other applicable law.

         (hhhhhh) “Subordinated Lender” means, collectively, Aves Special Opportunities Fund
I, L.P., Allstate Insurance Company, Cross Country Mortgage, LLC, and Siguler Guff (Optio Rx)
Holdings, LLC.

        (iiiiii)  “Subordination Agreement” means that certain Subordination Agreement,
dated as of September 25, 2020, between and among, the Subordinated Lender, Optio Rx as the
Borrower, Aves Management, LLC as the Subordination Agent, and Loan Admin Co LLC, as
Administrative Agent, as amended, modified, extended, restated, replaced, or supplemented from
time to time, subordinating the Noteholder Claims under the Note Purchase Agreement to the
Prepetition Secured Obligations.

              (jjjjjj)      “Third-Party Release” means the release set forth in Section 7.03 of the Plan.
        (kkkkkk) “Trade Agreement” means an agreement to continue to provide goods or
services to the Reorganized Debtors, on the same or similar terms that existed immediately prior
to the Petition Date, for the duration of the Chapter 11 Cases.

        (llllll)  “Transaction Expenses” means all reasonable and documented fees, costs, and
expenses of the Consenting Lender Advisors and DIP Agent Advisor in connection with the
negotiation, formulation, preparation, execution, delivery, implementation, consummation of the
Definitive Documents, and/or enforcement of the Restructuring Support Agreement and/or any of
the other Definitive Documents, and/or the transactions contemplated thereby, including any
amendments, waivers, consents, supplements, or other modifications to any of the foregoing.

       (mmmmmm) “Restructuring Support Agreement” means that certain Restructuring
Support Agreement, dated as of May 9, 2024, by and among the Debtors, the First Out Holders,
and the Last Out Holder, as may be amended, modified or supplemented from time to time in
accordance with its terms.

        (nnnnnn) “Unexpired Lease” means a lease to which any of the Debtors is a party that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

        (oooooo) “Unimpaired” means a Claim or Interest that is unimpaired within the meaning
of section 1124 of the Bankruptcy Code.

      (pppppp) “U.S. Trustee” means the Office of the United States Trustee for the District of
Delaware.

       (qqqqqq) “Vendor Secured Claims” means any Secured Claims held by any of the
Debtor’s vendors.

              (rrrrrr)      “Voting Deadline” means 4:00 p.m. (prevailing Eastern Time) on September 3,
2024.



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Section 1.02 Rules of Interpretation

         For the purposes of the Plan: (i) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neutral gender shall include the masculine, feminine and neutral gender;
(ii) unless otherwise specified, any reference herein to a contract, lease, instrument, release or other
agreement or document being in a particular form or on particular terms and conditions means that
the referenced document shall be substantially in that form or substantially on those terms and
conditions; (iii) unless otherwise specified, any reference herein to an existing document, schedule
or exhibit having been filed or to be filed shall mean that document, schedule or exhibit, as it may
thereafter be amended, modified or supplemented; (iv) unless otherwise specified, all references
herein to “Sections” and “Articles” are references to Sections and Articles hereof or hereto; (v)
unless otherwise stated, the words “herein,” “hereof” and ‘‘hereto’’ refer to the Plan in its entirety
rather than to a particular portion of the Plan; (vi) captions, headings to Articles and subheadings
to Sections are inserted for convenience of reference only and are not intended to be a part of or to
affect the interpretation hereof; (vii) all references to statutes, regulations, orders, rules of courts
and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (viii) any term used in capitalized form herein that is not otherwise defined
but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned
to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (ix) any
immaterial effectuating provisions may be interpreted by the Debtors or Reorganized Debtors, as
applicable, in a manner that is consistent with the overall purpose and intent of the Plan without
further Bankruptcy Court order; (x) subject to the provisions of any contract, certificate of
incorporation, by-law, instrument, release or other agreement or document created or entered into
in connection with the Plan, the rights and obligations arising pursuant to the Plan shall be
governed by, and construed and enforced in accordance with, the applicable federal law, including
the Bankruptcy Code and Bankruptcy Rules; (xi) unless otherwise specified, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (xii) any reference herein
to the word “including” or any word of similar import shall be read to mean “including without
limitation”; (xiii) the word “or” shall not be exclusive; (xiv) all references to docket numbers of
documents filed in the Chapter 11 Cases are references to the docket numbers under the
Bankruptcy Court’s Case Management/Electronic Case Files system; and (xv) references to
“shareholders,” “directors,” and/or “officers” shall also include “members” and/or “managers,” as
applicable, as such terms are defined under the applicable state limited liability company laws.

Section 1.03 Computation of Time

        The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
prescribed or allowed herein. If any payment, distribution, act or deadline under the Plan is
required to be made or performed or occurs on a day that is not a Business Day, then the making
of such payment or distribution, the performance of such act, or the occurrence of such deadline
shall be deemed to be on the next succeeding Business Day, but shall be deemed to have been
completed or to have occurred as of the required date.




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Section 1.04 Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction and implementation of the Plan, any agreements, documents, instruments
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in
those agreements, in which case the governing law of such agreement shall control); provided,
however, that governance matters relating to the Debtors or the Reorganized Debtors, as
applicable, shall be governed by the laws of the jurisdiction of incorporation of the Debtors or
Reorganized Debtors, as applicable.

Section 1.05 References to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

Section 1.06 Reference to the Debtors or the Reorganized Debtors

       Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Company, the Debtors or the Reorganized Debtors shall mean the Debtors and the
Reorganized Debtors, as applicable, to the extent the context requires.

Section 1.07 Consent Rights of Consenting Lenders

        Notwithstanding anything herein to the contrary, any and all consent rights of the
Consenting Lenders, and as set forth in the Restructuring Support Agreement (or otherwise) with
respect to the form and substance of the Plan, the Plan Supplement and the other Definitive
Documents, including any amendments, restatements, supplements or other modifications to such
documents, or with respect to any other document, actions or anything else referred to herein, and
any consents, waivers or other deviations under or from any such documents, shall be incorporated
herein by this reference (including to the applicable definitions in Section 1.01 hereof) and fully
enforceable as if stated in full herein. In case of a conflict between the consent or approval rights
of such parties set forth in the Restructuring Support Agreement with the consent rights of such
parties set forth in the Plan, the Plan Supplement, and any other documents contemplated under
the Plan, the consent or approval rights in the Restructuring Support Agreement shall control.

Section 1.08 Controlling Document

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
of the Plan shall control in all respects, subject to the consent rights of the Consenting Lenders in
the Restructuring Support Agreement. In the event of an inconsistency between the Plan and the
Plan Supplement, the terms of the relevant document in the Plan Supplement shall control unless
otherwise specified in such Plan Supplement document or the Confirmation Order and subject to
consent rights set forth in the Restructuring Support Agreement. In the event of an inconsistency
between the Plan and any other instrument or document created or executed pursuant to the Plan,

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other than documents contained in the Plan Supplement, the Plan shall control. The provisions of
the Plan and of the Confirmation Order shall be construed in a manner consistent with each other
so as to effectuate the purposes of each; provided, that if there is determined to be any
inconsistency between any provision of the Plan and any provision of the Confirmation Order that
cannot be so reconciled, then, solely to the extent of such inconsistency, the provisions of the
Confirmation Order shall govern, and any such provisions of the Confirmation Order shall be
deemed a modification of the Plan.

                              ARTICLE II
    ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS AND STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims and Priority Tax Claims have not been classified and, thus, are excluded
from the Classes of Claims and Interests set forth in Article III, are not entitled to vote on the Plan
and shall receive the following treatment:

Section 2.01 Administrative Claims

        Except to the extent that a Holder of an Allowed Administrative Expense Claim and the
Debtors or Reorganized Debtors, as applicable, agrees to a less favorable treatment, or as otherwise
provided in the Plan, each Holder of an Allowed Administrative Claim against any of the Debtors
shall receive in full and final satisfaction of its Allowed Administrative Claim an amount of Cash
equal to the amount of such Allowed Administrative Claim in accordance with the following: (i)
if an Administrative Claim is Allowed on or prior to the Effective Date, within five (5) Business
Days after the Effective Date, or as soon as reasonably practicable thereafter, (ii) if such
Administrative Claim is not Allowed as of the Effective Date, no later than five (5) Business Days
after such Administrative Claim is Allowed, or as soon as reasonably practicable thereafter; or (iii)
at such time and upon such terms as set forth in an order of the Bankruptcy Code; provided that
Administrative Claims incurred by any Debtor in the ordinary course of such Debtor’s business
may be paid in the ordinary course of business by the Debtors, consistent with past practice and in
accordance with such applicable terms and conditions relating thereto without further notice to or
order of the Bankruptcy Court.

Section 2.02 Professional Fee Claims

                       (a)   Final Fee Application and Payment of Professional Fee Claims

        All requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Confirmation Date must be filed no later than
forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the Allowed
amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Court in the Chapter 11 Cases. The Reorganized
Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows,
including from (but not limited by the estimates provided for in Section 2.02(c)) the Professional
Fee Escrow Account. Any objections to Professional Fee Claims must be filed and served on the


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Debtors and the Reorganized Debtors and the requesting party no later than twenty-one days after
service of the final request for payment of Professional Fee Claims.

                       (b)   Professional Fee Escrow Account

        Prior to the Effective Date, the Reorganized Debtors shall establish and fund the
Professional Fee Escrow Account with Cash equal to the Professional Fee Amount. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such
funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors
other than the Reorganized Debtors’ reversionary interest therein. The amount of Professional Fee
Claims owing to the Professionals on and after the Confirmation Date shall be paid in Cash to such
Professionals from funds held in the Professional Fee Escrow Account, without interest or other
earnings therefrom, as soon as reasonably practicable after such Claims are Allowed by a
Bankruptcy Court order. When all Allowed amounts owing to Professionals have been paid in
full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                       (c)   Professional Fee Amount Estimates

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other
unpaid fees and expenses incurred in rendering services to the Debtors before and as of the
Effective Date and shall deliver such estimate to the Debtors no later than one (1) Business Day
before the Effective Date; provided, however, that such estimates shall not be considered an
admission, cap or limitation with respect to the fees and expenses of such Professional and such
Professionals are not bound to any extent by the Estimates. If a Professional does not provide an
estimate, the Debtors or Reorganized Debtors may estimate the unpaid and unbilled fees and
expenses of such Professional; provided, however, that such estimate shall not be binding or
considered an admission with respect to the fees and expenses of such Professional.

                       (d)   Post-Confirmation Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors shall, in the ordinary course of business and without any further notice to or
action, order or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
legal, professional or other fees and expenses related to implementation of the Plan and
Consummation, incurred by the Debtors or any Professional following the Confirmation Date.
Upon the Confirmation Date, any requirement that Professionals comply with sections 327 through
331, 363 and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and the Debtors may employ and pay any Professional for
services rendered or expenses incurred after the Confirmation Date in the ordinary course of
business without any further notice to or action, order or approval of the Bankruptcy Court.

Section 2.03 Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim has been paid by the
Debtors before the Effective Date, or the applicable Reorganized Debtor and such Holder agree to
less favorable treatment, in full and final satisfaction, settlement, release and discharge of and in
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exchange for each Allowed Priority Tax Claim, each Holder of an Allowed Priority Tax Claim
shall receive, at the option of the Debtors, one of the following treatments: (i) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim within five (5) Business Days after the
Effective Date; (ii) Cash in an aggregate amount of such Allowed Priority Tax Claim payable in
regular installments over a period not to exceed five (5) years after the Petition Date, pursuant to
section 1129(a)(9)(C) of the Bankruptcy Code; or (iii) such other treatment as may be agreed upon
by such Holder and the Debtors or otherwise determined upon an order of the Bankruptcy Court.

        The Reorganized Debtors shall have the right, in their sole discretion, to pay any Allowed
Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim (together with
accrued but unpaid interest) in full at any time on or after the Effective Date without premium or
penalty.

Section 2.04 DIP Facility

       On the Effective Date, all Allowed DIP Lien Claims and DIP Superpriority Claims due and
owing under the DIP Facility shall be the subject of the DIP Lien Conversion into Exit Facility
Claims.

Section 2.05 Statutory Fees

        The Debtors shall pay in full, in Cash, any fees due and owing to the U.S. Trustee, including
quarterly fees payable under 28 U.S.C. §1930(a)(6), plus interest due and payable under 31 U.S.C.
§ 3717 (if any), on all disbursements, including Plan payments and disbursements in and outside
the ordinary course of the Debtors’ business at the time of Confirmation. On and after the Effective
Date, to the extent the Chapter 11 Cases remain open, and for so long as any Reorganized Debtor
remains obligated to pay quarterly fees, such Reorganized Debtor shall pay the applicable U.S.
Trustee fees for that Reorganized Debtor when due in the ordinary course until such time as the
Bankruptcy Court enters a final decree in the Reorganized Debtors’ Chapter 11 Cases.

                                      ARTICLE III
                 CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

Section 3.01 Deemed Substantive Consolidation

        The Plan shall serve as a motion by the Debtors seeking entry of a Bankruptcy Court order
deeming the substantive consolidation of the Debtors’ Estates into a single Estate for certain
limited purposes related to the Plan, including voting, Confirmation and distribution. As a result
of the deemed substantive consolidation of the Estates, each Class of Claims and Interests will be
treated as against a single consolidated Estate without regard to the separate legal existence of the
Debtors. The Plan will not result in the merger or otherwise affect the separate legal existence of
each Debtor, other than with respect to voting and distribution rights under the Plan.




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Section 3.02 Classification of Claims and Interests

        Except for the Claims addressed in Article II of the Plan, all Claims and Interests are
classified in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or Interest is in a particular Class for the purposes of voting on, and
receiving distributions pursuant to, the Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class, and such Claim or Interest has not been paid,
released, withdrawn or otherwise settled before the Effective Date. A Claim or Interest shall be
deemed classified in a particular Class only to the extent that the Claim or Interest qualifies within
the description of that Class and shall be deemed classified in a different Class to the extent that
any remainder of such Claim or Interest qualifies within the description of such different Class.

Section 3.03 Summary of Classification for the Reorganized Debtors

        The following chart represents the general classification of Claims and Interests for the
Debtors pursuant to the Plan. To the extent there are no Allowed Claims or Allowed Interests in
a particular Class, such Class is deemed to be omitted with respect to the Debtors.

                                                                                      ENTITLED TO
     CLASS                             CLAIM                       IMPAIRMENT
                                                                                         VOTE

          1             Prepetition Lien Claims                      Impaired              Yes

          2             Vendor Secured Claims                      Unimpaired              No
                                                                                    (deemed to accept)

          3             Other Secured Claims                       Unimpaired              No
                                                                                    (deemed to accept)

          4             Other Priority Claims                      Unimpaired              No
                                                                                    (deemed to accept)

          5             General Unsecured Trade Claims               Impaired              Yes
                                                                                          No
          6             Other General Unsecured Claims               Impaired
                                                                                    (deemed to reject)
                                                                                          Yes
          7             Noteholder Claims                            Impaired

          8             Seller Note Claims                           Impaired              No
                                                                                    (deemed to reject)

          9             Convenience Class Claims                     Impaired              Yes

         10             Intercompany Claims                          Impaired              No

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                                                                                                 ENTITLED TO
     CLASS                                  CLAIM                         IMPAIRMENT
                                                                                                    VOTE
                                                                                               (deemed to reject)

         11              Intercompany Interests                            Unimpaired                  No
                                                                                              (deemed to accept)

         12              Equity Interests in Optio Rx                       Impaired                   No
                                                                                               (deemed to reject)

Section 3.04 Classification and Treatment of Claims and Interests

        Subject to Section 3.05 to the extent applicable, each Holder of an Allowed Claim or
Allowed Interest, as applicable, shall receive under the Plan the treatment described below in full
and final satisfaction, settlement, release and discharge of and in exchange for such Holder’s
Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the (i)
Reorganized Debtors and, to the extent applicable under the Restructuring Support Agreement, the
Consenting Lenders, and (ii) the Holder of such Allowed Claim or Allowed Interest, as applicable.
Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable,
shall receive such treatment on the Effective Date or as soon as reasonably practicable thereafter
or as soon as practicable after a particular Claim or Interest becomes Allowed.

                       (a)       Class 1 – Prepetition Lien Claims

                             Classification: Class 1 consists of any Prepetition Lien Claims against the Debtors.

                             Treatment: Except to the extent that a Holder of an Allowed Prepetition Lien Claim
                             agrees to less favorable treatment of its Allowed Claim, in full and final satisfaction,
                             settlement, release, and discharge of and in exchange for each Allowed Prepetition
                             Lien Claim, each such Holder shall receive the following treatment in accordance
                             with the Restructuring Support Agreement and the Plan Term Sheet:

                                       i.    in connection with the Prepetition Lien Conversion, (a) a portion of
                                             the Holder’s respective Prepetition Lien Claims shall constitute
                                             first-priority, perfected, enforceable and unavoidable Exit Facility
                                             Claims in full force and effect, which Exit Facility Claims and Exit
                                             Facility Liens shall be first-priority, enforceable, unavoidable and
                                             automatically perfected by virtue of entry of the Confirmation
                                             Order; provided, however, on the Effective Date, each of the
                                             Holders of the Prepetition Lien Claims shall (i) provide their
                                             proportionate share of the GUC Trade Gift to the holders of allowed
                                             General Unsecured Claims and (ii) provide their proportionate share
                                             of the GUC Opt-In Gift, as applicable; and (b)(i) on the Effective
                                             Date, the Holder shall receive its respective portion of the

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                                            Prepetition Lien Conversion Equity, and which shall fully vest and
                                            be entitled to such rights as may be detailed in the New Governance
                                            Documents and which on the Effective Date, except for the equity
                                            shares or units to be issued to the Noteholders pursuant to the Aves
                                            Settlement Agreement, shall constitute all of the issued and
                                            outstanding equity shares or units, subject to the management
                                            incentive plan.

                             Impairment and Voting: Class 1 is Impaired under the Plan, and the Holders thereof
                             are entitled to vote to accept or reject the Plan.

                       (b)      Class 2 – Vendor Secured Claims

                             Classification: Class 2 consists of the Vendor Secured Claims against the Debtors.

                             Treatment: On the Effective Date, each Holder of an Allowed Vendor Secured
                             Claims shall receive, in full satisfaction of such claim, at the election of the
                             Reorganized Debtors: (a) Cash payment in full on the Effective Date, or as soon as
                             reasonably practicable thereafter, in satisfaction of their respective allowed Secured
                             Claims; (b) receive the return of their collateral; or (c) receive such other treatment
                             as the Reorganized Debtors and such vendor agree.

                             Impairment and Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed
                             Claims in Class 2 are conclusively presumed to have accepted the Plan pursuant to
                             section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                             to vote to accept or reject the Plan, and the votes of such Holders will not be
                             solicited with respect to such Claims.

                       (c)      Class 3 – Other Secured Claims

                             Classification: Class 3 consists of all Other Secured Claims against the Debtors.

                             Treatment: Each Holder of an Allowed Other Secured Claim shall receive Cash on
                             the Effective Date, or as soon as reasonably practicable thereafter, in an amount
                             equal to such Allowed Other Secured Claim.

                             Impairment and Voting: Class 3 is Unimpaired under the Plan. Holders of Allowed
                             Claims in Class 3 are conclusively presumed to have accepted the Plan pursuant to
                             section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                             to vote to accept or reject the Plan, and the votes of such Holders will not be
                             solicited with respect to such Claims.

                       (d)      Class 4 – Other Priority Claims

                             Classification: Class 4 consists of all Other Priority Claims against the Debtors.



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                             Treatment: Each Holder of an Allowed Other Priority Claim shall receive Cash on
                             the Effective Date, or as soon as reasonably practicable thereafter, in an amount
                             equal to such Allowed Other Priority Claim.

                             Impairment and Voting: Class 4 is Unimpaired under the Plan. Holders of Allowed
                             Claims in Class 4 are conclusively presumed to have accepted the Plan pursuant to
                             section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                             to vote to accept or reject the Plan, and the votes of such Holders will not be
                             solicited with respect to such Claims.

                       (e)      Class 5 – General Unsecured Trade Claims

                             Classification: Class 5 consists of all General Unsecured Trade Claims against the
                             Debtors.

                             Treatment: The Holders of Allowed General Unsecured Trade Claims are impaired
                             by the Plan and shall, by virtue of the GUC Trade Gift, (x) on the Effective Date,
                             receive [80%-95%] of their respective Allowed General Unsecured Trade Claim
                             and (y) on the one-year anniversary of the Effective Date, receive the remaining
                             [5%-20%] of their respective Allowed General Unsecured Trade Claim.

                             Impairment and Voting: Class 5 General Unsecured Trade Claims are Impaired,
                             and the Holders thereof are entitled to vote to accept or reject the Plan.

                             GUC Opt-In Gift: The Holders of Allowed General Unsecured Trade Claims may
                             also be entitled to receipt of their respective share of the GUC Opt-In Gift to the
                             extent such Holder of an Allowed General Unsecured Trade Claim (i) votes to
                             accept the Plan and (ii) opts-in to the releases in favor of the Released Parties.

                       (f)      Class 6 – Other General Unsecured Claims

                             Classification: Class 6 consists of Other General Unsecured Claims against the
                             Debtors.

                             Treatment: On the Effective Date, all Other General Unsecured Claims shall be
                             cancelled, released, and extinguished without any distribution.

                             Impairment and Voting: Class 6 is Impaired under the Plan. Holders of Claims in
                             Class 6 are conclusively presumed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                             to accept or reject the Plan, and the votes of such Holders will not be solicited with
                             respect to such Claims.




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                       (g)      Class 7 – Noteholder Claims

                             Classification: Class 7 consists of Noteholder Claims against the Debtors.

                             Treatment: On the Effective Date, (A) provided Aves and each of the Noteholders
                             votes to accept the Plan, the Noteholders shall receive, all as set forth in the Aves
                             Settlement Agreement, (i) the Cash Consideration, (ii) 1.5% of the common equity
                             in Online Pharmacy Holdings LLC (prior to dilution for any management incentive
                             plan), allocated pro rata to the Noteholders, and (iii) $3,000,000 (subject to the DIP
                             Lender Clawback) in aggregate liquidation preference of junior preferred equity in
                             Online Pharmacy Holdings LLC, allocated pro rata to the Noteholders; or (B) if
                             any of Aves or any Noteholder does not vote to accept the Plan, then Class 7 shall
                             receive no distribution under the Plan and retain no property of any Debtor

                             Impairment and Voting: Class 7 is Impaired under the Plan and the Holders thereof
                             are entitled to vote to accept or reject the Plan.

                       (h)      Class 8 – Seller Note Claims

                             Classification: Class 8 consists of Seller Note Claims against the Debtors.

                             Treatment: On the Effective Date, all Seller Note Claims shall be cancelled,
                             released, and extinguished without any distribution.

                             Impairment and Voting: Class 8 is Impaired under the Plan. Holders of Claims in
                             Class 8 are conclusively presumed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                             to accept or reject the Plan, and the votes of such Holders will not be solicited with
                             respect to such Claims.

                       (i)      Class 9 – Convenience Class Claims

                             Classification: Class 9 consists of all Convenience Class Claims against the
                             Debtors.

                             Treatment: The Holders of Allowed Convenience Claims shall, on the later of (i)
                             the Effective Date and (ii) the date that is ten (10) business days after such
                             Convenience Claim becomes an Allowed Claim, in full and final satisfaction of
                             such Claim, receive payment in Cash equal to the lesser of (x) 100% of the Allowed
                             amount of such Convenience Claim and (y) such Holder’s pro rata share of the pool
                             of Convenience Claims.

                             Impairment and Voting: Class 9 Convenience Class Claims are Impaired, and the
                             Holders thereof are entitled to vote to accept or reject the Plan.




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                       (j)      Class 10 – Intercompany Claims

                             Classification: Class 10 consists of all Intercompany Claims.

                             Treatment: On the Effective Date, all Intercompany Claims shall be cancelled,
                             released, and extinguished without any distribution.

                             Impairment and Voting: Class 10 is Impaired under the Plan. Holders of Claims
                             in Class 10 are conclusively presumed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                             to accept or reject the Plan, and the votes of such Holders will not be solicited with
                             respect to such Claims.

                       (k)      Class 11 – Intercompany Interests

                             Classification: Class 11 consists of all Intercompany Interests.

                             Treatment: Each Allowed Intercompany Interest shall be, at the option of the
                             applicable Debtor(s), and with the consent of the Consenting Lenders, which
                             consent shall not be unreasonably withheld, either (a) Reinstated or (b) canceled
                             and released.

                             Impairment and Voting: Class 11 is Unimpaired under the Plan. Holders of
                             Allowed Interests in Class 11 are conclusively presumed to have accepted the Plan
                             pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such Holders are
                             not entitled to vote to accept or reject the Plan, and the votes of such Holders will
                             not be solicited with respect to such Interests.

                       (l)      Class 12 – Equity Interests in Optio Rx

                             Classification: Class 12 consists of all Equity Interests in Optio Rx.

                             Treatment: On the Effective Date, all Equity Interests in Optio Rx shall be
                             cancelled, released, and extinguished.

                             Impairment and Voting: Class 12 is Impaired under the Plan. Holders of Claims in
                             Class 12 are conclusively presumed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                             to accept or reject the Plan, and the votes of such Holders will not be solicited with
                             respect to such Claims.

Section 3.05 Special Provisions Regarding Reinstated Unimpaired Claims

       Except as otherwise provided in the Plan, the Plan Supplement, the Restructuring Support
Agreement or in the Confirmation Order, nothing in the Plan shall affect any, and the Debtors and
the Reorganized Debtors shall retain all, rights regarding legal and equitable defenses,
counterclaims, rights to setoff, and rights to recoupment, if any, as to Unimpaired Claims that are
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Reinstated. Holders of Unimpaired Claims that are Reinstated shall not be required to file a proof
of claim with the Bankruptcy Court and shall retain all their rights under applicable nonbankruptcy
law to pursue their Unimpaired Claims. Notwithstanding anything to the contrary in the Plan,
subject to Article VII, Unimpaired Claims shall not be deemed settled, satisfied, resolved, released,
discharged, barred or enjoined by any provision of the Plan, unless and until such Unimpaired
Claim has been either (a) paid in full (i) on terms agreed to between the Holder of such Unimpaired
Claim and the Debtors or the Reorganized Debtors, as applicable, (ii) in the Allowed amount of
such Unimpaired Claim as determined by applicable law or (iii) in accordance with the terms and
conditions of the applicable documentation or laws giving rise to such Unimpaired Claim or (b)
otherwise satisfied or disposed of as determined by a court of competent jurisdiction. If the
Debtors or the Reorganized Debtors, as applicable, disputes any Unimpaired Claim, such dispute
shall be determined, resolved or adjudicated pursuant to applicable non-bankruptcy law.

Section 3.06 Voting Classes, Presumed Acceptance by Non-Voting Classes

        Pursuant to section 1126(c) of the Bankruptcy Code, and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if the
holders of at least two-thirds in dollar amount and more than one-half in number of the Allowed
Claims in such Class actually voting have voted to accept the Plan. If a Class contains Claims or
Interests eligible to vote and no Holders of Claims or Interests eligible to vote in such Class vote
to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

Section 3.07 Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of a Claim that is Reinstated,
an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed by the
Bankruptcy Court as of the date of the Confirmation Hearing shall be deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance
or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

Section 3.08 Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

Section 3.09 Intercompany Interests

        To the extent retained under the Plan, distributions on account of Intercompany Interests
are not being received by Holders of such Intercompany Interests on account of their Intercompany
Interests but solely for administrative convenience and due to the importance of maintaining the
prepetition corporate structure.




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Section 3.10 Subordinated Claims

        The allowance, classification and treatment of all Allowed Claims and Allowed Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under general
principles of equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise.
Pursuant to Section 510 of the Bankruptcy Code, and subject to the Restructuring Support
Agreement, the Debtors or the Reorganized Debtors, as applicable, reserve the right to re-classify
any Allowed Claim in accordance with any contractual, legal or equitable subordination relating
thereto.

Section 3.11 Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
             Bankruptcy Code

        The Debtors reserve the right, subject to the prior consent of the Consenting Lenders, to
modify the Plan in accordance with Article IX hereof to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including the right to
modify the treatment applicable to a Class of Claims to render such Class of Claims Unimpaired
to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

                                          ARTICLE IV
                             MEANS FOR IMPLEMENTATION OF THE PLAN

Section 4.01 Restructuring Transactions

        On the Effective Date, and pursuant to the Plan, the Debtors or the Reorganized Debtors,
as applicable, shall (as agreed to by the Consenting Lenders consistent with the terms of the
Restructuring Support Agreement) consummate the Restructuring Transactions set forth in the
Plan Term Sheet in order to effectuate the Debtors’ financial reorganization consistent with the
terms of the Plan. Without limiting the foregoing, before, on or as soon as reasonably practicable
after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, and their respective
officers and members of the Governing Body, may take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan,
including: (i) the execution, delivery, filing, registration or recordation of any appropriate
agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
transfer, formation, organization, dissolution, or liquidation containing terms that are consistent
with the terms of the Plan, the Plan Supplement and the Restructuring Support Agreement; (ii) the
execution, delivery, filing, registration or recordation of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on
terms consistent with the terms of the Plan, the Plan Supplement and the Restructuring Support
Agreement and having other terms to which the applicable Entities may agree; (iii) the execution,
delivery and filing, if applicable, of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable state law,
including any applicable New Governance Documents; (iv) such other transactions that are

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required to effectuate the Restructuring Transactions; and (v) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may
be required by applicable law; provided that all such actions are consented to by the Consenting
Lenders, which consent shall not be unreasonably withheld. Pursuant to sections 363 and 1123 of
the Bankruptcy Code, the Confirmation Order shall be deemed to authorize, among other things,
all actions as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by or necessary to effectuate the Plan. The authorizations and approvals
contemplated by this Section 4.01 shall be effective notwithstanding any requirements under non-
bankruptcy law.

Section 4.02 Sources of Cash for Plan Distributions

       Any Cash payments or distributions required to be made hereunder shall be obtained
from existing Cash of the Debtors and the Exit Facility.

Section 4.03 Exit Facility

       The exit term loan (the “Exit Term Loan”) to be entered into by the applicable Reorganized
Debtors on the Effective Date shall contain, among other things, the following terms: (a) the Exit
Term Loan will not have scheduled amortization prior to maturity; and (b) the applicable
Reorganized Debtors will have the ability to pay interest on the Exit Term Loan in kind as
additional loans under the Exit Term Loan, rather than in cash, based on conditions to be
determined, which additional loans will be on par with the priority of the Exit Term Loan.

Section 4.04 Junior Preferred Equity

        The junior preferred equity in Online Pharmacy Holdings LLC (the “Preferred Equity”)
shall have the following terms, and otherwise be reasonably acceptable to the Prepetition Secured
Lenders and Aves: (a) junior in right of payment to the junior preferred equity to be received by
the Last Out Holder on the Effective Date, (b) the Preferred Equity will accrue dividends (which
will be payable in kind) at a rate equal to the interest rate applicable to the last out term loans under
the Exit Term Loan, which accrued dividends and additional Preferred Equity will be on par with
the priority of the Preferred Equity, (c) as long as the Preferred Equity is outstanding, Online
Pharmacy Holdings LLC will be subject to (with customary exceptions and other exceptions to be
agreed) (i) limitations on non-arm’s length affiliate transactions, (ii) limitations on adverse or
disproportionate amendments to operating agreement, and (iii) limitations on common equity
dividends and repurchases, (d) the Preferred Equity shall have customary preemptive and tag along
rights, and (e) so long as the Noteholders hold any Preferred Equity, such Noteholders shall have
reasonable reporting and information rights to be agreed.

Section 4.05 Continued Corporate Existence

       Except as otherwise provided in the Plan, the Debtors, as Reorganized Debtors, shall
continue to exist after the Effective Date as separate corporate entities, limited liability companies,
partnerships or other form, with all the powers of a corporation, limited liability company,


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partnership or other form, pursuant to the applicable law in the jurisdiction in which the Debtors
are incorporated or formed pursuant to the New Governance Documents.

Section 4.06 Existing Governance Documents

        On or as soon as reasonably practicable after the Effective Date, subject in each case to the
consent rights of the Consenting Lenders as set forth in the Restructuring Support Agreement, the
Existing Governance Documents of the Debtors in effect prior to the Effective Date shall be
amended or restated and replaced by the New Governance Documents. Solely to the extent
required under the Plan, the Bankruptcy Code, or applicable non-bankruptcy law or necessary to
effectuate the transactions contemplated by the Plan, on or immediately prior to the Effective Date,
the Reorganized Debtors shall file the New Governance Documents (in a manner acceptable to the
Debtors and the Consenting Lenders and consistent with the Restructuring Support Agreement)
with the applicable Secretary of State and/or other applicable authorities in the state of
incorporation or formation or otherwise (as the case may be) in accordance with the applicable
federal laws or state laws of the respective state. The New Governance Documents shall be
deemed to be amended pursuant to the Plan and shall require no further action or approval (other
than any requisite filings required under applicable non-bankruptcy law). The New Governance
Documents shall be in the form filed with the Plan Supplement, shall be as set forth in the
Governance Term Sheet and shall be acceptable in form and substance to the Consenting Lenders.
After the Effective Date, the Reorganized Debtors may amend and restate their New Governance
Documents, as applicable, and may file such documents as permitted by the laws of the respective
states without further authorization from the Bankruptcy Court.

Section 4.07 Members of the Governing Bodies

        As of the Effective Date, and subject to the Restructuring Support Agreement, the existing
members of the Reorganized Debtors’ Governing Bodies shall remain in their current capacities
as members of such Governing Body of the applicable Reorganized Debtor, unless or until
replaced or removed in accordance with the New Governance Documents of the Reorganized
Debtors in the sole discretion of such Reorganized Debtor. To the extent any such officer of the
Reorganized Debtors is an “insider” as defined in section 101(31) of the Bankruptcy Code, the
nature of any compensation to be paid to such trustee and officer shall also be disclosed in the Plan
Supplement.

Section 4.08 Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, the Restructuring Support Agreement or any
agreement, instrument or other document incorporated therein, on the Effective Date, all property
of the Estates and all Causes of Action of the Debtors (except those released pursuant to the Debtor
Releases) shall vest in the applicable Reorganized Debtor, free and clear of all Liens, Claims,
charges or other encumbrances (except for Liens, if any, granted to secure the Reorganized
Debtors’ obligations under the Plan). On and after the Effective Date, except as otherwise
provided in the Plan, the Reorganized Debtors may operate their businesses and may use, acquire
or dispose of property and compromise or settle any Claims, Interest or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy

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Code or Bankruptcy Rules other than restrictions expressly imposed by the Plan or the
Confirmation order.

Section 4.09 Section 1145 Exemption

        Except with respect to any Person that is an underwriter as defined in section 1145(b) of
the Bankruptcy Code, the offer, issuance, sale or distribution under the Plan of the new preferred
and common equity shares or units of Online Pharmacy Holdings LLC shall be exempt from
registration under Section 5 of the Securities Act (or any State or local law requiring registration
for offer or sale of a security) under section 1145 of the Bankruptcy Code. The offer, issuance,
sale or distribution under the Plan of the new preferred and common equity shares or units of
Online Pharmacy Holdings LLC will be subject to the restrictions on resale of securities held by
Affiliates of an issuer.

Section 4.10 Cancellation and Surrender of Instruments and Agreements

         On the Effective Date, except for the purpose of evidencing a right to and allowing Holders
of Claims and Interests to receive a distribution under the Plan or to the extent otherwise
specifically provided for in the Plan, (i) all rights of any Holder of Interests in the Debtors,
including options or warrants to purchase Interests, or obligating the Debtors to issue, transfer or
sell Interests in the Debtors, shall be cancelled; and (ii) all Seller Notes, Notes and indentures of
the Debtors shall cease to be effective, and Aves Management LLC, as Administrative Agent under
the Note Purchase Agreement shall not have any continuing duties or obligations thereunder and
shall be discharged.

Section 4.11 Corporate Action

        Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized
and approved in all respects, including (i) to the extent undertaken, selection and appointment of
the members of the Governing Body and officers of the Reorganized Debtors; (ii) adoption of or
modification to the Existing Governance Documents, if required; (iii) the assumption or
assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; (iv)
implementation of the Restructuring Transactions; and (v) all other actions contemplated by the
Plan (whether to occur before, on or after the Effective Date). All matters provided for in the Plan
involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate
action required by the Debtors or the Reorganized Debtors in connection with the Plan (including
the grant of security interests set forth in the Plan) shall be deemed to have occurred and shall be
in effect, without any requirement of further action by the security holders, the members of the
Governing Body or officers of the Debtors or the Reorganized Debtors. On or (as applicable) prior
to the Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors, as
applicable, shall be authorized and (as applicable) directed to issue, execute and deliver the
agreements, documents, securities, and instruments contemplated under the Plan (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of
the Reorganized Debtors. The authorizations and approvals contemplated by this Section 4.11
shall be effective notwithstanding any requirements under nonbankruptcy law.


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Section 4.12 Section 1146 Exemption from Certain Taxes and Fees

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers
(whether from the Debtors to the Reorganized Debtors or to any other Person) of property under
the Plan or pursuant to: (i) the issuance, reinstatement, distribution, transfer or exchange of any
debt, Equity Security, or other interest in the Debtors or the Reorganized Debtors; (ii) the
Restructuring Transactions; (iii) the creation, modification, consolidation, assumption,
termination, refinancing and/or recording of any mortgage, deed of trust, or other security interest
or the securing of additional indebtedness by such or other means; (iv) the making, assignment or
recording of any lease or sublease; or (v) the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
bills of sale, assignments or other instrument of transfer executed in connection with any
transaction arising out of, contemplated by or in any way related to the Plan, shall not be subject
to any stamp tax or similar tax, and upon entry of the Confirmation Order, the appropriate state or
local governmental officials or agents shall forego the collection of any such tax, recordation fee
or governmental assessment and accept for filing and recordation any of the foregoing instruments
or other documents without the payment of any such tax, recordation fee or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146 of the Bankruptcy Code, shall forego the collection of any such tax or governmental
assessment and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

Section 4.13 Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such Causes
of Action have been expressly released (including, for the avoidance of doubt, pursuant to the
Debtor Releases provided in Section 7.02 hereof), each of the Reorganized Debtors shall retain
and may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action,
whether arising before or after the Petition Date, and each of the Reorganized Debtors’ rights to
commence, prosecute or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date, other than the Causes of Action released by the Debtors pursuant
to the releases and exculpations contained in the Plan, including in Article VII of the Plan, which
shall be deemed released and waived by the Debtors and Reorganized Debtors as of the Effective
Date. Each of the Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of such Reorganized Debtor. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement or the Disclosure Statement
to any Cause of Action against them as any indication that any of the Debtors or Reorganized
Debtors, as applicable, will not pursue any and all available Causes of Action against them.
Except with respect to Causes of Action as to which any of the Debtors or Reorganized
Debtors have released any Person or Entity on or before the Effective Date (including
pursuant to the Debtor Releases), each of the Debtors or Reorganized Debtors, as applicable,
expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan. Unless any Causes of Action against an
Entity are expressly waived, relinquished, exculpated, released, compromised or settled in the Plan
or a Bankruptcy Court order, each of the Reorganized Debtors expressly reserves all Causes of

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Action for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action as a consequence of the Confirmation
or Consummation. Each of the Reorganized Debtors shall have the exclusive right, authority and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of
the foregoing without the consent or approval of any third party or further notice to or action, order
or approval of the Bankruptcy Court.

Section 4.14 Single Satisfaction of Claims

        Holders of Allowed Claims may assert such Claims against the Debtors and such Claims
shall be entitled to share in the recovery provided for the applicable Class of Claims against the
Debtors based upon the full Allowed amount of the Claim. Notwithstanding the foregoing, in no
case shall the aggregate value of all property received or retained under the Plan on account of
Allowed Claims exceed 100% of the underlying Allowed Claim plus applicable interest.

                                 ARTICLE V
            TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Section 5.01 Assumption of Executory Contracts and Unexpired Leases

        Except as otherwise provided in the Plan, or in any contract, instrument, release, indenture
or other agreement or document entered into in connection with the Plan, each of the Debtors’
Executory Contracts and Unexpired Leases shall be deemed assumed (or assumed and assigned to
the respective Reorganized Debtor, as applicable) pursuant to sections 365(a) and 1123 of the
Bankruptcy Code as of the Effective Date, unless such Executory Contract or Unexpired Lease:
(i) was previously assumed or rejected by a Debtor, pursuant to a Final Order of the Bankruptcy
Court; (ii) previously expired or terminated pursuant to its own terms; (iii) is the subject of a
motion to reject filed on or before the Effective Date; or (iv) is identified on the Rejected Executory
Contract and Unexpired Lease List. Entry of the Confirmation Order shall constitute a Bankruptcy
Court order approving the assumptions, assumptions and assignments, or rejections of such
Executory Contracts or Unexpired Leases as set forth in the Plan and the Rejected Executory
Contract and Unexpired Lease List, as applicable, pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Unless otherwise indicated, all assumptions or assumptions and assignments
of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective
Date, provided, however, no Seller Note shall be assumed. Each Executory Contract or Unexpired
Lease assumed pursuant to the Plan or by Bankruptcy Court order but not assigned to a third party
on or before the Effective Date shall re-vest in and be fully enforceable by the Reorganized Debtors
in accordance with its terms, except as such terms may have been modified by such order or the
provisions of the Plan. All assumed Executory Contracts or Unexpired Leases shall be enforceable
by the Reorganized Debtors or such party such Executory Contract or Unexpired Lease was
assigned to in accordance with their terms notwithstanding any provision in such contract or lease
that prohibits, restricts or conditions assumption, assignment or transfer. Any provision in any
such contract or lease that permits a Person to terminate or modify such agreement or to otherwise
modify the rights of any of the Debtors or the Reorganized Debtors or assignee, as applicable,

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based on the filing of the Chapter 11 Cases or the financial condition of any of the Debtors or the
Reorganized Debtors, as applicable, shall be unenforceable. To the extent any provision in any
Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the Plan
(including any “change of control” provision) restricts or prevents, or purports to restrict or
prevent, or is breached or deemed breached by, any of the Debtors’ assumption, or assumption and
assignment, of such Executory Contract or Unexpired Lease, then such provision will be deemed
modified such that the transactions contemplated by the Plan will not entitle the non-Debtor party
or parties thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other
default-related rights with respect thereto. After the Effective Date, each of the Reorganized
Debtors shall have the right to terminate, amend or modify any contracts, including intercompany
contracts, leases or other agreements without approval of the Bankruptcy Court. Notwithstanding
anything to the contrary in the Plan, the Debtors, or the Reorganized Debtors, as applicable, reserve
the right to alter, amend, modify, or supplement the Rejected Executory Contract and Unexpired
Lease List at any time through and including ninety days after the Effective Date.

Section 5.02 Claims Based on Rejection of Executory Contracts or Unexpired Leases

        Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases as provided for in the Plan or
the Rejected Executory Contract and Unexpired Lease List, as applicable. Unless otherwise
provided by a Final Order of the Bankruptcy Court, all proofs of claim with respect to Claims
arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be filed with the Solicitation Agent and served on the
Reorganized Debtors no later than thirty days after the effective date of such rejection.

        Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not
filed with the Solicitation Agent within such time shall not be enforceable against the Debtors, the
Reorganized Debtors, the Estates, or their property, without the need for any objection by the
Debtors or Reorganized Debtors, or further notice to, action, order, or approval of the Bankruptcy
Court or any other Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully satisfied, released, and discharged, and be subject to the
permanent injunction set forth in Section 7.06 of the Plan, notwithstanding anything in a proof of
claim to the contrary.

       All Claims arising from the rejection by any Debtor of any Executory Contract or
Unexpired Lease pursuant to section 365 of the Bankruptcy Code shall be treated as a General
Unsecured Claim pursuant to Section 3.04 of the Plan and may be objected to in accordance with
the provisions of the Plan and the applicable provisions of the Bankruptcy Code and Bankruptcy
Rules.

Section 5.03 Cure of Defaults and Objections to Cure Amounts and Assumption for
             Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
(or assumed and assigned to the respective Reorganized Debtor, as applicable) pursuant to the Plan
shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default

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amount in Cash upon the Effective Date or in the ordinary course of business, subject to the
limitation described below, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. The Debtors shall provide notices of proposed cure
amounts (if any) to counterparties to Executory Contracts and Unexpired Leases to be assumed
reflecting the Debtors’ intention to assume or assume and assign the Executory Contract or
Unexpired Lease in connection with the Plan and setting forth the proposed cure amount (if any)
or the Reorganized Debtors’ ability to provide “adequate assurance of future performance
thereunder” (within the meaning of section 365 of the Bankruptcy Code). If a counterparty to any
Executory Contract or Unexpired Lease that the Debtors or Reorganized Debtors intend to assume
does not receive such a notice, the proposed cure amount for such executory contract or unexpired
lease shall be deemed to be zero dollars ($0), subject to such counterparties’ rights to dispute such
proposed cure amount. In the event of a dispute regarding (i) the amount of any payments to cure
such a default, (ii) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the Executory Contract or Unexpired Lease to be assumed or (iii) any other matter pertaining
to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be
made following the entry of a Final Order or orders resolving the dispute and approving the
assumption. The cure notices shall include procedures for objecting to proposed assumptions of
Executory Contracts and Unexpired Leases and any amounts of Cure Claims to be paid in
connection therewith and resolution of disputes by the Bankruptcy Court. Any objection by a
counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related
cure amount must be filed, served and actually received by counsel to the Debtors on the
confirmation objection deadline or other deadline that may be set by the Bankruptcy Court. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption or cure amount will be deemed to have assented to such assumption or cure
amount. Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the effective date of the assumption.
Any proof of claim filed with respect to an Executory Contract or Unexpired Lease that is assumed
shall be deemed disallowed and expunged, without further notice to or action, order or approval
of the Bankruptcy Court.

         The payment of the cure amount shall be made following the entry of a Final Order or
orders resolving the dispute and approving the assumption in the event of a dispute regarding:
(i) the amount of any payments to cure such a default; (ii) the ability of the Reorganized Debtors
or any assignee to provide adequate assurance of future performance under the Executory Contract
or Unexpired Lease to be assumed; or (iii) any other matter pertaining to assumption.

        The Debtor or the Reorganized Debtor, as applicable, shall be authorized to reject any
executory contract or unexpired lease to the extent the Debtor or the Reorganized Debtor, as
applicable, in the exercise of its sound business judgment, concludes that the amount of the Cure
obligation as determined by Final Order or as otherwise finally resolved, renders assumption of
such contract or lease unfavorable to the applicable Debtor’s Estate or the Reorganized Debtor.


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Such rejected contracts, if any, shall be deemed as listed on the Rejected Executory Contract and
Unexpired Lease List.

Section 5.04 Modifications, Amendments, Supplements, Restatements or Other
             Agreements

        Unless otherwise provided in the Plan or specifically provided in the Plan Supplement,
each Executory Contract or Unexpired Lease that is assumed shall include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options,
rights of first refusal and any other interests, unless any of the foregoing agreements has been
previously rejected or repudiated or is rejected or repudiated under the Plan. Modifications,
amendments, supplements and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by any of the Debtors during the Chapter 11 Cases shall not be
deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority or amount of any Claims that may arise in connection therewith.

Section 5.05 Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Rejected Executory Contract and Unexpired Lease List, nor anything contained in the Plan or Plan
Supplement shall constitute an admission by the Debtors that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the relevant Debtor or Reorganized Debtor, as
applicable, shall have thirty (30) calendar days following entry of a Final Order resolving such
dispute to alter their treatment of such contract or lease, including by rejecting such contract or
lease nunc pro tunc to the Confirmation Date. The deemed assumption provided for herein shall
not apply to any such contract or lease, and any such contract or lease shall be assumed or rejected
only upon motion of the Debtors following the Bankruptcy Court’s determination that the contract
is executory or the lease is unexpired.

Section 5.06 Contracts and Leases Entered Into After the Petition Date

        Contracts and leases entered into after the Petition Date by any of the Debtors, including
any Executory Contracts and Unexpired Leases assumed by any Debtor (or assumed and assigned,
as applicable), will be performed by such Debtor or Reorganized Debtor, or the Entity to which
such Executory Contract or Unexpired Lease was assigned, as applicable, in the ordinary course
of its business. Accordingly, such contracts and leases (including any assumed Executory
Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation
Order except as otherwise provided in the Plan.




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Section 5.07 Assumption of Insurance Policies

        Notwithstanding anything in the Plan or the Confirmation Order, including any provision
that purports to be preemptory or supervening, the Insurance Policies (including all of the D&O
Liability Insurance Policies) are hereby treated as Executory Contracts under the Plan and, on the
Effective Date, shall be deemed assumed (and assigned to the Reorganized Debtors) under section
365 of the Bankruptcy Code and will re-vest in the Reorganized Debtors. Regardless of whether
any Insurance Policy is an Executory Contract, on and after the Effective Date, the Insurance
Policies will remain valid and enforceable in accordance with their terms and shall not be impaired
by the Plan or Confirmation Order, and the Debtors, the Reorganized Debtors or any such assignee,
as applicable, and the Insurers will perform their respective obligations to one another, if any,
under the Insurance Policies. After the Effective Date, to the extent consistent with applicable law
and New Governance Documents, the Reorganized Debtors (or any such assignee) may increase,
reduce, restrict, or otherwise modify, in their sole discretion, the coverage under any D&O
Liability Insurance Policy (including such tail coverage liability insurance) in effect as of the
Effective Date, and all members, managers, directors, and officers of each of the Debtors who
served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits
of any such policy for the full term of such policy (and all tail coverage related thereto) regardless
of whether such members, managers, directors, and/or officers remain in such positions after the
Effective Date.

         Nothing in the Plan, the Plan Supplement, the Disclosure Statement, the Confirmation
Order, or any other order of the Bankruptcy Court (including any other provision that purports to
be preemptory or supervening), (1) alters, modifies, or otherwise amends the terms and conditions
of (or the coverage provided by) any of such insurance policies or (2) alters or modifies the duty,
if any, that the insurers or third party administrators pay claims covered by such insurance policies
and their right to seek payment or reimbursement from the Debtors (or after the Effective Date,
the Reorganized Debtors) or draw on any collateral or security therefor. For the avoidance of
doubt, insurers and third-party administrators shall not need to nor be required to file or serve a
cure objection or a request, application, claim, proof of claim, or motion for payment and shall not
be subject to any claims bar date or similar deadline governing cure amounts or Claims.

Section 5.08 Assumption of the Employee Compensation and Benefits Program

        Unless otherwise provided in the Plan (or the Plan Supplement), the Confirmation Order
or any other order of the Bankruptcy Court in the Chapter 11 Cases, all employment agreements,
severance policies, indemnification agreements, compensation and benefit plans, policies, and
programs of the Company including, without limitation, all workers’ compensation programs,
savings plans, retirement plans, deferred compensation plans, SERP plans, rabbi trusts, healthcare
plans, disability plans, severance benefit plans, incentive plans, life and accidental death and
dismemberment insurance plans or other agreements with or applicable to any of its current or
former employees, retirees, members of any Governing Body, officers or managers of the Debtors
shall be treated as Executory Contracts under the Plan, shall be set forth in the Plan Supplement,
and shall be deemed assumed (or assumed and assigned to the respective Reorganized Debtors, as
applicable) pursuant to section 365(a) of the Bankruptcy Code as of the Effective Date. For the
avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the

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Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law.

Section 5.09 Indemnification Obligations

        Consistent with applicable law, all indemnification provisions in place as of the Effective
Date for the Released Parties only (whether in the by-laws, trust agreements, certificates of
incorporation or formation, limited liability company agreements, limited partnership agreements,
other governance documents, board resolutions, indemnification agreements, employment
contracts or otherwise) for the current and former members of any Governing Body, directors,
officers, managers, employees, attorneys, accountants, investment bankers and other professionals
of, or acting on behalf of, any of the Debtors, as applicable, shall be reinstated and remain intact,
irrevocable, and shall survive the Effective Date on terms no less favorable to such current and
former members of any Governing Body, directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of, or acting on behalf of, any of the
Debtors than the indemnification provisions in place prior to the Effective Date.

Section 5.10 Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases, if any, pursuant to section 365(d)(4) of the Bankruptcy Code.

                                           ARTICLE VI
                               PROVISIONS GOVERNING DISTRIBUTIONS

Section 6.01 Record Date for Distributions

        With respect to Impaired Claims, on the Distribution Record Date, the Claims Register and
the various transfer registers for each of the Classes of Claims, as maintained by the Debtors or
their agents, shall be deemed closed, and there shall be no further changes made to reflect any new
record holders of any Claims. The Debtors shall have no obligation to recognize any transfer of
Claims occurring on or after the Distribution Record Date.

Section 6.02 Timing of Distributions

        Except as otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is
not an Allowed Claim or Interest on the Effective Date, on the date that such a Claim or Interest
becomes an Allowed Claim or Interest, or as soon as reasonably practicable thereafter), each
Holder of an Allowed Claim against or an Allowed Interest in the Debtors shall receive the full
amount of the distributions that the Plan provides for such an Allowed Claim or such an Allowed
Interest in the applicable Class and in the manner provided herein. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on the next
succeeding Business Day but shall be deemed to have been completed as of the required date.
Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends

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or accruals on the distributions provided for herein, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

Section 6.03 Disbursing Agent

        The Debtors or Reorganized Debtors may retain a Disbursing Agent to assist with the
distributions to be made under the Plan as directed by the Debtors or Reorganized Debtors. The
Disbursing Agent shall make all distributions required under the Plan.

                       (a)   Powers of the Disbursing Agent

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof.

                       (b)   Expenses Incurred On or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees
and out of pocket expenses incurred by the Disbursing Agent on or after the Effective Date
(including taxes) and any reasonable compensation and out of pocket expense reimbursement
claims (including reasonable, actual, and documented attorney and/or other professional fees and
expenses) made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors. The
Disbursing Agents shall submit detailed invoices to the Debtors or the Reorganized Debtors, as
applicable, for all fees and expenses for which the Disbursing Agent seeks reimbursement, and the
Debtors or the Reorganized Debtors, as applicable, shall pay those amounts that they deem
reasonable, and shall object in writing to those fees and expenses, if any, that the Debtors or the
Reorganized Debtors, as applicable, deem to be unreasonable. In the event that the Debtors or the
Reorganized Debtors, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Disbursing Agent’s invoice, the Debtors or the Reorganized Debtors, as
applicable, and such Disbursing Agent shall endeavor, in good faith, to reach mutual agreement
on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that
the Debtors or the Reorganized Debtors, as applicable, and a Disbursing Agent are unable to
resolve any differences regarding disputed fees or expenses, either party shall be authorized to
move to have such dispute heard by the Bankruptcy Court.

Section 6.04 Delivery of Distributions and Undeliverable or Unclaimed Distributions

       Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims or
Allowed Interests shall be made to Holders of record as of the Distribution Record Date by the
Disbursing Agent: (i) to the signatory set forth on any proof of claim or proof of interest filed by
such Holder or other representative identified therein (or at the last known addresses of such
Holder if no proof of claim or proof of interest is filed or if the Debtors have not been notified in
writing of a change of address); (ii) at the addresses set forth in any written notices of address
changes delivered to the Reorganized Debtors or the applicable Disbursing Agent, as appropriate,
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after the date of any related proof of claim or proof of interest; or (iii) on any counsel that has
appeared in the Chapter 11 Cases on the Holder’s behalf. Distributions under the Plan on account
of Allowed Claims and Allowed Interests shall not be subject to levy, garnishment, attachment or
like legal process, so that each Holder of an Allowed Claim or Interest shall have and receive the
benefit of the distributions in the manner set forth in the Plan. None of the Debtors, the
Reorganized Debtors and the applicable Disbursing Agent shall incur any liability whatsoever on
account of any distributions under the Plan except for fraud, gross negligence, or willful
misconduct.

Section 6.05 Fractional Distributions

        Whenever any payment of a fraction pursuant to the Plan would otherwise be required, the
actual payment shall reflect a rounding of such fraction to the nearest whole share (up or down),
with half or less being rounded down. Whenever any payment of Cash of a fraction of a dollar
pursuant to the Plan would otherwise be required, the actual payment shall reflect a rounding of
such fraction to the nearest whole dollar (up or down), with half dollars or less being rounded
down.

Section 6.06 Undeliverable Distributions and Unclaimed Property

          In the event that any distribution to any Holder of Claim or Interest is returned as
undeliverable, no distribution to such Holder shall be made unless and until the Disbursing Agent
has determined the then current address of such Holder, at which time such distribution shall be
made as soon as practicable after such distribution has become deliverable or has been claimed to
such Holder without interest; provided, however, that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the expiration of
six months from the applicable Distribution Date. After such date, all “unclaimed property” or
interests in property shall revert to the Reorganized Debtors (notwithstanding any applicable
federal or state escheat, abandoned or unclaimed property laws to the contrary), and the Claim of
any Holder to such property or Interest in property shall be discharged and forever barred.
Notwithstanding the foregoing under of the Plan, any Unimpaired Claims shall not be deemed
settled, satisfied, resolved, released, discharged, barred or enjoined by any provision of the Plan,
unless and until such Unimpaired Claim has been either (a) paid in full (i) on terms agreed to
between the holder of such Unimpaired Claim and the Debtors or the Reorganized Debtors, as
applicable, (ii) in the Allowed amount of such Unimpaired Claim as determined by applicable law
or (iii) in accordance with the terms and conditions of the applicable documentation or laws giving
rise to such Unimpaired Claim or (b) otherwise satisfied or disposed of as determined by a court
of competent jurisdiction. If the Debtors or the Reorganized Debtors dispute any Unimpaired
Claim, such dispute shall be determined, resolved or adjudicated pursuant to applicable non-
bankruptcy law.

Section 6.07 Manner of Payment

      At the option of the Disbursing Agent, any Cash payment to be made under the Plan may
be made by check or wire transfer or as otherwise required or provided in applicable agreements


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Section 6.08 Compliance with Tax Requirements and Allocations

        In connection with the Plan and all instruments issued in connection therewith, to the extent
applicable, the Reorganized Debtors and the Disbursing Agent shall comply with all tax
withholding and reporting requirements imposed on them by any federal, state or local taxing
authority, and all distributions pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, the
Reorganized Debtors and the Disbursing Agent shall be authorized to take all actions necessary or
appropriate to comply with such withholding and reporting requirements, including liquidating a
portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate
such distributions, or establishing any other mechanisms they determine in good faith are
reasonable and appropriate. The Reorganized Debtors reserve the right, in their sole discretion, to
allocate all distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support, other spousal awards, Liens, and encumbrances. For the avoidance of
doubt, any amounts withheld pursuant to this Section 6.08 shall be treated as if distributed to the
Holder of the Allowed Claim.

        Any Holder of an Impaired Claim entitled to receive any property as an issuance or
distribution under the Plan shall, upon request by the Disbursing Agent, provide an appropriate
Form W-9 or (if the payee is a foreign Person) Form W-8. If such request is made and such Holder
of an Impaired Claim fails to comply before the date that is 180 days after the request is made, the
amount of such distribution shall irrevocably revert to the Debtors or the Reorganized Debtors, as
applicable, and any Claim in respect of such distribution shall be discharged and forever barred
from assertion against the Debtors, the Reorganized Debtors and their respective property.

Section 6.09 Allocation Between Principal and Interest

        Except as otherwise provided in the Plan, for U.S. federal income tax purposes,
distributions shall be allocated first to the principal amount of such Allowed Claims (as determined
for U.S. federal income tax purposes), with any excess allocated to unpaid interest that accrued on
such Claims.

Section 6.10 Setoffs and Recoupment

        Except as otherwise provided in the Plan and Confirmation Order, the Debtors and the
Reorganized Debtors may, pursuant to the Bankruptcy Code (including section 553 of the
Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the Holder of a
Claim, withhold (but not set off except as set forth in the Plan) from the distributions called for
under the Plan on account of any Allowed Claim an amount equal to any claims, equity interests,
rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors may hold
against the Holder of any such Allowed Claim or Interest. In the event that any such claims, equity
interests, rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors
may hold against the holder of any such Allowed Claim or Interest are adjudicated by Final Order
or otherwise resolved, the Debtors may, pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, set off against any Allowed Claim or Interest and the distributions

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to be made pursuant hereto on account of such Allowed Claim (before any distribution is made on
account of such Allowed Claim or Interest) the amount of any adjudicated or resolved claims,
equity interests, rights and Causes of Action of any nature that any of the Debtors or the
Reorganized Debtors may hold against the Holder of any such Allowed Claim or Interest, but only
to the extent of such adjudicated or resolved amount. Neither the failure to effect such a setoff nor
the allowance of any Claim under the Plan shall constitute a waiver or release by the Debtors or
the Reorganized Debtors of any such claims, equity interests, rights and Causes of Action that the
Debtors or the Reorganized Debtors may possess against any such holder, except as specifically
provided herein.

Section 6.11 No Postpetition or Default Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, or
required by applicable bankruptcy or non-bankruptcy law, postpetition and/or default interest shall
not accrue or be paid on any prepetition Claims against any of the Debtors, and no Holder of a
prepetition Claim against any of the Debtors shall be entitled to interest accruing on or after the
Petition Date or interest at the contract default rate on any such prepetition Claim.

                                    ARTICLE VII
              SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

Section 7.01 General Compromise and Settlement of Claims, Interests and Controversies

        As discussed in detail in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 of the Bankruptcy Code and, to the extent applicable, Bankruptcy Rule
9019 and in consideration for the classification, distributions, releases and other benefits provided
pursuant to the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims, Interests and controversies relating to the
contractual, legal and subordination rights that a Holder of a Claim or Interest may have with
respect to any Allowed Claim or Interest, or any distribution to be made or treatment provided on
account of such Allowed Claim or Interest.

         The Plan shall be deemed a motion to approve the good faith compromise and settlement
of all such Claims, Interests and controversies pursuant to Bankruptcy Rule 9019. The entry of
the Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
Court that such compromise or settlement is in the best interests of the Debtors, their Estates and
Holders of Claims and Interests and is fair, equitable and reasonable. Subject to Article VI hereof,
all treatment of Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are
intended to be and shall be final.

        In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019(a),
without any further notice to or action, order or approval of the Bankruptcy Court, after the
Effective Date, the Reorganized Debtors may compromise and settle Claims against and Interests
in or against any of the Debtors and their Estate and Causes of Action against other Entities.


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Section 7.02 Releases by the Debtor

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration provided by each of the Released Parties, the adequacy
of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever
released and discharged by each of the Debtors, the Reorganized Debtors and their Estates,
including any successors to the Debtors or any estates representatives appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves
and their respective successors, assigns and representatives, and any and all other Entities
who may purport to assert any Cause of Action, directly or derivatively, by, through, for or
because of the foregoing Entities, from any and all Causes of Action, including any derivative
claims, asserted on behalf of the Debtors, whether known or unknown, foreseen or
unforeseen, matured or unmatured, in law, equity, contract, tort or otherwise, that any of
the Debtors, the Reorganized Debtors or their Estates would have been legally entitled to
assert in its own right (whether individually or collectively) or on behalf of a Holder of any
Claim against, or Interest in, the Debtors or other Entity, based on or relating to or in any
manner arising from, in whole or in part, the Debtors (including the Debtors’ capital
structure, management, ownership or operation thereof), purchase, sale, or rescission of any
security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions (but excluding Avoidance Actions brought as
counterclaims or defenses to Claims asserted against any of the Debtors), intercompany
transactions between or among a Debtor or an Affiliate of a Debtor and another Debtor or
Affiliate of a Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, entry into, or filing of the Restructuring Support Agreement and related
prepetition transactions, any Definitive Document, the Disclosure Statement, the New
Governance Documents, the Plan (including, for the avoidance of doubt, the Plan
Supplement), or any Restructuring Transactions, contract, instrument, release or other
agreement or document created or entered into in connection with the Restructuring
Support Agreement, the New Governance Documents, the Disclosure Statement, the Exit
Facility, the Plan Supplement, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the issuance or distribution of the new preferred and common equity shares
or units of Online Pharmacy Holdings LLC pursuant to the Plan, to the extent applicable,
or the distribution of property under the Plan or any other related agreement, or upon any
other act or omission, transaction, agreement, event or other occurrence related or relating
to any of the foregoing, in each case taking place on or before the Effective Date. For the
avoidance of doubt, the following individuals are not, and shall not be deemed to be, Released
Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku Patel, (iv) Crestview City Pharmacy,
Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil Densman, (vii) Bryan Henderson,
(viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi) Victoria Ballard, (xii)


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Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford, (xv) Sergio Zepeda, (xvi) Cold
Bore Capital Management, LLC, and (xvii) Marc Wank.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date or (ii) the rights of any of the
Debtors with respect to any confidentiality provisions or covenants restricting competition
in favor of any of the Debtors under any employment agreement with a current or former
employee of any the Debtors, subject to applicable nonbankruptcy law.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Releases, which include by reference each
of the related provisions and definitions contained in the Plan, and further shall constitute
the Bankruptcy Court’s finding that the Debtor Releases are: (i) in exchange for the good
and valuable consideration provided by the Released Parties, including, without limitation,
the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (ii) a good faith settlement and compromise of the Claims released
by the Debtor Releases; (iii) in the best interests of the Debtors and all Holders of Claims and
Interests; (iv) fair, equitable and reasonable; (v) given and made after due notice and
opportunity for hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors or
the Debtors’ Estates asserting any Cause of Action released pursuant to the Debtor Releases.

Section 7.03 Releases by Holders of Claims and Interests

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, effective as of the Effective Date, except as otherwise expressly set forth in the Plan
or the Confirmation Order, on and after the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is,
and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, in law, equity,
contract, tort or otherwise, including any derivative claims asserted on behalf of any of the
Debtors, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, any
of the Debtors (including the capital structure, management, ownership or operation
thereof), the subject matter of or the transactions or events giving rise to any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors any other Released Party, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted against any of the Debtors), intercompany transactions between
or among any of the Debtors or an affiliate of a Debtor and another Debtor or affiliate of a
Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
entry into, or filing of the Restructuring Support Agreement and related prepetition
transactions, any Definitive Document, the Disclosure Statement, the New Governance
Documents, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document
created or entered into in connection with the Restructuring Support Agreement, the New

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Governance Documents, the Disclosure Statement, the Plan, the Plan Supplement, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of the
new preferred and common equity shares or units of Online Pharmacy Holdings LLC
pursuant to the Plan, to the extent applicable, or the distribution of property under the Plan
or any other related agreement, or upon any other act or omission, transaction, agreement,
event or other occurrence related or relating to any of the foregoing, in each case taking place
on or before the Effective Date.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date, (ii) the rights of any current
employee of any of the Debtors under any employment agreement or plan or (iii) rights of
Holders of Allowed Claims or Allowed Interests to receive distributions under the Plan.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained herein, and, further, shall constitute
the Bankruptcy Court’s finding that the Third-Party Release is: (i) consensual; (ii) essential
to the confirmation of the Plan; (iii) given in exchange for the good and valuable
consideration provided by the Released Parties; (iv) a good faith settlement and compromise
of the Claims released by the Third-Party Release; (v) in the best interests of the Debtors
and their Estates; (vi) fair, equitable and reasonable; (vii) given and made after due notice
and opportunity for hearing; and (viii) a bar to any of the Releasing Parties asserting any
claim or Cause of Action released pursuant to the Third-Party Release.

Section 7.04 Discharge of Claims

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, or in any contract, instrument, or other agreement or document created or
entered into pursuant to the Plan, the distributions, rights, and treatment that are provided in the
Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by
the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims and Interests, including
demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed
by employees of the Debtors prior to the Effective Date and that arise from a termination of
employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in section 502(g), 502(h),
or 502(i) of the Bankruptcy Code, in each case whether or not: (i) a proof of claim or Interest based
upon such debt, right or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is Allowed pursuant
to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or Interest has accepted

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the Plan or voted to reject the Plan. The Confirmation Order shall be a judicial determination of
the discharge of all Claims and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan.

Section 7.05 Exculpation

        As of the Effective Date, except as otherwise specifically provided in the Plan or
Confirmation Order, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is hereby released and exculpated from, any Exculpated Claim other than
those arising out of or relating to any act by or omission of an Exculpated Party that have
been determined in a Final Order of a court of competent jurisdiction to have constituted
actual fraud, willful misconduct or gross negligence, but in all respects such Entities shall be
entitled to rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have, and upon Consummation of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable
laws with regard to the solicitation of votes on the Plan, distribution of consideration
pursuant to the Plan and, to the extent applicable, the offer, issuance and sale or purchase of
securities pursuant to the Plan and, therefore, are not, and on account of such solicitation,
distribution and issuance shall not be, liable at any time for the violation of any applicable
law, rule or regulation governing the solicitation of acceptances or rejections of the Plan,
such distributions made pursuant to the Plan and issuance of securities pursuant to the Plan.
Notwithstanding anything to the contrary in the foregoing, the exculpations set forth above
do not release (i) any liabilities arising after the Effective Date, (ii) the rights of any current
employee of any of the Debtors under any employment agreement or plan or (iii) the rights
of Holders of Allowed Claims or Allowed Interests to receive treatment in accordance with
the Plan.

Section 7.06 Injunction

         Effective as of the Effective Date, except as otherwise expressly provided in the Plan
or the Confirmation Order or for obligations issued or required to be paid pursuant to the
Plan or the Confirmation Order, all Enjoined Parties are permanently enjoined, from and
after the Effective Date, from taking any of the following actions against, as applicable, any
of the Debtors, any of the Reorganized Debtors, the Exculpated Parties or the Released
Parties and their respective assets and properties: (i) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with
or with respect to any such Claims or Interests; (ii) enforcing, attaching, collecting or
recovering by any manner or means any judgment, award, decree or order against such
Entities on account of or in connection with or with respect to any such Claims or Interests;
(iii) creating, perfecting or enforcing any encumbrance of any kind against such Entities or
the property or the Estate of such Entities on account of or in connection with or with respect
to any such Claims or Interests; (iv) asserting any right of setoff, subrogation or recoupment
of any kind against any obligation due from such Entities or against the property of such
Entities on account of or in connection with or with respect to any such Claims or Interests
unless such Holder has filed a motion requesting the right to perform such setoff on or before

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the Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise
that such Holder asserts, has or intends to preserve any right of setoff pursuant to applicable
law or otherwise; and (v) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims
or Interests released or settled pursuant to the Plan.

Section 7.07 Term of Injunctions or Stays

        Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.

Section 7.08 Protection Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, no Entities, including Governmental Units, shall discriminate against any of the
Reorganized Debtors or deny, revoke, suspend or refuse to renew a license, permit, charter,
franchise or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, any of the Reorganized Debtors or another Entity with whom such Reorganized
Debtor has been associated, solely because the Debtors have been a debtor under chapter 11 of the
Bankruptcy Code, have been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge) or have not
paid a debt that is dischargeable in the Chapter 11 Cases.

Section 7.09 Release of Liens, Claims and Interests

        Except as otherwise provided herein or in any contract, instrument, release or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently
with the applicable distributions made pursuant to the Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the
Effective Date, all Claims, Interests or Liens, including but not limited to mortgages, deeds
of trust, Liens, pledges or other security interests, against or in any property of the Estates
shall be fully released, discharged, terminated and extinguished, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order or rule or the vote, consent, authorization or approval of any Entity, and all of the
right, title and interest of any holder of such mortgages, deeds of trust, Liens, pledges or
other security interests shall revert to the Reorganized Debtors and their successors and
assigns. Any Entity holding such Liens, Claims or Interests will, if necessary or reasonably
requested by the Debtors or Reorganized Debtors, pursuant to section 1142 of the
Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such
instruments of termination, release, satisfaction and/or assignment (in recordable form) as
may be reasonably requested by the Reorganized Debtors and shall incur no liability to any
Entity in connection with its execution and delivery of any such instruments. Any Holder of

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a Secured Claim (and the applicable agents for such Holder) shall be authorized and directed
to release any collateral or other property of the Debtors held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested
by the Reorganized Debtors to evidence the release of such Lien, including the execution,
delivery and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial or local agency or department
shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens. For the avoidance of doubt, the Exit Facility Claims effected
through the Prepetition Lien Conversion and the DIP Lien Conversion pursuant to the Plan
shall not be released, discharged, terminated or extinguished to effect the Exit Capital
Structure attached to the Restructuring Support Agreement.

                                           ARTICLE VIII
                             CONDITIONS PRECEDENT TO CONFIRMATION
                               OF THE PLAN AND THE EFFECTIVE DATE

Section 8.01 Conditions Precedent to Confirmation

       It shall be a condition to Confirmation hereof that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Section 8.03.

       1.       The Bankruptcy Court shall have entered a Final Order, in form and substance
acceptable to the Consenting Lenders, approving the Disclosure Statement as containing adequate
information within the meaning of section 1125 of the Bankruptcy Code (which, for the avoidance
of doubt, may be the same order as the order confirming the Plan).

      2.      The Plan and the Plan Supplement, including any schedules, documents,
agreements, supplements and exhibits thereto (in each case in form and substance acceptable to
the Debtors and the Consenting Lenders as provided for under the Restructuring Support
Agreement) shall have been filed.

        3.     The Restructuring Support Agreement shall not have been rejected by the Debtors,
shall not have been terminated as of immediately prior to the Confirmation Date, nor shall there
have been any breach thereof by any party.

Section 8.02 Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Section 8.03.

       1.      Each document or agreement constituting the Definitive Documents shall have
been executed and/or effectuated and shall be in form and substance consistent with the
Restructuring Support Agreement, including any consent rights included therein.

       2.    The Plan shall have been filed and the Bankruptcy Court shall have entered the
Confirmation Order in form and substance consistent with the Restructuring Support Agreement,

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including any consent rights included therein, and such Confirmation Order shall not have been
stayed, modified, vacated, appealed or subjected to an injunction and shall have become a Final
Order.

        3.     The Bankruptcy Court shall have entered one or more Final Orders (which may
include the Confirmation Order) authorizing the assumption, assumption and assignment, and
rejection, as applicable, of Executory Contracts and Unexpired Leases by the Debtors as
contemplated herein.

        4.      All (i) governmental and regulatory approvals, clearances and consents necessary
and legally required, if any, under applicable non-bankruptcy law and (ii) material third-party
consents and approvals, if any, in each case in connection with the transactions provided for in the
Plan shall have been obtained, are not subject to unfulfilled conditions, and are in full force and
effect, and all applicable waiting periods have expired without any action having been taken by
any competent authority that restrains, prevents or enjoins the Restructuring Transactions.

      5.      To the extent invoiced at least one (1) Business Day before the Effective Date, all
amounts on account of invoiced and unpaid Transaction Expenses shall have been paid in full.

       6.      The Professional Fee Escrow Account shall have been established and funded with
the Professional Fee Amount in accordance with Section 2.02.

       7.     The transactions contemplated in the Restructuring Transactions shall have been
executed and completed by all of the Entities that are parties thereto.

       8.     The Restructuring Support Agreement shall have been assumed pursuant to the
Confirmation Order.

      9.      The New Governance Documents shall have been filed with the appropriate
governmental authority, as applicable.

        10.     The Existing Governance Documents shall have been amended, restated, or
replaced by the New Governance Documents, respectively, in all cases consistent with the consent
rights of the Consenting Lenders as set forth in the Restructuring Support Agreement.

      11.     The Restructuring Support Agreement shall not have been terminated as of
immediately prior to the Effective Date and there has been no breach thereof by any party.

Section 8.03 Waiver of Conditions

        The conditions to Confirmation of the Plan and to Consummation of the Plan set forth in
this Article VIII may be waived, in whole or in part, at any time by the Debtors, with the prior
written consent of the Consenting Lenders (email shall suffice), without notice, leave or order of
the Bankruptcy Court or any formal action; provided, however, that the Debtors may not waive
entry of the Confirmation Order.


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Section 8.04 Effect of Failure of Conditions

        If the Consummation of the Plan does not occur by the Outside Date (as defined in the
Restructuring Support Agreement) as to any Debtor, the Plan shall be null and void in all respects
as to such Debtor and nothing contained in the Plan, the Disclosure Statement, or the Restructuring
Support Agreement shall: (i) constitute a waiver or release of any claims by or Claims against or
Interests in any of the Debtors; (ii) prejudice in any manner the rights of the Debtors, any Holder
of Claims or Interests or any other Entity; or (iii) constitute an admission, acknowledgment, offer
or undertaking by any of the Debtors, any Holder or any other Entity in any respect.

Section 8.05 Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy
Code, shall be deemed to occur on the Effective Date.

                                     ARTICLE IX
                 MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

Section 9.01 Modification and Amendments

        Except as otherwise provided in the Plan, the Debtors (with the consent of the Consenting
Lenders) reserve the right to modify the Plan as to material and/or immaterial terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not re-solicit votes on such
modified Plan. Subject to section 1127(b) of the Bankruptcy Code and Bankruptcy Rule 3019 and
applicable restrictions on modifications set forth in the Plan, the Debtors (with the consent of the
Consenting Lenders) expressly reserve their respective rights to revoke, withdraw, alter, amend or
modify the Plan with respect to the Debtors, one or more times, after Confirmation, and, to the
extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify
the Plan or remedy any defect or omission or reconcile any inconsistencies in the Plan, the
Disclosure Statement or the Confirmation Order, in each case in such matters as may be necessary
to carry out the purposes and intent of the Plan. Any such modification or supplement shall be
considered a modification of the Plan and shall be made in accordance with this Article IX. Subject
to section 1127 of the Bankruptcy Code and, to the extent applicable, sections 1122, 1123 and
1125 of the Bankruptcy Code, any alterations, amendments or modifications of the Plan proposed
in writing by the Debtors at any time prior to or after the Confirmation Date, but prior to the
Effective Date, and in all cases subject to the consent of the Consenting Lenders, Holders of Claims
that have accepted the Plan shall be deemed to have accepted the Plan, as altered, amended or
modified, without the re-solicitation if the proposed alteration, amendment or modification do not
materially and adversely change the treatment of the Claim of such Holder; provided, however,
that any Holders of Claims or Interests that were deemed to accept the Plan because such Claims
or Interests were Unimpaired shall continue to be deemed to accept the Plan only if, after giving
effect to such amendment or modification, such Claims continue to be Unimpaired.




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Section 9.02 Effect of Confirmation on Modifications

       Entry of a Confirmation Order, including under section 1127 of the Bankruptcy Code, shall
mean that all modifications or amendments to the Plan occurring after the solicitation are approved
pursuant to section 1127(a) of the Bankruptcy Code or section 1127(b) of the Bankruptcy Code,
as applicable, and do not require additional disclosure or re-solicitation under Bankruptcy Rule
3019.

Section 9.03 Revocation or Withdrawal of the Plan

        The Debtors reserve the right, upon prior notice to and with the consent of the Consenting
Lenders, to revoke or withdraw the Plan before the Confirmation Date and to file subsequent plans
of reorganization, either entirely or as to any one or more of the Debtors. If the Plan is revoked or
withdrawn as to fewer than all of the Debtors, such revocation or withdrawal shall not affect the
enforceability of the Plan as it relates to the Debtors for which the Plan is not revoked or
withdrawn. If (i) the Debtors revoke or withdraws the Plan in its entirety in accordance with this
Section 9.03, (ii) the Restructuring Support Agreement is terminated by the Outside Date (as
defined in the Restructuring Support Agreement), or (iii) Confirmation or Consummation does not
occur by the Outside Date (as defined in the Restructuring Support Agreement), then, absent
further order of the Bankruptcy Court: (i) the Plan shall be null and void in all respects unless
extended by the Debtors, with the prior written consent of the Consenting Lenders; (ii) any
settlement or compromise not previously approved by Final Order of the Bankruptcy Court
embodied in the Plan (including the fixing or limiting to an amount certain of any Claim or Interest
or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired
Leases effected by the Plan, and any document or agreement executed pursuant to the Plan, shall
be deemed null and void; and (iii) nothing contained in the Plan shall: (a) constitute a waiver or
release of any Claims or Interests; (b) prejudice in any manner the rights of such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Noteholders; or (c)
constitute an admission, acknowledgement, offer or undertaking of any sort by such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Noteholders.

                                           ARTICLE X
                                    RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall retain such jurisdiction over the Chapter 11 Cases, the Plan and
all matters, arising out of or related to, the Chapter 11 Cases and the Plan, including jurisdiction
to:

        1.     allow, disallow, determine, liquidate, classify, estimate or establish the priority,
secured or unsecured status or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount or allowance of Claims or Interests;




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       2.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

        3.      resolve any matters related to: (i) the assumption, assumption and assignment or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is a party or with respect
to which a Debtor or Reorganized Debtor may be liable in any manner and to hear, determine and,
if necessary, liquidate, any Claims arising therefrom, including Cure Claims pursuant to section
365 of the Bankruptcy Code or any other matter related to such Executory Contract or Unexpired
Lease; (ii) any potential contractual obligation under any Executory Contract or Unexpired Lease
that is assumed; (iii) the Reorganized Debtors amending, modifying or supplementing, after the
Effective Date, pursuant to Article IX, any Executory Contracts or Unexpired Leases; and (iv) any
dispute regarding whether a contract or lease is, or was, executory or expired;

       4.      ensure that distributions to Holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising
from or relating to distributions under the Plan;

         5.     adjudicate, decide or resolve any and all motions, adversary proceedings, contested
or litigated matters and any other matters, and grant or deny any applications involving the Debtors
that may be pending on the Effective Date;

      6.     adjudicate, decide or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

       7.     enter and implement such orders as may be necessary or appropriate to execute,
implement or consummate the provisions of the Plan and all contracts, instruments, releases,
indentures and other agreements or documents created in connection with the Plan, Plan
Supplement or the Disclosure Statement;

       8.      enter and enforce any order for the sale of property pursuant to sections 363, 1123
or 1146(a) of the Bankruptcy Code;

        9.     resolve any and all cases, controversies, suits, disputes or Causes of Action that
may arise in connection with the Consummation, interpretation or enforcement of the Plan or any
Entity’s obligations incurred in connection with the Plan;

       10.    issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with Consummation or
enforcement of the Plan;

       11.     resolve any and all cases, controversies, suits, disputes or Causes of Action with
respect to existence, nature, scope or enforcement of any discharge, releases, injunctions,
exculpations, indemnifications and other provisions contained in Article VII and enter such orders
as may be necessary or appropriate to implement such releases, injunctions and other provisions;


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        12.     resolve any and all cases, controversies, suits, disputes or Causes of Action with
respect to the repayment or return of distributions and the recovery of additional amounts owed by
the Holder of a Claim for amounts not timely repaid pursuant to Article VI;

       13.     enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked or vacated;

       14.     determine any and all matters that may arise in connection with, relate to or be
necessary to execute, implement or consummate, the Plan, the Plan Supplement, the Disclosure
Statement, the Confirmation Order or any contract, instrument, release, indenture or other
agreement or document created in connection with the Plan, the Plan Supplement or the Disclosure
Statement;

              15.        adjudicate any and all disputes arising from or relating to distributions under the
Plan;

       16.     consider any and all modifications of the Plan, cure any defect or omission or
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       17.     determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

       18.    hear and determine disputes, cases, controversies or Causes of Action arising in
connection with the interpretation, implementation or enforcement of the Plan or the Confirmation
Order, including disputes arising under agreements, documents or instruments executed in
connection with the Plan;

       19.    hear and determine any and all matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

              20.        enforce any and all orders previously entered by the Bankruptcy Court;

              21.        hear any other matter not inconsistent with the Bankruptcy Code; and

              22.        enter an order and/or final decree concluding or closing the Chapter 11 Cases.

        provided, that, on and after the Effective Date and after the consummation of the following
agreements or documents, the Bankruptcy Court shall not retain jurisdiction over disputes
concerning documents contained in the Plan Supplement, including, among other documents, the
New Governance Documents and any documents related thereto that have a jurisdictional, forum
selection or dispute resolution clause that refers disputes to a different court, and any disputes
concerning documents contained in the Plan Supplement that contain such clauses shall be
governed in accordance with the provisions of such documents.




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                                           ARTICLE XI
                                    MISCELLANEOUS PROVISIONS

Section 11.01 Tax Structure

        As reasonably determined by the Debtors, upon emergence from the Chapter 11 Cases,
Optio Rx shall be structured as a limited liability company, and the Restructuring Transactions
shall, subject to the terms and conditions of the Restructuring Support Agreement, be structured
to achieve a tax-efficient structure, in a manner reasonably acceptable to the Reorganized Debtors
and subject to the consent rights of the Consenting Lenders in the Restructuring Support
Agreement.

Section 11.02 Immediate Binding Effect

        Subject to Section 8.02 hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h) or
7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for
the avoidance of doubt, the documents and instruments contained in the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized
Debtors and any and all Holders of Claims or Interests (irrespective of whether such Holders of
Claims or Interests have, or are deemed to have, accepted the Plan), all Entities that are parties to
or are subject to the settlements, compromises, releases, discharges and injunctions described in
the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to
Executory Contracts and Unexpired Leases with the Debtors.

Section 11.03 Additional Documents

        On or before the Effective Date, and consistent with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents
as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. Subject to their respective obligations under the Restructuring Support Agreement, the
Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
execute and deliver any agreements or documents and take any other actions as may be reasonably
necessary or advisable to effectuate the provisions and intent of the Plan.

Section 11.04 Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no
force or effect if the Effective Date does not occur. None of the filing of the Plan, any statement
or provision contained in the Plan or any action taken or not taken by the Debtors with respect to
the Plan, the Disclosure Statement or the Plan Supplement shall be or shall be deemed to be an
admission or waiver of any rights of any Debtors with respect to the Holders of Claims or Interests
prior to the Effective Date.



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Section 11.05 Successors and Assigns

        The rights, benefits and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
Affiliate, officer, director, trustee, manager, agent, representative, attorney, beneficiaries or
guardian, if any, of each Entity.

Section 11.06 Notices

        All notices, requests and demands to or upon the Debtors, the Reorganized Debtors or the
Consenting Lenders, as applicable, or any required by or in connection with the Plan shall be in
writing (including by facsimile or electronic transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered or, in
the case of notice by facsimile and electronic transmission, when received and telephonically or
electronically confirmed, addressed as follows:

              If to the Debtors or the Reorganized Debtors:

              Optio Rx, LLC
              3701 Commercial Avenue
              Suite 14
              Northbrook, Illinois 60061
              Attn: Ben David, CEO
              Email: bdavid@optiorx.com

              With a copy to:

              CHIPMAN BROWN CICERO & COLE, LLP
              William E. Chipman, Jr.
              Mark D. Olivere
              Hercules Plaza
              1313 North Market Street, Suite 5400
              Wilmington, Delaware 19801
              Telephone:     (302) 295-0191
              Facsimile:     (302) 295-0199
              Email: chipman@chipmanbrown.com
                     olivere@chipmanbrown.com

              If to the Consenting Lenders:

              DLA Piper LLP (US)
              1201 North Market Street
              Suite 2100
              Wilmington, DE 19801-1147
              Attn: Stuart Brown
              Email: stuart.brown@us.dlapiper.com

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After the Effective Date, the Reorganized Debtors may, in their sole discretion, notify Entities that,
in order to continue receiving documents pursuant to Bankruptcy Rule 2002, such Entities must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective
Date, the Reorganized Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.

Section 11.07 Entire Agreement

        Except as otherwise indicated, and without limiting the effectiveness of the Restructuring
Support Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings and representations on such subjects, all of which have become merged and
integrated into the Plan.

Section 11.08 Severability of Plan Provisions

        If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court or any other court exercising jurisdiction to be invalid, void or unenforceable,
the Bankruptcy Court or other court exercising jurisdiction shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is: (i) valid and enforceable
pursuant to its terms; (ii) integral to the Plan and may not be deleted or modified without the
consent of the Debtors and the Consenting Lenders; and (iii) nonseverable and mutually
dependent.

Section 11.09 Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are filed,
copies of such exhibits and documents shall be available upon request to the Debtors’ counsel, or
at the website of the Solicitation Agent, at OptioRXInquiries@stretto.com. To the extent any
exhibit or document is inconsistent with the terms of the Plan, unless otherwise ordered by the
Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall control.

Section 11.10 Votes Solicited in Good Faith

       Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code and any applicable
nonbankruptcy law, and pursuant to section 1125(e) of the Bankruptcy Code, the Debtors and their

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respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, trustees, employees, advisors and attorneys will be deemed to have participated in good
faith and in compliance with the Bankruptcy Code and the applicable nonbankruptcy law in the
offer, issuance, sale and purchase of securities offered and sold under the Plan and any previous
plan, and, therefore, neither any of such parties or individuals or Reorganized Debtors will have
any liability for the violation of any applicable law, rule or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale or purchase of the securities offered and sold under
the Plan and any previous plan.

Section 11.11 Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11
Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Chapter 11 Cases; provided, however, that,
as of the Effective Date, the Reorganized Debtors may submit separate orders to the Bankruptcy
Court under certification of counsel previously provided to the U.S. Trustee closing certain
individual Chapter 11 Cases and changing the caption of the Chapter 11 Cases accordingly;
provided further that matters concerning Claims may be heard and adjudicated in one of the
Debtors’ Chapter 11 Cases that remains open regardless of whether the applicable Claim is against
a Debtor in a Chapter 11 Case that is closed. Nothing in the Plan shall authorize the closing of any
case nunc pro tunc to a date that precedes the date any such order is entered. Any request for nunc
pro tunc relief shall be made on motion served on the United States Trustee, and the Bankruptcy
Court shall rule on such request after notice and a hearing. Upon the filing of a motion to close
the last Chapter 11 Case remaining open, the Reorganized Debtors shall file a final report with
respect to all of the Chapter 11 Cases pursuant to Local Bankruptcy Rule 3022-1(c).

Section 11.12 Document Retention

       On and after the Effective Date, the Reorganized Debtors may maintain documents in
accordance with their standard document retention policy, as may be altered, amended, modified
or supplemented by the Reorganized Debtors.

Section 11.13 Further Assurances

        The Debtors, the Reorganized Debtors and all Holders of Claims or Interests receiving
distributions hereunder and all other parties-in-interest agree to prepare, execute and deliver any
agreements, instruments or documents and take any other actions, in addition to the matters
specified in the Plan, as may be reasonably appropriate, necessary or advisable, or as may be
required by order of the Bankruptcy Court, from time to time, to effectuate the provisions and
intent of the Plan.




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Section 11.14 Claims Against Other Debtors

       Nothing in the Plan or the Disclosure Statement or any document or pleading filed in
connection therewith shall constitute or be deemed to constitute an admission that any of the
Debtors are subject to or liable for any Claim against any other Debtor.

Section 11.15 Transaction Expenses

        The Transaction Expenses incurred, or estimated to be incurred, up to and including the
Effective Date shall be paid in full in Cash on the Effective Date (to the extent not previously paid
during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth
herein and in the Restructuring Support Agreement, as applicable, without any requirement to file
a fee application with the Bankruptcy Court, without the need for itemized time detail and without
any requirement for Bankruptcy Court’s review or approval. All Transaction Expenses to be paid
on the Effective Date (to the extent not previously invoiced) shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least three (3) Business
Day before the anticipated Effective Date; provided, however, that such estimates shall not be
considered an admission or limitation with respect to such Transaction Expenses. In addition, the
Debtors and the Reorganized Debtors (as applicable) shall continue to pay when due the reasonable
pre- and post-Effective Date Transaction Expenses related to the implementation, consummation
and defense of the Plan, whether incurred before, on or after the Effective Date, upon receipt of
invoices therefor.


                                  [Remainder of page intentionally left blank]




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Dated: July 29, 2024

                                                Respectfully submitted,

                                                Optio Rx, LLC
                                                Braun Pharma, LLC
                                                Dr. Ike’s PharmaCare, LLC
                                                Rose Pharmacy SA LLC
                                                Rose Pharmacy SF LLC
                                                Rose Pharmacy RM LLC
                                                Pet Apothecary, LLC
                                                Crestview Holdings, LLC
                                                SBH Medical, LLC
                                                H&H Pharmacy, LLC
                                                Enovex Pharmacy, LLC
                                                SMC Pharmacy, LLC
                                                SMC Lyons Holdings, LLC
                                                Baybridge Pharmacy, LLC
                                                Central Pharmacy, LLC
                                                Pro Pharmacy, LLC
                                                Healthy Choice Compounding LLC
                                                Oakdell Compounding Pharmacy, LLC
                                                The Pet Apothecary LLC
                                                Crestview Pharmacy, LLC
                                                SBH Medical, Ltd.
                                                Concierge Pharmacy, LLC
                                                Firstcare Pharmacy, LLC
                                                Easycare Pharmacy, LLC
                                                Primecare Pharmacy, LLC.


                                                By:      /s/ Ben David
                                                Name: Ben David
                                                Title: Chief Executive Officer




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                                       EXHIBIT B

                           Restructuring Support Agreement

                                       (Attached)




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                                                                                            Execution Version


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING
CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE
AGREEMENT EFFECTIVE DATE (AS DEFINED BELOW) ON THE TERMS DESCRIBED
HEREIN, DEEMED BINDING ON ANY OF THE PARTIES HERETO.

                          RESTRUCTURING SUPPORT AGREEMENT

        This RESTRUCTURING SUPPORT AGREEMENT (including all exhibits, annexes, and
schedules attached hereto, as each may be amended, restated, supplemented, or otherwise modified
from time to time in accordance with the terms hereof, this “Agreement”) is made and entered into
as of May 9, 2024 (the “Execution Date”) by and among the following parties (collectively, the
“Parties”):1

        (i)      Optio Rx, LLC (“Optio”), organized and existing under the laws of the State of
                 Delaware, and certain of its direct and indirect subsidiaries listed on Annex A to
                 the Plan Term Sheet and signatory hereto (collectively, the “Company Parties” or
                 the “Debtors”, as applicable);

        (ii)     the undersigned holders of first out term loans and/or first out revolving loans (each,
                 a “First Out Holder” and collectively, the “First Out Holders”) under that certain
                 Credit Agreement, dated as of June 28, 2019 (as amended, the “Prepetition Credit
                 Agreement”), by and among CBC Pharma Holdco, LLC, Optio Rx, LLC, Loan
                 Admin Co LLC, as administrative agent and lead arranger (the “Prepetition Admin
                 Agent”), and that certain Agreement Among Lenders, dated as of November 3,
                 2022 (the “AAL”), by and among each First Out Holder, each Last Out Lender
                 (defined below), Loan Admin Co LLC, as administrative agent under the
                 Prepetition Credit Agreement, and any other Lender party to the AAL; and

        (iii)    the undersigned holder (the “Last Out Holder” and together with the First Out
                 Holders, the “Consenting Lenders”) of last out term loans (the “Last Out Term
                 Loans”) under the Credit Agreement and the AAL.

                                                RECITALS

        WHEREAS, the Company Parties and the Consenting Lenders have, in good faith and at
arms’ length, negotiated or have approved of certain restructuring transactions with respect to the
Company Parties’ capital structure on the terms and conditions set forth in this Agreement and as
specified in the term sheet attached hereto as Exhibit B (including all exhibits, annexes, and

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         Capitalized terms used but not defined in the preamble and recitals to this Agreement have the meanings
ascribed to such terms in Section 1.01.


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schedules thereto, the “Plan Term Sheet” and, such transactions as described in this Agreement
and the Plan Term Sheet, the “Restructuring Transactions”);

       WHEREAS, the Company Parties intend to implement the Restructuring Transactions
through the commencement by the Debtors of voluntary cases under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court (the “Chapter 11 Cases”) in Delaware;

         WHEREAS, in connection with this Agreement, the Company Parties and Consenting
Lenders have, in good faith and at arms’ length, negotiated the provision of debtor-in-possession
to exit financing, to be provided by the DIP Lenders and the Consenting Lenders, as applicable, as
specified in the term sheet attached as Exhibit A (including all exhibits, annexes, and schedules
thereto, the “DIP Facility Term Sheet”); and

       WHEREAS, the Parties have agreed to take certain actions in support of the Restructuring
Transactions on the terms and conditions set forth in this Agreement and the Plan Term Sheet.

        NOW, THEREFORE, in consideration of the foregoing and the covenants and
agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, each Party, intending to be legally bound hereby,
agree as follows:

                                        AGREEMENT

Section 1.     Definitions and Interpretation

       1.01. Definitions. Capitalized terms used but not defined in this Agreement
have the meanings given to such terms in the Plan Term Sheet. The following terms have the
following definitions:

       “Agreement” has the meaning set forth in the preamble to this Agreement and, for the
avoidance of doubt, includes all the exhibits, annexes, and schedules attached hereto (including
the DIP Facility Term Sheet, and the Plan Term Sheet, which are expressly incorporated herein
and made a part of this Agreement).

       “Agreement Effective Date” has the meaning set forth in Section 2.01.

        “Alternative Restructuring” means (a) any sale, disposition, new-money investment,
restructuring, reorganization, merger, amalgamation, acquisition, consolidation, dissolution, debt
investment, equity investment, financing (including any debtor-in-possession financing or exit
financing), use of cash collateral, liquidation, tender offer, asset sale, share issuance,
recapitalization, plan of reorganization, share exchange, business combination, joint venture,
partnership, or similar transaction involving any one or more Company Parties or any affiliates of
the Company Parties or the debt, equity, or other interests in any one or more Company Parties or
any affiliates of the Company Parties, other than as contemplated by this Agreement, including the
Plan Term Sheet, or (b) any other transaction involving one or more Company Parties or any


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affiliates of the Company Parties that is an alternative to and/or materially inconsistent with the
Restructuring Transactions.

        “Alternative Restructuring Proposal” means any plan, inquiry, proposal, offer, bid, term
sheet, discussion, or agreement with respect to an Alternative Restructuring.

         “Bankruptcy Code” means title 11 of the United States Code.

      “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware.

         “Chapter 11 Cases” has the meaning set forth in the recitals to this Agreement.

         “Claim” has the meaning ascribed to it in section 101(5) of the Bankruptcy Code.

         “Company Claims/Interests” means any Claim against, or interest in, any Company
Party.

         “Company Parties” has the meaning set forth in the preamble of this Agreement.

         “Confirmation” means entry of the Confirmation Order on the docket of the Chapter 11
Cases.

      “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
Confirmation of the Plan of Reorganization.

        “Confirmation Order” means the order entered by the Bankruptcy Court confirming the
Plan of Reorganization.

       “Consenting Lender Advisors” means DLA Piper LLP (US) and counsel to the Last Out
Holder.

         “Consenting Lenders” has the meaning set forth in the preamble to this Agreement.

      “Debtors” means Optio Rx, LLC and certain of its direct and indirect subsidiaries listed
on Annex A to the Plan Term Sheet.

         “Definitive Documents” means the documents listed in Section 3.01.

        “DIP Agent” means Loan Admin Co LLC, the administrative agent and the collateral agent
for the DIP Lenders with respect to the DIP Facility.

         “DIP Agent Advisor” means DLA Piper LLP (US).

      “DIP Credit Agreement” means the debtor-in-possession financing agreement by and
among certain Company Parties, the DIP Agent, and the DIP Lenders setting forth the terms of the
DIP Facility, in accordance with the DIP Facility Term Sheet.

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       “DIP Documents” means, collectively, the DIP Credit Agreement and any other
agreements, documents, and instruments delivered or entered into in connection therewith,
including, without limitation, any guarantee agreements, pledge and collateral
agreements, intercreditor agreements, and other security documents, and the Interim DIP Order
and Final DIP Order.

       “DIP Facility” means the loans under the debtor-in-possession financing facility on the
terms and conditions set forth in the DIP Facility Term Sheet.

       “DIP Facility Term Sheet” has the meaning set forth in the recitals to this Agreement.

        “DIP Lenders” means funds and vehicles managed by (i) MC Credit Partners LP and
(ii) CION Investment Corporation, as First Out Holders under the Prepetition Credit Agreement
(defined below), and Caprice Capital Partners, LLC (or its affiliates or related funds), as Last Out
Holder under the Prepetition Credit Agreement.

       “DIP Superpriority Claims” has the meaning set forth in the DIP Facility Term Sheet.

        “Disclosure Statement” means the disclosure statement with respect to the Plan of
Reorganization that is prepared in accordance with, among other things, sections 1125, 1126(b),
and 1145 of the Bankruptcy Code, Bankruptcy Rule 3018, and other applicable law, and all
exhibits, schedules, supplements, modifications, and amendments thereto.

       “Disclosure Statement Order” means the order of the Bankruptcy Court approving the
Disclosure Statement as a disclosure statement meeting the applicable requirements of the
Bankruptcy Code and, to the extent necessary, approving the related Solicitation Materials, which
order may be the Confirmation Order.

       “Effective Date” has the meaning set forth in the Plan Term Sheet.

       “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

       “Execution Date” has the meaning set forth in the preamble to this Agreement.

      “Exit Capital Structure” means the capital structure chart attached to this Agreement as
Exhibit C.

       “Exit Facility” means that certain exit facility consistent with the terms, conditions, and
provisions of an exit facility giving effect to the Exit Capital Structure (such definitive documents,
the “Exit Facility Documents”).

       “Final DIP Order” means the order approving the DIP Facility on a final basis, which
shall be in form and substance, and upon terms and conditions, reasonably acceptable in all
respects to the DIP Agent and the DIP Lenders.

        “Finance Documents” means (a) the Prepetition Credit Agreement, (b) the AAL, and (c)
all other documents entered into, pursuant to, or in connection with, the foregoing documents in


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clauses (a) and (b) of this definition (including, but not limited to, any cash management
arrangements and ancillary facilities).

       “Financing Orders” means any orders entered in the Chapter 11 Cases authorizing debtor-
in-possession financing or the use of cash collateral (whether interim or final), which shall be
consistent with this Agreement and the Plan Term Sheet.

       “First Day Pleadings” means the first-day pleadings that the Company Parties determine,
in consultation with the Consenting Lenders, are necessary or desirable to file.

       “First Out Holders” has the meaning set forth in the preamble of this Agreement.

       “First Out Term Loans” means the first out term loans provided by the First Out Holders
under the Credit Agreement.

        “Governmental Entity” means any applicable federal, state, local, or foreign government
or any agency, bureau, board, commission, court, or arbitral body, department, political
subdivision, regulatory or administrative authority, tribunal or other instrumentality thereof, or any
self-regulatory organization. For the avoidance of doubt, the term Governmental Entity includes
any Governmental Unit (as such term is defined in section 101(27) of the Bankruptcy Code).

        “Interim DIP Order” means the order from the Bankruptcy Court approving the DIP
Facility on an interim basis, which shall be in form and substance, and upon terms and conditions,
reasonably acceptable in all respects to the DIP Agent and the DIP Lenders.

       “Last Out Holder” has the meaning set forth in the preamble of this Agreement.

       “Milestones” has the meaning set forth in Section 6.03 to this Agreement.

       “Outside Date” shall be December 31, 2024.

      “Parties” means the Company Parties and the Consenting Lenders that are party to this
Agreement.

        “Person” means an individual, a partnership, a joint venture, a limited liability company,
a corporation, a trust, an unincorporated organization, a group, a Governmental Entity, or any legal
entity or association.

       “Petition Date” has the meaning set forth in Section 6.03(a) to this Agreement.

       “Plan of Reorganization” means the joint plan of reorganization filed by the Debtors
under chapter 11 of the Bankruptcy Code, including all appendices, exhibits, schedules, and
supplements thereto, as may be modified from time to time in accordance with its terms and this
Agreement.

       “Plan Release” means customary mutual releases in favor of the Released Parties to be
included in the Plan as set forth under the “Releases and Exculpation” section of the Plan Term

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Sheet and otherwise in form and substance reasonably acceptable to the Debtors and the
Consenting Lenders.

       “Plan Term Sheet” has the meaning set forth in the recitals to this Agreement.

       “Prepetition Lien Claims” has the meaning set forth in the Plan Term Sheet.

       “Released Parties” has the meaning set forth in the Plan Term Sheet.

      “Reorganized Debtors” means the Debtors, as reorganized entities under the Plan of
Reorganization and the Confirmation Order on a post-Effective Date basis.

       “Restructuring Transactions” has the meaning set forth in the recitals to this Agreement.

       “Solicitation Materials” means all documents, ballots, forms, and other materials
provided in connection with the solicitation of votes on the Plan under sections 1125 and 1126 of
the Bankruptcy Code (other than the Disclosure Statement).

        “Termination Date” means the date on which termination of this Agreement as to a Party
is effective in accordance with Section 10.

       “Transaction Expenses” means all reasonable and documented fees, costs, and expenses
of the Consenting Lender Advisors and DIP Agent Advisor in connection with the negotiation,
formulation, preparation, execution, delivery, implementation, consummation of the Definitive
Documents, and/or enforcement of this Agreement and/or any of the other Definitive Documents,
and/or the transactions contemplated hereby or thereby, including any amendments, waivers,
consents, supplements, or other modifications to any of the foregoing.

       1.02.   Interpretation. For purposes of this Agreement:

        (a)    in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        (b)    capitalized terms defined only in the plural or singular form shall nonetheless have
their defined meanings when used in the opposite form;

        (c)     unless otherwise specified, any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular terms
and conditions means that such document shall be substantially in such form or substantially on
such terms and conditions;

        (d)     unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be amended,
restated, amended and restated, supplemented, or otherwise modified or replaced from time to
time; provided, that any capitalized terms herein which are defined with reference to another
agreement are defined with reference to such other agreement as of the date of this Agreement,
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without giving effect to any termination of such other agreement or amendments to such
capitalized terms in any such other agreement following the date hereof;

       (e)      unless otherwise specified, all references herein to “Sections” are references to
Sections of this Agreement;

        (f)     the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety
rather than to any particular portion of this Agreement;

       (g)      captions and headings to Sections are inserted from convenience of reference only
and are not intended to be a part of or to affect the interpretation of this Agreement;

         (h)   references to “shareholders,” “directors,” or “officers” shall also include
“members” or “managers,” as applicable, as such terms are defined under the applicable limited
liability company laws; and

       (i)     the use of “include” or “including” is without limitation, whether stated or not.

Section 2.     Effectiveness of this Agreement

        2.01. This Agreement shall become effective and binding upon each of the parties that
has executed and delivered counterpart signature pages to this Agreement and effective on the date
on which all of the following conditions have been satisfied or waived by the applicable Party or
Parties in accordance with this Agreement (such date, the “Agreement Effective Date”):

       (a)     each of the Company Parties shall have executed and delivered (email is sufficient)
counterpart signature pages of this Agreement to counsel to the Company Parties and the
Consenting Lender Advisors;

       (b)     the Consenting Lenders shall have executed and delivered (email is sufficient)
counterpart signature pages of this Agreement to counsel to the Company Parties;

      (c)    all accrued and unpaid Transaction Expenses incurred up to (and including) the
Agreement Effective Date shall be paid in full in cash;

       (d)     counsel to the Company Parties shall have given notice to counsel to the Consenting
Lender Advisors in the manner set forth in Section 11.11 hereof (by email or otherwise) that the
other conditions precedent to the Agreement Effective Date set forth in this Section 2.01 have
occurred; and

       (e)    the Last Out Holder shall have purchased First Out Term Loans ratably from the
First Out Holders in an aggregate principal amount of $25,000,000 and such loans shall have been
converted from First Out Term Loans into Last Out Term Loans upon such purchase.




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Section 3.     Definitive Documents

         3.01. The Definitive Documents governing the Restructuring Transactions shall include
this Agreement and all other agreements, instruments, pleadings, orders, forms, questionnaires,
and other documents (including all exhibits, schedules, supplements, appendices, annexes,
instructions, and attachments thereto) that are utilized to implement or effectuate, or that otherwise
relate to, the Restructuring Transactions, including the following, as applicable:

       (a)     any documents in connection with any First Day Pleadings or “second day”
pleadings and all orders entered pursuant thereto, including any cash management orders;

       (b)     the Disclosure Statement;

       (c)     the Plan of Reorganization;

       (d)     the Interim DIP Order;

       (e)     the Final DIP Order;

       (f)     the DIP Documents;

       (g)     the Exit Facility Documents;

       (h)     the Disclosure Statement Order

       (i)     the Confirmation Order;

       (j)     the New Governance Documents;

       (k)     the Exit Capital Structure;

        (l)     such other definitive documentation relating to a restructuring of the Company
Parties as is necessary or desirable to consummate the Restructuring Transactions; and

      (m)      any other material exhibits, schedules, amendments, modifications, supplements,
appendices, or other documents or agreements relating to any of the foregoing.

        3.02. The Definitive Documents not executed or in a form attached to this Agreement as
of the Execution Date remain subject to negotiation and completion, as applicable, and shall be in
form and substance reasonably acceptable to the Consenting Lenders. Upon completion, the
Definitive Documents and every other document, deed, agreement, filing, notification, letter, or
instrument related to the Restructuring Transactions shall contain terms, conditions,
representations, warranties, and covenants consistent in all material respects with the terms of this
Agreement and the applicable terms of the Plan Term Sheet and DIP Facility Term Sheet, as they
may be modified, amended, or supplemented in accordance with Section 11.01 below.


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Section 4.     Commitments of the Consenting Lenders

        4.01. Commitments, Forbearances, and Waivers. During the Agreement Effective
Period, and subject in all respects and giving full effect to the consent rights contained herein, each
Consenting Lender, on a several and not joint basis, agrees to:

        (a)      support the Restructuring Transactions with respect to all of its Claims now owned
or hereafter acquired by such Consenting Lender (or for which such Consenting Lender serves as
the nominee, investment manager, or advisor for holders thereof) and vote or consent, to the extent
applicable, and exercise any powers or rights available to it (including in any board, shareholders’,
or creditors’ meeting or in any process requiring voting or approval to which they are legally
entitled to participate) in each case in favor of any matter requiring approval to the extent necessary
to implement the Restructuring Transactions; provided, that no Consenting Lender shall be
obligated to waive (to the extent waivable by such Consenting Lender) any condition to the
consummation of any part of the Restructuring Transactions set forth in (or to be set forth in) any
Definitive Document or this Agreement (including in the section of the Plan Term Sheet entitled
“Conditions Precedent to the Effective Date”), solely as such conditions precedent apply to the
Consenting Lenders; provided, further, that the Consenting Lenders shall not directly or indirectly
object to, delay, impede, or take any other action (including by directing or encouraging any other
Entity or agent to take any action) to interfere with the acceptance, implementation, or
consummation of the Restructuring under this Agreement or solicit (directly or indirectly) any
other Restructuring Transaction;

        (b)    use commercially reasonable efforts to cooperate with and assist the Company
Parties in obtaining additional support for the Restructuring Transactions from the Company
Parties’ other stakeholders; provided that no Consenting Lender shall be obligated to amend,
modify, or supplement any of the Definitive Documents to obtain such additional support
(including any amendment, modification, or supplement that provides for different treatment of
any Company Claims/Interests than the treatment provided to such Company Claims/Interests in
the Plan Term Sheet);

       (c)    as applicable, negotiate in good faith to enter into any necessary forbearance,
waiver, or amendment agreement;

       (d)     give any notice, order, instruction, or direction to the applicable agent under the
applicable Finance Documents, in each case as necessary to implement or give effect to the
Restructuring Transactions; provided, that no Consenting Lender shall be required hereunder to
provide any agent or other Person under any applicable Finance Documents with any additional
indemnities or similar undertakings in connection with taking any such action other than those
contained in any applicable Finance Documents;

      (e)     negotiate in good faith, and use commercially reasonable efforts to execute and
implement, the Definitive Documents to which it will be a party in a manner consistent with this
Agreement;



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         (f)   to the extent entitled to vote to accept or reject the Plan of Reorganization according
to its terms, vote each of its Prepetition Lien Claims, to accept the Plan of Reorganization by
delivering a duly executed and completed ballot accepting the Plan of Reorganization on a timely
basis in accordance with the solicitation materials and Disclosure Statement Order;

        (g)     to the extent permitted to elect whether to opt-in to the Plan Releases, elect to opt-
in to the Plan Releases by timely delivering its duly executed and completed ballot(s) indicating
such election; and

       (h)     cooperate in good faith to consummate the transactions contemplated by the
Restructuring Transactions and this Restructuring Support Agreement.

Section 5.     Additional Provisions Regarding the Consenting Lenders’ Commitments

         5.01. Notwithstanding anything contained in this Agreement, nothing in this Agreement
shall: (a) affect the ability of any Consenting Lender to consult with any other Consenting Lender,
the Company Parties, DIP Agent, or any other party in interest in the Chapter 11 Cases (including
any official committee and the Office of the United States Trustee for Region 3); (b) impair or
waive the rights of any Consenting Lender to assert or raise any objection permitted under this
Agreement in connection with the Restructuring Transactions; (c) prevent any Consenting Lender
from enforcing this Agreement or contesting whether any action or inaction is a breach of, or is
inconsistent with, this Agreement; (d) limit the rights of a Consenting Lender under the Chapter
11 Cases, including appearing as a party in interest in any matter to be heard concerning any matter
arising in the Chapter 11 Cases, in each case, so long as the exercise of any such right is not
inconsistent with such Consenting Lender’s obligations hereunder; (e) limit the ability of a
Consenting Lender to purchase, sell, or enter into any transactions regarding the Company
Claims/Interests, subject to the terms hereof; (f) except as and to the extent explicitly set forth
herein, constitute a waiver or amendment of any term or provision of any Finance Document; (g)
except as and to the extent explicitly set forth herein, constitute a termination or release of any
liens on, or security interests in, any of the assets or properties of the Company Parties that secure
the obligations under any Finance Document; (h) except as and to the extent explicitly set forth
herein, require any Consenting Lender to incur, assume, become liable in respect of, or suffer to
exist any expenses, liabilities, or other obligations, or agree to or become bound by any
commitments, undertakings, concessions, indemnities, or other arrangements that could result in
expenses, liabilities, or other obligations to such Consenting Lender; (i) prevent a Consenting
Lender from taking any action that is required in order to comply with applicable law; provided,
if any Consenting Lender proposes to take any action that is otherwise inconsistent with this
Agreement or the Restructuring Transactions in order to comply with applicable law, such
Consenting Lender shall provide, to the extent possible without violating applicable law, at least
five (5) business days’ advance, written notice to the Parties; (j) prohibit any Consenting Lender
from taking any action that is not inconsistent with this Agreement or the Restructuring
Transactions; (k) require any Consenting Lender to fund or commit to fund any additional amounts
(other than as agreed in connection with the Exit Facility and the DIP Facility) without such
Consenting Lender’s written consent; or (l) except as and to the extent explicitly set forth herein,
limit the ability of any Consenting Lender to enforce the terms of the AAL (including exercising
any rights or remedies available to the Consenting Lenders); provided, however, following the

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Agreement Effective Date, any buy-out right available to the Last Out Holder will be governed by
the Plan of Reorganization, the Confirmation Order, the Exit Facility Documents, or such other
documents becoming effective on or after the Effective Date; provided, further, the Consenting
Lenders agree that the Last Out Holder will have a buy-out right on the terms set forth in the AAL,
which buy-out right shall be deemed available, notwithstanding anything to the contrary herein or
in the AAL, (i) prior to the Petition Date if the Petition Date does not occur within 90 days of the
Agreement Effective Date or (ii) following the termination of this Agreement prior to the
consummation of the Restructuring Transactions (unless such termination is by reason of a breach
or violation of this Agreement by the Last Out Holder). The Last Out Holder agrees that it will
not have a buy-out right during the Chapter 11 Cases.

Section 6.     Commitments of the Company Parties

       6.01. Affirmative Commitments. Except as expressly set forth in this Agreement, during
the Agreement Effective Period, the Company Parties agree, on behalf of themselves and their
subsidiaries and affiliates, to:

       (a)    support, act in good faith, and take all reasonable actions necessary, or reasonably
requested by the Consenting Lenders, to implement and consummate the Restructuring
Transactions as contemplated by this Agreement and the Plan Term Sheet, including the
Milestones;

       (b)     comply in all respects with the Finance Documents;

         (c)    to the extent any legal or structural impediment arises that would prevent, hinder,
or delay the approval, confirmation, or consummation of the Restructuring Transactions
contemplated herein, take all steps reasonably necessary to address any such impediment,
including, timely filing a formal objection to any motion, application, or other proceeding filed
with the Bankruptcy Court by any Person seeking the entry of an order (i) directing the
appointment of an examiner with expanded powers or a trustee; (ii) converting any of the Chapter
11 Cases to a case under chapter 7 of the Bankruptcy Code; (iii) dismissing the Chapter 11 Cases;
(iv) approving an Alternative Restructuring Proposal; (v) for relief that (x) is inconsistent with this
Agreement in any material respect, or (y) would, or would reasonably be expected to, frustrate the
purposes of this Agreement, including by preventing the consummation of the Restructuring
Transactions; (vi) modifying or terminating any Debtor’s exclusive right to file and/or solicit
acceptances of a plan of reorganization; or (vii) challenging (x) the amount, validity, allowance,
character, enforceability, or priority of any Company Claims/Interests of any of the Consenting
Lenders, or (y) the validity, enforceability, or perfection of any lien or other encumbrance securing
(or purporting to secure) any Company Claims/Interests of any of the Consenting Lenders; and
join in any objection filed or sought to be filed by the Consenting Lenders with respect to (i)–(vii);

        (d)     use commercially reasonable efforts to obtain any and all consents and/or any third-
party approvals that are necessary or advisable for the implementation or consummation of any
portion of the Restructuring Transactions, and assist in the filing of application to transfer any and
all applicable licenses, permits, and privileges;


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       (e)     negotiate in good faith and use commercially reasonable efforts to execute, deliver,
perform their obligations under, and consummate the transactions contemplated by, the Definitive
Documents and any other required agreements to effectuate and consummate the Restructuring
Transactions as contemplated by this Agreement;

       (f)     use commercially reasonable efforts to seek additional support for the
Restructuring Transactions from their other material stakeholders, as applicable, and to the extent
reasonably prudent;

        (g)     subject to any consent rights contemplated by this Agreement, (i) complete the
preparation, as soon as reasonably practicable after the Execution Date, of the Plan of
Reorganization, the Disclosure Statement, and any other Solicitation Materials in order to pursue
the Restructuring Transactions in accordance with the Milestones, and (ii) provide drafts of the
Disclosure Statement, the Plan of Reorganization, any other Solicitation Materials, and each other
Definitive Document to, and afford a reasonable opportunity for comment and review of such
documents by, the Consenting Lender Advisors, which opportunity of comment and review shall
be not less than five (5) full business days in advance of any filing, execution, distribution, or use
(as applicable) thereof;

         (h)     maintain the good standing and legal existence of each Company Party under the
laws of the state or jurisdiction in which it is incorporated, organized, or formed, except to the
extent that any failure to maintain such Company Party’s good standing arises solely as a result of
the filing of the Chapter 11 Cases; and

       (i)     maintain all material licenses, permits, and privileges.

        6.02. Negative Covenants. During the Agreement Effective Period, each of the Company
Parties shall not, and shall cause their affiliates and subsidiaries not to, without the prior written
consent of the Consenting Lenders, directly or indirectly:

       (a)    object to, delay, impede, or take any other action (including by directing or
encouraging any other Entity or agent to take any action) to interfere with the acceptance,
implementation, or consummation of the Restructuring Transactions and/or the Plan of
Reorganization under this Agreement;

        (b)   take any action that is inconsistent in any material respect with, or is intended to
frustrate or impede approval, implementation, and consummation of the Restructuring
Transactions described in, this Agreement, any Finance Document, or any of the other Definitive
Documents;

       (c)      (i) seek discovery in connection with, prepare, or commence any proceeding or
other action that challenges (1) the amount, validity, perfection, allowance, character,
enforceability, or priority of any Company Claims/Interests of any of the Consenting Lenders, or
(2) the validity, enforceability, or perfection of any lien or other encumbrance securing any
Company Claims/Interests of any of the Consenting Lenders; (ii) otherwise seek to restrict any


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rights of any of the Consenting Lenders; or (iii) support any Person in connection with any of the
acts described in clause (i) or clause (ii) hereof;

       (d)     except as contemplated by this Agreement, enter into any contract with respect to
debtor-in-possession financing, cash collateral usage, exit financing, and/or other financing
arrangements without the advance written consent of the Consenting Lenders;

        (e)    assert, or support any assertion by any Person, that, in order to act on the provisions
of this Agreement, the Consenting Lenders shall be required to obtain relief from the automatic
stay from the Bankruptcy Court (and each of the Company Parties hereby waives, to the greatest
extent possible, the applicability of the automatic stay to the giving of any notice of termination in
accordance with Section 10);

       (f)    subject to the exercise of the Debtors’ fiduciary duties, seek, solicit, support,
encourage, propose, assist, consent to, vote for, enter, or participate in any discussions or any
agreement with any Person regarding, pursue, or consummate, any Alternative Restructuring
Proposal;

        (g)    commence the solicitation with respect to the Plan of Reorganization, unless the
Disclosure Statement and the other Solicitation Materials shall be in form and substance consistent
with this Agreement, the Plan Term Sheet, or otherwise reasonably satisfactory to the Consenting
Lenders; or

       (h)     consummate the Restructuring Transactions unless each of the applicable
conditions to the consummation of such transactions set forth in this Agreement, the Plan Term
Sheet, and the applicable Definitive Documents has been satisfied or waived by the applicable
Persons in accordance with the terms of this Agreement and the applicable Definitive Documents.

        6.03. Milestones. Unless expressly stated otherwise in this Agreement, the Company
Parties shall comply with the following milestones (each, a “Milestone” and collectively,
the “Milestones”), each of which may be waived upon the written consent of the Consenting
Lenders (such consent not to be unreasonably withheld or conditioned):

        (a)     The Company Parties shall file the Chapter 11 Cases in the Bankruptcy Court no
later than 60 days after the Agreement Effective Date (such filing date, the “Petition Date”);

        (b)      The Company Parties shall file the Plan of Reorganization and the Disclosure
Statement (which, for the avoidance of doubt, may be a joint document), in form and substance
satisfactory to the Consenting Lenders, no later than five (5) business days after the Petition Date;

        (c)     The Company Parties shall obtain the Interim DIP Order from the Bankruptcy
Court, in form and substance satisfactory to the Consenting Lenders, no later than five (5) business
days after the Petition Date;

        (d)    The Company Parties shall obtain the Final DIP Order from the Bankruptcy Court,
in form and substance satisfactory to the Consenting Lenders, no later than 45 days after the
Petition Date;
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        (e)     The Company Parties shall obtain the Disclosure Statement Order from the
Bankruptcy Court, in form and substance satisfactory to the Consenting Lenders, no later than 45
days after the Petition Date;

        (f)    The Company Parties shall obtain the Confirmation Order from the Bankruptcy
Court, in form and substance satisfactory to the Consenting Lenders, no later than 75 days after
the Petition Date; and

        (g)   The Company Parties shall satisfy or otherwise waive the conditions to the
Effective Date under the Plan of Reorganization no later than five (5) business days after the
Company Parties obtain the last pharmaceutical license or other regulatory approval necessary for
the Reorganized Debtors to conduct their business post-Effective Date.

        6.04. Sale Toggle. In the event the Debtors, in consultation with the Consenting Lenders,
determine that section 1129(a)(10) of the Bankruptcy Code cannot be satisfied or that the Debtors
cannot otherwise confirm the Plan of Reorganization, the Debtors may seek to implement the
material terms of the Restructuring Transactions, including the economic treatment of the
Consenting Lenders set forth in the Plan Term Sheet (which economic treatment, for the avoidance
of doubt, shall include both the applicable debt and equity provisions of the Plan Term Sheet),
through the sale of substantially all of the Debtors’ assets or equity through a sale under section
363 of the Bankruptcy Code; provided, however, the Consenting Lenders and/or the DIP Lenders
shall have the right to participate in the sale process and credit bid all or a portion of their secured
claims under section 363(k) of the Bankruptcy Code toward the purchase price.

Section 7.     Representations and Warranties of Consenting Lenders

       7.01. Each Consenting Lender severally, and not jointly, represents and warrants that the
following statements are true and correct, as of the date such Consent Lender executes and delivers
this Agreement:

        (a)    it is the beneficial or record owner (which shall be deemed to include any unsettled
trades) of the face amount of the Company Claims/Interests, or is the nominee, investment
manager, or advisor for beneficial holders of the Company Claims/Interests, reflected in such
Consenting Lender’s signature page to this Agreement, as applicable (subject to any transfer by
such Consenting Lender made after the Agreement Effective);

        (b)    it has the full power and authority to act on behalf of, vote, and consent to matters
concerning, such Company Claims/Interests (or, with respect to Company Claims/Interests subject
to an agreement to purchase which has not closed as of the date hereof, will have such power and
authority upon closing);

        (c)    such Company Claims/Interests are free and clear of any pledge, lien, security
interest, charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other
limitation on disposition, transfer, or encumbrances of any kind, that would materially adversely
affect such Consenting Lender’s ability to perform any of its obligations under this Agreement at
the time such obligations are required to be performed; and
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        (d)     it has the full power to vote, approve changes to, and transfer all of its Claims and/or
Interests referable to it as contemplated by this Agreement subject to applicable law (or, with
respect to Company Claims/Interests subject to an agreement to purchase which has not closed as
of the date hereof, will have such power upon closing).

Section 8.     Representations and Warranties of Company Entities

        8.01. Each Company Entity represents and warrants that as of the date such Company
Entity executes and delivers this Agreement and as of the Transaction Effective Date:

        (a)     to the best of its knowledge having made all reasonable inquiries, no order has been
made, petition presented, or resolution of such Company Entity passed for the winding up of or
appointment of a liquidator, receiver, administrative receiver, administrator, compulsory manager,
or other similar officer is respect of such Company Entity;

       (b)     except as expressly provided for in this Agreement, it has not entered into any
arrangement (including with any individual creditor, irrespective of whether it is or is to become
a Consenting Lender), other than in the ordinary course of business, on terms that are materially
inconsistent with this Agreement;

        (c)      to the best of its knowledge, the execution and delivery by it of this Agreement does
not result in a breach of, or constitute (with due notice or lapse of time or both) a default under any
material contractual obligation to which it is a party; and

        (d)     to the best of its knowledge, the diligence materials and other information
concerning the Company Entities that such Company Entity or its advisors provided to any
Consenting Lender in connection with an actual or potential restructuring of the Company Entities
did not, taken as a whole and as of the date such materials or information were so provided, contain
any untrue statement of material fact or omit to state any material fact necessary to make the
statements therein, in light of the circumstances under which they were made, not materially
misleading (provided that, with respect to any projected financial information, forecasts, estimates,
or forward-looking information, each Company Entity represents only that such information was
prepared in good faith based upon assumptions it believed to be reasonable at the time).

Section 9.     Mutual Representations, Warranties, and Covenants

      9.01. Each of the Parties, on a several and not joint basis, represents, warrants, and
covenants to each other Party, as of the date such Party executes and delivers this Agreement:

        (a)     it is validly existing and in good standing under the laws of the state or jurisdiction
of its organization, and this Agreement is a legal, valid, and binding obligation of such Party,
enforceable against it in accordance with its terms, except as enforcement may be limited by
applicable laws relating to or limiting creditors’ rights generally or by equitable principles relating
to enforceability;


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        (b)     except as expressly provided in this Agreement, the Plan of Reorganization, and
the Bankruptcy Code, no consent or approval is required by any other Person in order for it to
effectuate the Restructuring Transactions contemplated by, and perform its respective obligations
under, this Agreement;

       (c)      the entry into and performance by it of the transactions contemplated by, this
Agreement do not, and will not, conflict in any material respect with any law or regulation
applicable to it or with any of its Organizational Documents; and

        (d)     except as expressly provided in this Agreement, it has (or will have, at the relevant
time) all requisite corporate or other power and authority to enter into, execute, and deliver this
Agreement and to effectuate the Restructuring Transactions contemplated by, and perform its
respective obligations under, this Agreement.

Section 10.    Termination Events

        10.01. Consenting Lender Termination Events. This Agreement may be terminated with
respect to all Parties by the Consenting Lenders upon the delivery to each other Party of a written
notice in accordance with Section 11.11 upon the occurrence of the following events (each, a
“Termination Event”):

       (a)     the breach in any material respect by a Company Party of any of the representations,
warranties, covenants, or other obligations or agreements of the Company Parties set forth in this
Agreement that remains uncured (if susceptible to cure) for five (5) business days after such
terminating Consenting Lenders transmit a written notice to the Company Parties in accordance
with Section 11.11 detailing any such breach;

       (b)     any of the Milestones is not achieved, except where such Milestone has been
waived or extended by each of the applicable Parties; provided, that the right to terminate this
Agreement shall not be available to a Consenting Lender if the failure of such Milestone to be
achieved is caused by, or results from, the material breach by that Consenting Lender of its
covenants, agreements, or other obligations under this Agreement;

        (c)    the issuance by any Governmental Entity, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (a)(i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
twenty (20) calendar days after such terminating Consenting Lenders receive a written notice from
the Company Parties in accordance with Section 11.11 hereof detailing any such issuance or (b)
impacts the utility of any license, permit, or privilege to operate; provided, that this termination
right may not be exercised by any Consenting Lenders that directly sought or requested such ruling
or order in contravention of any obligation set out in this Agreement;

       (d)     the occurrence of an event that shall have made any of the conditions precedent to
the consummation of the Restructuring Transactions as set forth in this Agreement or the Plan
Term Sheet, if applicable, incapable of being satisfied prior to the Outside Date, except where such
condition precedent has been waived by the applicable Parties; provided, that the right to terminate

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this Agreement shall not be available to any Consenting Lenders if the happening or existence of
such event is directly caused by, or results from, the breach by such Consenting Lenders of its
covenants, agreements, or other obligations under this Agreement;

        (e)      any Company Party, without the express written consent of the Consenting
Lenders, (i) commences a voluntary case under the Bankruptcy Code other than the Chapter 11
Cases; (ii) consents to the appointment of, or taking possession by, a receiver, liquidator, assignee,
custodian, trustee, or sequestrator (or similar official) of any Company Party or a material portion
of the property or assets of any Company Party; (iii) seeks any arrangement, adjustment,
protection, or relief of its debts other than the Chapter 11 Cases; or (iv) makes any assignment for
the benefit of its creditors;

        (f)    (i) the commencement of an involuntary case against any Company Party under the
Bankruptcy Code that is not dismissed or withdrawn within twenty-five (25) calendar days; or (ii)
a court of competent jurisdiction enters a ruling, judgment, or order that appoints, or that authorizes
or permits the taking of possession by, a receiver, liquidator, assignee, custodian, trustee, or
sequestrator (or similar official) of any Company Party, any Interests held by any Company Party,
or a material portion of the property or assets of any Company Party;

        (g)    any Company Party or any other Consenting Lender (i) terminates its pursuit of the
Restructuring Transactions; (ii) publicly announces, or communicates in writing to any other Party,
its intention not to support or pursue the Restructuring Transactions; or (iii) announces, or
communicates in writing to any other Party, that it intends to enter into, or has entered into, an
Alternative Restructuring;

        (h)     the Effective Date has not occurred by the Outside Date (as such date may have
been extended in accordance with the provisions of this Agreement); provided, however, that the
right to terminate this Agreement shall not be available to any Consenting Lender if the failure of
the Effective Date to have occurred by the Outside Date is directly caused by, or results from, the
breach by such Consenting Lender of its covenants, agreements, or other obligations under this
Agreement;

        (i)     the Bankruptcy Court enters an order denying approval of the DIP Facility or
Confirmation of the Plan of Reorganization and such order remains in effect for five (5) business
days after entry of such order;

        (j)    the Bankruptcy Court grants relief that (A) is inconsistent with this Agreement or
the Plan Term Sheet in any material respect or (B) would, or would reasonably be expected to,
frustrate the purposes of this Agreement, including by preventing the consummation of the
Restructuring Transactions;

        (k)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by any Company Party seeking an order (without the prior written consent of the
Consenting Lenders), (A) converting one or more of the Chapter 11 Cases of a Company Party to
a case under chapter 7 of the Bankruptcy Code, (B) appointing an examiner with expanded powers
and (4) of the Bankruptcy Code or a trustee in one or more of the Chapter 11 Cases of a Company

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Party, (C) dismissing any of the Chapter 11 Cases, (D) approving an Alternative Restructuring
Proposal, or (E) rejecting this Agreement;

        (l)      the Bankruptcy Court enters an order terminating any Company Party’s exclusive
right to file and/or solicit acceptances of a plan of reorganization or the Company Parties let such
periods/rights lapse;

        (m)      any of the Company Parties (A) files any motion or proceeding seeking to avoid,
disallow, subordinate, or recharacterize any Company Claims/Interests, lien, or interest held by
any Consenting Lender in any capacity; or (B) shall have supported any application, adversary
proceeding, or cause of action referred to in the immediately preceding subsection (A) filed by a
third party, or consents to the standing of any such third party to bring such application, adversary
proceeding, or cause of action;

        (n)    the Bankruptcy Court grants relief terminating, annulling, or modifying the
automatic stay (as set forth in section 362 of the Bankruptcy Code) with regard to any asset of the
Company Parties having an aggregate fair market value in excess of $250,000 without the prior
written consent of the Consenting Lenders;

       (o)     the Bankruptcy Court enters an order invalidating, disallowing, subordinating,
recharacterizing or limiting, as applicable, any of the Prepetition Lien Claims, or any of the
encumbrances that secure (or purport to secure) the Prepetition Lien Claims;

       (p)     except as set forth in the Plan Term Sheet, any Debtor obtains debtor-in-possession
financing, cash collateral usage, exit financing and/or other financing arrangement that is in an
amount, on terms and conditions, or otherwise in form and substance, that is/are not reasonably
acceptable to the Consenting Lenders;

       (q)     the Company Parties file any motion or proceeding to terminate, or the Bankruptcy
Court enters an order terminating, the DIP Documents or Financing Orders, other than at the
request of the Consenting Lenders or the DIP Lenders or upon the mutual consent of the Debtors
and the Consenting Lenders or the DIP Lenders;

       (r)     after entry by the Bankruptcy Court of any Financing Order (including any
adequate protection order), Disclosure Statement Order, or Confirmation Order, such order is
reversed, stayed, dismissed, vacated, reconsidered, modified, or amended, in each case, in a
manner materially inconsistent with this Agreement without the written consent of the Consenting
Lenders;

       (s)    the failure to meet any Milestone, which has not been waived or extended in a
manner consistent with this Agreement, unless such failure is the result of any act, omission, or
delay on the part of the terminating Consenting Lender in violation of its obligations under this
Agreement; or

        (t)    the occurrence of any default or event of default caused by any of the Company
Parties under the DIP Documents or Financing Orders, as applicable, that has not been cured or

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waived (if susceptible to cure or waiver) by the applicable percentage of lenders in accordance
with the terms of the DIP Documents or Financing Orders, as applicable.

       10.02. Company Party Termination Events. Any Company Party may terminate this
Agreement as to all Parties upon prior written notice to all Parties in accordance with Section 11.11
upon occurrence of any of the following events (unless waived in writing by the Company Parties):

       (a)     the breach in any material respect by the Consenting Lenders of any of the
representations, warranties, covenants or other obligations or agreements of the Consenting
Lenders set forth in this Agreement, and such breach remains uncured (if susceptible to cure) for
ten (10) business days after the Company Parties transmit a written notice to the breaching
Consenting Lenders in accordance with Section 11.11 detailing any such breach; or

        (b)    the issuance by any Governmental Entity, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
twenty (20) business days after such terminating Company Party transmits a written notice in
accordance with Section 11.11 detailing any such issuance; provided, that this termination right
shall not apply to or be exercised by any Company Party that sought or requested such ruling or
order in contravention of any obligation or restriction set out in this Agreement.

      10.03. Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual written agreement among the Company Parties and the Consenting
Lenders.

        10.04. Automatic Termination. This Agreement shall terminate with respect to all Parties
automatically (a) without any further required action or notice immediately after the occurrence of
the Effective Date (other than with respect to the Company Parties’ obligations (or the obligations
of their successors in interest) to pay the Transaction Expenses, which obligations will survive
automatic termination), or (b) on the Outside Date.

       10.05. Effect of Termination.

        (a)     No Party may terminate this Agreement if such Party failed to perform or comply
in all material respects with the terms and conditions of this Agreement, with such failure to
perform or comply directly or indirectly causing, or resulting in, the occurrence of the Termination
Event on which such termination is based. Upon the occurrence of the Termination Date as to any
Party, this Agreement shall be of no further force and effect with respect to such Party and such
Party shall be released from its commitments, undertakings, rights, and agreements under or
related to this Agreement and shall have the rights and remedies that it would have had, had it not
entered into this Agreement, and shall be entitled to take all actions, whether with respect to the
Restructuring Transactions or otherwise, that it would have been entitled to take had it not entered
into this Agreement, including with respect to any and all Claims or causes of action; provided,
however, that in no event shall any such termination relieve any Party from (i) liability for its
breach or non-performance of its obligations under this Agreement prior to the Termination Date


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or (ii) obligations under this Agreement which by their terms expressly survive termination of this
Agreement;

        (b)    Upon the occurrence of the Termination Date and prior to the Confirmation Order
being entered by the Bankruptcy Court, any and all consents or ballots tendered by the Parties
before the Termination Date shall be deemed, for all purposes, to be null and void from the first
instance and shall not be considered or otherwise used in any manner by the Parties in connection
with the Restructuring Transactions, this Agreement, or otherwise;

        (c)     If this Agreement is terminated in accordance with this Section 10.01, each
Consenting Lender shall have an opportunity to change or withdraw (or cause to change or
withdraw) its vote to accept the Plan or its consent (regardless of whether any deadline for votes
or consents, or for withdrawal thereof, set forth in the Disclosure Statement has passed) and no
Company Party shall oppose any attempt by such Consenting Lender to change or withdraw (or
cause to change or withdraw) such vote or consent at such time; provided, that any such Consenting
Lender that intends to change or withdraw its vote has not breached and is not otherwise in
violation of the terms of this Agreement;

        (d)     Nothing in this Agreement shall be construed as prohibiting a Company Party or
any of the Consenting Lenders from contesting whether any such termination is in accordance with
its terms or to seek enforcement of any rights under this Agreement that arose or existed before a
Termination Date;

        (e)     Except as expressly provided in this Agreement, nothing herein is intended to, or
does, in any manner waive, limit, impair, or restrict (a) any right of any Company Party or the
ability of any Company Party to protect and reserve its rights (including rights under this
Agreement), remedies, and interests, including its claims against any Consenting Lender, and (b)
any right of any Consenting Lender, or the ability of any Consenting Lender, to protect and
preserve its rights (including rights under this Agreement), remedies, and interests, including its
claims against any Company Party or Consenting Lender; and

        (f)    Upon the delivery of a notice of termination by one or more Parties (the
“Terminating Party”), the other Parties shall have the opportunity to contest in good faith whether
a Termination Event has occurred or is continuing by delivering to counsel to the Terminating
Party a written notice (a “Dispute Notice”) within five (5) business days of receipt of such notice
of termination (the “Dispute Notice Period”). The Dispute Notice shall contain reasonable detail
regarding the basis for contesting the occurrence or continuation of the Termination Event. During
the Dispute Notice Period, any Party may request an emergency hearing before a court of
competent jurisdiction in the State of Delaware, which, for the avoidance of doubt, shall be the
Bankruptcy Court during the pendency of the Chapter 11 Cases (for purposes of this Section 10,
the “Chosen Court”) (which they shall seek on an expedited basis) solely to determine whether a
Termination Event has occurred. If any Party seeks such an expedited hearing, until the Chosen
Court has entered an order ruling on whether a Termination Event has occurred, this Agreement
shall not terminate and all Parties shall continue to comply with the terms of this Agreement.



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Section 11.    Miscellaneous

       11.01. Amendments and Waivers.

       (a)      This Agreement may not be modified, amended, or supplemented, and no condition
or requirement of this Agreement may be waived, in any manner except upon the prior written
consent of all Parties (such consent not to be unreasonably withheld or conditioned).

      (b)     Any proposed modification, amendment, waiver, or supplement that does not
comply with this Section 11.01 shall be ineffective and void ab initio.

       (c)     The waiver by any Party of a breach of any provision of this Agreement shall not
operate or be construed as a further or continuing waiver of such breach or as a waiver of any other
or subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising,
any right, power, or remedy under this Agreement shall operate as a waiver of any such right,
power, or remedy or any provision of this Agreement, nor shall any single or partial exercise of
such right, power, or remedy by such Party preclude any other or further exercise of such right,
power, or remedy or the exercise of any other right, power, or remedy. All remedies under this
Agreement are cumulative and are not exclusive of any other remedies provided by law.

       11.02. Acknowledgement. Notwithstanding any other provision herein, this Agreement is
not and shall not be deemed to be an offer with respect to any securities or solicitation of votes for
the acceptance of a chapter 11 plan for purposes of sections 1125 and 1126 of the Bankruptcy
Code or otherwise. Any such offer or solicitation will be made only in compliance with all
applicable securities laws, provisions of the Bankruptcy Code, and/or other applicable law.

        11.03. Exhibits Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
signatures pages, and schedules attached hereto is expressly incorporated herein and made a part
of this Agreement, and all references to this Agreement shall include such exhibits, annexes, and
schedules. In the event of any inconsistency between this Agreement (without reference to the
exhibits, annexes, and schedules hereto) and the exhibits, annexes, and schedules hereto, this
Agreement (without reference to the exhibits, annexes, and schedules thereto) shall govern.

        11.04. Further Assurances. Subject to the other terms of this Agreement, the Parties agree
to execute and deliver such other instruments and perform such acts, in addition to the matters
herein specified, as may be reasonably appropriate or necessary, or as may be required by order of
the Bankruptcy Court, from time to time, to effectuate the Restructuring Transactions,
as applicable.

        11.05. Complete Agreement. Except as otherwise explicitly provided herein, this
Agreement constitutes the entire agreement among the Parties with respect to the subject matter
hereof and supersedes all prior agreements, oral or written, among the Parties with respect thereto.

     11.06. GOVERNING LAW; SUBMISSION TO JURISDICTION; FORUM
SELECTION. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO

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CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING
EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF. Notwithstanding the
foregoing consent to jurisdiction in either a state or federal court of competent jurisdiction in the
State and County of New York, upon the commencement of the Chapter 11 Cases, each of the
Parties hereby agrees that, if the Chapter 11 Cases are pending, the Bankruptcy Court shall have
jurisdiction over all matters arising out of or in connection with this Agreement. Each Party hereto
agrees that it shall bring any action or proceeding in respect of any claim arising out of or related
to this Agreement, to the extent possible, in the Bankruptcy Court, and solely in connection with
claims arising under this Agreement: (a) irrevocably submits to the exclusive jurisdiction of the
Bankruptcy Court; (b) waives any objection to laying venue in any such action or proceeding in
the Bankruptcy Court; (c) waives any objection that the Bankruptcy Court is an inconvenient
forum or does not have jurisdiction over any Party hereto; and (d) waives any objection to
the power of the Bankruptcy Court to enter a final order under Article III of the United
States Constitution.

      11.07. TRIAL BY JURY WAIVER. EACH PARTY HERETO IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDINGS
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        11.08. Execution of Agreement. This Agreement may be executed and delivered in any
number of counterparts and by way of electronic signature and delivery, each such counterpart,
when executed and delivered, shall be deemed an original, and all of which together shall constitute
the same agreement. Except as expressly provided in this Agreement, each individual executing
this Agreement on behalf of a Party has been duly authorized and empowered to execute and
deliver this Agreement on behalf of said Party. The words “execution”, “signed”, “signature”,
“delivery” and words of like import in or relating to this Agreement and any Joinder shall be
deemed to include electronic signatures, deliveries or the keeping of records in electronic form,
each of which shall be of the same legal effect, validity and enforceability as a manually executed
signature, physical delivery thereof or the use of a paper-based recordkeeping system, as the case
may be, to the extent and as provided for in any applicable law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.
Without limiting the generality of the foregoing, each Party hereby waives any argument, defense
or right to contest the validity or enforceability of this Agreement or any Joinder based solely on
the lack of paper original copies of such document, including with respect to any signature
pages hereto.

        11.09. Rules of Construction. This Agreement is the product of negotiations among the
Company Parties and the Consenting Lenders, and in the enforcement or interpretation hereof, is
to be interpreted in a neutral manner, and any presumption with regard to interpretation for or
against any Party by reason of that Party having drafted or caused to be drafted this Agreement, or
any portion hereof, shall not be effective in regard to the interpretation hereof. The Company
Parties and the Consenting Lenders were each represented by counsel during the negotiations and
drafting of this Agreement and continue to be represented by counsel.


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       11.10. Successors and Assigns; Third Parties. This Agreement is intended to bind and
inure to the benefit of the Parties and their respective successors and permitted assigns, as
applicable.

        11.11. Notices. All notices hereunder shall be deemed given if in writing and delivered,
by electronic mail, courier, or registered or certified mail (return receipt requested), to the below
addresses (or at such other addresses as shall be specified by like notice). Any notice given by
deliver, mail, or courier shall be effective when received, and any notice delivered or given by
electronic mail shall be effective when received.

       (a)     If to a Company Party, to:

               1420 Kensington Road, Suite 102
               Oak Brook, IL 60523
               Attn: Ben David, Chief Executive Officer
                     Leo LaFranco, Chief Financial Officer
               Email: bdavid@optiorx.com
                      llafranco@optiorx.com

               with copies to:

               Chipman Brown Cicero & Cole, LLP
               Hercules Plaza
               1313 N. Market Street, Suite 5400
               Wilmington, DE 19801
               Attn: William E. Chipman Jr.
               Email: chipman@chipmanbrown.com

       (b)     If to First Out Holders, to:

               MC Credit Partners LP
               2200 Atlantic Street, 5th Floor
               Stamford, CT 06902
               Attn: Legal
               Email: legal@mccp.com

               CION Investment Corporation
               1 Federal Street, 3rd Floor
               Boston, MA 02110
               Email: cdo.cion@cdo.usbank.com

               with copies to:

               DLA Piper LLP (US)
               1201 North Market Street, Suite 2100
               Wilmington, DE 19801

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               Attn: Stuart M. Brown
               Email: stuart.brown@us.dlapiper.com

       (c)     If to Last Out Holder, to:

               MB Almanor LLC
               1230 Rosecrans Avenue, Suite 425
               Manhattan Beach, CA 90266

       11.12. Waiver. If the Restructuring Transactions are not consummated, or if this
Agreement is terminated for any reason, the Parties fully reserve any and all of their rights. Under
Federal Rule of Evidence 408 and any other applicable rules of evidence, this Agreement and all
negotiations relating hereto shall not be admissible into evidence in any proceeding other than a
proceeding to enforce its terms or the payment of damages to which a Party may be entitled under
this Agreement.

        11.13. Severability and Construction. If any provision of this Agreement shall be held by
a court of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining provisions
shall remain in full force and effect if essential terms and conditions of this Agreement for each
Party remain valid, binding, and enforceable.

        11.14. Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and not
alternative, and the exercise of any right, power, or remedy thereof by any Party shall not preclude
the simultaneous or later exercise of any other such right, power, or remedy by such Party.

       11.15. [Reserved].

         11.16. No Recourse. This Agreement may only be enforced against the named parties
hereto (and then only to the extent of the specific obligations undertaken by such parties in this
Agreement). All claims or causes of action (whether in contract, tort, equity, or any other theory)
that may be based upon, arise out of, or relate to this Agreement, or the negotiation, execution, or
performance of this Agreement, may be made only against the Persons that are expressly identified
as parties hereto (and then only to the extent of the specific obligations undertaken by such parties
herein). No past, present, or future direct or indirect director, manager, officer, employee,
incorporator, member, partner, stockholder, equity holder, trustee, affiliate, controlling person,
agent, attorney, or other representative of any party hereto (including any person negotiating or
executing this Agreement on behalf of a party hereto), nor any past, present or future direct or
indirect director, manager, officer, employee, incorporator, member, partner, stockholder, equity
holder, trustee, affiliate, controlling person, agent, attorney, or other representative of any of the
foregoing (other than any of the foregoing that is a Party hereto) (any such Person, a “No Recourse
Party”), shall have any liability with respect to this Agreement or with respect to any proceeding
(whether in contract, tort, equity, or any other theory that seeks to “pierce the corporate veil” or
impose liability of an entity against its owners or affiliates or otherwise) that may arise out of or
relate to this Agreement, or the negotiation, execution, or performance of this Agreement.


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        11.17. Computation of Time. Bankruptcy Rule 9006(a) applies in computing any period
of time prescribed or allowed by this Agreement.




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       IN WITNESS WHEREOF the parties hereto have caused this Agreement to be duly
executed on the date first above written.

                                          DEBTORS:

                                          OPTIO RX, LLC


                                          By:
                                          Name: Leo LaFranco
                                          Title: CFO



                                          BRAUN PHARMA, LLC
                                          DR. IKE’S PHARMACARE, LLC
                                          PET APOTHECARY, LLC
                                          THE PET APOTHECARY LLC
                                          CRESTVIEW HOLDINGS, LLC
                                          CRESTVIEW PHARMACY, LLC
                                          SBH MEDICAL, LLC
                                          SBH MEDICAL, LTD.
                                          H&H PHARMACY, LLC
                                          ENOVEX PHARMACY, LLC
                                          CONCIERGE PHARMACY, LLC
                                          SMC PHARMACY, LLC
                                          FIRSTCARE PHARMACY, LLC
                                          SMC LYONS HOLDINGS, LLC
                                          EASYCARE PHARMACY, LLC
                                          BAYBRIDGE PHARMACY, LLC
                                          PRIMECARE PHARMACY, LLC
                                          CENTRAL PHARMACY, LLC
                                          PRO PHARMACY, LLC
                                          HEALTHY CHOICE COMPOUNDING LLC
                                          ROSE PHARMACY SA LLC
                                          ROSE PHARMACY SF LLC
                                          ROSE PHARMACY RM LLC
                                          OAKDELL COMPOUNDING PHARMACY, LLC


                                          By:
                                          Name: Leo LaFranco
                                          Title: CFO




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                                FIRST OUT HOLDERS:

                                MC CREDIT FUND I LP, WITH RESPECT TO
                                CLASS IA
                                MC CREDIT FUND I LP, WITH RESPECT TO
                                CLASS IB
                                MC CREDIT FUND III (CAYMAN MASTER) LP
                                MC CREDIT FUND III (DELAWARE) LP
                                MC CREDIT FUND III (LOAN FUNDING) LP
                                MC CREDIT FUND III-U (DELAWARE) LP
                                MC CREDIT FUND N (CAYMAN MASTER) LP
                                MC CREDIT FUND N (DELAWARE) LP
                                MC CREDIT FUND N (LOAN FUNDING) LP
                                MC CREDIT SM (LOAN FUNDING) LP
                                MC CREDIT SM (MASTER) LP
                                HYGIEIA ONE CREDIT FUND (DELAWARE) LP


                                By:
                                Name: Ashok Nayyar
                                Title: Authorized Signatory




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                                34TH STREET FUNDING, LLC
                                CION INVESTMENT CORPORATION
                                MURRAY HILL FUNDING II LLC


                                By:
                                Name: Gregg Bresner
                                Title: President




     [Signature Page to Restructuring Support Agreement (OptioRx)]]
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                                 LAST OUT HOLDER:

                                 MD ALMANOR LLC


                                 By:    ([)d<Yck
                                 Name: DCAP,d.. Lt-tk
                                 Title: M~ rr




        [Signature Page to Restructuring Support Agreement (OptioRx)]]
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                         Exhibit A

                       (See attached)
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                                   DIP FACILITY TERM SHEET

                                             Optio Rx, LLC

This DIP FACILITY TERM SHEET (together with all annexes, exhibits, and schedules attached hereto,
this “DIP Facility Term Sheet”) sets forth certain material terms of the proposed DIP Facility (defined
below). Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Restructuring Support Agreement, dated as of May 9, 2024 (together with all annexes, exhibits, and
schedules attached thereto, including the Restructuring Term Sheet (as defined therein) attached thereto, in
each case, as amended, supplemented, or modified in accordance with its terms, the “Restructuring Support
Agreement”), to which this DIP Facility Term Sheet is attached, or that certain Plan Term Sheet attached
as an exhibit to the Restructuring Support Agreement.

 Borrower                         Optio Rx, LLC, a Delaware limited liability company (the “Borrower”),
                                  in its capacity as a debtor and debtor in possession.
 Guarantors                       Each of the Subsidiary Guarantors (as such term is defined in the
                                  Prepetition Credit Agreement) (collectively, the “Guarantors” and,
                                  together with the Borrower, the “Loan Parties”), each in their respective
                                  capacity as debtors and debtors in possession. All obligations of the
                                  Borrower in connection with the DIP Loans will be unconditionally
                                  guaranteed on a joint and several basis by the Guarantors.
 Administrative Agent &           Loan Admin Co LLC, the administrative agent and the collateral agent
 Collateral Agent                 for the DIP Lenders (defined below) with respect to the DIP Facility (in
                                  such capacities, the “DIP Agent”).
 DIP Lenders                      Funds and vehicles managed by (i) MC Credit Partners LP and (ii)
                                  CION Investment Corporation, as First Out Holders under the
                                  Prepetition Credit Agreement (defined below), and Caprice Capital
                                  Partners, LLC (or its affiliates or related funds) (each, a “DIP Lender”
                                  and together, the “DIP Lenders”), as Last Out Holder under the
                                  Prepetition Credit Agreement (defined below). As discussed below,
                                  each DIP Lender shall provide the DIP Commitments on a pro rata
                                  basis.
 Prepetition Loan                 That certain Credit Agreement, dated as of June 28, 2019 (as amended,
 Agreement                        the “Prepetition Credit Agreement”), by and among CBC Pharma
                                  Holdco, LLC, Optio Rx, LLC, Loan Admin Co LLC, as administrative
                                  agent, and Loan Admin Co LLC, as lead arranger (the “Prepetition
                                  Admin Agent”) and the Lenders party thereto from time to time (the
                                  “Prepetition Secured Lenders”); the obligations thereunder and under
                                  related loan documents, including the AAL (defined below) (the
                                  “Prepetition Secured Obligations”); the liens and security interests
                                  granted in connection therewith (the “Prepetition Liens”).
                                  In connection with the Prepetition Credit Agreement, reference is made
                                  to that certain Agreement Among Lenders, dated as of November 3,
                                  2022 (the “AAL”), by and among each Lender thereto as a First Out
                                  Holder (as defined in the AAL), each Lender thereto as a Last Out
                                  Lender (as defined in the AAL), Loan Admin Co LLC, as administrative
                                  agent under the Prepetition Credit Agreement, and any other Lender
                                  party to the AAL. For the avoidance of doubt, the AAL is a

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                        subordination agreement enforceable under section 510 of the
                        Bankruptcy Code.
Permitted Liens         Any valid and unavoidable liens that are (i) in existence as of the
                        Petition Date, (ii) either perfected as of the Petition Date or perfected
                        subsequent to the Petition Date under section 546(b) of the Bankruptcy
                        Code, and (iii) senior in priority to the Prepetition Liens or by operation
                        of applicable non-bankruptcy law.
Interim and Final DIP   The order approving the DIP Facility on an interim basis, which shall
Orders                  be in form and substance, and upon terms and conditions, reasonably
                        acceptable in all respects to the DIP Agent and the DIP Lenders (the
                        “Interim DIP Order”), shall authorize and approve, among other
                        matters, (i) the Loan Parties’ entry into the DIP Documents (defined
                        below), (ii) the making of the DIP Loans (defined below), (iii) the
                        granting of the superpriority claims and liens against the Loan Parties
                        and their assets in accordance with the DIP Documents with respect to
                        the DIP Collateral (as defined below), (iv) those items set forth below
                        in “Waivers, Releases, and Protections”, (v) the use of Cash Collateral
                        (defined below), and (vi) the granting of adequate protection to the
                        Prepetition Secured Lenders (collectively, the “DIP Matters”).
                        The order approving the DIP Facility on a final basis, which shall be in
                        form and substance, and upon terms and conditions, reasonably
                        acceptable in all respects to the DIP Agent and the DIP Lenders (the
                        “Final DIP Order” and, together with the Interim DIP Order, the “DIP
                        Orders”), shall authorize and approve, among other matters, the DIP
                        Matters.
Adequate Protection     As adequate protection against the risk of any diminution in the value
                        of the Prepetition Liens in all Collateral (as such term is defined in the
                        Prepetition Credit Agreement) securing the Prepetition Liens (the
                        “Prepetition Collateral”), which results from, arises from, or is
                        attributable to, the priming of the Prepetition Liens, the imposition of
                        the automatic stay under section 362 of the Bankruptcy Code, or the
                        use, sale, or lease of such Prepetition Collateral, or the grant of a lien
                        under section 364 of the Bankruptcy Code and applicable case law
                        interpreting the same (any such diminution, “Diminution in Value”), the
                        Prepetition Secured Lenders shall be granted the following adequate
                        protection, subject in all cases to the Carve-Out (defined below), the
                        DIP Liens (defined below), DIP Superpriority Claims (defined below),
                        and the Permitted Liens:
                             (i)      Quarterly payments of cash equal to interest accrued during
                                      the prior calendar quarter; provided, however, that the Last
                                      Out Holder shall only be entitled to cash payments equal to
                                      the accrued interest on the obligations outstanding under the
                                      Last Out Term Loans if the Fixed Charge Coverage Ratio
                                      is in excess of 1.5x.

                             (ii)     To the extent of any Diminution in Value of the Prepetition
                                      Liens in the Prepetition Collateral, validly perfected
                                      replacement liens on any security interests in all DIP

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                                  Collateral (defined below) (the “Adequate Protection
                                  Liens”), which adequate protection liens shall have the
                                  priority set forth in “Priorities” below, as applicable; (B) to
                                  the extent of any Diminution in Value of the Prepetition
                                  Liens in Prepetition Collateral, a superpriority
                                  administrative expense claim as contemplated by section
                                  507(b) of the Bankruptcy Code against each of the Loan
                                  Parties, on a joint and several basis, which claim shall have
                                  priority over any and all administrative expense claims
                                  against the Loan Parties and their estates, now existing or
                                  hereafter arising, including, without limitation, of the kinds
                                  specified in or ordered pursuant to sections 105, 326, 327,
                                  328, 330, 331, 364, 365, 503(a), 503(b), 506(c), 507(a),
                                  507(b), 546(c), 546(d), 726, 1113, and 1114 of the
                                  Bankruptcy Code (other than the Carve-Out (defined
                                  below)) (the “Adequate Protection Claims”), which claims
                                  shall be subject to the priorities set forth in “Priorities”
                                  below, as applicable; (C) payment of accrued but unpaid
                                  pre- and postpetition interest in cash at the post-default rate
                                  (as set forth the Prepetition Credit Agreement) as the same
                                  becomes due and payable under the Prepetition Credit
                                  Agreement; (D) the payment of the reasonable and
                                  documented out-of-pocket fees and expenses of the
                                  Prepetition Admin Agent and the Prepetition Secured
                                  Lenders; provided, however, that the foregoing shall be
                                  limited to the prepetition and postpetition fees and expenses
                                  of DLA Piper LLP (US), as counsel to the DIP Agent and
                                  First Out Holders, (E) the Borrower shall provide copies of
                                  any financial reports (including the weekly delivery of a
                                  rolling 13 week cash flow, budget, and supporting
                                  information) to the extent otherwise provided to the DIP
                                  Lenders; and (F) the “first day” orders shall be reasonably
                                  acceptable to the DIP Lenders.
Carve-Out             The Prepetition Liens, the liens and security interests in the DIP
                      Collateral (defined below), the Adequate Protection Liens, and all
                      superpriority administrative expense claims granted under the DIP
                      Orders, shall be subject and subordinate to the Carve-Out.
                      For purposes of this DIP Facility Term Sheet, “Carve-Out” means an
                      amount equal to the sum of (i) all fees required to be paid to the clerk of
                      the Bankruptcy Court under section 156(c) of title 28 of the United
                      States Code and to the U.S. Trustee under section 1930(a) of title 28 of
                      the United States Code plus interest at the applicable statutory rate
                      (without regard to the notice set forth in (iii) below) (collectively, the
                      “Statutory Fees”), which Statutory Fees shall not be subject to any
                      budget; (ii) all reasonable fees and expenses up to $25,000 incurred by
                      a trustee under section 726(b) of the Bankruptcy Code; (iii) to the extent
                      allowed at any time, whether by interim order, procedural order, or
                      otherwise (which order has not been vacated or stayed), all unpaid fees
                      and expenses of professionals pursuant to sections 327, 328, or 363 of
                      the Bankruptcy Code (collectively, the “Professionals” and such claims,
                                         3
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                           the “Allowed Professional Claims”) subject to an aggregate cap, in
                           amount to be agreed between the Borrower and the DIP Lenders (the
                           “Carve-Out Cap”).
Type and Amount of         Senior secured superpriority multi-draw priming debtor-in-possession
DIP Facility               term loan credit facility (the “DIP Facility”, and the loans outstanding
                           thereunder, the “DIP Loans”), in the principal sum of commitments not
                           to exceed $10,000,000 (the “DIP Loan Commitment”), in accordance
                           with which the DIP Lenders shall provide new money term loans as set
                           forth below:
                                 (i)      an initial borrowing on the Closing Date in an aggregate
                                          principal amount to be agreed between the Borrower and
                                          the DIP Lenders (the “Initial DIP Loan”); and

                                 (ii)     additional borrowings following the Closing Date up to an
                                          aggregate principal amount to be determined between the
                                          Borrower and the DIP Lenders (the “Final DIP Loan”).
                           In no event shall the aggregate advances exceed the DIP Loan
                           Commitment.
Priorities                 The liens and related claims set forth herein shall be subject to the
                           following priority schedule:
                           First: Carve-Out and Permitted Liens
                           Second: DIP Liens and DIP Superpriority Claims
                           Third: Prepetition Liens and Prepetition Secured Claims, subject in all
                           respect to the Exit Facility Claims arising under the Exit Capital
                           Structure attached as an exhibit to the Restructuring Support
                           Agreement.
Use of Proceeds            Solely in accordance with and subject to the credit agreement governing
                           the terms of the DIP Facility (the “DIP Credit Agreement”, and together
                           with all security and collateral agreements related thereto, the “DIP
                           Documents”), the proceeds of (x) the Initial DIP Loan shall be used only
                           for working capital, including for the payment of budgeted items for (i)
                           adequate protection payments as required in the DIP Documents and the
                           DIP Orders, (ii) administrative costs of the Chapter 11 Cases, (iii)
                           payment of fees and expenses in connection with selling or exiting one
                           or more businesses or facilities, (iv) pre-approved capital expenditures,
                           and (v) general corporate purposes.
Closing Date               The date of the satisfaction (or waiver) of each of the conditions
                           precedent to the Initial DIP Loan after entry of the Interim DIP Order
                           (the “Closing Date”).
Maturity                   The DIP Facility shall mature on the earliest to occur of:
                                 (i)      ninety (90) days after the Closing Date; provided, such date
                                          may be extended for up to 45 days at the option of the DIP
                                          Lenders based on, among other things, the prior
                                          achievement of certain Milestones;


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                              (ii)     the effective date of a chapter 11 plan of any Loan Party,
                                       which has been confirmed by an order of the Bankruptcy
                                       Court in any of the Chapter 11 Cases and the conversion of
                                       the DIP Loans into a portion of an exit facility;

                              (iii)    dismissal of any of the Chapter 11 Cases or conversion of
                                       any of the Chapter 11 Cases into a case under chapter 7 of
                                       the Bankruptcy Code;

                              (iv)     the acceleration of the DIP Loans and the termination of the
                                       commitments under the DIP Facility; and

                              (v)      the closing of a sale of all or substantially all assets or equity
                                       of the Loan Parties.
Payments and Interest     SOFR + 525.
Rates
Collateral and Priority   As security for the prompt payment and performance of all amounts due
                          under the DIP Facility, including, without limitation, all principal,
                          interest, premiums, payments, fees, costs, expenses, indemnities, or
                          other amounts (collectively, the “DIP Obligations”), effective as of the
                          Petition Date, the DIP Agent, for the benefit of itself and the DIP
                          Lenders, shall be granted automatically and properly perfected liens and
                          security interests (the “DIP Liens”) in all assets and properties of each
                          of the Loan Parties and their bankruptcy estates, whether tangible or
                          intangible, real, personal, or mixed, wherever located, whether now
                          owned or consigned by or to, or leased from or to, or hereafter acquired
                          by, or arising in favor of, the Loan Parties (including under any trade
                          names, styles, or derivations thereof), whether prior to or after the
                          Petition Date, including, without limitation, all of the Loan Parties’
                          rights, title, and interests in (1) all Prepetition Collateral, (2) all money,
                          cash, and cash equivalents; (3) all funds in any deposit accounts,
                          securities accounts, commodities accounts, or other accounts (together
                          with all money, cash, and cash equivalents, instruments, and other
                          property deposited therein or credited thereto from time to time); (4) all
                          accounts and other receivables (including those generated by
                          intercompany transactions); (5) all contracts and contract rights; (6) all
                          instruments, documents and chattel paper; (7) all securities (whether or
                          not marketable); (8) all goods, as-extracted collateral, furniture,
                          machinery, equipment, inventory and fixtures; (9) all real property
                          interests; (10) all interests in leaseholds, (11) all franchise rights; (12)
                          all patents, tradenames, trademarks (other than intent-to-use
                          trademarks), copyrights, licenses and all other intellectual property; (13)
                          all general intangibles, tax or other refunds, or insurance proceeds; (14)
                          all equity interests, capital stock, limited liability company interests,
                          partnership interests and financial assets; (15) all investment property;
                          (16) all supporting obligations; (17) all letters of credit and letter of
                          credit rights; (18) all commercial tort claims; (19) all claims and causes
                          of action arising under chapter 5 of the Bankruptcy Code (“Avoidance
                          Actions”) and the proceeds of or property recovered, whether by
                          judgment, settlement or otherwise, from Avoidance Actions

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              (“Avoidance Action Proceeds”), subject to entry of the Final DIP Order;
              (20) all permits, licenses, employment contracts, and license
              agreements, books and records (including, without limitation,
              customers lists, credit files, computer programs, printouts and other
              computer materials and records); (21) to the extent not covered by the
              foregoing, all other goods, assets or properties of the Loan Parties,
              whether tangible, intangible, real, personal or mixed; and (22) all
              products, offspring, profits, and proceeds of each of the foregoing and
              all accessions to, substitutions and replacements for, and rents, profits
              and products of, each of the foregoing, including any and all proceeds
              of any insurance (including any business interruption and property
              insurance), indemnity, warranty or guaranty payable to such Loan Party
              from time to time with respect to any of the foregoing, now owned or
              hereafter acquired (collectively, the “DIP Collateral”). For the
              avoidance of doubt, the First Out Holders and Last Out Holder, each as
              DIP Lenders, shall share pari passu in the DIP Liens and respective DIP
              Superpriority Claims.
              The DIP Liens, subject to the Carve-Out, shall have the following
              priorities (subject in all cases to the Carve-Out):
                    (i)      Liens on Unencumbered Property. Pursuant to section
                             364(c)(2) of the Bankruptcy Code, the DIP Liens shall be
                             valid, binding, continuing, enforceable, non-avoidable,
                             fully and automatically perfected first priority liens and
                             security interests in all DIP Collateral that is not subject to
                             Permitted Prior Liens (collectively, “Unencumbered
                             Property”), including Avoidance Actions and Avoidance
                             Action Proceeds, which DIP Liens shall be subject and
                             subordinate only to the Carve-Out.

                    (ii)     Priming DIP Liens and Liens Junior to Certain Other
                             Liens. Under sections 364(c)(3) and 364(d) of the
                             Bankruptcy Code, the DIP Liens shall be valid, binding,
                             continuing, enforceable, non-avoidable, fully and
                             automatically perfected in all DIP Collateral (other than as
                             described in clause (i) above), which DIP Liens (a) shall be
                             subject and subordinate only to (1) the Carve-Out and (2)
                             Permitted Liens, (b) shall be senior to any and all other liens
                             and security interests in DIP Collateral, including, without
                             limitation, all liens and security interests in any DIP
                             Collateral that would otherwise be subject to the Prepetition
                             Liens (including, without limitation, any Adequate
                             Protection Liens), and (c) shall otherwise be subject to the
                             priorities set forth herein.

                    (iii)    Liens Senior to Other Liens. Except to the extent expressly
                             permitted hereunder, subject to the Carve-Out, the DIP
                             Liens and the DIP Superpriority Claims (defined below)
                             shall not be made subject to or pari passu with (a) any lien,
                             security interest, or claim heretofore or hereinafter granted
                             in any of the Chapter 11 Cases or any successor cases,
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                                        including any lien or security interest granted in favor of
                                        any federal, state, municipal, or other governmental unit
                                        (including any regulatory body), commission, board, or
                                        court for any liability of the Loan Parties, (b) any lien or
                                        security interest that is avoided or preserved for the benefit
                                        of the Loan Parties and their estates under section 551 of
                                        the Bankruptcy Code or otherwise, (c) any intercompany or
                                        affiliate claim, lien, or security interest of the Loan Parties
                                        or their affiliates, or (d) any other lien, security interest, or
                                        claim arising under section 363 or 364 of the Bankruptcy
                                        Code granted on or after the date hereof.
Guarantees                 Each Guarantor shall unconditionally guarantee, on a joint and several
                           basis, all DIP Obligations arising under or in connection with the DIP
                           Facility.
DIP Superpriority Claims   The DIP Obligations shall be allowed superpriority administrative
                           expense claims under section 364(c) of the Bankruptcy Code against
                           each of the Loan Parties, on a joint and several basis, which claims shall
                           have priority, subject to the Carve-Out, over any and all administrative
                           expense claims against the Loan Parties and their estates, now existing
                           or hereafter arising, including, without limitation, of the kinds specified
                           in or ordered pursuant to sections 105, 326, 328, 330, 331, 365, 503(a),
                           503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 552(b), 726, 1113, and
                           1114 of the Bankruptcy Code, with recourse against all DIP Collateral
                           (the “DIP Superpriority Claims”).
Use of Cash Collateral     The Loan Parties shall be permitted to use cash collateral for the
                           purposes and to the extent provided for in the Approved DIP Budget,
                           subject to Permitted Variances (defined below), the Interim DIP Order
                           and the Final DIP Order.
Milestones                 The Loan Parties shall comply with certain customary DIP milestones
                           (the “DIP Milestones”), which DIP Milestones shall be incorporated
                           into the DIP Credit Agreement, including, without limitation:
                               (i)      the Loan Parties shall commence respective voluntary cases
                                        under chapter 11 of the Bankruptcy Code (the “Chapter 11
                                        Cases”) by June 9, 2024 (the “Petition Date”);

                               (ii)     the Loan Parties shall obtain entry by the Bankruptcy Court
                                        of the Interim DIP Order no later than five (5) business days
                                        after the Petition Date;

                               (iii)    the Loan Parties shall obtain entry by the Bankruptcy Court
                                        of the Final DIP Order no later than 45 days after the
                                        Petition Date;

                               (iv)     the Loan Parties shall have assumed the Restructuring
                                        Support Agreement under section 365 of the Bankruptcy
                                        Code no later than 45 days after the Petition Date;



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                    (v)      the Loan Parties shall obtain entry by the Bankruptcy Court
                             of an order approving a disclosure statement with respect to
                             the plan of reorganization contemplated under the Plan
                             Term Sheet and the Restructuring Support Agreement, in
                             form and substance reasonably acceptable to the DIP Agent
                             and the DIP Lenders, no later than 45 days after the Petition
                             Date; and

                    (vi)     the Loan Parties shall obtain entry by the Bankruptcy Court
                             of an order confirming the plan of reorganization
                             contemplated under the Plan Term Sheet and the
                             Restructuring Support Agreement, in form and substance
                             reasonably acceptable to the DIP Agent and the DIP
                             Lenders, no later than 75 days after the Petition Date.

              In the event the Loan Parties pursue a sale of substantially all of their
              assets or equity under section 363 of the Bankruptcy Code to the
              Consenting Lenders and/or the DIP Lenders (or an entity or entities
              designated by the Consenting Lenders and/or DIP Lenders), the Loan
              Parties shall comply with certain customary sale milestones (the “Sale
              Milestones”), which Sale Milestones shall be incorporated into the
              purchase agreement.
              For the avoidance of doubt, such Sale Milestones shall include, without
              limitation:
                    (i)      Within 10 business days after the toggle to a sale process
                             under section 363 of the Bankruptcy Code (the “Sale
                             Toggle”) in accordance with the terms of the Restructuring
                             Support Agreement, the Loan Parties shall file with the
                             Bankruptcy Court a motion seeking approval of bidding
                             procedures, in form and substance reasonably acceptable to
                             the DIP Agent and the DIP Lenders;

                    (ii)     Within 45 days after the Sale Toggle, the Loan Parties shall
                             have obtained from the Bankruptcy Court an order
                             approving the bidding procedures and, to the extent
                             applicable, designating the Consenting Lenders and/or the
                             DIP Lenders as stalking horse purchasers entitled to bid
                             protections, all in form and substance reasonably acceptable
                             to the DIP Agent and the DIP Lenders (the “Bidding
                             Procedures Order”);

                    (iii)    Within 60 days after the Sale Toggle, the Loan Parties shall
                             conduct an auction, or otherwise designate the successful
                             bidder(s) without an auction, in accordance with the
                             Bidding Procedures Order; and

                    (iv)     Within 75 days after the Sale Toggle, the Loan Parties shall
                             have obtained from the Bankruptcy Court an order
                             approving the sale of substantially all of the Debtors’ assets


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                                           and/or equity, in form and substance reasonably acceptable
                                           to the DIP Agent and the DIP Lenders.
Representations and           The DIP Documents shall contain usual and customary representations
Warranties                    and warranties.
Cash Flow and Variance        The Company Parties shall comply with the following reporting
Reporting; Testing            requirements:
                                  (i)      weekly delivery of 13-week cash flow (which shall include,
                                           without limitation, actual bank balances);

                                  (ii)     continued reporting consistent with and under Section
                                           10.01 of the Prepetition Credit Agreement; and

                                  (iii)    monthly delivery of CEO and CFO expense reports.
Financial Covenants           None.
Affirmative and Negative      The DIP Documents shall contain usual and customary affirmative and
Covenants                     negative covenants for facilities of this type, provided, the DIP
                              Documents shall require, without limitation:
                                  (i)      two (2) business days’ advance delivery of all material
                                           pleadings, motions and other material documents filed with
                                           the Bankruptcy Court on behalf of the Loan Parties in the
                                           Chapter 11 Cases to the DIP Lender Advisors, unless not
                                           reasonably practicable under the circumstances (in which
                                           case, as soon as reasonably practicable prior to filing);

                                  (ii)     monthly financial statements within thirty (30) days of the
                                           end of each calendar month;

                                  (iii)    drug inventories and regulatory compliance reporting; and

                                  (iv)     at the reasonable request of the DIP Lender Advisors or the
                                           DIP Lenders, weekly conference calls or video calls among
                                           the Loan Parties’ relevant senior management, the Loan
                                           Parties’ advisors, the DIP Lender Advisors, and the DIP
                                           Lenders, which update calls may cover the Loan Parties’
                                           financial performance, the latest budget approved for
                                           variance testing, the Loan Parties’ variance reports, and the
                                           other information provided pursuant to the reporting
                                           covenant described above.
Conditions Precedent to       The Closing Date under the DIP Facility, the Initial DIP Loan, and the
Closing, Initial Borrowing,   Final DIP Loan shall be subject to customary conditions to closing for
and Additional Borrowing      facilities of this type, including, without limitation, the following:
                                  (i)      no later than five (5) business days after the Petition Date,
                                           the Bankruptcy Court shall have entered the Interim DIP
                                           Order, and the Interim DIP Order shall be in full force and
                                           effect and shall not have been vacated, reversed, modified,
                                           amended, or stayed without the prior written consent of the
                                           DIP Lenders;
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                    (ii)    no later than 45 days after the Petition Date, the Bankruptcy
                            Court shall have entered the Final DIP Order, and the Final
                            DIP Order shall be in full force and effect and shall not have
                            been vacated, stayed, reversed, modified, amended, or
                            stayed without the prior written consent of the DIP Lenders;

                    (iii)   the preparation, authorization and execution of the DIP
                            Documents with respect to the DIP Facility, in form and
                            substance consistent with this DIP Facility Term Sheet and
                            otherwise reasonably acceptable to the Loan Parties, the
                            DIP Lenders, and the DIP Agent;

                    (iv)    the delivery of a 13-week cash flow projection (the
                            “Approved DIP Budget”) in form and substance acceptable
                            to the DIP Lenders, subject to standard and customary
                            permitted variances, determined on a line by line basis of
                            actual receipts and expenses against budgeted receipts and
                            expenses provided for in the Approved DIP Budget not to
                            be less than 90% of receipts for the applicable measuring
                            period or more than 110% of expenses for the applicable
                            measuring period], as determined by the DIP Lenders (the
                            “Permitted Variances”) reflecting (i) the Loan Parties’
                            anticipated cash receipts and disbursements for each
                            calendar week during the period from the week in which the
                            Petition Date occurs through and including the end of the
                            thirteenth (13th) calendar week thereafter and (ii) a
                            professional fee accrual budget with respect to the
                            anticipated fees and expenses to be incurred by
                            professionals retained by the Loan Parties and other
                            professionals during the thirteen (13) week period;

                    (v)     the delivery of (i) a secretary’s (or other officer’s)
                            certificate of the Borrower and each of the other Loan
                            Parties, dated as of the Closing Date and in such form as is
                            customary for the jurisdiction in which the relevant Loan
                            Party is organized, with appropriate insertions and
                            attachments; and (ii) a customary closing officer’s
                            certificate of the Borrower;

                    (vi)    all premiums, payments, fees, costs, and expenses
                            (including, without limitation, the fees and expenses of the
                            DIP Lender Advisors (whether incurred before or after the
                            Petition Date) to the extent earned, due and owing, and
                            including estimated fees and expenses through the Closing
                            Date) shall have been paid; provided that any such fees and
                            expenses of the DIP Lender Advisors and all other counsel,
                            financial advisors, and other professionals of the DIP
                            Lenders and DIP Agent to be paid on the Closing Date must
                            be invoiced at least five (5) calendar days prior to the
                            Closing Date;
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                              (vii)    the DIP Lenders shall have received from the Borrower and
                                       each of the Loan Parties, at least three (3) business days
                                       prior to the Closing Date, to the extent requested in writing
                                       at least five (5) business days prior to the Closing Date, (a)
                                       documentation and other information requested by any DIP
                                       Lender that is required by regulatory authorities under
                                       applicable “know your customer” and anti-money
                                       laundering rules and regulations, including the USA Patriot
                                       Act and (b) if a Borrower qualifies as a “legal entity
                                       customer” under the beneficial ownership regulations, the
                                       DIP Lenders shall have received from such Borrower, at
                                       least three (3) business days prior to the Closing Date, a
                                       beneficial ownership certification in relation to such
                                       Borrower;

                              (viii)   the DIP Agent shall have a fully perfected lien on the DIP
                                       Collateral pursuant to the Interim DIP Order to the extent
                                       required by the DIP Documents and the Interim DIP Order,
                                       having the priorities set forth in the Interim DIP Order;

                              (ix)     the Closing Date shall have occurred on or before the date
                                       that is three (3) calendar days after the date of entry of the
                                       Interim DIP Order unless the DIP Lenders consent to a later
                                       date;

                              (x)      the Restructuring Support Agreement shall have been
                                       executed and be in full force and effect; and

                              (xi)     the Last Out Holder shall have purchased First Out Term
                                       Loans ratably from the First Out Holders in an aggregate
                                       principal amount of $25,000,000 and such loans shall have
                                       been converted from First Out Term Loans into Last Out
                                       Term Loans upon such purchase.
Final DIP Order         The Final DIP Order shall be subject to customary conditions and shall
                        be subject to DIP Lenders providing reasonable consent over the
                        documentation to be entered into with respect to which the proceeds of
                        such Final DIP Loan is intended to be used.
Events of Default       The DIP Documents will contain customary events of default (each, an
                        “Event of Default”), and others appropriate for the DIP Loans to be
                        mutually and reasonably agreed among the Borrower and the DIP
                        Lenders, including, without limitation:
                              (i)      the Final DIP Order, in form and substance reasonably
                                       satisfactory to the DIP Lenders, shall not have been entered
                                       within 45 days following the Petition Date;

                              (ii)     the Debtors fail to comply with the Approved DIP Budget
                                       (subject to permitted variances);


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                               (iii)    the Debtors fail to satisfy any of the DIP Milestones;

                               (iv)     the use by the Debtors of DIP Collateral not authorized by
                                        the DIP Orders and the DIP Documents;

                               (v)      the DIP Orders shall (a) have been vacated, stayed,
                                        amended, modified, or reversed (without the prior written
                                        consent of the DIP Lenders, which consent may be withheld
                                        by the DIP Lenders in their respective sole discretion) or (b)
                                        cease to create a valid and perfected lien with such priority
                                        required by this term sheet;

                               (vi)     upon written notice from the DIP Lenders that the DIP
                                        Orders shall have been violated or breached;

                               (vii)    the Restructuring Support Agreement shall have been
                                        terminated;

                               (viii)   the Loan Parties’ failure to pay professional fees when due
                                        under the DIP Documents or the DIP Orders;

                               (ix)     the Loan Parties failure to materially comply with all
                                        regulations applicable to the Loan Parties’ operations; and

                               (x)      In the event the Debtors, in consultation with the DIP
                                        Lenders, determine that section 1129(a)(10) of the
                                        Bankruptcy Code cannot be satisfied or that the Debtors
                                        cannot otherwise confirm the Plan of Reorganization, the
                                        Loan Parties’ failure to toggle to a 363 sale of substantially
                                        all of the Debtors’ assets or equity, subject in all respects to
                                        the Sale Milestones.
Stipulations, Waivers,      Upon entry of the Interim DIP Order:
Releases, and Protections
                               (i)      The Loan Parties shall stipulate (a) to the validity, extent,
                                        security, enforceability, priority, and perfection of the
                                        Prepetition Liens, (b) to the amount, validity, and lack of
                                        defense, counterclaim or offset of any kind to the
                                        Prepetition Secured Obligations, and (c) that all cash of the
                                        Loan Parties constitutes “cash collateral” of the Prepetition
                                        Secured Lenders for purposes of section 363 of the
                                        Bankruptcy Code (the “Cash Collateral”) (subject to a
                                        challenge period acceptable to the DIP Lenders).

                               (ii)     The Loan Parties shall waive any right to surcharge
                                        pursuant to section 506(c) of the Bankruptcy Code the DIP
                                        Collateral with respect to the DIP Lenders, and the
                                        Prepetition Collateral with respect to the Prepetition
                                        Secured Lenders, subject to entry of the Final DIP Order.

                               (iii)    The Loan Parties shall waive the equitable doctrine of
                                        “marshalling” against the DIP Collateral with respect to the
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                                         DIP Lenders, and the Prepetition Collateral with respect to
                                         the Prepetition Secured Lenders, subject to entry of the
                                         Final DIP Order.

                                 (iv)    The Prepetition Secured Lenders shall be entitled to the
                                         benefit of section 552(b) of the Bankruptcy Code, and the
                                         Loan Parties shall waive the “equities of the case
                                         exception” under section 552(b) of the Bankruptcy Code
                                         with respect to the Prepetition Secured Lenders, subject to
                                         entry of the Final DIP Order.

                                 (v)     The Loan Parties shall waive and forever release and
                                         discharge any and all claims and causes of action against
                                         each of the DIP Lenders and Prepetition Secured Lenders
                                         (and their respective related parties and representatives) as
                                         of the date of the applicable DIP Order.

                                 (vi)    No Cash Collateral, proceeds of the DIP Facility, or any
                                         cash or other amounts may be used to (a) investigate,
                                         challenge, object to, or contest the validity, extent,
                                         enforceability, security, perfection, or priority of any of the
                                         DIP Liens, Prepetition Liens, DIP Obligations, or
                                         Prepetition Secured Obligations, (b) investigate or initiate
                                         any claim or cause of action against any of the DIP Lenders
                                         or Prepetition Secured Lenders, (c) object to or seek to
                                         prevent, hinder, or delay or take any action to adversely
                                         affect the rights or remedies of the DIP Lenders or the
                                         Prepetition Secured Lenders, or (d) seek to approve
                                         superpriority claims or grant liens or security interests
                                         (other than those expressly permitted under the DIP
                                         Documents and the DIP Orders) that are senior to or pari
                                         passu with the DIP Liens, DIP Superpriority Claims, the
                                         Adequate Protection Liens or claims granted hereunder, or
                                         the Prepetition Liens.

                                 (vii)   The DIP Lenders and the Prepetition Secured Lenders shall
                                         be entitled to good faith protection under section 364(e) of
                                         the Bankruptcy Code.
Automatic Relief from Stay   In the event of a default or upon the occurrence and during the
                             continuance of an Event of Default, after the passage of any cure period,
                             upon the giving of a minimum of five (5) business days’ written notice
                             of default (the “Remedies Notice Period”) to the Company, the
                             Prepetition Term Agent, the Official Committee of Unsecured Creditors
                             (if appointed) and the U.S. Trustee, as provided for in the DIP
                             Documents, the DIP Lenders may exercise all rights and remedies
                             against the DIP Collateral and, as to an event of default related to non-
                             payment of adequate protection, the Prepetition Admin Agent may
                             exercise all rights and remedies. In any hearing during the Remedies
                             Notice Period to modify the automatic stay or in any other hearing
                             regarding any exercise of rights or remedies by the DIP Lenders, the

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                             only issue that may be raised by any party in opposition thereto shall be
                             whether, in fact, an Event of Default has occurred and is continuing, and
                             the Borrower hereby waives its rights to seek relief, including, without
                             limitation, under section 105 of the Bankruptcy Code, to the extent such
                             relief would in any way impair or restrict the rights and remedies of the
                             DIP Lenders set forth in the DIP Orders or the DIP Documents.
Credit Bidding               The DIP Lenders shall have the right to credit bid any or all of the
                             obligations under the DIP Loans in connection with any disposition of
                             property of the Debtors under section 363(k) of the Bankruptcy Code.
                             For the avoidance of doubt, the Prepetition Agent has the right to credit
                             bid under the terms of the AAL.
Expenses and                 The DIP Credit Agreement shall provide for the payment of all costs
Indemnification              and expenses of the DIP Agent and the DIP Lenders, including, without
                             limitation, the payment of all reasonable and documented fees and
                             expenses of the DIP Lenders’ professionals and advisors (the “DIP
                             Lender Advisors”).
                             The DIP Credit Agreement shall also provide for customary
                             indemnification by each of the Loan Parties, on a joint and several basis,
                             of each of the DIP Lenders (together with their related parties and
                             representatives).
Assignments                  The DIP Credit Agreement shall contain assignment provisions that are
                             usual and customary for financings of this type and shall also require
                             that each assignee or participant shall become a party to the
                             Restructuring Support Agreement prior to or concurrently with
                             acquiring any DIP Loans.
Amendments                   Usual and customary for facilities of this type requiring the consent of
                             the DIP Lenders.
Governing Law                Federal bankruptcy law and the laws of the State of New York.
Counsel to the DIP Lenders   DLA Piper LLP (US)




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                         Exhibit B

                       (See attached)
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                                       PLAN TERM SHEET

                                            Optio Rx, LLC

This PLAN TERM SHEET (together with all annexes, exhibits, and schedules attached hereto, this
“Plan Term Sheet”) sets forth certain material terms of the proposed comprehensive restructuring
transactions (the “Restructuring”) by and among (x) Optio Rx, LLC (“Optio”) and certain of its direct and
indirect subsidiaries listed on Annex A to this Plan Term Sheet (collectively, the “Company” or the
“Debtors”), (y) the lenders (the “Prepetition Secured Lenders”) under that certain Credit Agreement, dated
as of June 28, 2019 (as amended, the “Prepetition Credit Agreement”), by and among CBC Pharma Holdco,
LLC, Optio Rx, LLC, Loan Admin Co LLC, as administrative agent and lead arranger (the “Prepetition
Admin Agent”), who, pursuant to that certain Agreement Among Lenders, dated as of November 3, 2022
(the “AAL”), by and among each Lender thereto as a First Out Holder (the “First Out Holders”), each
Lender thereto as a Last Out Lender (the “Last Out Holder” and together with the First Out Holders, the
“Consenting Lenders”), Loan Admin Co LLC, as administrative agent under the Prepetition Credit
Agreement, and any other Lender party to the AAL, respectively have provided first out term loans (the
“First Out Term Loans”) and a commitment to provide first out revolving loans (the “First Out Revolving
Loans”) and hold First Out Term Loan secured claims (the “First Out Term Lien Claims”) and/or First Out
Revolving Loan secured claims (the “First Out Revolving Lien Claims”) or last out term loans (the “Last
Out Term Loans” and together with the First Out Term Loans, the “Prepetition Term Loans”) and hold Last
Out Term Loan secured claims (the “Last Out Term Lien Claims” and together with the First Out Term
Lien Claims and First Out Revolving Lien Claims, the “Prepetition Lien Claims” and the obligations arising
thereunder, the “Prepetition Lien Obligations”), in accordance with which the Debtors shall pursue a
reorganization pursuant to a plan of reorganization (the “Plan of Reorganization”) and the Restructuring
Support Agreement, to which this Plan Term Sheet is attached.

Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Restructuring Support Agreement, dated as of May 9, 2024 (together with all annexes, exhibits, and
schedules attached thereto, in each case, as amended, supplemented, or modified in accordance with its
terms, the “Restructuring Support Agreement”).

THIS PLAN TERM SHEET DOES NOT CONSTITUTE (NOR WILL IT BE CONSTRUED AS)
AN OFFER WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
ACCEPTANCES OR REJECTIONS AS TO ANY PLAN OF REORGANIZATION, IT BEING
UNDERSTOOD THAT SUCH AN OFFER OR SOLICITATION, IF ANY, ONLY WILL BE MADE
IN COMPLIANCE WITH APPLICABLE PROVISIONS OF SECURITIES, BANKRUPTCY
AND/OR OTHER APPLICABLE LAWS.

THIS PLAN TERM SHEET DOES NOT PURPORT TO SUMMARIZE ALL OF THE TERMS,
CONDITIONS, REPRESENTATIONS, WARRANTIES, AND OTHER PROVISIONS WITH
RESPECT TO THE TRANSACTIONS DESCRIBED HEREIN.

ANY BINDING AGREEMENT AND/OR COMMITMENT TO EXTEND CREDIT ON THE
TERMS AND CONDITIONS OUTLINED HEREIN SHALL BE SUBJECT TO, AND
EXCLUSIVELY EVIDENCED BY, DEFINITIVE LEGAL DOCUMENTATION IN FORM AND
SUBSTANCE SATISFACTORY TO THOSE PARTIES AS SET FORTH IN THE
RESTRUCTURING SUPPORT AGREEMENT.
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                              TRANSACTION OVERVIEW
Implementation             The Restructuring will be accomplished through the Debtors
                           commencing voluntary cases under chapter 11 of title 11 of the United
                           States Code (the “Bankruptcy Code”) in the District of Delaware (the
                           “Bankruptcy Court”), through which the Debtors will file a chapter 11
                           plan of reorganization (the “Plan of Reorganization”), which shall be
                           filed and prosecuted with the support and approval of the Consenting
                           Lenders (and possibly other parties or classes of creditors), all on the
                           terms and conditions set forth in the Restructuring Support Agreement,
                           and be materially consistent in all respects with the Restructuring
                           Support Agreement and otherwise reasonably acceptable to the
                           Consenting Lenders in all respects.
                           On or about the Petition Date, the Debtors shall file the Plan of
                           Reorganization and an accompanying disclosure statement, in form and
                           substance reasonably acceptable to the Consenting Lenders in all
                           respects.
Summary of Restructuring   The general description of the Plan of Reorganization is a partial debt for
Transactions               equity swap:
                           First: On the Effective Date (defined below), the First Out Holders shall
                           receive 50% and Last Out Holder shall receive 50% of the common
                           equity issued in the Reorganized Debtors (the “Reorganization
                           Securities”); provided, a portion of the Reorganization Securities shall
                           be allocated to the First Out Holders and Last Out Holder in their
                           capacities as DIP Lenders under the DIP Facility, respectively,
                           maintaining a 50/50 relationship; provided, further, that the common
                           equity in the Reorganized Debtors evidenced by the Reorganization
                           Securities to be held by the First Out Holders and Last Out Holder shall
                           be subject to dilution resulting from the issuance, or designation for
                           potential future issuance, of Reorganized Securities to management of
                           the Reorganized Debtors under a management incentive plan, as set forth
                           in “Management Incentive Plan – MIP”.
                           Second: (i) the First Out Holders and Last Out Holder shall roll a portion
                           of their respective Prepetition Lien Claims into exit facility claims (the
                           “Exit Facility Claims”), and shall convert the balance of such Prepetition
                           Lien Claims into preferred and common equity shares or units (the
                           “Prepetition Lien Conversion”), and (ii) the DIP Lenders shall convert
                           100% of their respective DIP Superpriority Claims (the “DIP Lien
                           Conversion”) into Exit Facility Claims, all as to effect the Exit Capital
                           Structure attached as an exhibit to the Restructuring Support Agreement.

                           Third: As set forth below in “Treatment of General Unsecured Claims
                           (Trade)”, the Consenting Lenders shall fund the GUC Trade Gift for the
                           benefit of designated impaired accepting general unsecured trade
                           creditors.
                           Fourth: The Consenting Lenders shall fund an escrow account for the
                           benefit of creditors who vote to accept the Plan of Reorganization and



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                                 opt-in to releases in favor of the Consenting Lenders (the “GUC Opt-In
                                 Gift”).
                                 Fifth: All equity in Optio held by CBC Pharma HoldCo, LLC shall be
                                 cancelled, released, and extinguished.
                                 The Plan of Reorganization shall provide for the deemed substantive
                                 consolidation of the Debtors for voting purposes only.
363 Sale Toggle                  In the event the Debtors, in consultation with the Consenting Lenders,
                                 determine that section 1129(a)(10) of the Bankruptcy Code cannot be
                                 satisfied or that the Debtors cannot otherwise confirm the Plan of
                                 Reorganization, the Debtors may seek to implement the material terms
                                 of the Restructuring Transactions, including the economic treatment of
                                 the Consenting Lenders set forth in this Plan Term Sheet (which
                                 economic treatment, for the avoidance of doubt, shall include both the
                                 applicable debt and equity provisions of this Plan Term Sheet), through
                                 the sale of substantially all of the Debtors’ assets or equity through a sale
                                 under section 363 of the Bankruptcy Code, subject to certain sale
                                 milestones provided for in the DIP Facility Term Sheet; provided,
                                 however, the Consenting Lenders and/or the DIP Lenders shall have the
                                 right to participate in the sale process and, subject to the AAL, credit bid
                                 all or a portion of their secured claims under section 363(k) of the
                                 Bankruptcy Code toward the purchase price, which sale shall be
                                 documented in a purchase agreement in form and substance reasonably
                                 acceptable to the Consenting Lenders and/or DIP Lenders, as applicable.
Milestones                       The Debtors shall implement the Restructuring in accordance with the
                                 Plan Milestones set forth in the Restructuring Support Agreement.
                            TREATMENT OF CLAIMS OR INTERESTS
Pursuant to the terms of the Restructuring Support Agreement, holders of claims and equity interests in
the Debtors shall receive the following treatment in full and final satisfaction of such claims and interests,
which shall be released and discharged under the Plan.
Treatment of DIP                 On the Effective Date (defined below), each holder of a DIP
Superpriority Claim              Superpriority Claim (as defined in the DIP Facility Term Sheet) shall
                                 exchange the obligations arising under the DIP Facility (the “DIP
                                 Facility Obligations”) for Reorganization Securities and Exit Facility
                                 Claims to effect the Exit Capital Structure set forth in an exhibit to the
                                 Restructuring Support Agreement.
Treatment of                     On or as soon as practicable following the date on which the Debtors
Administrative Expense,          shall consummate the transactions contemplated by the Plan and
Priority Tax, and Other          otherwise satisfy or waive the conditions precedent thereunder (the
Priority Claims                  “Effective Date”), each holder of an allowed administrative expense
                                 claim, priority tax claim, or other priority claim, other than
                                 administrative expense claims for professional fees and expenses, shall
                                 receive (i) payment in full in cash in the ordinary course of business, (ii)
                                 other treatment consistent with the provisions of section 1129(a)(9)
                                 of the Bankruptcy Code, or (iii) such other terms as agreed to among
                                 the Debtors and the holders thereof, subject to the consent of the
                                 Consenting Lenders.

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Treatment of Prepetition     The outstanding Prepetition Lien Claims, after consummating the
Lien Claims – Impaired       Prepetition Lien Conversion and DIP Lien Conversion into Exit Facility
Voting                       Claims, shall be deemed to be allowed in the full amount outstanding, in
                             accordance with the Prepetition Credit Agreement, including all
                             principal, accrued, and unpaid interest at the applicable default rate,
                             make wholes, premiums, and other amounts due, and all accrued and
                             unpaid fees, costs, expenses, and non-contingent indemnities payable
                             under the Prepetition Credit Agreement.
                             On the Effective Date, after consummation of the transactions
                             contemplated in “Debt for Equity Swap” above, the Prepetition Lien
                             Obligations shall ride through the Chapter 11 Cases and remain in full
                             force and effect and with the same priority as immediately prior to the
                             Petition Date; provided, however, on the Effective Date, each of the
                             holders of the Prepetition Lien Claims shall gift (the “GUC Trade Gift”)
                             to the holders of allowed general unsecured trade claims (the “GUC
                             Trade Claims”) and transfer into an escrow account equal amounts
                             aggregate to satisfy (x) 80-95% of all allowed general unsecured trade
                             claims on the Effective Date and (y) the remaining 5%-20% of such
                             allowed general unsecured trade claims on the one year anniversary of
                             the Effective Date.
Treatment of Vendor          Vendors that hold allowed secured claims shall at the election of the
Secured Claims -             Reorganized Debtors: (a) be paid in cash in full on the Effective Date of
Unimpaired                   the Plan in satisfaction of their respective allowed secured claims; (b)
                             receive the return of their collateral; or (c) receive such other treatment
                             as the Reorganized Debtors and such vendor agree.
Treatment of Mezzanine       Allowed unsecured mezzanine claims shall be cancelled, released, and
Unsecured Claims –           extinguished without any distribution.
Impaired, No Distribution,
                             The holders of allowed unsecured mezzanine claims shall not be entitled
Deemed to Reject
                             to vote and shall be deemed to reject the Plan of Reorganization.
Treatment of General         The holders of allowed general unsecured trade claims that continue to
Unsecured Claims (Trade)     do business with the Reorganized Debtors following the Effective Date
– Impaired Voting            are impaired by the Plan of Reorganization and shall, by virtue of the
                             GUC Trade Gift, (x) on the Effective Date, receive 80%-95% of their
                             respective allowed general unsecured trade claims and (y) on the one
                             year anniversary of the Effective Date, receive the remaining 5%-20% of
                             their respective allowed general unsecured trade claims.
                             The holders of such allowed general unsecured trade claims shall be
                             entitled to vote to accept or reject the Plan of Reorganization.
Treatment of Unsecured       On the Effective Date, the unsecured seller notes held by creditors of
Seller Notes – Impaired,     certain of the Debtors and non-trade unsecured creditors shall be
No Distribution, Deemed      cancelled, released, and extinguished without any distribution.
to Reject
                             The holders of allowed unsecured seller notes shall not be entitled to vote
                             and shall be deemed to reject the Plan of Reorganization.
Treatment of Convenience     The holders of allowed general unsecured claims, in an amount to be
Claims – Impaired Voting     determined, or who elect to reduce their respective claims below a
                             maximum amount to be determined, shall, on the later of (i) the Effective

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                             Date and (ii) the date that is ten (10) business days after such
                             Convenience Claim becomes an allowed claim, in full and final
                             satisfaction of such claim, receive payment in cash equal to the lesser of
                             (x) a percentage (to be determined) of the allowed amount of such
                             Convenience Claim and (y) such holder’s pro rata share of the pool of
                             Convenience Claims.
                             The holders of allowed Convenience Claims shall be entitled to vote to
                             accept or reject the Plan of Reorganization.
Treatment of                 On the Effective Date, the intercompany claims will be cancelled or
Intercompany Claims –        otherwise extinguished through substantive consolidation.
Impaired, No Distribution,
Deemed to Reject
Treatment of Equity          On the Effective Date, the equity interests in Optio held by CBC Pharma
Interests – Impaired, No     Holdco, LLC shall be cancelled, released, and extinguished.
Distribution, Deemed to
Reject
                              FINANCING TERMS SUMMARY
DIP Financing and Use of     The Chapter 11 Cases will be financed by (i) the Debtors’ use of cash
Cash Collateral              collateral and (ii) a postpetition senior secured superpriority multi-draw
                             priming debtor-in-possession term loan credit facility, to be converted
                             into a portion of the exit facility, in the principal sum of commitments
                             not to exceed $10,000,000. The terms, conditions, and provisions of the
                             DIP Facility shall be consistent with the DIP Facility Term Sheet
                             attached as an exhibit to the Restructuring Support Agreement (the “DIP
                             Facility Term Sheet”).
Exit Facility                The exit of the Chapter 11 Cases will be financed by an exit facility to
                             effect the Exit Capital Structure attached as an exhibit to the
                             Restructuring Support Agreement, comprising $80,000,000 in exit
                             facility commitments, plus certain exit revolving commitments.
Preferred Equity             As set forth above, on the Effective Date, the First Out Holders and Last
                             Out Holder shall receive Reorganization Securities issued by the
                             Reorganized Debtors, which Reorganization Securities shall comprise (i)
                             senior preferred equity shares or units to the First Out Holders and (ii)
                             junior preferred equity shares or units to the Last Out Holder.
                OTHER TERMS OF THE RESTRUCTURING TRANSACTIONS
Organizational and           All corporate governance documents for the Reorganized Debtors,
Governance Matters           including, without limitation, any charters, bylaws, operating
                             agreements, stockholder agreements, or other organizational documents
                             (collectively, the “New Governance Documents”) shall be determined by
                             the Consenting Lenders.
Board of Reorganized         The initial board of directors of Reorganized Optio (the “New Board”)
Optio                        shall contain five (5) members, comprising (i) two directors appointed
                             by the First Out Lender, (ii) two directors appointed by the Last Out
                             Lender, and (iii) Jarlath Johnston, as independent director, or such other



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                             person qualifying as an independent director, as selected by the
                             Prepetition Admin Agent.
                             Provisions regarding the removal, appointment, and replacement of
                             members of the New Board will be set forth in the New Governance
                             Documents.
Management Incentive         Up to 20% of the voting interests, comprising common equity shares or
Plan - MIP                   units, in the Reorganized Debtors with the Consenting Lenders to be
                             diluted equally.
Tax Matters                  The Restructuring (including, for the avoidance of doubt, the Exit
                             Facility) shall be structured in a tax efficient manner acceptable to the
                             Debtors and the Consenting Lenders.
                             The Debtors will cooperate with any advisors selected by the Consenting
                             Lenders in respect of all tax structuring matters.
Executory Contracts and      The Plan will provide that executory contracts and unexpired leases will
Unexpired Leases             be assumed, assumed and assigned, or rejected under section 365 of the
                             Bankruptcy Code as to be determined by the Debtors with the consent of
                             the Consenting Lenders.
                             The Debtors and the Consenting Lenders will work together in good faith
                             to determine which executory contracts and unexpired leases shall be
                             designated to be assumed, assumed and assigned, or rejected in the
                             Chapter 11 Cases.
                             In the Chapter 11 Cases, the Debtors shall seek to reject that certain
                             contract with Rinku Patel.
Employment Obligations       On or after the Effective Date, the Reorganized Debtors shall either (i)
                             offer employment on the same or better terms to the Debtors’ employees,
                             or (ii) assume the Debtors’ obligations to such employees for accrued
                             benefits and seniority.
Key Employee Retention       The Company Parties shall set aside funds in an amount to be determined
Program – KERP               to provide retention bonuses to designated employees who remain
                             employees of the Reorganized Debtors for a minimum of 6-months after
                             the Effective Date, subject to the consent of the Consenting Lenders.
1145 Exemption               The issuance of securities under the Plan of Reorganization will be
                             exempt from section 1145 of the Bankruptcy Code to the full extent, if
                             any, permitted thereby.
Retained Causes of Actions   The Reorganized Debtors shall retain all rights to commence and pursue
                             any action, interest, Claim, cause of action, controversy, demand, right,
                             action, lien, indemnity, Equity Interest, guaranty, suit, obligation,
                             liability, damage, remedy, proceeding, agreement, judgment, account,
                             defense, offset, power, privilege, license, and franchise of any kind or
                             character whatsoever, whether known, unknown, foreseen or unforeseen,
                             existing or hereinafter arising, contingent or non-contingent, matured or
                             unmatured, suspected or unsuspected, liquidated or unliquidated,
                             disputed or undisputed, secured or unsecured, assertable directly or
                             derivatively, whether arising before, on or after the Petition Date, in
                             contract or in tort, in law or in equity, or pursuant to any other theory of

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                           law (the “Causes of Action”), other than any Causes of Action that the
                           Company has released pursuant to the release and exculpation provisions
                           outlined in this Plan Term Sheet and implemented pursuant to the Plan
                           and avoidance actions against trade creditors that continue to conduct
                           business with the Debtors throughout the Chapter 11 Cases. Causes of
                           Action also include: (a) all rights of setoff, counterclaim, or recoupment
                           and claims under contracts or for breaches of duties imposed by law or
                           in equity; (b) the right to object to or otherwise contest claims or
                           interests; (c) claims pursuant to section 362 or chapter 5 of the
                           Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress,
                           and usury, and any other defenses set forth in section 558 of the
                           Bankruptcy Code; and (e) any avoidance actions arising under chapter 5
                           of the Bankruptcy Code or under similar or related local, state, federal,
                           or foreign statutes and common law, including fraudulent transfer laws.
                           Notwithstanding the foregoing, the Reorganized Debtors shall retain all
                           rights to commence and pursue any Causes of Action as specified in the
                           Plan supplement, including without limitation any chapter 5 causes of
                           action (other than against Released Parties), unless such causes of action
                           are settled or resolved prior to the Effective Date with the consent of the
                           Consenting Lenders.
Releases and Exculpation   The Plan of Reorganization will include customary mutual releases (the
                           “Plan Releases”) in favor of, among others, (i) the Debtors, (ii) the
                           Reorganized Debtors, (iii) the Consenting Lenders, (iv) the DIP Lenders,
                           (v) the Admin Agent, and (vi) each of their respective current and former
                           predecessors, successors, assigns, affiliates, and subsidiaries, and its and
                           their respective managed accounts or funds or investment vehicles, and
                           equity holders (regardless of whether such equity interests are held
                           directly or indirectly), officers, directors, managers, principals,
                           shareholders, trustees, nominees, independent contractors, members,
                           partners, employees, agents, advisory board members, financial advisors,
                           attorneys, accountants, actuaries, investment bankers, consultants,
                           representatives, management companies, fund advisors, direct and
                           indirect parent entities, “controlling persons” (within the meaning of the
                           federal securities law), heirs, participants, administrators and executors,
                           other professionals and related parties (the “Released Parties”) that shall
                           provide for, among other things, releases from liability for their actions
                           in connection with (A) the management, ownership or operation of the
                           Debtors, (B) the business or contractual arrangements between any
                           Debtor and any other entity, (C) these Chapter 11 Cases, (D) the Debtors’
                           in- or out-of-court restructuring efforts, and (E) any other act or
                           omission, transaction, agreement, event, or other occurrence related to
                           the foregoing taking place on or before the Effective Date, with
                           customary carve-outs for actual fraud and willful misconduct, to the
                           extent permitted by law.
                           For the avoidance of doubt, the following individuals are not, and shall
                           not be deemed to be, Released Parties: (i) Greg Savino, (ii) Jordana
                           Siegel, (iii) Rinku Patel, (iv) Crestview City Pharmacy, Inc., (v) Jennifer
                           Reshay Densman, (vi) Chistopher Neil Densman, (vii) Bryan Henderson,
                           (viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi) Victoria


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                            Ballard, (xii) Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford,
                            (xv) Sergio Zepeda, and (xvi) Cold Bore Capital.
                            The Plan of Reorganization and related solicitation documents shall
                            include an opt-in mechanism for impaired creditors eligible to vote to
                            accept or reject the Plan of Reorganization. Any impaired creditors
                            eligible to vote who vote to accept the Plan of Reorganization and elect
                            to opt-in to the Plan Releases shall receive its respective pro rata share of
                            the GUC Opt-In Gift.
Injunction                  Except as otherwise expressly provided in the Plan of Reorganization or
                            for obligations issued or required to be paid pursuant to the Plan of
                            Reorganization, all holders of claims, interests, or Causes of Action that
                            have been released pursuant to the Plan of Reorganization, shall be
                            discharged pursuant to the Plan of Reorganization, or are subject to
                            exculpation pursuant to the Plan of Reorganization, are permanently
                            enjoined, from and after the Effective Date, from taking any of the
                            following actions against, as applicable, the Debtors, the Reorganized
                            Debtors, the parties exculpated under the Plan of Reorganization, or any
                            of the Released Parties: (i) commencing or continuing in any manner any
                            action or other proceeding of any kind on account of or in connection
                            with or with respect to any such claims, interests or Causes of Action;
                            (ii) enforcing, attaching, collecting, or recovering by any manner or
                            means any judgment, award, decree, or order against such Entities on
                            account of or in connection with or with respect to any such claims,
                            interests or Causes of Action; (iii) creating, perfecting, or enforcing any
                            lien or encumbrance of any kind against such Entities or the property or
                            the estates of such Entities on account of or in connection with or with
                            respect to any such claims, interests or Causes of Action; (iv) asserting
                            any right of setoff, subrogation, or recoupment of any kind against any
                            obligation due from such Entities or against the property of such Entities
                            on account of or in connection with or with respect to any such claims,
                            interests or Causes of Action unless such Entity has filed a motion
                            requiting the right to perform such setoff on or before the Effective Date
                            or has filed a proof of Claim or proof of Interest indicating that such
                            Entity asserts, has, or intends to preserve any right of setoff pursuant to
                            applicable law or otherwise; and (v) commencing or continuing in any
                            manner any action or other proceeding of any kind on account of or in
                            connection with or with respect to any such claims, interests or Causes
                            of Action released, settled or subject to exculpation pursuant to the Plan.
Retention of Jurisdiction   The Plan of Reorganization will provide that the Bankruptcy Court shall
                            retain jurisdiction for usual and customary matters.
Conditions Precedent to     The occurrence of the Effective Date shall be subject to the satisfaction
Effective Date              of certain conditions precedent customary in transactions of the type
                            described in this Plan Term Sheet (the “Conditions Precedent”),
                            including, without limitation, the following:
                                (i)     Entry of a confirmation order, in form and substance
                                        reasonably acceptable to the Consenting Lenders, shall have
                                        been entered by the Bankruptcy Court and has not been


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                                          stayed, reversed, modified, or vacated on appeal, and shall
                                          have become a final order;

                                 (ii)     All authorizations, consents, and approvals required, if any,
                                          in connection with the Plan of Reorganization’s
                                          effectiveness shall have been obtained;

                                 (iii)    All pharmaceutical licenses or other regulatory approvals
                                          necessary for the Reorganized Debtors to conduct their
                                          business post-Effective Date shall have been obtained;

                                 (iv)     All actions, documents, certificates, and agreements
                                          necessary to implement the Plan of Reorganization shall
                                          have been effected or executed, and, to the extent required,
                                          filed with the applicable governmental units; and

                                 (v)      All allowed professional fee claims approved by the
                                          Bankruptcy Court shall have either been paid in full or
                                          sufficiently reserved pending approval of such professional
                                          fee claims;
Cancellation of Notes,       On the Effective Date, except to the extent otherwise provided in this
Instruments, Certificates,   Plan Term Sheet or the Plan of Reorganization, all notes, instruments,
and Other Documents          certificates, and other documents evidencing claims or interests,
                             including credit agreements and indentures, shall be cancelled, and the
                             Debtors’ obligations thereunder or in any way related thereto shall be
                             deemed satisfied in full and discharged.
Other Customary Plan         The Plan of Reorganization will provide for other standard and
Provisions                   customary provisions, including in respect of the cancellation of existing
                             claims and interests, the vesting of assets, the compromise and settlement
                             of claims, the retention of jurisdiction by the Bankruptcy Court and the
                             resolution of disputed claims.




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                                 ANNEX A

                               List of Debtors

   Optio Rx, LLC
   Braun Pharma, LLC
   Dr. Ike’s PharmaCare, LLC
   Pet Apothecary, LLC
   The Pet Apothecary LLC
   Crestview Holdings, LLC
   Crestview Pharmacy, LLC
   SBH Medical, LLC
   SBH Medical, Ltd.
   H&H Pharmacy, LLC
   Enovex Pharmacy, LLC
   Concierge Pharmacy, LLC
   SMC Pharmacy, LLC
   Firstcare Pharmacy, LLC
   SMC Lyons Holdings, LLC
   Easycare Pharmacy, LLC
   Baybridge Pharmacy, LLC
   Primecare Pharmacy, LLC
   Central Pharmacy, LLC
   Pro Pharmacy, LLC
   Healthy Choice Compounding LLC
   Rose Pharmacy SA LLC
   Rose Pharmacy SF LLC
   Rose Pharmacy RM LLC
   Oakdell Compounding Pharmacy, LLC
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                         Exhibit C

                       (See attached)
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Optio Rx, LLC
($ thousand)




  First Out Term Loan (MCCP)          $55,000
  Last Out Term Loan (Caprice)         25,000
    Total secured debt                 80,000

  Senior preferred equity (MCCP)       15,000
  Junior preferred equity (Caprice)    40,000

    Total debt plus preferred         135,000
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                                        EXHIBIT C

                                    Liquidation Analysis

                                        (Attached)




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                                                              Optio Rx
                                          Hypothetical Liquidation Analysis as of June 2024
                                                               (000's)


                                                                                 Estimated Recovery %               Estimated Recovery
                                              Note               Est Amt.         Lower       Higher                Lower       Higher
Assets
    Cash                                        A            $        1,564           100%            100%      $     1,564      $    1,564
    Accts. Rec.                                 B                    18,291            75%             90%           13,718          16,462
    Inventory                                   C                     7,393            50%             80%            3,696           5,914
    Other Current Assets                        D                       750              0%              0%                  0               0
    Fixed Assets, net                           E                     3,177               0               0            318             953
    Right of Use Asset                          F                     4,674              0%              0%                  0               0
    Intangible Assets, net                      G                    12,039              0%              0%                  0               0
    Goodwill, net                               H                    79,410              0%              0%                  0               0
    Other Assets                                I                       426              5%            25%              21             107
    Deferred Tax Asset, net                     J                     2,319              0%              0%                  0               0

  Total Assets                                               $     102,045

Total Proceeds                                                                                                  $ 19,317         $ 24,999

Costs to Liquidate
    Total Wind Down Costs                       K                                                               $     1,739      $    2,573

Net Proceeds Available                                                                                               17,578          22,426

Secured Claims
   Secured Trade Vendors                        L            $        1,534                                           1,534           1,534
        % Recovery                                                                                                    100%            100%

Funds Available for Senior Debt                                                                                      16,044          20,892

Senior Secured Lender Claim                     M            $     126,700                                      $ 16,044         $ 20,892
         % Recovery                                                                                                 13%              16%

Fund Available Other Creditors                                                                                  $        -       $       -

Unsecured Creditors                             N                  106,270                                      $        -       $       -
                                                                                                                        0%              0%


    Notes
    A      Estimated cash on hand as of 6/9
    B      Accounts Receivable are estimated to be 75 to 90% recoverable
    C      Inventory is estimated to be liquidated at recoveries of 50 to 80% of book value
    D      Based on the composition of the Other Current Assets are assumed to be of zero value
    E      Estimated recovery on the Fixed Assets is assumed to have a 10 to 30% recovery
    F      Right of Use Assets relates to lease accounting and has no value
    G      For the purpose of Chapter 7 liquidation, it is assumed intangible assets have no value
    H      Goodwill is assumed to have no value in a Chapter 7 liquidation
    I      Other Assets are assumed to have 5 to 25% recovery
    J      Deferred Tax assets reflecting accounting treatments and have no value in a Chapter 7 liquidation
    K      Estimated costs associated with the wind-down and liquidation in Chapter 7 process
    L      Based on the Company’s books and records as of June 7th.
    M      Based on the Company’s books and records as of June 7th.
           GUC per the 6/7 AP: Estimated unsecured creditors as of June 7th, comprised Trade creditors, general unsecured
    N
           creditors, seller notes, other note holders. This estimate excludes any potential lease or contract rejection claims or
           unknown claims
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                                        EXHIBIT D

                                    Feasibility Analysis

                        (To be provided in the Plan Supplement)




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                                       EXHIBIT E

                              Aves Settlement Agreement




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                                                                                        EXECUTION VERSION
                                                                                        Dated June 29, 2024

                                   Optio Rx – Settlement Term Sheet

 Company                    Optio Rx, LLC (the “Company”)

 New Parent                 Online Pharmacy Holdings LLC, a limited liability company (the “New Parent”)
                            formed to hold all of the equity of the Company following the effective date of a
                            confirmed plan and the Company’s emergence from Chapter 11 (“Emergence”)

 Aves, Holders, NPA         Aves Management, LLC (“Aves”), as agent for the holders (the “Holders”) of notes
                            pursuant to that certain Note Purchase Agreement dated as of September 25, 2020
                            (as amended, the “NPA”)

 Consideration to Holders   The Holders shall receive at Emergence, subject to the terms hereof, the Cash
                            Consideration from the Company and the common equity allocation and Preferred
                            Equity allocation as described below.

 Cash Consideration         $350,000 (subject to the DIP Lender Clawback as described below)

 New Equity Allocations     1.5% of the common equity in New Parent at Emergence (prior to dilution for any
 (Common Equity)            management incentive program) to be allocated pro rata to the Holders

 New Equity Allocations     $3,000,000 (subject to the DIP Lender Clawback as described below) in aggregate
 (Preferred Equity)         liquidation preference of junior preferred equity in New Parent (the “Preferred
                            Equity”) will be allocated to the Holders pro rata. The Preferred Equity will have
                            the following terms, and otherwise be reasonably acceptable to the prepetition
                            secured lenders party hereto (collectively, the “Prepetition Secured Lenders”) and
                            Aves:
                                 Junior in right of payment to the junior preferred equity to be received by the
                                  Company’s first lien, last out Prepetition Secured Lenders (MB Almanor
                                  LLC) at Emergence
                                 The Preferred Equity will accrue dividends (which will be payable in kind)
                                  at a rate equal to the interest rate applicable to the last out term loans under
                                  the Exit Term Loan, which accrued dividends and additional Preferred
                                  Equity will be on par with the priority of the Preferred Equity
                                 So long as the Preferred Equity is outstanding the Company will be subject
                                  to the following (with customary exceptions and other exceptions to be
                                  agreed):
                                     Limitations on non-arm’s length affiliate transactions
                                     Limitations on adverse or disproportionate amendments to operating
                                         agreement
                                     Limitations on common equity dividends and repurchases
                                 The Preferred Equity will enjoy customary preemptive and tag along rights

 DIP Lender Clawback        The Cash Consideration will be reduced, dollar for dollar, by the actual fees of
                            Committee professionals allowed on account of final fee applications of such
                            professionals up to $100,000. If the actual fees of Committee professionals
                            allowed on account of final fee applications of such professionals exceed $100,000,
                            no Cash Consideration will be payable.




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                                                                                      EXECUTION VERSION
                                                                                      Dated June 29, 2024

                          In addition, if the sum of (x) the actual fees of Committee professionals allowed on
                          account of final fee applications of such professionals plus (y) the expenses and
                          professional costs incurred by the Company and its subsidiaries, the prepetition
                          lenders and the DIP lenders, and their respective agents, in defending or opposing
                          any actions, motions or objections brought by the UCC exceed $350,000, the
                          amount and liquidation preference of the Preferred Equity will each be reduced
                          dollar for dollar for such excess.

 Exit Term Loan Terms     The DIP lenders will agree that the exit term loan to be entered into by the
                          Company upon Emergence will contain the following terms:
                               The Exit Term Loan will not have scheduled amortization prior to maturity
                               The Company will have the ability to pay interest on the Exit Term Loan in
                                kind as additional loans under the Exit Term Loan, rather than in cash, based
                                on conditions to be determined, which additional loans will be on par with
                                the priority of the Exit Term Loan

 Information Rights       So long as the Holders hold any Preferred Equity, such Holders will have
                          reasonable reporting and information rights to be agreed

 UCC                      As of the date of this term sheet or as soon as is reasonably practicable thereafter
                          (but in no event later than 3 days after the date of this term sheet), Aves, each
                          Holder and their respective affiliates shall remove themselves from the unsecured
                          creditors committee (“UCC”) and shall not agree to be appointed as a member of
                          the UCC at any time thereafter.
                          Any breach of the foregoing agreement shall permit the Prepetition Secured
                          Lenders to terminate this term sheet without further obligation to Aves or any
                          Holder.

 Voting                   No disclosure statement has been approved in the Company’s Chapter 11 cases.
                          This term sheet is not a solicitation of a vote to accept or reject the Company’s plan
                          of reorganization on file in the cases. This term sheet is in settlement of disputed
                          issues and claims. Aves and each Holder must vote in favor of the Company’s plan
                          of reorganization, as may be amended to embody the terms of this term sheet,
                          among other amendments acceptable to the parties, and provide any additional
                          support (but not required to advance any funds or waive any claims or rights
                          hereunder) that is requested by the Company in connection with the approval of the
                          plan of reorganization and Emergence. If (x) the class of creditors consisting of
                          Aves, any Holder, or any of their respective affiliates fails to vote in favor of the
                          Company’s plan of reorganization or (y) Aves or any Holder fails to provide the
                          additional support contemplated by the preceding sentence, none of the expense
                          reimbursement, common equity or Preferred Equity will be payable or issuable to
                          Aves or any Holder.

 Release                  At Emergence (x) Aves and each Holder will opt into (and shall not opt out of) any
                          proposed third-party releases under the Plan of Reorganization and (y) Aves and
                          each Holder, on the one hand, and the Prepetition Secured Lenders and agent and
                          the DIP lenders and agent, on the other hand, will enter into mutually acceptable
                          mutual releases.




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                                                                                           EXECUTION VERSION
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 Binding Nature                The terms of this term sheet shall, upon execution and delivery by each party
                               hereto, be binding upon the parties and shall constitute the entire agreement
                               between the parties as to the subject matter hereof and supersedes all prior and
                               contemporaneous agreements, understandings, negotiations or discussions, express
                               or implied, between the parties with respect thereto. Any amendment to this term
                               sheet shall be in writing executed by each party hereto.

 Effectuation of               Within seven (7) days of execution of this term sheet, the Company shall (x) file a
 Settlement                    motion pursuant to rule 9019 of the Federal Rules of Bankruptcy Procedure
                               (the “Motion”) with the bankruptcy court to effectuate the terms of the settlement
                               described herein, which Motion shall be subject to the review and approval of Aves
                               and the Prepetition Secured Lenders (in each case, not to be unreasonably withheld
                               or delayed) prior to filing, and (y) obtain bankruptcy court approval of the Motion
                               within 60 days after its filing.

 Governing Law                 THIS TERM SHEET SHALL BE GOVERNED BY, AND CONSTRUED IN
                               ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
                               WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF LAW THAT
                               WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE
                               STATE OF NEW YORK. EACH OF THE PARTIES HERETO IRREVOCABLY
                               WAIVES THE RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING,
                               CLAIM OR COUNTERCLAIM BROUGHT BY OR ON BEHALF OF ANY
                               PARTY RELATED TO OR ARISING OUT OF THIS TERM SHEET OR THE
                               TRANSACTIONS CONTEMPLATED HEREBY.

This term sheet is intended solely for the benefit of the parties hereto and is not intended to confer any benefits
upon, or create any rights of, any person, other than the parties hereto. This term sheet may be executed in any
number of counterparts, each of which shall be deemed an original and all of which, when taken together, shall
constitute one agreement. Delivery of an executed counterpart of a signature page of this term sheet by facsimile
transmission or other electronic transmission (i.e., a “pdf” or “tif”) shall be effective as delivery of a manually
executed counterpart hereof. The words “execution,” “signed,” “signature,” and words of like import in this term
sheet shall be deemed to include electronic signatures or the keeping of records in electronic form, each of which
shall be of the same legal effect, validity or enforceability as a manually executed signature or the use of a paper-
based recordkeeping system, as the case may be, to the extent and as provided for in any applicable law, including
the Federal Electronic Signatures in Global and National Commerce Act, the New York State Electronic Signatures
and Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.

                                       [SIGNATURE PAGES FOLLOW]




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                                                      MC CREDIT FUND I LP, WITH RESPECT TO
                                                      CLASS IA
                                                      MC CREDIT FUND I LP, WITH RESPECT TO
                                                      CLASS IB
                                                      MC CREDIT FUND III (CAYMAN MASTER) LP
                                                      MC CREDIT FUND III (DELAWARE) LP
                                                      MC CREDIT FUND III (LOAN FUNDING) LP
                                                      MC CREDIT FUND III-U (DELAWARE) LP
                                                      MC CREDIT FUND N (CAYMAN MASTER) LP
                                                      MC CREDIT FUND N (DELAWARE) LP
                                                      MC CREDIT FUND N (LOAN FUNDING) LP
                                                      MC CREDIT SM (LOAN FUNDING) LP
                                                      MC CREDIT SM (MASTER) LP
                                                      HYGIEIA ONE CREDIT FUND (DELAWARE) LP



                                                      By: __________________________________
                                                      Name: Ashok Nayyar
                                                      Title: Authorized Signatory




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                       34TH STREET FUNDING, LLC
                       CION INVESTMENT CORPORATION
                       MURRAY HILL FUNDING II LLC


                       By: __________________________________
                       Name: Gregg Bresner
                       Title: President




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                       AVES MANAGEMENT, LLC



                       By: __________________________________
                       Name: Charles Asfour
                       Title: President




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                       AVES SPECIAL OPPORTUNITIES FUND I, L.P.



                       By: __________________________________
                       Name: Charles Asfour
                       Title: Authorized Signatory




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            INV
            LAW        ALLSTATE INSURANCE COMPANY



                       By: __________________________________
                       Name:
                       Title:

                       By: __________________________________
                       Name:
                       Title:




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                       CROSSCOUNTRY MORTGAGE, LLC



                       By: __________________________________
                       Name: Madhur Agarwal
                       Title: CFO




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                       SIGULER GUFF (OPTIORX) HOLDINGS, LLC



                       By: __________________________________
                       Name: Joshua Posner
                       Title:   Authorized Signatory




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